            Appellate
  11 testimony           Case:
                  is going      14-1290
                           to pale compared Document:
                                              to what I've 01019371764
                                                           already                     Date Filed: 01/16/2015           Page: 1
  12 heard here today. So I will be brief in this bill.
  13            I should say this: No one wants guns in
  14 the hands of the bad guys. I think we all are on common
  15 ground there.
  16            I believe the problem with these bills
  17 that are introduced, specifically this one on the
  18 additional criminal background check in the private
  19 sector as opposed to an FFL, it's unenforceable. Your
  20 county sheriffs have already described that to you.
  21            In my world, in how guns are transferred,
  22 I will say this: The law-abiding citizen -- there's
  23 already law on the books that says a person, at best,
  24 not transfer a gun to somebody that they do not know is
  25 legally allowed to have a firearm. It puts the onus on
  0109
   1 the seller. Should something happen post-sale, that
   2 person selling the gun, if they did not do due
   3 diligence, is going to be in a lot of trouble. The
   4 people I know very carefully, therefore, identify whom
   5 they sell a gun to.
   6           Now, what it all means is that the bad
   7 guys are going to continue to get the guns irrespective
   8 of what this law does.
   9           If the law is unenforceable, why put it on
  10 the books? It makes no sense.
  11            Two things I'd like to say real quick:
  12 Sandy Hook was mentioned a couple times. I want to
  13 point out that the perpetrator in that murder, that
  14 massacre, didn't go through a background check. Why?
  15 Because he killed the owner of the guns, then took them
  16 to the school to do his deed. A background check was
  17 not required.
  18            Another item: The Virginia Tech massacre,
  19 I believe 2004, April 16, the perp there legally
  20 purchased two handguns. Later, I believe about two
  21 months is when he did his deed. Now, he went through
  22 the background check.
  23            What happened there is the mental health
  24 system in Virginia failed. Somewhere in the system, the
  25 fact that he had a history of mental illness and
  0110
   1 treatment from the age of three was missed by the
   2 system. We don't know a lot; I don't know a lot about
   3 the situation, but what I have read about it stems from
   4 primarily not being able to obtain the privacy records.
   5 A background check was done. Their database to which
   6 they do a check was incomplete.
   7           That's what happened at Sandy Hook -- or
   8 at Virginia Tech. Virginia has changed their rules a
   9 bit. But you should consider, you should consider what
  10 is happening in our society with the privacy laws, where
  11 the general public does not know -- does not have the
  12 information regarding these menaces to society, the
                                                                                                    LEG HX 000750                   4665
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  13 peopleAppellate
             who have Case:
                         proven14-1290
                                 themselves Document:    01019371764
                                            to be anti-society who                     Date Filed: 01/16/2015           Page: 2
  14 are willing to do the damage to our citizens. Those
  15 people should be identified.
  16           Let's make a law that does some good.
  17 Let's make a law that will help the situation. And what
  18 are we trying to do? We're going to keep our populous
  19 safe, keep guns out of the hands of the criminals. And
  20 I think you can do that. But there are other laws you
  21 can implement which can enhance the safety of the
  22 public. This one is not one of them.
  23           I guess -- let me end my comments there.
  24 If there are any questions, I'd be glad to answer.
  25           THE CHAIRWOMAN: Thank you so much.
  0111
   1          Is there any questions from the community
   2 for our witness?
   3          I see none.
   4          Thank you so much.
   5          MR. HAMILTON: Thank you.
   6          THE CHAIRWOMAN: So our next witness is
   7 Gene Pearcey.
   8          Welcome, Mr. Pearcey.
   9          MR. PEARCEY: Thank you.
  10           THE CHAIRWOMAN: Go ahead and join us at
  11 the table. Go ahead and introduce yourself and who you
  12 represent today, and then proceed with your testimony.
  13           MR. PEARCEY: Okay. My name is Gene
  14 Pearcey. I'm from Durango, Colorado. I have a company
  15 that distributes earth-sheltered house building systems
  16 all over the United States and a shooting company. I'm
  17 here to voice opposition to this bill.
  18           I have a shooting school, like I said.
  19 I'm a 25-time combined world and national champion.
  20 I've taught all over the United States and several
  21 foreign countries. People come from all over the world,
  22 actually, to train with me. I teach sports shooting and
  23 some cop training, concealed carry, general firearms
  24 training. I'm a regular on the Outdoor Channel as a
  25 firearms expert and an FFL dealer.
  0112
   1          I am considering moving my companies out
   2 of Colorado -- excuse me -- because of all these
   3 anti-gun laws, and I've been there 30 years.
   4          I've got some things I would just like to
   5 present to you, if I could.
   6          THE CHAIRWOMAN: Please.
   7          MR. PEARCEY: This bill simply will not
   8 work. 75 percent of crimes are committed by repeat
   9 offenders. They're not going to be affected by this
  10 law. Only 2 percent of firearms used in violent crimes
  11 are obtained from nonrecorded sales. That would be
  12 gunshows, private sales, whatever. So, again, it's not
  13 going to have much effect.
  14           Cities such as Chicago and New York City
                                                                                                    LEG HX 000751                   4666
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             Appellate
  15 have very           Case:
                  tough gun  laws14-1290      Document:
                                    on the books. In fact, 01019371764                 Date Filed: 01/16/2015           Page: 3
  16 probably tougher than some of this stuff. They have
  17 close to 500 murders a year each. It has no effect.
  18 None. Zero.
  19           There's no study which suggests that full
  20 background checks will prevent a single crime. More
  21 ineffective anti-gun laws will drive many, many people
  22 from Colorado.
  23           I just got back from a national shooting
  24 contest in Phoenix, Arizona, a thousand people,
  25 (inaudible) a person. Every single person I talked to
  0113
   1 is not coming here to hunt, to fish, to visit Durango.
   2 Nothing. They are totally offended by this mass of laws
   3 that you guys are considering. I think you will totally
   4 underestimate the effect it will have on towns,
   5 especially like Durango. Hunting is a big season for
   6 us. But we're also not talking about people who are
   7 just hunting. They're just terribly offended.
   8          Part of the reason for these bills is
   9 combat perceived crime wave with assault weapons. There
  10 actually is no crime wave with assault weapons.
  11           In all of 2011, there were three rifle
  12 murders, period. Not assault weapons, but three rifle
  13 murders. In 2010, there were none. That's a normal
  14 year.
  15           In 2012, we had a terrible tragedy that
  16 could have been prevented by one person with a firearm.
  17 He was in a gun-free zone, of course.
  18           In all cases, the mass murders that I know
  19 of, this bill wouldn't have affected the perpetrator
  20 from getting guns at all. I can't think of a one. I've
  21 read a lot of cases, and I'm sure you have too, but
  22 there's not a single case where a background check, more
  23 background checks would have prevented this.
  24           This bill is very, very tough on
  25 low-income people. You've got the cost for the firearm.
  0114
   1 This bill allows for a $10 transfer fee from a dealer.
   2 I'm a dealer. I'm not doing it for 10 bucks. It's
   3 going to cost 30 to 50 bucks.
   4          The State, with bill, I think, 228, is
   5 considering charging for the background check. So
   6 that's going to add to it, if that passes. That is
   7 going to cost, they say, a fee that's determined by
   8 direct and indirect costs. Indirect costs can be
   9 anything. That can be a part of the new governor's
  10 airplane; it can be anything.
  11           It's not unreasonable to think that you
  12 couldn't add $100 to the cost of a firearm in the
  13 future. It could be whatever you guys want it to be.
  14 And that would, of course, prevent people from buying
  15 firearms, which I think is the purpose to start with.
  16 But you could have $200 a firearm; you could have
                                                                                                    LEG HX 000752                   4667
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030413.txt[11/12/2013 10:57:49 AM]
  17 whateverAppellate
                 you wantCase:
                            it to 14-1290      Document:
                                  be. And that's not a good01019371764                 Date Filed: 01/16/2015           Page: 4
  18 thing.
  19            The bill unenforceable without full gun
  20 registration, which has been against the law, by federal
  21 law, since 1986. I don't see how in the world you can
  22 enforce it.
  23            In 2010, 14 million background checks
  24 resulted in 13 convictions, 13. And so if you add a
  25 bunch more background checks, what's it going to do?
  0115
   1 It's going to do nothing.
   2           It's already a crime to sell, loan, or
   3 give a firearm to anyone you know is going to use it in
   4 a crime. That's where many felons get their firearms
   5 anyway.
   6           This bill does not affect the total number
   7 of murders, as firearms are not used in all murders. In
   8 2011, in Colorado, you had 147 murders. Firearms were
   9 used in 73 cases. Hands, fists, knives, clubs, 74. So,
  10 at the very best, you're only working on half the
  11 murders to start with.
  12            Then with full background checks will be
  13 in effect, it will be just another hurdle for honest
  14 citizens because most crimes are by felons who already
  15 committed crimes who don't abide by the law. The only
  16 people affected by this bill don't commit violent
  17 crimes. That's people like me. People like you.
  18            The only sure way to reduce crime, if
  19 that's all you were interested in, is to lock up the
  20 people who do the crime and keep them in jail. They do
  21 most of the crime anyway, and nothing you do is going to
  22 prevent them from doing that. It's just proven facts.
  23            The intent of this bill, of course, is
  24 just more gun control. And that's the only
  25 justification for it that I can see, and many other
  0116
   1 people.
   2           THE CHAIRWOMAN: Thank you.
   3           We have a question from Senator Harvey.
   4           SENATOR HARVEY: Thank you for being here.
   5 I appreciated all your statistics. I want you to give
   6 them to me before you leave, too.
   7           The previous witness said that you can buy
   8 guns online without doing a background check in
   9 Colorado, and I don't believe that's the case.
  10            MR. PEARCEY: That's a lie.
  11            THE CHAIRWOMAN: We're going to go ahead
  12 and go through the --
  13            SENATOR HARVEY: Go through her.
  14            THE CHAIRWOMAN: Complete your question.
  15            SENATOR HARVEY: That completes my first
  16 question.
  17            THE CHAIRWOMAN: Okay, go ahead.
  18            MR. PEARCEY: That would be a lie. I'm a
                                                                                                    LEG HX 000753                   4668
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  19 federalAppellate     Case: 14-1290
               firearms dealer.   I do sell a lotDocument:  01019371764
                                                  of guns. We                          Date Filed: 01/16/2015           Page: 5
  20 sell mostly cowboy guns or cowboy action shooters, but
  21 we do sell some modern guns.
  22             If you're in Nevada, if you're in Denver,
  23 if you're anywhere and you buy a gun from me, you can
  24 pay me, but I have to ship that gun to a local dealer in
  25 your area who has to transfer it per your state law.
  0117
   1 It's totally illegal for an FFL dealer to do that. And
   2 granted, yes, you can by that law, but if he gets the
   3 gun, you don't pass the background check, you don't get
   4 the gun. Too bad.
   5            But that's an absolute lie, and it's also
   6 a common misconception. It's not true.
   7            THE CHAIRWOMAN: Thank you.
   8            Any other questions?
   9            Thanks so much.
  10             MR. PEARCEY: Thank you. Appreciate it.
  11             THE CHAIRWOMAN: So one of our witnesses,
  12 Mr. Kopel, is here. I'm going to ask him to come up.
  13 Go ahead.
  14             I'm just going to remind all of us here --
  15 and I did fail short of my duties, I wasn't listening to
  16 one of the witnesses we had before -- but we really
  17 don't want to prescribe motives of either any committee
  18 members or our sponsors. We just want to remind us all,
  19 if you come in and testify. Thank you.
  20             Mr. Kopel, go ahead and introduce yourself
  21 and who you represent today.
  22             MR. KOPEL: Thank you, Senator Giron.
  23             I'm David Kopel, and I'm an adjunct
  24 professor of advanced constitutional law at Denver
  25 University, Sturm College of Law, research director of
  0118
   1 the Independence Institute -- just a few blocks from
   2 here -- that is, always professors from DU as well as
   3 Independence Institute scholars speak on their own
   4 behalf and not for any organization.
   5            A report -- a study by the National
   6 Institute of Justice that was conducted in December --
   7 and the National Institute of Justice is the research
   8 arm of the United States Department of Justice -- and
   9 they did a report on a variety of gun control proposals
  10 that were in the air. The NIJ report was kept secret,
  11 but has been leaked and is now available to the public.
  12             The NIJ report, regarding universal
  13 background checks, said they are unenforceable unless
  14 you have universal gun registration; that as a practical
  15 matter, if Senator Harvey sells me a gun, how is anybody
  16 ever going to find out or know or anybody gets in
  17 trouble for doing that, even if we evaded the background
  18 check -- of course, he's such a law-abiding guy, that
  19 would never happen, but in this hypothetical -- unless
  20 there's a government database of all firearms.
                                                                                                    LEG HX 000754                   4669
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  21         Appellate   Case:
                As I'm sure      14-1290
                             all of you know,Document:
                                              registration 01019371764                 Date Filed: 01/16/2015           Page: 6
  22 is very fiercely opposed by gun owners because it has
  23 historically, in New York City and in other countries,
  24 been used for gun confiscation.
  25            Canada attempted to impose universal gun
  0119
   1 registration in the 1990s. It ended up costing
   2 literally a hundred times more than it was supposed to
   3 and was finally repealed in 2012 by the parliament
   4 there.
   5           What Captain Kelly and others have
   6 testified about is a much more limited concept than what
   7 this bill is. Let's say this is the amount of firearm
   8 sales that take place in Colorado. And there's some
   9 fraction of them that are not from firearms retailers.
  10 Now, this 40 percent figure that's thrown out, that's
  11 not really true, but let's say we know for sure it's
  12 more than 1 percent. There's some tangible amount of
  13 firearm sales that are in this smaller category of
  14 nonretail sales. And that's what this bill has public
  15 support for in addressing. When you ask people about
  16 universal background checks, they're talking about
  17 addressing whatever this is, this 1 in 40 percent
  18 amount.
  19            The problem is, this bill, which is what
  20 you're going to be voting on, not answering a poll
  21 question about the concept, is about this: It's about
  22 firearm transfers.
  23            I have never sold a gun in my life, and I
  24 hope I never will because I like all my guns and I want
  25 to keep them. But I have engaged in probably hundreds
  0120
   1 of firearms transfers, as this bill defines them. The
   2 definition of transfer is so broad, and it's written --
   3 it's a copy of a federal bill written by Michael
   4 Bloomberg's lobby. It's so hugely overbroad compared to
   5 what the issue of actual sales is.
   6           The Colorado Supreme Court, in Lakewood
   7 versus Pillow, unanimously, under Colorado's
   8 constitutional right to arms, in 1971, threw out a
   9 Lakewood ordinance that restricted gun transportation.
  10 And the Court said unanimously: But, of course,
  11 Lakewood can enact laws, safety laws, about the
  12 transportation of guns. But what you have done here is
  13 so overbroad compared to the legitimate problem that
  14 could be addressed.
  15            This is a law that says I can give my wife
  16 a gun for Christmas -- so it's not part of the War on
  17 Christmas -- but it says when I'm out of town and she
  18 wants to use my gun, she's got to go through a
  19 background check. In fact, she can't go through a
  20 background check because I'm out of town and we both
  21 have to show up at the firearms dealer. And then when I
  22 come back to town, we've got to go through the
                                                                                                    LEG HX 000755                   4670
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             Appellate
  23 background      checkCase:
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                                   so she can hand   the gun 01019371764
                                                             back to                   Date Filed: 01/16/2015           Page: 7
  24 me.
  25            It's a bill that says that I, as an NRA
  0121
   1 certified firearms instructor, when I'm -- sorry.
   2           (Laughter.)
   3           MR. KOPEL: Karl Rove just won't leave me
   4 alone.
   5           (Laughter.)
   6           MR. KOPEL: It's when I say -- when I
   7 teach a firearms safety class, not at a shooting
   8 range -- because I typically don't -- you go to the
   9 range later, as the last part for the live fire
  10 practice -- when I'm teaching in a classroom, following
  11 the NRA protocol for handgun safety instruction, which
  12 we're going to -- Senator Trauchou's bill will help get
  13 us back to that for licensed carry -- but when I hand
  14 somebody -- I'm supposed to bring in firearms unloaded
  15 for the students to handle.
  16            The rule is absolutely no ammunition in
  17 the room, not even my own. And we have dummy practice
  18 ammunition, orange inert things with which the students
  19 practice loading and unloading the guns, pressing the
  20 trigger, things like that. And over the course of that,
  21 you may have four or five different guns that get handed
  22 around.
  23            Every one of those is a transfer and is
  24 supposed to go, under this bill, supposed to go to a
  25 federal firearms licensee, do the background check that
  0122
   1 takes between three minutes and nine days, depending on
   2 what time of year it is, and pay this $20 thing. It
   3 makes teaching quite impracticable.
   4           The provision for giving somebody a gun in
   5 an emergency is written so that it only applies when you
   6 could shoot somebody. And, of course, by then, it's too
   7 late. So if I have a neighbor who wants to borrow a gun
   8 one night because there have been a lot of burglaries in
   9 the neighborhood -- and this is on page 5, line 15 -- if
  10 the neighbor wants to borrow -- asks to borrow my gun
  11 because she's a single woman with some small children
  12 and there's been a lot of burglaries in the
  13 neighborhood, can she borrow one of my guns for a couple
  14 nights, until she can go to the store on Monday and
  15 maybe buy one of her own?
  16            A, I can't lend it to her unless I go over
  17 to her house, which seems kind of crazy that she has to
  18 come to my house, but, B, more importantly, I can't
  19 transfer it to her unless she is in imminent fear of
  20 death or serious bodily injury.
  21            Now, that's the point at which she could
  22 shoot somebody. So if you've got somebody stalking her
  23 and making harassing phone calls, that doesn't mean that
  24 if she sees them in a shopping center, she gets to shoot
                                                                                                    LEG HX 000756                   4671
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             Appellate
  25 them right    away, Case:    14-1290
                          but it does give herDocument:    01019371764
                                                good cause for                         Date Filed: 01/16/2015           Page: 8
  0123
   1 wanting to have that firearm in her home temporarily in
   2 an emergency. And that's prohibited.
   3           It's likewise, by the way, it's also --
   4 this D.C./New York crafted bill doesn't even take into
   5 account that there's other circumstances in which the
   6 use of a firearm for self-defense is lawful in Colorado
   7 in the home, the so-called Make My Day law allows
   8 defensive gun use in the home in situations other than
   9 imminent death or serious bodily injury. It's against
  10 any violent intruder in the home under Colorado law. So
  11 even someone who could lawfully use the gun right in
  12 that instant still can't get it under this law.
  13            This phrase you see in line 15 which
  14 appears in a variety of places, "unlicensed transferee,"
  15 makes no sense in Colorado law. We have licenses to
  16 carry guns, but this isn't about carry; this is about
  17 possession. Unlicensed transferee would only make sense
  18 if we had a law that you had to have a license to own a
  19 gun in the first place in Colorado.
  20            So I looked for where this came from, and
  21 it's from the House -- the U.S. House of Representatives
  22 bill that is the Michael Bloomberg flagship bill. The
  23 language was cut and pasted into here, and it was a
  24 transplantation that doesn't really work. It doesn't
  25 fit from one to the other. It made sense in the context
  0124
   1 as it was used in the other bill. It doesn't here.
   2           The core problem is that it's not just
   3 about sales. It's about the transfers in general. I've
   4 outlined just a couple of the problems. There are many,
   5 many, many more.
   6           A thing that you could do that would
   7 significantly improve it is in E, line 19. The transfer
   8 is a temporary transfer of possession without transfer
   9 of ownership or title to ownership -- and then just cut
  10 it there and remove the rest of E. Then you make the
  11 bill just about all -- about temporary transfers, rather
  12 than the way this E is written is temporary transfers in
  13 a -- when you're actually at a target shooting range or
  14 you're actually in the field while engaged in hunting.
  15            That would certainly solve a great deal of
  16 the problems with the bill, but what I would really
  17 suggest is that, don't vote on this bill today. Take a
  18 day or two -- and we'll move as fast as you want -- to
  19 sit down with myself, with the sheriffs, with other
  20 legal experts who know and understand Colorado firearms
  21 law, and we can work with you to produce a bill that
  22 accomplishes everything the sponsors have promoted as
  23 the good part of this bill, which is sales between
  24 people who don't know each other and not going through a
  25 licensed firearms dealer.
  0125
                                                                                                    LEG HX 000757                   4672
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   1         Appellate   Case:
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                                  of the day, there may 01019371764                    Date Filed: 01/16/2015           Page: 9
   2 be -- excuse me -- philosophical disagreements about
   3 that bill, but that will be a bill that accomplishes
   4 what it intends to accomplish. Because if it goes
   5 through the way it is, what you're doing is, because
   6 this definition of transfers is so broad, that you will,
   7 in effect, criminalize virtually the entire gun-owning
   8 population.
   9            It means that when I sit down with my son
  10 at the dining room table and say, "Here's my gun.
  11 Here's how to use it. It's unloaded, but I'd like you
  12 to handle it and use it" -- that's supposed to be a
  13 transfer here, too. There are so many things -- the
  14 normal ways that people own their guns is to have
  15 temporary transfers, or your friend comes over and says,
  16 "Oh, you got a new gun. Can I take a look at it?"
  17             "Sure." And I hand it to my friend and he
  18 looks at it for five minutes and hands it back. That's
  19 a transfer here, too.
  20             And you're turning all these people into
  21 criminals and saying: Well, the DAs would be too smart
  22 to enforce that. Hopefully, yes, but one -- those of us
  23 who remember Don Milky from the olden days might know
  24 you can't always count on DAs always having good
  25 judgment about what to prosecute. And this is a bill
  0126
   1 that's being -- written to be obeyed. We want people to
   2 obey the laws in Colorado.
   3            You don't want to create in Colorado a
   4 culture of saying: Oh, well, what are the gun laws? I
   5 just moved here from Oklahoma. What are the gun laws?
   6            Oh, well, there's this gun law that says
   7 that you can't even carry a gun in public. That gun law
   8 really counts. You better get a carry permit.
   9            This gun law says this is when you can
  10 transfer a gun. Oh, yeah, that's ridiculous, they
  11 didn't know what they were talking about when they
  12 passed it. That's way overbroad. Nobody enforces that
  13 one.
  14             Let's have all the laws be fair,
  15 well-written ones that can be enforced. And I ask you
  16 to do this in the spirit of my father, as a state
  17 representative in the '70s, before I'd convinced him
  18 that the Second Amendment of the right to arms were
  19 important civil rights, when he would have voted for any
  20 gun -- and did -- gun control bill on a conceptual
  21 basis, but would also insist that any law that he voted
  22 for, especially any criminal law, had to be fairly
  23 written, properly drafted, and something that the people
  24 of Colorado could, in a fair and legitimate way, be
  25 expected to obey.
  0127
   1            Thank you.
   2            THE CHAIRWOMAN: My microphone was off.
                                                                                                    LEG HX 000758                   4673
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   3 ThankAppellate    Case: 14-1290 Document: 01019371764
            you so much.                                                              Date Filed: 01/16/2015           Page: 10
   4          Is there any questions from the committee?
   5          Senator Crowder. You're so inquisitive
   6 today.
   7          SENATOR CROWDER: You mentioned several
   8 times the Bloomberg effect on this bill here. Is that
   9 written into any New York law that you're aware of, or
  10 any law in any state for that matter.
  11           THE CHAIRWOMAN: Mr. Kopel.
  12           MR. KOPEL: Oh, well, yeah. For example,
  13 this New Jersey thing about like when your friend comes
  14 over, and can he hold your gun? That's illegal in
  15 New Jersey, for example.
  16           SENATOR CROWDER: Thank you.
  17           THE CHAIRWOMAN: Any other questions?
  18           Senator Harvey.
  19           SENATOR HARVEY: Thank you, Madam Chair.
  20           Not a question, but, David, I appreciate
  21 your comments on the transfer part because we had -- I
  22 don't know -- eight, nine, ten witnesses come in and
  23 testify for the bill. Every one of them spoke to the
  24 private sale of firearms. And whenever I brought up the
  25 question of the transfer to a person that I asked it to,
  0128
   1 they said: I have not read the bill, but we're against
   2 the private sale.
   3          So I'm glad that you were able to speak to
   4 those specific issues about the transfer and what a
   5 conundrum that might be. So thank you.
   6          MR. KOPEL: Thank you.
   7          THE CHAIRWOMAN: Any other questions?
   8          See none. Thank you so much.
   9          MR. KOPEL: Thank you very much, Madam
  10 Chair.
  11           THE CHAIRWOMAN: You have a nice lunch.
  12           SENATOR CROWDER: Madam Chair, why is it
  13 that I have to call him Mr. Kopel and Mr. Harvey can
  14 call him Dave?
  15           THE CHAIRWOMAN: You know what? I bet you
  16 could call him whatever you'd like.
  17           UNIDENTIFIED SPEAKER: That's right.
  18           THE CHAIRWOMAN: I didn't mean to open it
  19 that way, but he affirmed that you could call him
  20 anything you want.
  21           Oh, got to find my list here.
  22           So now we're back to Adam Thompson. Is
  23 Adam Thompson in the room? Adam Thompson is who I have
  24 signed up according to this list.
  25           (Inaudible discussion.)
  0129
   1          THE CHAIRWOMAN: Oh, great. Thank you,
   2 Mr. Thompson. I appreciate you rushing in here. Go
   3 ahead and take your breath.
   4          MR. THOMPSON: Thank you.
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   5        Appellate   Case: 14-1290 And
               THE CHAIRWOMAN:                Document:    01019371764
                                                proceed when  you're                  Date Filed: 01/16/2015           Page: 11
   6 ready. Go ahead and introduce yourself and who you
   7 represent today.
   8           MR. THOMPSON: All right. My name is Adam
   9 Thompson. I believe I had a packet that came around to
  10 all of you. I represent Lindsay Cole, Julie Vargo,
  11 Lewis Johnson, Larry Smart, and Mark Doucette
  12 (phonetic), as well as myself and my fiancee. We are
  13 all Columbine survivors.
  14            Basically I'm here today to speak about
  15 using sound judgment of actual information when deciding
  16 the proper courses of action to deal with violence
  17 instead of using emotions to make those decisions. This
  18 bill, as well as all the other bills that you're hearing
  19 today that are being presented, have the intent of
  20 providing safety, but after reviewing them, they don't
  21 actually do that. They do the opposite.
  22            On April 20th, 1999, I was 17 years old
  23 and a junior in high school. On that day, fellow
  24 classmates committed one of the worse shooting -- school
  25 shootings that this country has seen.
  0130
   1           I am a Columbine survivor. And on that
   2 day, I lost friends, classmates, and my innocence as a
   3 child. On that day, there was legislation that failed
   4 to do what it was intended to do, to keep me and my
   5 fellow classmates safe. It did not matter that there
   6 was a magazine capacity limit. It did not matter that
   7 it was a gun-free zone. It did not matter that they
   8 received their firearms illegally.
   9           One of the shooters carried a 10 round --
  10 or thirteen ten-round magazines. In order to do this,
  11 he modified his clothing so that he would be able to
  12 carry all of them. The point is that the magazine
  13 capacity didn't matter.
  14            The perpetrators committing these acts
  15 aren't listening to the laws. Instead, this law would
  16 only limit me in being able to defend myself, my
  17 fiancee, or my roommate. If this gets passed, it puts
  18 me and my roommate and my fiancee at risk for
  19 transferring a firearm in order to provide safety for
  20 ourselves. If I'm away on business and my fiancee takes
  21 up arms to defend herself against an intruder, I would
  22 be held liable, so would she, for the illegal transfer.
  23            My next-door neighbor is a lawyer. She
  24 has told me repeatedly that, in her profession, she has
  25 received death threats and has gotten police involved
  0131
   1 and we've had police on our street. However, we've
   2 also -- when the police are not there, we've had plenty
   3 of people come by in looking for her, which she has told
   4 me what to look for and who they are. I let her know
   5 that I do own firearms and that I would be willing to
   6 train her and provide them to her for her safety for
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   7 temporary           Case:
                  use, until she 14-1290
                                 was able to Document:
                                              get her own. 01019371764                Date Filed: 01/16/2015           Page: 12
   8           Under this law, it would be illegal to do
   9 so. She would be, and I would be, held responsible for
  10 allowing her to protect herself with my firearm.
  11            I've struggled for 12 years dealing with
  12 survivor guilt and that I was put in a position where I
  13 was defenseless. And so were the people who were around
  14 me who were supposed to be there to keep me safe. I
  15 never want to be defenseless again, and I never want any
  16 of my friends, family, loved ones, or neighbors to be
  17 defenseless again.
  18            I have also learned that our police and
  19 our emergency personnel are not truly the first
  20 responders. The public is actually involved. The
  21 people there are the first responders.
  22            Those first actions that they take are
  23 what save people's lives. Waiting for a background
  24 check to come back would put my fiancee, again, in
  25 harm's way, or my roommate in harm's way.
  0132
   1           I have taken it upon myself to educate and
   2 get educated on firearms, and to take classes on them.
   3 Obviously, I've let you know that I've become a firearms
   4 owner, and I believe deeply in the Constitution.
   5           This bill that's before you, once again,
   6 would not have stopped Columbine from happening. It
   7 would not have stopped Sandy Hook from happening.
   8           Unfortunately, I am using -- I am seeing
   9 people use emotions to put law in a legislation forward
  10 instead of using facts and sound judgment on what the
  11 root cause of the situation is.
  12            The root cause is not the guns or the lack
  13 of the background check. The root cause is a failure of
  14 responsibility as a society to teach what human life is
  15 all about. I'm sorry.
  16            SENATOR CROWDER: That's all right, buddy.
  17            MR. THOMPSON: Unfortunately, you can't
  18 legislate responsibility upon the people. The people
  19 have to take responsibility themselves and learn. Our
  20 parents, our teachers need to start teaching again what
  21 it is to be a responsible citizen, how to respect life
  22 instead of just looking at it as something that comes
  23 and goes.
  24            UNIDENTIFIED SPEAKER: (Inaudible.)
  25            MR. THOMPSON: That's okay.
  0133
   1           Well, thank you very much.
   2           I'm getting a little flustered here, so I
   3 apologize.
   4           THE CHAIRWOMAN: No, you're doing just
   5 fine.
   6           MR. THOMPSON: I'll go ahead and close
   7 this.
   8           Basically, all this legislation, to me,
                                                                                                    LEG HX 000761                   4676
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   9 is, if itAppellate  Case:
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  10 victim once again. It asks my roommate to be a
  11 potential victim. It asks my fiancee to be a potential
  12 victim again, by not allowing them to take up arms that
  13 are available to them at the time, if there was someone
  14 who came in.
  15             I'm against this bill, as well as all
  16 other pieces of legislation today that are limiting my
  17 right to self-defense, my neighbor's right to
  18 self-defense, and my roommate's and my fiancee's right
  19 to self-defense, as well as the people that I'm
  20 representing here today that have written testimony that
  21 I've handed to you. Please read that and learn from
  22 what they have written to say.
  23             UNIDENTIFIED SPEAKER: (Inaudible.)
  24             MR. THOMPSON: Yes, I gave one to them,
  25 and I'll give you one as well.
  0134
   1            So please don't ask me or any other
   2 survivor to be a potential victim again.
   3            Thank you for allowing me to be heard.
   4            THE CHAIRWOMAN: Adam, thank you so much
   5 for being here and sharing your story and bringing a
   6 story of others.
   7            Is there any question from the committee?
   8            I see none. Thank you.
   9            Mr. Dudley Brown.
  10             Welcome, Mr. Brown. Go ahead and
  11 introduce yourself and who you represent today.
  12             MR. BROWN: Thank you, Madam Chairman and
  13 members of the committee. My name is Dudley Brown.
  14             I think for most of you who know me --
  15 Senator Harvey and I went to college together. And I've
  16 actually been skiing with Senator Jones. So, yes -- and
  17 that's a funny connection, isn't it?
  18             (Laughter.)
  19             MR. BROWN: Yes. I know, it's all done,
  20 Senator.
  21             I represent Rocky Mountain Gun Owners.
  22 We're the largest gun (inaudible) group based here in
  23 Colorado. And we are the (inaudible) gun owners here in
  24 this state. This is my 21st year being -- representing
  25 gun owners at the state capitol here. And prior to
  0135
   1 that, I actually worked for many legislators here.
   2            I want to address 1229. I heard
   3 Mr. Kopel's and some of the other good testimony about
   4 the very specifics, but I do want to challenge the
   5 members of this committee -- I know this is impolitic to
   6 suggest this -- but to read our state constitution.
   7 Read Article II, Section 13, and tell me if you think
   8 that that prohibition in there, if we required these
   9 members of the press to file and ask government
  10 permission prior to airing their stories tonight, every
                                                                                                    LEG HX 000762                   4677
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  11 time they   aired aCase:
                         story, 14-1290      Document:
                                would you call            01019371764
                                                that a violation                      Date Filed: 01/16/2015           Page: 14
  12 of their First Amendment rights?
  13           I think you would. I think I would. I
  14 know they would, and they file against that all the
  15 time. Yet, our state constitution is even more
  16 stringent. So the right of no person to keep and bear
  17 arms, defense of home, person and property shall be
  18 called in question.
  19           But what do you call checking someone's
  20 background prior to actually letting them practice what
  21 is a constitutional right? It's a clear violation of
  22 Article II, Section 13. And we believe, for that reason
  23 alone, that this bill does not stand.
  24           There are obviously many implementation
  25 problems with the bill. And we could go into details,
  0136
   1 but I think much of that testimony has already been
   2 covered, and there will certainly be more.
   3           But I've got to tell you that years ago
   4 when I was single, I used to go to a lot of gunshows.
   5 And I remember watching legislators, not just
   6 republicans, but democrats, come into the gunshows,
   7 prior to the 2000 ballot initiative, to purchase
   8 firearms there, privately. Lobbyists from this
   9 building, not necessarily of the conservative bent. And
  10 I was friends with them; I'd known them for many years.
  11 And I always chuckled with them and said: Why are you
  12 here? And they said, Oh, because I want to buy a gun.
  13 I just don't want government to know I have it.
  14           So that kind of fear of government knowing
  15 that you have a firearm is ingrained in many people, not
  16 just of the right or the left. I think that many people
  17 are concerned about government knowing that you have a
  18 firearm. And the only way you know is through this
  19 system that Brady has implemented.
  20           Now, if you look at the Brady campaign's
  21 actual grades by state and say, What are their violence
  22 rates in those states and what's their rating? -- this
  23 is a correlation of that data. It shows on one axis the
  24 violent crime rates in each state and on the other axis
  25 how they give them a grade. There's no correlation.
  0137
   1 There's absolutely no testimony here to any correlation
   2 that the more stringent their gun laws or the more
   3 stringent their Brady checks are, the less likely
   4 they'll have violence in their state. In fact, if
   5 anything, you might be able to come up with a negative
   6 correlation.
   7           So for that reason alone, I don't believe
   8 that we can expand this, essentially stopping private
   9 sales in Colorado. If this bill passes, that is what it
  10 will do, is stop private sales.
  11           Our organization sponsors a website only
  12 in response to the 2000 ballot initiative. And when the
                                                                                                    LEG HX 000763                   4678
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  13 newspaper           Case:
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  14 a marketplace for people to meet, and there are
  15 literally hundreds of transactions a week going on
  16 there. And to our knowledge, there's never been a crime
  17 committed by any of -- by anyone involved in those
  18 transactions. And we're careful to police it to make
  19 sure that those sales are legal inasmuch as we can.
  20            It's a meeting place, but we don't believe
  21 actually that government has the right to stop us.
  22 Otherwise, we might as well just call it a privilege. I
  23 don't think anybody of any bent in this room probably,
  24 not many, anyway, would call it -- would call it a
  25 privilege. It's a right.
  0138
   1           And that's why you hear horns honking and
   2 people upset, because they really think it's tearing a
   3 right that they have right now.
   4           With that, I'm happy to take any
   5 questions.
   6           THE CHAIRWOMAN: Thank you, Mr. Brown.
   7           Is there any questions from the committee?
   8           I think Senator Harvey has a question.
   9           SENATOR HARVEY: Thank you, Madam Chair.
  10            MR. BROWN: Uh-oh.
  11            SENATOR HARVEY: Mr. Brown, there was a
  12 previous Columbine student, survivor, who is now a
  13 teacher who testified in favor of this bill who said
  14 that you could buy online. Could you clarify what your
  15 site does?
  16            And, also, there was another person who
  17 said that you generate revenue personally from that, and
  18 that's why you are against these bills, specifically
  19 because you generate revenue from your gun site. Can
  20 you explain exactly what your gun site does?
  21            THE CHAIRWOMAN: Mr. Brown.
  22            MR. BROWN: Madam Chairman.
  23            Well, I was downstairs most of that time,
  24 so I didn't hear most of that testimony.
  25            Colorado Gun Market is owned by Rocky
  0139
   1 Mountain Gun Owners, and it's a nonprofit. It's a
   2 service given to members. So if you're a member of our
   3 organization, (inaudible), but people who buy there are
   4 not necessarily members. It's basically like a meeting
   5 place.
   6           So, no, I don't generate any personal
   7 revenue from it. Happy to have that debate with some
   8 people.
   9           But, nevertheless, the question about
  10 transferring firearms online -- and I know there's a
  11 lot -- been a lot of discussion in the media about this;
  12 I've tried to clarify it in the interviews I've given,
  13 but let me make this clear: The 1968 gun control act
  14 absolutely stopped mail sales. In America, it was very
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  15 commonAppellate     Case:
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                                                  J.C. Penney's                       Date Filed: 01/16/2015           Page: 16
  16 and many of what we would normally call the original
  17 retailers in our country sold firearms, and in fact
  18 machine guns prior to 1934, via mail. And that stopped
  19 in 1968, when it was made illegal to transfer a firearm.
  20            So, therefore, if today I wanted to sell a
  21 firearm to someone in the state of Colorado, and the
  22 person, the buyer of that firearm -- let's say we met up
  23 via a newspaper ad in, let's say, Thrifty Nickel --
  24 that's still legal -- or someplace like that, or the
  25 website Colorado Gun Market, or even Armslist is
  0140
   1 nationwide, but if we went and agreed to buy at a
   2 certain price, and we e-mail back and forth, we could
   3 meet privately somewhere, but we couldn't exchange or
   4 transfer that firearm via mail. We can't mail the
   5 firearm via -- and transfer the firearm. You can mail a
   6 firearm to yourself. Let's say you moved and you didn't
   7 want it in your car when you moved, but you cannot
   8 transfer.
   9           So -- in fact, it's even difficult
  10 sometimes to mail firearm. Many places don't actually
  11 do that. FedEx does on a limited fashion. But it's a
  12 federal offense to transfer a firearm via mail. And it
  13 is a federal offense to transfer a firearm to someone
  14 from another state privately. You cannot do that.
  15 You've got to go through a dealer.
  16            So if it's a private sale, and you want to
  17 sell to your cousin in Nebraska, technically that's
  18 illegal. And there are some -- there are some questions
  19 there about family heirlooms and transferring from your
  20 grandpa to your son across state lines, too.
  21            That fully answers the question, Senator.
  22            THE CHAIRWOMAN: Is there any other
  23 questions of Mr. Brown?
  24            I see none. Thank you so much for being
  25 here.
  0141
   1           The next person I have signed up is Daniel
   2 Carey.
   3           Thank you, Mr. Carey. Go ahead and
   4 introduce yourself and who you represent, and then
   5 proceed with your testimony.
   6           MR. CAREY: Madam Chairman, thank you very
   7 much.
   8           My name is Daniel Carey. I'm a registered
   9 lobbyist here from the National Rifle Association. I'm
  10 here in opposition of House Bill 1229.
  11            A lot of the stuff that I wanted to talk
  12 about has been touched upon, especially by Mr. Kopel's
  13 testimony. I think he did an excellent job of
  14 explaining the transfer aspect of it.
  15            I think what I wanted to touch upon and
  16 what I handed out to you, one of the two handouts, was
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  17 the letter         Case: 14-1290
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  18 and I gave that to you as well -- is what I want to
  19 reference here as it relates to California. I know
  20 Mr. Kopel mentioned that the legislation we're
  21 discussing here today was done on a federal level, or at
  22 least introduced on a federal level.
  23           I think that we took, in comparison, what
  24 has been done on a state level, which is California and
  25 Rhode Island, two of the only states that have initiated
  0142
   1 a statewide so-called universal background check, and we
   2 took the criminal records as far as violent crime
   3 related to murder and death and firearms from 1960 to
   4 2011, and compared those from California to Colorado,
   5 and then to the national average.
   6          And if you look at the handout that I gave
   7 to you there, it shows the state of California without
   8 any real positive impact as it relates to having
   9 universal background checks. Did nothing. There's no
  10 attributable benefit to having this in California.
  11           When you look at a comparison of
  12 California, Colorado, and the national average as it
  13 relates to the crime and murder rates from 1960 to 2011,
  14 it shows that we did continue to decline in these murder
  15 rates, but nothing was attributable to these universal
  16 background checks as they've been instituted.
  17           We also have to take into consideration,
  18 if you look at these numbers, that at the same time
  19 while Colorado was declining in its violent crime rates
  20 and while the nation was declining in its violent crime
  21 rates, these so-called universal background checks
  22 didn't exist. So what can we attribute that to? It's
  23 not this type of legislation that we have here.
  24           The other thing that I wanted to touch
  25 upon is the process by which -- that these background
  0143
   1 checks are going to have to go through. And that's
   2 through the Colorado Bureau of Investigation InstaCheck
   3 program. As has been seen in the papers, and as we've
   4 discussed in other testimony here, it's been highly
   5 problematic. I mean, folks have had to wait upwards of
   6 10 days to exercise their Second Amendment rights, when,
   7 on a federal level, they're only asked to wait three
   8 days.
   9          So would you say that their rights have
  10 been violated? I would say yes.
  11           So now we're going to take a group of
  12 individuals who are not in this transfer process in
  13 through the CBI InstaCheck, and now throw them into a
  14 system that can't currently keep up with the amount of
  15 background checks that we're doing to date.
  16           So how is this going to make the system
  17 any better? How are we benefiting law-abiding citizens
  18 in exercising their Second Amendment rights? By
                                                                                                    LEG HX 000766                   4681
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  19 throwingAppellate   Case:
                  them into      14-1290I feelDocument:
                             the system,                   01019371764
                                               it's only going to                     Date Filed: 01/16/2015           Page: 18
  20 be more burdensome.
  21            I think the thing I touched upon in my
  22 previous testimony when this bill was up before the
  23 House that again I'd like to touch upon today, because I
  24 think it is so pertinent, is that when you place an
  25 unjust burden on a law-abiding citizen to exercise their
  0144
   1 right, a constitutional right, whether it be the First
   2 Amendment or the Second Amendment, the Third or the
   3 Fourth, if you place that undue burden on them in
   4 exercising that right, it then becomes unconstitutional.
   5           And I truly feel, and we truly feel as an
   6 organization, that this type of legislation is
   7 unconstitutional due to that and is not going to be a
   8 benefit to anyone other than the criminals because
   9 criminals are not, by their nature, going to go through
  10 the law-abiding steps to get a background check.
  11 They're criminals by nature.
  12            So with that I would like to stand for any
  13 questions the committee may have.
  14            THE CHAIRWOMAN: Thank you so much.
  15            Are there any questions for our witness?
  16            I see none. You got off easy.
  17            MR. CAREY: That was easy. Thank you very
  18 much. I appreciate it.
  19            THE CHAIRWOMAN: Thanks so much.
  20            Terry Maketa. Welcome, Mr. Maketa.
  21            Go ahead and introduce yourself, who you
  22 represent, and then proceed with your testimony.
  23            MR. MAKETA: Thank you, Madam Chair.
  24            I'm Terry Maketa, sheriff of El Paso
  25 County. And I am here speaking on behalf of all of
  0145
   1 Colorado's law-abiding citizens as well as a member of
   2 law enforcement, a member of the sheriffs of Colorado.
   3 And I also bring a unique perspective that I am the only
   4 law enforcement official, local law enforcement
   5 official, that serves on the FBI CJIS working board.
   6 Not only that, I have been elected and serving on the
   7 director of the FBI's advisory policy board. So I bring
   8 a little bit different perspective than maybe what you
   9 heard from Director Sloan and others who have provided
  10 testimony.
  11            The first thing that I would like to say
  12 is when this bill, I think, was first conceptualized,
  13 and maybe not even introduced, but proposed, I started
  14 getting citizens calling, asking what my stance was.
  15 And my initial response was: We already have a
  16 background. I haven't seen the bill, but if it's a
  17 background check system that targets criminals and
  18 prohibits their access or interferes, I don't have a
  19 problem with it.
  20            Now I made that statement publicly several
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                                  print, and that         01019371764
                                                  was under the                       Date Filed: 01/16/2015           Page: 19
  22 assumption that what we had in place, it could not be
  23 much more dramatic than that.
  24           To be honest, I was quite surprised when I
  25 did finally get a copy of the bill and read the bill and
  0146
   1 saw some of the provisions and expectations that I think
   2 creates a false belief in those people that are
   3 supporting this. And I think we've heard great
   4 testimony on both sides of this issue this morning, but
   5 the one or two elements that I see that run throughout,
   6 those that are in support of it, is a misunderstanding
   7 of what this does. And I think any law that creates the
   8 potential for law-abiding citizens intending to follow
   9 the law creates -- or criminalizes them is the biggest
  10 tragedy of all of this.
  11           And when we start talking about my father
  12 holding on to firearms to pass on to his grandchildren,
  13 that potentially being a crime if he doesn't conduct a
  14 background check, number one, because he wouldn't be
  15 familiar with the laws in Colorado -- he's an Alaska
  16 resident, with property in Colorado -- number two, my
  17 21-year-old son not knowing every aspect other than he
  18 believes, in order to buy a firearm, you have to
  19 conduct -- or have a background check done. But the
  20 passing from one family member to the other, or the
  21 scenario where my father, who owns a house in my
  22 neighborhood, spends half his time in Colorado, half in
  23 Alaska, leaves a firearm in his house, but while he's
  24 gone, says, "Terry, will you keep my firearm in your
  25 safe? I don't want to leave it in the house." And now
  0147
   1 he may be subjected to criminal activity.
   2          Then my son comes to me and says, "Dad,
   3 I'm going to the range. Can I fire Grandpop's handgun?"
   4          "Sure, go ahead and take that." Now he is
   5 facing potential criminal charges.
   6          The intent of laws shouldn't be to
   7 criminalize law-abiding citizens. It should be to
   8 protect citizens and hold those who willfully violate
   9 our laws accountable for their actions.
  10           Some of the provisions that cause me the
  11 greatest concern was the expectation or the claim that
  12 there will be audits to ensure information is going from
  13 our various judicial districts into the Colorado
  14 InstaCheck, as well as the national InstaCheck, system.
  15 The fact is the information that is supplied now is not
  16 reliable and it's not valid.
  17           The insinuation in this bill that dictates
  18 what the NICS system -- NICS being the National
  19 InstaCheck System -- will accept and not accept or how
  20 it will deal with appeals is really invalid. We all
  21 know state government cannot mandate federal government
  22 to anything.
                                                                                                    LEG HX 000768                   4683
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  23        Appellate
                I sit on,Case:  14-1290 andDocument:
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  24 vice chairman of the western working group for the FBI
  25 Criminal Justice Information System. Essentially what
  0148
   1 that means is that I am the local law enforcement rep of
   2 all of the western United States for policies and
   3 proposals that are made with regard to all Criminal
   4 Justice Information Systems at the FBI level.
   5           From that board, we're actually elected to
   6 serve on the directors' advisory policy process board.
   7 I have served on that board for approximately four
   8 years, on the working group for approximately seven
   9 years.
  10            There is a process by which changes are
  11 made to all the FBI information -- Criminal Justice
  12 Information Systems. A state merely saying, "You're
  13 going to accept this information, you're going to handle
  14 this this way," doesn't work. The system is designed to
  15 fit the needs of all 50 states and U.S. territories, not
  16 because one state decides that they want this done this
  17 way.
  18            Now, in the past couple years, it's
  19 actually been proposed that the Colorado InstaCheck
  20 system be taken off-line because it's a duplication of
  21 effort and we should simply rely -- and I know there has
  22 been proposed legislation, especially during difficult
  23 budget years.
  24            The testimony to keep the Colorado
  25 InstaCheck system in place is because we can't rely on
  0149
   1 the NICS system because it does not have timely
   2 information as it pertains to restraining orders,
   3 whether they be permanent or temporary, or the status of
   4 mentally ill. And I can tell you in the last four or
   5 five years, the CJIS group at the Federal Bureau of
   6 Investigations has struggled with what information to
   7 accept and what not to accept because it can't be vetted
   8 and validated, especially when you're talking about
   9 mentally ill. There's a very high reluctance on that,
  10 as well as there's a reluctance and an extreme caution
  11 used when deciding what information that can even be
  12 validated or vetted through a process and be relied on.
  13            It's something that we constantly struggle
  14 with, so that an innocent citizen doesn't get mislabeled
  15 and prevented from exercising the purchase of property
  16 in a lawful fashion, or a misidentification, especially
  17 in a time where identity theft is common. And the
  18 Internet has made that very simple.
  19            I think we all agree we want to do what we
  20 can to save lives. We all agree we want to keep
  21 firearms out of the hands of those that intend to cause
  22 harm to others. And I think we all agree that we should
  23 not criminalize law-abiding citizens that do not realize
  24 they may be in violation of the law by passing family
                                                                                                    LEG HX 000769                   4684
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            Appellate
  25 heirlooms          Case:
                  or gifts from 14-1290       Document:
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                                                             next,                    Date Filed: 01/16/2015           Page: 21
  0150
   1 or asking one family member to hold something because
   2 they're out of town, or another family member to borrow
   3 a firearm so they can maybe go out and target shoot and
   4 then determine if it's a firearm they want to own.
   5           Our Colorado InstaCheck system has already
   6 shown evidence of it being overloaded. We haven't even
   7 begun including private sales in there, and already,
   8 just up to two and a half weeks ago, the Colorado
   9 InstaCheck system was backlogged 18 days. I looked on a
  10 computer at the CBI website and saw it for myself.
  11 Backlogged 18 days with just the parameters that it's
  12 currently searching.
  13           The concealed handgun background checks
  14 exceeded 90 days for 101 of my residents in El Paso
  15 County just on Friday.
  16           What makes us think that CBI -- and I have
  17 tremendous confidence -- I consider them my friends,
  18 both Director Sloan and his staff -- but what makes us
  19 think they can handle this increased volume with the
  20 accuracy that's going to make a difference in saving
  21 lives? The fact is, the data tells us it won't make a
  22 difference.
  23           1.4 million firearms were stolen from
  24 citizens between 2005 and 2010. That's an average of
  25 240,000 firearms a year. If we carry that through from
  0151
   1 2011, '12, and on into '13, we're looking at 2 million
   2 firearms illegally circulating in this country.
   3           This background check makes people
   4 believe, or this bill makes people or leads them to
   5 believe that they will be safer and these firearms will
   6 be stopped and bad guys won't get them anymore. It
   7 gives the false perception of safety. And the fact is
   8 it will not. There will still be 2 million firearms
   9 circulating in this country illegally. And those
  10 individuals that are operating outside the rules set by
  11 society, they won't be inconvenienced by this because
  12 they will just buy it underground. I think the worst
  13 thing we can do as elected officials, as leaders in our
  14 community, is pass laws that give a false sense of
  15 safety.
  16           I think that in and of itself is a
  17 tragedy. I think that's why we have so many sheriffs
  18 standing here today feeling so passionate about this.
  19 If we knew that the data supported that this bill would
  20 make our community safer, would prevent a Columbine,
  21 would prevent an Aurora theater shooting, we would be
  22 onboard. But the fact is, we, like you, answer to our
  23 constituents. And there's not one of us who can look us
  24 in the eye and say, "This bill will make you safer."
  25           It will create an inconvenience. And I
  0152
                                                                                                    LEG HX 000770                   4685
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   1 feel --Appellate
             I fear mostCase:    14-1290people
                          that innocent      Document:
                                               are going 01019371764
                                                          to be                       Date Filed: 01/16/2015           Page: 22
   2 labeled criminals because they're inadvertently going to
   3 transfer a weapon, with good intent, to family members
   4 and friends, and they're going to have to learn what our
   5 legal system is all about.
   6           I think if we want to do something right,
   7 if we do share a passion to protect our citizens --
   8 Sheriff Justin Smith from up in Larimer County had a
   9 great idea: Why don't we quit talking about running
  10 people through systems to see if they match up to a
  11 criminal record. Why don't we in Colorado take a
  12 leadership role in this country and create a database
  13 that lists the people we know should not have firearms.
  14 Let's put that out to the public. Let's get public
  15 (inaudible) and its community policing and partnering
  16 with the public, that the crime that we've seen in the
  17 last 15 years is partnering with them. Let's create a
  18 database at CBI that we load in the people we know
  19 cannot have one. It would be very timely.
  20            The search on that database would be much
  21 quicker and less cumbersome than a search searching all
  22 of the criminal databases and the other civil databases
  23 maintained by Colorado and the national -- and the FBI
  24 Criminal Justice Information System.
  25            Citizens could access it via the Internet
  0153
   1 and check and see: Can that neighbor have a firearm?
   2 Can my brother have a firearm? Can this guy who called
   3 me and heard I had one and that I want to sell, let's
   4 see if he's on that list.
   5           That would not impede on the rights of
   6 individuals to purchase firearms, especially those
   7 law-abiding citizens. It would target the criminals who
   8 seem to protect and keep them in darkness. I mean, it's
   9 not open to the public who cannot have a weapon. It's
  10 only open to the criminal justice entities in the state
  11 or by a specific request.
  12            I would ask this committee and this
  13 legislature to join those in law enforcement that truly
  14 want to make our community safer and let's come up with
  15 legislation that targets those people that are most
  16 probable to commit this crime, and not criminalize those
  17 that never have an intent to commit a crime, and let's
  18 do something that is measurable and will have
  19 evidence -- base data to show that it has made a
  20 difference.
  21            Thank you and I'll entertain any questions
  22 with your permission.
  23            THE CHAIRWOMAN: Thank you. We do have
  24 some time for questions, but I want to let the committee
  25 members know the 90 minutes has expired for those in
  0154
   1 opposition, but we have time for questions.
   2           Senator Crowder.
                                                                                                    LEG HX 000771                   4686
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   3        Appellate
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                                                         coming                       Date Filed: 01/16/2015           Page: 23
   4 here, Sheriff. I have just a quick question.
   5           As a law enforcement official, were you or
   6 any of your associates consulted on this particular
   7 bill, by any chance, prior to the writing of it?
   8           MR. MAKETA: I --
   9           THE CHAIRWOMAN: Sheriff Maketa.
  10            MR. MAKETA: I'm sorry.
  11            THE CHAIRWOMAN: That's okay.
  12            MR. MAKETA: To answer the question, I was
  13 not consulted in any way. I'd have to ask my fellow
  14 sheriffs. I don't believe they were. And I feel that,
  15 if we were, the version that is being heard today would
  16 not be in existence.
  17            SENATOR CROWDER: Thank you.
  18            THE CHAIRWOMAN: Is there any other
  19 questions?
  20            Seeing none, thanks.
  21            MR. MAKETA: Madam Chair, I do have one
  22 comment. This question was asked much earlier by
  23 Senator Crowder, and I have the answer to it, if I may.
  24            The question is surrounding how many
  25 prosecutions occurred from those denials of purchases
  0155
   1 with your first speaker, which I believe was Director
   2 Sloan. Out of the couple hundred thousand that has been
   3 turned down by the NICS, the National InstaCheck System,
   4 they vetted through and selected 76,000 that were
   5 forwarded to the Bureau of Alcohol, Tobacco and
   6 Firearms. Out of that 76,000, 13 cases received a plea
   7 of guilty or a verdict of guilty.
   8           I hope that answered your question.
   9           SENATOR CROWDER: Madam Chair.
  10            THE CHAIRWOMAN: Senator Crowder.
  11            SENATOR CROWDER: It does. You know, the
  12 individual that answered it, there was just denials.
  13 But the thing about it, if you have a law, there should
  14 be criminal intent, there should be a fine, and there
  15 should be a conviction. That's why I asked the
  16 question. Thank you very much for your information.
  17            THE CHAIRWOMAN: Thank you.
  18            The time is up, and I just want to thank
  19 again all the sheriffs and my own sheriff there for
  20 being here, and thanks for your service, but no
  21 clapping. That doesn't mean we didn't think it deserved
  22 applause. We're just trying to run our meeting.
  23            Senator Harvey has something to say before
  24 everyone takes off.
  25            SENATOR HARVEY: I just wanted to ask a
  0156
   1 quick question. Does that mean that all of the other
   2 ones were negatives, or these were just the ones that
   3 were positive that we know about?
   4           MR. MAKETA: I'm sorry, I'm not sure I
                                                                                                    LEG HX 000772                   4687
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            Appellate
   5 understood         Case: 14-1290 Document: 01019371764
                   the question.                                                      Date Filed: 01/16/2015           Page: 24
   6           THE CHAIRWOMAN: Senator Harvey.
   7           SENATOR HARVEY: You said there were only
   8 13 convictions of those that were drawn. Does that mean
   9 all the other ones were not criminal offenses, so they
  10 couldn't be prosecuted, or these were just the ones that
  11 we did prosecute?
  12            THE CHAIRWOMAN: Sheriff Maketa.
  13            MR. MAKETA: I'm not sure how many they
  14 prosecuted. I pulled this data off the Federal -- the
  15 Bureau of Justice statistics, with regard to the success
  16 of the NICS system. And the cases that the FBI comes
  17 across, they don't take those. They refer them over to
  18 the Bureau of Alcohol, Tobacco and Firearms. Out of the
  19 76,000, it only resulted in 13 cases. They didn't
  20 provide any additional information. But I'm actually
  21 leaving today at 7:30 from DIA to fly to my next
  22 meeting, and I will see if I can't get you that answer
  23 because I'll be meeting with those folks then.
  24            THE CHAIRWOMAN: Thanks so much. Thanks
  25 again, everybody.
  0157
   1           (Inaudible discussion.)
   2           THE CHAIRWOMAN: What I think might be a
   3 great idea, because I'm sure that there are people who
   4 have traveled here that didn't get to testify either in
   5 opposition or support, but since those, I think, are in
   6 the room -- because we're on those in opposing -- if
   7 you -- I guess I'm offering a little piece, that if
   8 you'd like to stand in opposition to Senate Bill 1229,
   9 that you didn't get to testify, you're welcome to do
  10 that. So go ahead. It gives us a sense, an idea.
  11            Thank you so much. Thanks for being here.
  12            I went with my colleagues, and they gave
  13 me the list and they used the time in that way. Our
  14 sponsor used the time to actually bring it down to three
  15 minutes. So I apologize, that's what was given to me by
  16 those who are in opposition.
  17            (Inaudible discussion.)
  18            THE CHAIRWOMAN: Yes, we'll go ahead and
  19 do that, and Julia will take that.
  20            Thank you so much and thank you for all
  21 your patience and your understanding of our process
  22 here.
  23            So I am going to go ahead and close public
  24 testimony and turn it over to our --
  25            (Inaudible discussion.)
  0158
   1           THE CHAIRWOMAN: Sir, I'm sorry -- that's
   2 not what we do here. I don't know if there's a -- we
   3 don't do (inaudible) from the audience there. I'm
   4 sorry.
   5           (Inaudible discussion.)
   6           THE CHAIRWOMAN: You sure can. Again, I
                                                                                                    LEG HX 000773                   4688
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   7 know Appellate     Case:
            this is a new       14-1290
                           process          Document:
                                   to so many people, and01019371764
                                                           we're                      Date Filed: 01/16/2015           Page: 25
   8 glad to have people from all over the state come up here
   9 and testify, but there is a process and an order to make
  10 sure that we actually can get business and procedures
  11 done here. So thank you, and again I apologize. That
  12 was the way that I think those who were in opposition
  13 wanted to utilize their time. So that was a choice
  14 there.
  15            So as I did, I went ahead and closed
  16 public testimony. I will go ahead and turn it back over
  17 to our sponsor. I don't know if you have any
  18 amendments.
  19            SENATOR CARROLL: Thank you, Madam Chair
  20 and the committee.
  21            I do have some amendments. I don't know
  22 if you want to do those prior to wrap-up. I do think
  23 some of the amendments are going to be responsive to
  24 some of the points that have been raised up here today.
  25 So your choice as to whether you want to do wrap-up or
  0159
   1 amendments first.
   2           THE CHAIRWOMAN: I think we'll go ahead
   3 and do amendments, but I may want to wait -- I might
   4 take a senatorial five until we have Senator Harvey come
   5 back.
   6           SENATOR CARROLL: And then we'll need --
   7           THE CHAIRWOMAN: Yeah, and then we're
   8 going to need Senator Hudak to be able to begin here to
   9 vote, too. So why don't we do that. Senatorial five.
  10            (A recess was taken.)
  11            THE CHAIRWOMAN: I'm going to go ahead and
  12 call us back to order. And I just wanted to make a
  13 quick announcement.
  14            As you might have noticed, in the
  15 testimony that we had previously, people did talk in
  16 general, and I allowed, I think through my authority,
  17 for people to speak to maybe some other bills that were
  18 before the Senate. And so if you were -- if you're
  19 signed up to testify on another bill and you want to
  20 talk about 1229, feel free to do that.
  21            We really do apologize. I think all of us
  22 up here want to hear as much as we can from especially
  23 those who drove from a distance to be here. So we're
  24 trying to make those accommodations.
  25            And then I think I also might announce now
  0160
   1 Senator Heath, who is carrying the next two bills that
   2 we will be hearing. There is a lot of testimony on the
   3 bill that we were scheduled to hear third. So I'm going
   4 to look at those numbers. I'm not very good with
   5 numbers.
   6           (Inaudible discussion.)
   7           THE CHAIRWOMAN: So we'll probably hear
   8 1226 first, thinking that they'll have more people for
                                                                                                    LEG HX 000774                   4689
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            Appellate
   9 that testimony    -- Case:
                          no, we 14-1290       Document:
                                 have an objection   to that.01019371764              Date Filed: 01/16/2015           Page: 26
  10            UNIDENTIFIED SPEAKER: I have people
  11 coming back at 6:30 or so on a request I asked --
  12            THE CHAIRWOMAN: Right. We were just
  13 thinking of the storm, and maybe that changed. Okay. I
  14 did, I think I was the one who said that to you. So we
  15 will -- we won't make adjustments for the weather.
  16            So, again, to remind you, if you didn't
  17 get an opportunity to testify on 1229, you will have an
  18 opportunity in the other two bills, if you would like to
  19 take that opportunity. So I'm going to turn it back
  20 over to Senator Carroll, but you may be wanting me to do
  21 my deal.
  22            SENATOR CARROLL: Thank you, Madam Chair.
  23            Now we're moving into the amendment phase,
  24 and I think starting with the amendment that you're
  25 offering, if you wouldn't mind, maybe we begin there, if
  0161
   1 you would go ahead and move it and explain that one.
   2           THE CHAIRWOMAN: Great. Thank you. So I
   3 do move L.028. And it has been distributed. And I
   4 guess I want to say -- everybody has a copy; is that
   5 right? L.028.
   6           I keep hearing something.
   7           I first want to thank Senator Carroll for,
   8 one, for carrying this bill; and then, two, prepared to
   9 listen to some concerns that I had in talking to my
  10 constituents, and certainly listening to the testimony
  11 here today. And I really believe that some of the
  12 issues that were talked about were issues that I brought
  13 as I came today. And I can believe this is a friendly
  14 amendment. Senator Carroll can say that later. But I'm
  15 going to go ahead and explain the amendment to the
  16 committee.
  17            So on the first part of the amendment, on
  18 page 4, line 2, after "transferor," I've inserted -- had
  19 "transferee" inserted. And this requires that the
  20 federally licensed firearm dealer, or the FFL, upon
  21 completion of the background check, to give a copy of
  22 the results both to the party of the transaction and not
  23 just to the transferor or the seller. So that's that
  24 first part.
  25            And then the second part, on page 5, line
  0162
   1 3 through 6, we have talked a lot, I think, today about
   2 being able to transfer that to family members. And so
   3 there's a piece in here where, based on the constituents
   4 that I've talked to, that we wanted to expand that. So
   5 the language that I'm having inserted is that the
   6 transfer -- that it's a bona fide gift, that they really
   7 are giving that gift between immediate family members.
   8 I'm just expanding the family members not only to
   9 include spouses, parents, children, siblings,
  10 grandparents, and grandchildren, but also recommending
                                                                                                    LEG HX 000775                   4690
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  11 that weAppellate    Case: nephews,
               include nieces,   14-1290 firstDocument:    01019371764
                                                cousins, aunts,                       Date Filed: 01/16/2015           Page: 27
  12 and uncles.
  13            And then there's a technical piece. On
  14 page 6, line 7, we're striking "or." It's just a
  15 technical.
  16            And then No. 4 is really what we have --
  17 or the fourth part of my amendment is what we've had
  18 numerous conversations here today. And so it's talking
  19 about -- and on the bill, it's page 6, line 11 -- we're
  20 striking line 11 and substituting. We're talking about
  21 temporary transfers here. So this piece expands that
  22 type of temporary transfer that can be conducted without
  23 a background check. So the first part of the amendment,
  24 you can always -- and I went, myself, went to a shooting
  25 range with some constituents upon that invitation, and
  0163
   1 they allowed me to -- because I didn't have my own
   2 weapon, so they allowed me to use theirs. And this
   3 would allow that there. The owner of the gun, they're
   4 in my presence, that I'd be able to use that without
   5 violating any laws.
   6           The second part of that is that the
   7 amendment would allow for a 72-hour transfer period. So
   8 that's a temporary transfer of 72 hours. And so some of
   9 the situations that have come up, things Senator Harvey
  10 talked about, but I'll use my own example. I'm the
  11 firearm owner. I wanted to lend it to my husband so he
  12 could feel protected, and didn't have a firearm himself,
  13 I could leave him that, be gone for the weekend, and he
  14 would feel confident to be able to protect himself; and
  15 that would be a transfer that would be acceptable under
  16 this bill, if this amendment is adopted.
  17            So that is, I think, the substantive part
  18 of my amendment.
  19            And Senator Harvey is looking at me funny.
  20 Would you like to address the amendment, Senator Harvey?
  21            SENATOR HARVEY: Well, thank you, Madam
  22 Chair.
  23            I'm not looking at you funny. I'm looking
  24 at the amendment funny. I find the amendment silly. If
  25 I'm out of town for a week, my wife only has the
  0164
   1 temporary transfer for 72 hours. What is the magic
   2 number of 72 hours? If she's my wife, she's my wife.
   3 That kind of goes to the silliness of the entire bill,
   4 in my opinion. You can't enforce it. You can't say
   5 we're going to allow law-abiding citizens to have a gun
   6 for 24 hours or 72 hours and put -- and government say
   7 what is an appropriate time limit for you to be able to
   8 defend yourself.
   9           So we're going to say you can defend
  10 yourself for 72 hours, but, Senator Giron, if you leave
  11 town for more than 72 hours, your husband doesn't have
  12 the constitutional right to defend himself.
                                                                                                    LEG HX 000776                   4691
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  13        Appellate   Case: 14-1290 Thank
                THE CHAIRWOMAN:               Document:     01019371764
                                                   you, Senator                       Date Filed: 01/16/2015           Page: 28
  14 Harvey.
  15            I guess I didn't really think there was a
  16 magic number, but, actually, upon testimony, and I think
  17 more than one witness said, is that then an individual
  18 would have that time to be able to go themselves and get
  19 a firearm to protect themselves. So that's where the 72
  20 hours is that magic number that you were looking for.
  21            Senator Harvey.
  22            SENATOR HARVEY: Well, I don't know about
  23 your household, Senator Giron, but in my household, I
  24 don't have enough money for my wife to go buy a $500 gun
  25 to defend herself and exercise her Second Amendment
  0165
   1 rights.
   2           I have a gun, the family has, that's in my
   3 name. I purchased it. But in your amendment, because
   4 I'm poor, my wife has to be defenseless after 72 hours;
   5 but if I were in your household that's not poor, then
   6 you could defend yourself more than 72 hours because you
   7 have the wherewithal to buy a second gun. That doesn't
   8 sound very equitable to me.
   9           But you're telling me that my wife has to
  10 be unarmed after 72 hours, if I'm gone for more than 72
  11 hours, because the government, in its ultimate wisdom,
  12 has chosen to say 72 hours is the limit that law-abiding
  13 citizens can defend themselves. I think that's
  14 inappropriate for the government to say, especially in
  15 light of the Constitution that we've all taken a pledge
  16 to uphold.
  17            THE CHAIRWOMAN: I very appreciate your
  18 thoughts on that matter. I guess I -- I had a thought,
  19 and I just lost it, so let me think about that. Let me
  20 see if there are any other comments on the amendment.
  21            And Senator Carroll.
  22            SENATOR CARROLL: Thank you, Madam Chair.
  23 And I'm not sure we actually moved it yet.
  24            THE CHAIRWOMAN: I did move it.
  25            SENATOR CARROLL: I didn't quite hear
  0166
   1 that.
   2           So this may not do everything that you're
   3 wanting, but if you're wanting fewer situations, here's
   4 the thing: For anyone who's having some concerns with
   5 the bill as drafted because of the possession issues,
   6 this actually moves closer towards a direction of
   7 removing more of those potential situations. So I
   8 wouldn't necessarily contemplate that it necessarily
   9 addresses them, but if anyone has concerns with the bill
  10 because -- first of all, as a sponsor, I'll tell you the
  11 pieces of this that I think are good and why I would
  12 actually consider this a friendly amendment.
  13            As a logistical matter and the bill was
  14 introduced on the first part -- we need to make sure
                                                                                                    LEG HX 000777                   4692
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            Appellate
  15 both the           Case:
                buyer and       14-1290
                           seller get a copy Document:    01019371764
                                              of their paperwork.                     Date Filed: 01/16/2015           Page: 29
  16 I mean, that's just a logistical issue.
  17            The request to have an expanded definition
  18 of family is one that does come based on testimony. So,
  19 again, by expanding the definition of family, you're
  20 extending, under subsection B on 5, those could be
  21 included in a bona fide gift.
  22            I guess part of the issue that was coming
  23 up in how it's written is folks will see a whole series
  24 of exceptions, you know, that start on page 4, which is
  25 exempting certain antiques, going through an exemption
  0167
   1 for immediate family, gifts, the wills and inheritance
   2 situation.
   3          The other thing that I thought was
   4 relevant to what had come up before that I think also
   5 applies to the spouse situation is a transfer that's
   6 temporary under subsection D and occurs while in the
   7 home, as long as you're not basically doing it -- like
   8 if your wife is not a convicted felon. So that's in
   9 addition to subsection B, is also subsection D, which is
  10 other folks that might be in the home.
  11            The issue that we've come into, as you can
  12 imagine -- I mean, the exceptions go on to say, you
  13 know, for temporary use with shooting ranges and kind of
  14 contemplating some of those appropriate gun safety
  15 classes or target shooting, competitions, hunting,
  16 fishing, you know, for firearms repairs.
  17            The problem with not adopting this
  18 amendment is that there's the potential for all kinds of
  19 totally appropriate, lawful activity that could be
  20 happening within a temporary period of time. And
  21 without putting in a catchall exception of lawful
  22 activity on the transfer here, you're leaving it to sort
  23 of one hypothetical at a time.
  24            And I may not change your mind on the
  25 amendment, but the amendment does move closer, instead
  0168
   1 of trying to necessarily list every single thing that
   2 can be used, because there may be others that we haven't
   3 contemplated yet, that this is basically then for any
   4 lawful purpose on a loan. It contemplates a loan for
   5 any lawful purpose to someone who is not criminally
   6 ineligible.
   7          THE CHAIRWOMAN: Thank you, Senator
   8 Carroll.
   9          And I did remember my thought. Can I show
  10 you my thought?
  11            SENATOR HARVEY: I'm dying to hear it.
  12            THE CHAIRWOMAN: Now that you said that --
  13 I'm trying to think about that 72 hours -- oh, that
  14 there is no perfect time frame. But I think we open it
  15 up so much that we would just be able to let anyone
  16 borrow it. And I think that there has to be a limit.
                                                                                                    LEG HX 000778                   4693
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           Appellate
  17 So I think         Case:
                 that really is 14-1290       Document:
                                -- if you don't            01019371764
                                                put any time                          Date Filed: 01/16/2015           Page: 30
  18 on to it, you may not want this amendment or want the
  19 bill for sure, but I do think that that's reasonable, 72
  20 hours, because when I was talking to the constituents in
  21 my district, they were really talking about weekends
  22 where they were hunting and those kinds of sporting
  23 events, or they wanted to go to a shooting range, they
  24 wanted to try out a gun for a short period of time
  25 before they purchased it.
  0169
   1           So that was just trying to put my arms
   2 around a period of time that seemed to make sense. And
   3 maybe there isn't a perfect time.
   4           Senator Harvey.
   5           SENATOR HARVEY: Thank you.
   6           And I appreciate that, but that's what
   7 we're getting to here, is when government tries to set
   8 up exceptions to the laws that they already -- that they
   9 are putting in place, to deny law-abiding citizens the
  10 right to self-protection in this case.
  11            We are saying we're going to deny the
  12 right to legal, lawful citizens the right to defend
  13 themselves with this bill, but we're going to make these
  14 exceptions, because this bill isn't denying -- this bill
  15 won't stop bad people from getting guns. They already
  16 do.
  17            Look at Chicago. It's the highest murder
  18 rate in the world, and they already have so many
  19 restrictions on guns that nobody should have guns there.
  20 But they do. And more people have died in Chicago in
  21 the last 10 years than Americans have in Afghanistan.
  22 That doesn't mean that it's going to stop illegals -- or
  23 criminals from getting illegal guns.
  24            But you are -- we already have on the
  25 books that it is illegal to give a gun to somebody you
  0170
   1 know or should have known shouldn't have a gun. That
   2 law is already on the books. So what we're saying is,
   3 to Senator Carroll's comments about this amendment, if
   4 we follow paragraph B and say a transfer that is a bona
   5 fide gift between immediate family members, that that
   6 deals with the wife being, or the husband being, left at
   7 home for more than 72 hours. I can gift my wife, you
   8 can gift your husband your gun while you're gone. And
   9 then he can gift it back to you and he won't have to
  10 abide by the rules of this bill.
  11            That's the protection, is if you gift it
  12 to them. So are we going to write down a contract that
  13 says we gifted it to them? Because if we don't write
  14 that contract down and we just, under paragraph H, line
  15 13, then we are violating the 72-hour rule. And if
  16 something bad happens -- where who knows what might
  17 happen -- and we don't have that contract to say that I
  18 gifted it to them, then we're both in violation of this
                                                                                                    LEG HX 000779                   4694
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            Appellate Case: 14-1290 Document: 01019371764
  19 statute.                                                                         Date Filed: 01/16/2015           Page: 31
  20            We are tying ourselves in knots to try to
  21 get out of the unintended consequences of a bill that
  22 all of the sheriffs in the state of Colorado stood up
  23 here and said they can't enforce in the first place. It
  24 is the unintended consequence of all of these amendments
  25 and all of these -- and this bill that is so concerning
  0171
   1 to most law-abiding people in the state of Colorado.
   2           THE CHAIRWOMAN: And the last thing I
   3 would say on this is that, as we had witnesses testify,
   4 that -- I heard anywhere between 88 and 92 percent of
   5 Coloradans support background checks for everyone. And
   6 that can be disputed. But what I heard some people say
   7 was that, if they understood that they couldn't give it
   8 to their first cousin, then maybe they would have not
   9 said they were in support of that.
  10            I do think that with this -- my belief
  11 definitely is that universal or background checks for
  12 everybody, citizens are in favor of that, and what we're
  13 just trying to do is to not to make it burdensome on our
  14 law-abiding citizens. And I think that this amendment
  15 helps to do that, and I stand by that.
  16            Senator Harvey, our last comment.
  17            SENATOR HARVEY: Every poll that was
  18 referenced today talked about the sale, not transfer,
  19 the sale. This amendment talks about transfers, about
  20 how to limit law-abiding citizens' abilities to transfer
  21 firearms amongst family members. That's what this
  22 amendment does. I don't think any poll has been taken
  23 about, should you be denied the ability to transfer or
  24 be restricted in the way you transfer amongst family
  25 members or friends, for that matter?
  0172
   1           THE CHAIRWOMAN: So I have moved the
   2 bill -- or the amendment. And so is there any
   3 objections to the amendment?
   4           SENATOR CROWDER: Oh, yeah.
   5           THE CHAIRWOMAN: In that case, we'll go
   6 ahead and do a roll call. Thanks, Julia.
   7           JULIA: Senator Crowder.
   8           SENATOR CROWDER: No.
   9           JULIA: Senator Harvey.
  10            SENATOR HARVEY: No.
  11            JULIA: Senator Hudak.
  12            SENATOR HUDAK: Aye.
  13            JULIA: Senator Jones.
  14            SENATOR JONES: Yes.
  15            JULIA: Madam Chair.
  16            THE CHAIRWOMAN: Aye.
  17            JULIA: Three to two.
  18            THE CHAIRWOMAN: That amendment is
  19 adopted. And I'll turn it back over to Senator Carroll.
  20            SENATOR CARROLL: Thank you, Madam Chair.
                                                                                                    LEG HX 000780                   4695
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               I wouldCase:
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                                                   Amendment                          Date Filed: 01/16/2015           Page: 32
  22 L.023, I believe, and then I can explain it.
  23           THE CHAIRWOMAN: Senator Jones.
  24           SENATOR JONES: Madam Chair, I move
  25 Senate -- or Amendment L.023.
  0173
   1           THE CHAIRWOMAN: For motions, Senator
   2 Carroll, do you want to talk to us about --
   3           SENATOR CARROLL: Thank you.
   4           Members, this is basically a technical
   5 amendment from the judicial department that does three
   6 things. In the first version of the bill, you'll see
   7 referred to as clerks of the district courts. This
   8 swaps out the state court administrator in that role,
   9 which is how we currently send information to the CBI.
  10 So that is making sure that we are referencing the
  11 correct -- the state court administrators, what that
  12 should be.
  13           Also, we have on this, like at the
  14 appellate level, one of the provisions of the bill that
  15 we didn't spend as much time talking about is there's a
  16 couple of restoration-of-rights provisions in here, both
  17 for people who get on the list for court-ordered mental
  18 health stuff as well as other things. So the bill adds
  19 due process on restoration of rights for how someone can
  20 get off the list that is currently on there right now.
  21           In the earlier version of the bill, this
  22 is just -- typically, appellate court judges don't take
  23 new information. What this does is clean up the
  24 language where they can accept it. They don't have to,
  25 but it is usually -- they don't do what's called a de
  0174
   1 novo review on appeal. They're stuck with a record.
   2 And if a gun owner feels like there's new information
   3 that needs to be presented outside of the original
   4 proceedings, that we're giving the Colorado Court of
   5 Appeals the discretion to be able to do that.
   6           Then the third part of what it does, on a
   7 technical cleanup here, is that it's clarifying we're
   8 sending the new misdemeanor information to CBI rather
   9 than to both CBI and the NIC system, which is the
  10 federal system. And the reason for that is that -- we
  11 don't do that now. The way we do it now is we give it
  12 to CBI, and then NICS gets it from us. So this is
  13 conforming the process of this bill to how we actually
  14 do it in other background check areas. So that's L.023.
  15           SENATOR HARVEY: Madam Chair.
  16           THE CHAIRWOMAN: Senator Harvey.
  17           SENATOR HARVEY: Thank you, Madam Chair.
  18           I would ask that the chair rule this
  19 amendment is out of order. It's a multipage amendment
  20 that wasn't given to us until just now. Under the rules
  21 of this committee, if I understand correctly, we have to
  22 be given a 24-hour rule -- advance on all multipage
                                                                                                    LEG HX 000781                   4696
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  23 amendments.                                                                      Date Filed: 01/16/2015           Page: 33
  24            THE CHAIRWOMAN: And that is a rule -- I
  25 saw this as almost -- it wasn't substantive, but, I
  0175
   1 mean, do you see a good amount of substantive nature to
   2 this that isn't something that we could understand in
   3 that period of time?
   4           Senator Harvey.
   5           SENATOR HARVEY: Well, multiple things.
   6 If we are going to be offering amendments to the bill
   7 to, quote, make it better, I think it would be
   8 advantageous to us to be talking to the experts in the
   9 State, David Kopel and other law enforcement people,
  10 about these amendments. David Kopel is probably the
  11 foremost expert in the nation on gun laws, and he's
  12 right here two blocks away from this building. And he
  13 said that he wasn't contacted about the writing of this
  14 bill and offered amendments, to make suggestions to what
  15 he thought would be appropriate ways to deal with the
  16 transfers and the background checks. He was never
  17 asked, and neither were the sheriffs. At least Sheriff
  18 Maketa from Colorado Springs was never asked. And this
  19 is a multipage amendment. And that's going against the
  20 rules of this committee.
  21            And if we're going to be amending the
  22 bill, I think we should be asking those who understand
  23 the law better than we do, what amendments would work
  24 well with Colorado statute. As David Kopel pointed out
  25 appropriately, that many places in this bill talking
  0176
   1 about transfers was taken directly from a federal bill
   2 written by Michael Bloomberg that did not accurately
   3 reflect how it would interact with Colorado statute,
   4 since Michael Bloomberg is not from Colorado. He's the
   5 mayor of New York City. And if we're going to be
   6 amending the bill to make it apply correctly to Colorado
   7 statute and not to federal statute, written by a mayor
   8 from New York City, perhaps we should talk to the
   9 experts who know about it.
  10            THE CHAIRWOMAN: Well, I might object
  11 to -- I don't believe it was written by someone from
  12 outside the state, mayor or otherwise.
  13            But, Senator Hudak, do you have a
  14 question?
  15            SENATOR HUDAK: No comment. It seems to
  16 me all this bill does is change --
  17            THE CHAIRWOMAN: This amendment.
  18            SENATOR HUDAK: This amendment. Excuse
  19 me. Thank you for clarification. That all Amendment 23
  20 does is change "clerk of the court" to "court
  21 administrator" 12 times. I don't think it would take me
  22 24 hours in advance to figure that out. And so I think
  23 it is entirely appropriate for us to consider this
  24 amendment.
                                                                                                    LEG HX 000782                   4697
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  25        Appellate    Case: 14-1290 Senator
                THE CHAIRWOMAN:              Document:     01019371764
                                                    Crowder.                          Date Filed: 01/16/2015           Page: 34
  0177
   1           SENATOR CROWDER: Thank you, Madam Chair.
   2           I beg to differ. This denial in the
   3 appeal process, if you are so deemed not capable of --
   4 deemed (inaudible) incompetent, the process there is
   5 giving complete jurisdiction to the clerk of the court
   6 and the state court administrator.
   7           Just looking at this, I do believe that
   8 the appeal process for someone that's deemed incompetent
   9 is not in any way in the best interest of the person who
  10 is found incompetent. And I've worked a lot with this
  11 in some of the VA. But there's medical people involved;
  12 there's all kinds of other people involved. But to give
  13 that entire discretion to the clerk of the court, I do
  14 find to be somewhat troubling, without medical personnel
  15 in this.
  16            THE CHAIRWOMAN: Thank you.
  17            If we want to go ahead and take a
  18 senatorial five, a little discussion off-line here, I
  19 would appreciate that.
  20            (A recess was taken.)
  21            THE CHAIRWOMAN: I'll go ahead -- well,
  22 we're already back in order. We just had our senatorial
  23 five.
  24            As I looked and continued to have a
  25 conversation with Senator Carroll, I think it was the
  0178
   1 conversation we were having at the beginning, that as I
   2 saw it -- and I just wanted clarification -- that it was
   3 a -- it really is a very technical amendment. And when
   4 I look at 13-9-129, if anything, that little piece that
   5 I think is more substantive, what it's doing is
   6 expanding it to be able to send electronically. So I
   7 think that this certainly, in what we're trying to do
   8 with the bill and that the bill sponsor is trying to be
   9 amenable, that this is something that enhances what I
  10 think the testimony had to say.
  11            Senator Carroll.
  12            SENATOR CARROLL: Thank you, Madam Chair.
  13            I just wanted to add that one of the
  14 pieces that's getting cleaned up here is sometimes there
  15 are false flags from stale information. And some of the
  16 other testimony we heard, as particularly on the mental
  17 health orders, that's maybe as much as six months late.
  18 So the benefit, in effect, of what's on page 2 of the
  19 bill on here is this means a lifetime electronic
  20 transfer within 48 hours.
  21            So you may have people who, for example,
  22 by way of a deferred judgment, at some point of
  23 application, may have been ineligible and they become
  24 eligible. So the longer that data takes, the more you
  25 actually do have people who are legally eligible to be
  0179
                                                                                                    LEG HX 000783                   4698
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   1 purchasing    guns,Case:
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                                 way of a stale           01019371764
                                                or outdated                           Date Filed: 01/16/2015           Page: 35
   2 database, would be waiting longer.
   3           So with this -- part of what this does is
   4 give us lifetime, within 48 hours, update of the data,
   5 which I think -- I don't know how many people that
   6 affects, but it does affect some people who might have
   7 previously been ineligible that could become reeligible
   8 to purchase.
   9           THE CHAIRWOMAN: Thank you.
  10            I'm not sure -- do we have any questions
  11 from the committee members?
  12            No questions.
  13            I guess I'll go ahead and recognize
  14 Senator Marble as a question.
  15            SENATOR MARBLE: Thank you, Madam Chair.
  16            I'm just going back into testimony from
  17 the experts, and I'm going to rely a lot on what David
  18 Kopel had said regarding this bill. And I have a
  19 question. Because he definitely stated this had the
  20 Bloomberg effect on this law -- and this law is in
  21 New Jersey -- regarding the transfer or holding of
  22 firearms by a friend or visitor. And it criminalizes
  23 virtually all gun owners in Colorado in that it is not
  24 properly drafted.
  25            So what my question would be: How would
  0180
   1 these amendments fix that?
   2           THE CHAIRWOMAN: So Senator Carroll.
   3           SENATOR CARROLL: Thank you, Madam Chair.
   4           So this bill has been drafted in this
   5 state. This comes from judicial as far as making sure
   6 that we're referring to the state court administrators
   7 or the clerks.
   8           I mean, this particular amendment is very
   9 administerial in nature as far as making it work. It
  10 deals with the 48-hour lifetime transfer of data and
  11 ensuring that could be done electronically, and it
  12 allows the Colorado Court of Appeals to accept
  13 additional information.
  14            This is Colorado's system. I don't know
  15 what any other state does. But this is a
  16 restoration-of-rights process. We're doing and frankly
  17 expanding here in Colorado under this bill.
  18            THE CHAIRWOMAN: Thank you, Senator
  19 Carroll.
  20            So --
  21            SENATOR MARBLE: One quick question.
  22 According to the 62 sheriffs who wrote the statement
  23 regarding this law is unenforceable and we will not
  24 enforce it, because of its unconstitutional value with
  25 our state constitution, how does this then, you know, go
  0181
   1 into effect when it's not in line with our state
   2 constitution?
                                                                                                    LEG HX 000784                   4699
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   3        Appellate   Case: 14-1290 Senator
               THE CHAIRWOMAN:              Document:
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                                                          we are on                   Date Filed: 01/16/2015           Page: 36
   4 the amendment. So I'm going to go ahead and --
   5           SENATOR MARBLE: That amendment, how would
   6 that amendment make that --
   7           SENATOR HUDAK: (Inaudible) Madam Chair, I
   8 just -- I'm questioning why people who are not on this
   9 committee are getting to participate in -- they're not
  10 substituting for a member. And I'm -- it's not
  11 generally done here where additional people, additional
  12 legislators, get to also act as a member of the
  13 committee.
  14            One of the benefits or privileges of being
  15 assigned to the committee is that we get to hold the
  16 hearing. And other members serve on other committees,
  17 but not ours. And so I would ask for a senatorial five
  18 to discuss this.
  19            THE CHAIRWOMAN: I appreciate everything
  20 that you had to say, Senator Hudak. I do recognize that
  21 it was out of the ordinary to be able to do that, but it
  22 is at the chair's discretion. And so I went ahead and
  23 allowed Senator Marble to ask a couple of questions.
  24            Senator Harvey.
  25            SENATOR HARVEY: It is not unusual. We've
  0182
   1 done it for the 12 years that I've been down here. They
   2 cannot vote. That is the privilege of being on this
   3 committee, is the right to vote. The privilege of being
   4 on this committee is you were elected by 51 --
   5 50 percent plus one vote to be able to sit on this
   6 committee and ask questions during the committee hearing
   7 that you would not otherwise be able to ask questions on
   8 because you aren't sitting on the committee. This is
   9 done on a regular basis. You just are not allowed to
  10 vote.
  11            Just because you have not seen it in the
  12 two years that you have been here --
  13            SENATOR HUDAK: Four.
  14            SENATOR HARVEY: -- does not mean that it
  15 has not happened. But she did sit through the entire
  16 committee.
  17            THE CHAIRWOMAN: Well, thank you, Senator
  18 Harvey. And since I went ahead and allowed that, I
  19 appreciate that feedback.
  20            And so I think that we are on to the
  21 amendment, L.023. I'm believing there are some
  22 objections, so we'll go ahead and take roll.
  23            JULIA: Senator Crowder.
  24            SENATOR CROWDER: No.
  25            JULIA: Senator Harvey.
  0183
   1           SENATOR HARVEY: No.
   2           JULIA: Senator Hudak.
   3           SENATOR HUDAK: Aye.
   4           JULIA: Senator Jones.
                                                                                                    LEG HX 000785                   4700
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   5        Appellate
               SENATOR Case:   14-1290
                           JONES:    Yes. Document: 01019371764                       Date Filed: 01/16/2015           Page: 37
   6           JULIA: Madam Chair.
   7           THE CHAIRWOMAN: Aye.
   8           So L.023 passes.
   9           And is there any other amendments?
  10 Senator Carroll.
  11            SENATOR CARROLL: Thank you, Madam Chair.
  12            The final amendment that I have is L.026.
  13 I'm going to ask somebody to offer that.
  14            One of the potential loopholes that came
  15 up, I believe was brought up in Howe's (phonetic)
  16 testimony, is that all someone would need to get around
  17 the private background check is basically do the check
  18 in the name of a trust and effectively doing a
  19 pass-through, which would create yet another loophole.
  20 So Amendment 26 tightens the definition of transferee,
  21 so you basically can't -- a criminal can't gain the
  22 background check by pretending to be a trust and then do
  23 firearms trafficking that way.
  24            THE CHAIRWOMAN: Thank you.
  25            Senator Jones.
  0184
   1           SENATOR JONES: Thank you, Madam Chair.
   2           I move L.026.
   3           THE CHAIRWOMAN: That's a proper motion.
   4 Is there any objection to L.026?
   5           Seeing none -- oh, yes. So, Julia, will
   6 you take a roll call.
   7           JULIA: Senator Crowder.
   8           SENATOR CROWDER: No.
   9           JULIA: Senator Harvey.
  10            SENATOR HARVEY: No.
  11            JULIA: Senator Hudak.
  12            SENATOR HUDAK: Aye.
  13            JULIA: Senator Jones.
  14            SENATOR JONES: Yes.
  15            JULIA: Madam Chair.
  16            THE CHAIRWOMAN: Aye.
  17            JULIA: Is that a four-to-one?
  18            THE CHAIRWOMAN: That's three to two.
  19 That's adopted at a three-to-two vote.
  20            Senator Jones.
  21            SENATOR JONES: Thank you, Madam Chair.
  22            I move House Bill 1229 to the
  23 appropriations committee.
  24            THE CHAIRWOMAN: That's an appropriate
  25 motion.
  0185
   1           Senator Jones.
   2           SENATOR JONES: Yeah, just to follow up,
   3 I'm supporting this bill. I've tried hard to listen to
   4 people, and I really, really appreciate people taking
   5 the time to talk to me and e-mail me.
   6           Emotions run high on this issue on both
                                                                                                    LEG HX 000786                   4701
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   7 sides. Appellate
             I think weCase:    14-1290
                          saw that today. And Document:   01019371764
                                               a lot of people                        Date Filed: 01/16/2015           Page: 38
   8 tried to cut through that and get to the facts. Some
   9 people just kept on the emotional thing, and I think you
  10 can see how ineffective it can be. And I don't think it
  11 helps anybody's cause to go there, quite frankly.
  12            And the other thing is -- a lot of people
  13 say this about the Second Amendment, and I respect
  14 that -- that it's a constitutional right. We should be
  15 very careful about those. At a townhall I had, people
  16 said, "Well, you ought to go read the court decisions."
  17 I did. I think the Heller decision says for reasonable
  18 reasons, you can do gun banishment laws. And we have a
  19 lot of examples of that.
  20            And then you get into this data back and
  21 forth. Everybody has got this number, that number, this
  22 number and that number, and it's hard to sort through.
  23 And everybody makes great cases. But, for me, what it
  24 comes down to is there's a fundamental number that I
  25 keep looking at when I kind of try to sort this out. Of
  0186
   1 the 344,000 purchases -- I believe it was last year's
   2 numbers -- 5,000 of those were blocked. And we talked
   3 about how some of them got reinstated. But we should
   4 think about the things that they're blocked for. Here
   5 are just two examples: 420 for restraining orders, 31
   6 for accused or convicted homicides.
   7           So, no, this is not going to solve all our
   8 problems. And this logic that seems to go on that says
   9 criminals will get guns. So we should not keep
  10 criminals from getting guns when we can, doesn't make
  11 much sense to me. Yeah, they're going to get guns. But
  12 we ought to do what we can to stop that from happening.
  13 And that's what motivates me on this.
  14            And, again, I appreciate everybody taking
  15 the time to talk to me. I think people have strong
  16 feelings on both sides of this. But that number, I keep
  17 coming back to that. And, for me, I think, through
  18 time, it's going to save lives. And so everybody talks
  19 about the frequency; it's a real small number. Well,
  20 the severity, the other side of that equation, is
  21 extraordinarily severe. And you heard it today. And so
  22 that's the balancing act, and that's where I come down.
  23            And thanks, everybody, for sitting through
  24 all of this and being part of this. I appreciate your
  25 participation.
  0187
   1           THE CHAIRWOMAN: Thank you, Senator Jones.
   2           Is there any other discussion?
   3           Senator Hudak.
   4           SENATOR HUDAK: Thank you, Madam Chair.
   5           I'm sorry I wasn't here for a lot of the
   6 testimony. I was in the other committee, presenting a
   7 bill, but I have received e-mails and have had e-mail
   8 conversations with a number of people, particularly my
                                                                                                    LEG HX 000787                   4702
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                                               gamut on this                          Date Filed: 01/16/2015           Page: 39
  10 issue. And I want to say that in even the
  11 legislating -- the magazine that we receive as
  12 legislators, there is a lot of very good information
  13 about how effective background checks are, and the
  14 thousands of people that are screened out who shouldn't
  15 have a gun because they get a background check.
  16           And then I also got a packet of letters
  17 from fifth graders in my district, Arvada K-8, and many
  18 of them said -- they urged me to vote for background
  19 checks because it scares them -- my biggest wish is that
  20 I want to be safe. And I just want to say that I hope
  21 we're smarter than -- as smart as fifth graders.
  22           THE CHAIRWOMAN: So I'm going to go ahead
  23 and do one more comment from Senator Crowder, and then
  24 I'm going to go to the close for Senator Carroll.
  25           Why don't we go ahead before -- because I
  0188
   1 neglected to do -- let Senator Carroll do a wrap-up.
   2          Senator Carroll.
   3          SENATOR CARROLL: Thank you, Madam Chair.
   4          I suspect there will be final comments in
   5 closing.
   6          I just wanted to address a couple of
   7 things because I was listening and taking notes with
   8 everything that was there. First of all, I was
   9 impressed with the caliber of testimony on both sides of
  10 this issue. This is not a superficial, light issue. I
  11 think we heard really good and important feedback.
  12           My wrap-up, I want to hit a few things
  13 just because there's some differences -- I think it's
  14 important to talk about in a way what the bill doesn't
  15 do when we're closing. Even if we pass House Bill 1229,
  16 every single law-abiding citizen in Colorado can still
  17 own and buy as many guns as they want, and possess.
  18 That does not change if we pass House Bill 1229.
  19 Nothing about having a background check in advance of a
  20 prior sale does anything to change Colorado's law about
  21 self-defense.
  22           I, too, share the importance -- I mean,
  23 obviously, we would not be interested in doing anything
  24 that would weaken the right of self-defense. And so I
  25 think some of the testimony was geared towards, you
  0189
   1 know, does making someone go through a background check
   2 before a private transfer in any way change our rights
   3 of self-defense? It doesn't.
   4          I think it's important to note that
   5 Colorado's concealed carry laws, which I also support,
   6 remain 100 percent in effect. So passage of this bill
   7 doesn't change the rights for concealed carry.
   8          On the Second Amendment, both by text and
   9 by the Supreme Court, background checks have explicitly
  10 been upheld as constitutional with regard to the Second
                                                                                                    LEG HX 000788                   4703
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  11 Amendment.                                                                       Date Filed: 01/16/2015           Page: 40
  12            The registration idea came up. And I
  13 think David Kopel brought up a good point in what he was
  14 talking about, which is it would be easier to enforce a
  15 bill like this if we had a registration. I don't
  16 support a registration. And that's just where I come
  17 down on something like this. This bill isn't
  18 registration.
  19            Part of why the record-keepers are the
  20 private FFLs is because we don't have a government
  21 database. So once someone is run through the system,
  22 basically purged on that as well.
  23            Senator Harvey, it was probably you who
  24 brought up on the unlicensed -- the use of the word
  25 "unlicensed" in here. What that means in Colorado --
  0190
   1 what we're referring to as licensed are the FFLs. So we
   2 have replaced -- you see the word "unlicensed," it's
   3 just clarification that we're not talking -- these
   4 provisions don't provide -- they don't really apply to
   5 FFLs because those guys are regulated and licensed
   6 elsewhere.
   7           I think we did go through and hit some of
   8 the exceptions. I think, overall, I just really want to
   9 hit on closing that we've been using background checks
  10 with success for a long time. It is really that one
  11 thin, fine line -- you know that fine line between how
  12 do we make sure that we are protecting the rights of
  13 law-abiding citizens and how are we keeping guns out of
  14 the hands of convicted felons?
  15            If we basically eliminate or fail to make
  16 meaningful background checks, then we are really erasing
  17 the difference and saying we think convicted felons, as
  18 a practical matter, ought to have just as easy access.
  19            I do agree with some of the point that
  20 there's no doubt some committed criminals who will try
  21 really hard to work their way around this. So like any
  22 other law we pass, we are not going to see perfect
  23 compliance with it. None of us have ever passed a bill
  24 in the history of the legislature with perfect
  25 compliance. But I do think that we are plugging into a
  0191
   1 system to make sure we at least have the exact same
   2 background checks, the exact same constitutional
   3 background checks that any other lawful purchaser does.
   4           So the people who are disadvantaged by
   5 this bill -- here's who it affects at the end of the
   6 day: If you are a convicted felon, if under current
   7 Colorado law, you're not allowed to buy or possess a
   8 firearm, then your odds are much higher you're going to
   9 be blocked, if this passes. That's who the burden is
  10 on.
  11            Otherwise -- we've had lawful, law-abiding
  12 people making their purchases at FFLs or at gunshows for
                                                                                                    LEG HX 000789                   4704
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  13 a while.           Case:
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                                                   line between                       Date Filed: 01/16/2015           Page: 41
  14 how we even detect who is or isn't eligible under
  15 current law for doing that.
  16            These amendments, in part, I think, help
  17 expand, you know, some of these scenarios with immediate
  18 family, with the temporary loan kind of situations. And
  19 so they were offered in the spirit of that, in hearing
  20 some of those examples that were brought up.
  21            So I think -- you know, I'm sure there's
  22 more. I guess, Senator Harvey, you also brought up the
  23 online point. And I agree that online sales -- I think
  24 one of the places where you have online facilitation, in
  25 a way, where you're kind of a third-party facilitator
  0192
   1 between private transactions -- that right now is not
   2 covered by background checks. And that would be the
   3 distinction in my view, anyway.
   4           I think that's it.
   5           THE CHAIRWOMAN: Thank you, Senator
   6 Carroll.
   7           Senator Harvey has a question.
   8           SENATOR HARVEY: The question -- I didn't
   9 even think about that by reading the bill.
  10            The facilitator in this bill -- Rocky
  11 Mountain Gun Owners has a website that allows two
  12 individuals to meet each other to sell, just like The
  13 Denver Post used to, or the Thrifty Nickel still does,
  14 or things like that, Craig's list. Under this bill, are
  15 they facilitating that mutual meet-up, and are they
  16 liable because of that under this bill?
  17            THE CHAIRWOMAN: Senator Carroll.
  18            SENATOR CARROLL: Thank you, Madam Chair.
  19            So the buyer or seller, whether they're
  20 doing it in person or whether they're using kind of a
  21 third-party facilitator, they are the ones that are
  22 responsible. The third-party facilitator on this bill
  23 is not.
  24            THE CHAIRWOMAN: Any other question -- any
  25 other questions or comments?
  0193
   1           Senator Crowder.
   2           SENATOR CROWDER: Thank you. Thank you,
   3 Ms. Carroll.
   4           I'm glad that you and I agree on one
   5 thing. The registration, you're opposed to
   6 registration. And I firmly believe that the only way
   7 that this can be enforced would lead to a registration.
   8           I need to oppose this bill due to the fact
   9 that southern Colorado, which is my district, from Wolf
  10 Creek Pass through Pueblo and all the way to Kansas,
  11 would -- they have indicated their opposition to this.
  12 So what I have to do is I have to -- I have to not only
  13 vote the constitution, I need to vote my district. And
  14 they have indicated opposition to this. So -- but
                                                                                                    LEG HX 000790                   4705
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  15 nothingAppellate
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                                you, but I would    have to 01019371764
                                                            go that                   Date Filed: 01/16/2015           Page: 42
  16 way.
  17            Thank you.
  18            THE CHAIRWOMAN: Any other comments?
  19            Just a quick comment for me. As I was not
  20 very aware of the issues around gun culture in my own
  21 upbringing in Pueblo, so I really felt like I put a lot
  22 of time and effort trying to get -- to understand a part
  23 of a culture that I wasn't aware of, and have learned a
  24 lot.
  25            And, you know, even though some of the
  0194
   1 e-mails or phone calls that I've gotten that started to
   2 help creating some kind of image of gun owners in my
   3 mind and stereotypes -- those were being created, but
   4 then when I went out and reached out to people who were
   5 responsible gun owners and have been contacted by many
   6 responsible gun owners, I understood that a person who
   7 is an owner of a gun is really no different than me, and
   8 they use it for a lot of reasons. And the gun owners
   9 that I've talked to, or many of the gun owners that I've
  10 talked to, had no problem with this piece of legislation
  11 as far as background checks for everyone.
  12            And, certainly, I think as you said,
  13 Senator Carroll, we shouldn't let the perfect get in the
  14 way of the good. And for me personally, that's an issue
  15 for me. A lot of times I always want everything to be
  16 perfect, and that's the only way I think it's something
  17 good. And in this case, I don't really think that
  18 that's appropriate.
  19            And I'll diverge a little bit: We do
  20 create laws -- I mean, we can talk about speed limits.
  21 And we don't say because nobody follows them -- and I
  22 would be the first one who doesn't follow them; I hope
  23 there's no state patrol people in here -- that we
  24 shouldn't have them. It still puts some constraints,
  25 even on a speedy driver like myself.
  0195
   1           So I think this is a start. It's not
   2 going to solve all of our problems.
   3           And one of the most compelling statistics
   4 that I heard today was what happened in Missouri. So,
   5 in 2007, when they repealed their requirement for
   6 background checks for everybody, that they -- that the
   7 crime with regard to guns went up by 30 percent. And I
   8 do think that that is -- from the gun owners that I've
   9 talked to, I don't think it hurts, and they're willing
  10 to do that, anything to be able to reduce some crime.
  11 We've got to figure this out, the violence. And it's
  12 certainly a comprehensive, big, huge issue. This is a
  13 tiny, little piece of it.
  14            So I thank you. And I will be supporting
  15 with this amendment. And I appreciate that.
  16            So, Julia, go ahead and take roll call.
                                                                                                    LEG HX 000791                   4706
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  17         Appellate
                JULIA: Case:
                          Senator14-1290
                                   Crowder. Document: 01019371764                     Date Filed: 01/16/2015           Page: 43
  18            SENATOR CROWDER: No.
  19            JULIA: Senator Harvey.
  20            SENATOR HARVEY: I'm going to take a
  21 minute to explain my vote.
  22            I understand the emotion behind this bill.
  23 I understand the emotion behind all of these bills. But
  24 the public policy should not be based on emotion. The
  25 public policy should be based on logic. What will be
  0196
   1 readily able to limit people who want to create evil
   2 from accessing weapons of destruction?
   3            Mark Kelly was here, testified in behalf
   4 of the bill. Even if this bill was in place in Arizona,
   5 it wouldn't have stopped the shooter from getting the
   6 gun, and he admitted this. Even if this was in place in
   7 Arizona, the shooter that shot at his wife would not
   8 have been -- it would not have stopped the person from
   9 getting the gun. But it would infringe on other
  10 people's ability to protect themselves.
  11            Jane Dougherty, whose sister was killed at
  12 Sandy Hook, was here representing her sister who was
  13 killed. This bill would not have stopped that shooter
  14 from killing all of those innocent people. But they
  15 were denied their right to self-protection because of
  16 the law that said that school will be a gun-free zone.
  17            Karina, who was at the Aurora shooting,
  18 the 16-year-old girl who was in the wheelchair, God
  19 bless her. I understand the passion and the emotions.
  20 But this bill would have done nothing, nothing, to stop
  21 that situation.
  22            Dave (sic) Mauser, I believe those
  23 shooters at Aurora -- I mean at Columbine; Katie Kyles
  24 (sic), I believe the shooters at Columbine; Dave Moses,
  25 I believe the shooters at Columbine would have gotten
  0197
   1 those guns regardless of this bill.
   2            So, yes, there is a lot of emotion behind
   3 these bills and the desire, honest desire, to help
   4 people and to stop these atrocious acts of evil. But in
   5 the process, I don't want to do what I believe would
   6 happen, because it might leave honest, law-abiding
   7 citizens from being able to defend themselves when they
   8 need to, despite the 72-hour limit that the sheriff put
   9 in there to allow them to have a gun. I believe we are
  10 limiting people's abilities to defend themselves, in all
  11 good intentions. But those good intentions are going to
  12 cause more people to be hurt.
  13            Just like gun-free zones cause more people
  14 to be hurt, I believe this bill, as well intentioned as
  15 it is, is going to cause more people to be hurt, not
  16 less. And so because of that, I will be a no vote.
  17            JULIA: Senator Hudak.
  18            SENATOR HUDAK: Aye.
                                                                                                    LEG HX 000792                   4707
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  19        Appellate
                 JULIA: Case:    14-1290
                           Senator   Jones.    Document: 01019371764                  Date Filed: 01/16/2015           Page: 44
  20             SENATOR JONES: Yes.
  21             JULIA: Madam Chair.
  22             THE CHAIRWOMAN: So Senator Harvey just
  23 reminded me of something else of why I'm voting yes on
  24 this bill. And for those committee members who know me
  25 and other people in the Senate, I can have an
  0198
   1 overemphasis of empathy. But when I really looked at
   2 this, it really wasn't even -- and I don't know if that
   3 was the impetus of this bill, because of the tragedies
   4 that we had. I think it does bring it to our
   5 consciousness more here in Colorado. But I'm looking at
   6 the gun violence that happens every day. And when we
   7 ignore that, and we just look at the tragedies, yeah,
   8 then we are just being emotional about it.
   9            But, to me, this is about every single day
  10 that gun violence happens. And that's why I'm voting on
  11 this. And it has nothing to do with the emotional
  12 testimony that we had, as hard as it was to hear it.
  13 And even to hear Krista, who braved that and came out
  14 and spoke about that, this law wouldn't affect -- just
  15 as you talked about the people who were proponents of
  16 the bill, this -- her mother could have had a conceal
  17 carry weapon. This would not have affected her mother
  18 from getting that.
  19             So I -- I think it's about the longer and
  20 everyday violence that happens with guns. It's not
  21 about these horrible tragedies that everybody in this
  22 room and everybody in this country is brokenhearted and
  23 crushed about. But it's about every day that we,
  24 because of guns and irresponsible people -- that's why
  25 this bill is really important to me. So I'm an aye
  0199
   1 vote.
   2            So I should remember my responsibilities,
   3 that passes on a three-to-two. Thank you so much.
   4            UNIDENTIFIED SPEAKER: Thank you. And the
   5 motion was to appropriations, right?
   6            THE CHAIRWOMAN: Yes.
   7            UNIDENTIFIED SPEAKER: And thank you,
   8 committee, and to all the witnesses.
   9            (WHEREUPON, the audio recording was
  10 concluded.)
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                                                                                                    LEG HX 000793                   4708
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  23
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  0200
   1                 CERTIFICATE
   2 STATE OF COLORADO                 )
                       )ss.
   3 CITY AND COUNTY OF DENVER )
   4          I, Jana Mackelprang, Certified Realtime
   5 Reporter, Registered Professional Reporter, and Notary
   6 Public for the State of Colorado, do hereby certify that
   7 this transcript was taken in shorthand by me from an
   8 audio recording and was reduced to typewritten form by
   9 computer-aided transcription; that the speakers in this
  10 transcript were identified by me to the best of my
  11 ability and according to the introductions made and the
  12 information provided; that the foregoing is a true
  13 transcript of the conversations; that I am not an
  14 attorney nor counsel nor in any way connected with any
  15 attorney or counsel for any of the parties to said
  16 action or otherwise interested in its event.
  17           IN WITNESS WHEREOF, I hereunto affix my
  18 hand and notarial seal this 24th day of June, 2013. My
  19 commission expires January 24, 2016.
  20
  21                  ___________________________
                     Jana Mackelprang
  22                  CRR, RPR, Notary Public
                     Calderwood-Mackelprang, Inc.
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           Appellate Case: 14-1290 Document: 01019371764                              Date Filed: 01/16/2015           Page: 46
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 Senate Meeting
   4 Held on March 8, 2013
   5 HOUSE BILL 13-1229
   6 -----------------------------------------------------------
   7 REPORTER'S TRANSCRIPT
   8 -----------------------------------------------------------
   9
  10         This transcript was taken from an audio
  11 recording by Elissa Steen, Registered Professional Reporter
  12 and Notary Public.
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  0002
   1            PROCEEDINGS
   2           * * * * *
   3      MR. MAJORS: House Bill 1229 by
   4 Representatives Fields and McCann and Senator
   5 Carroll, concerning criminal background checks
   6 performed pursuant to the transfer of a firearm, and
   7 in connection therewith, making an appropriation.
   8      THE PRESIDENT OF THE SENATE: Majority
   9 Leader Carroll.
  10       MAJORITY LEADER CARROLL: Thank you,
  11 Mr. Chair.
  12       I move House Bill 1229, the State,
  13 Veteran, Military Affairs Committee report, and the
  14 Appropriation's Committee report.
  15       THE PRESIDENT OF THE SENATE: To the
  16 committee report, Senator --
  17       MAJORITY LEADER CARROLL: Thank you,
  18 Mr. Chair.
  19       In the State, Veterans, Military Affairs
  20 Committee on this, let me walk through the committee
  21 report. A few changes were made there in response
  22 to some points that had been raised in testimony and
  23 from the public.
  24       The first thing, on page 1 of the
  25 committee report, if you look at it, some folks were
  0003

                                                                                                    LEG HX 000795                   4710
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            Appellate
   1 concerned   about Case:   14-1290
                        the potential        Document:
                                      for a new loophole 01019371764
                                                         on                           Date Filed: 01/16/2015           Page: 47
   2 getting around it by yet again if a criminal -- some
   3 of the criminal gun traffickers could use a trust to
   4 essentially do a purchase, one version of a
   5 strawman, if you will, to get around it. So this is
   6 just tightening that up to make sure that that
   7 loophole would not be in here.
   8       The second thing we do is that when a
   9 member goes on the FFL, we are clarifying that it is
  10 both the buyer and seller who would get a copy of
  11 sort of the receipt of approval or denial for their
  12 records, should they choose to keep it in addition
  13 to the FFL.
  14        The third thing we did is that we expanded
  15 the definition of immediate family. This is in a
  16 provision that is an exception to the bill, if you
  17 will. Anytime anyone is transferring a firearm to a
  18 family member, they obviously don't have to go
  19 through a background check.
  20        And this is expanding the definition of
  21 immediate family beyond the original, which includes
  22 nieces, nephews, aunts, uncles, and first cousins,
  23 that were not in the first draft.
  24        The next and probably the most significant
  25 substantive changes that were made in response to
  0004
   1 many examples that had been raised by people, it
   2 adds to catch-all the provisions. And this will
   3 make a little bit more sense when we get into the
   4 content of the bill proper. But much of the prior
   5 discussion and debate and testimony included coming
   6 up with some hypothetical and real examples of where
   7 totally appropriate, legitimate transfers may be
   8 going where a background check does not make sense.
   9       The first of these catch-all exceptions is
  10 that a person who is basically selling or
  11 transferring a firearm can do that to anyone they
  12 want, really, as long as they're -- they remain in
  13 the presence of the firearm. And all of these are
  14 subject -- of course you can't transfer to someone
  15 who's a convicted felon or otherwise prohibited.
  16 But whatever that transfer is, this is one catch-all
  17 scenario where the owner can remain with the gun and
  18 loan it to whoever they want, as long as it's not
  19 illegal.
  20        And the second catch-all transfer really
  21 allows you to loan outside of your presence to
  22 anyone you want for up to 72 hours, as long as,
  23 again, you're not handing it over to someone who is
  24 a convicted criminal.
  25        These are two important catch-all sections
  0005
   1 that were offered because there's a variety of
   2 legitimate sort of temporary-transfer situations
                                                                                                    LEG HX 000796                   4711
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   3 whereAppellate     Case:
              a background      14-1290
                            situation would Document:    01019371764
                                             not make sense.                          Date Filed: 01/16/2015           Page: 48
   4       The next thing that we did, these are
   5 really in the vein of a technical clean-up with the
   6 judicial department. You will notice that it is
   7 changing the clerk of the court with the state court
   8 administrator because that's how the current
   9 background check system works. And in the context
  10 of the bill, that is where the data transfer's
  11 happening. So that is making sure that we are
  12 identifying the correct source of data transfer on
  13 that.
  14        The other thing we're doing, one of the
  15 improvements that's happening in the bill, some of
  16 you may have recognized one of the criticisms to
  17 some of the current system can be staleness of data
  18 upload and download, which can either lead to a
  19 false allowance of somebody who is criminally
  20 ineligible to purchase a gun being able to do so, or
  21 conversely, someone who has had their rights
  22 restored, is no longer prohibited, and basically a
  23 false denial on that situation.
  24        So this has a transfer of data within 48
  25 hours of when that happens.
  0006
   1       One of the smaller changes of what was
   2 happening in the -- to the original section of the
   3 bill, you will have noticed that there are two
   4 restoration of rights sections that actually add to
   5 the current due process for restoration of rights on
   6 that. And within that there is a technical
   7 amendment that clarifies that the appellate court
   8 has discretion to receive additional information, if
   9 necessary, for a review.
  10        I do that walk-through because it may
  11 impact -- those are substantive policy changes from
  12 the original version of the bill. Those were the
  13 amendments that we did in the judiciary -- or
  14 judiciary committee -- in the State, Veterans,
  15 Military Affairs Committee.
  16        And I would ask for an aye vote on the
  17 committee report.
  18        THE CHAIRWOMAN: Is there any discussion
  19 on the committee report?
  20        Seeing none, the motion before you is to
  21 accept the State, Veterans, and Military Affairs
  22 Committee report.
  23        All those in favor say aye.
  24        All those opposed, no.
  25        Committee report is adopted.
  0007
   1       To Appropriation's Committee report.
   2       MAJORITY LEADER CARROLL: Thank you,
   3 Madame Chair.
   4       I -- on the Appropriation's Committee
                                                                                                    LEG HX 000797                   4712
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   5 report,Appellate   Case: 14-1290
             the appropriation's  clause, youDocument:
                                              will have 01019371764                   Date Filed: 01/16/2015           Page: 49
   6 noticed, was a contingent clause, one cash-funded,
   7 one general-funded. The change that was done in
   8 appropriations was front load the funding such that
   9 the Colorado Bureau of Investigations could be ready
  10 to come into compliance in an important way to make
  11 sure that we weren't causing any kind of delays with
  12 implementation or for people who are seeking a
  13 background check for their purchase.
  14       And I would ask for an aye on the
  15 Appropriation's Committee report.
  16       THE CHAIRWOMAN: Any discussion on the
  17 Appropriation's Committee report?
  18       You've heard the motion. All those in
  19 favor say aye -- oh, I'm sorry, Senator Harvey.
  20 This is on the appropriations?
  21       SENATOR HARVEY: No.
  22       THE CHAIRWOMAN: Okay. On the
  23 Appropriation's Committee report approval?
  24       So all those in favor say aye.
  25       All those in opposed, no.
  0008
   1      The committee report is accepted -- is
   2 adopted.
   3      To the bill.
   4      MAJORITY LEADER CARROLL: Thank you,
   5 Madame Chair.
   6      THE CHAIRWOMAN: No, I'm -- I'm sorry.
   7 Senator Carroll, there is an amendment on the -- on
   8 the 30 -- Amendment 30.
   9      Mr. Majors, could you please read the
  10 Amendment 30? Sorry about that.
  11       THE READING CLERK: Amendment L.030 to the
  12 House Bill 1229 by Senator Carroll, amend the State
  13 and Senate State, Veterans, Military Affairs
  14 Committee report dated March 4, 2013, page, 2, after
  15 line 4, insert --
  16       THE CHAIRWOMAN: Senator Carroll.
  17       MAJORITY LEADER CARROLL: Thank you,
  18 Madame Chair.
  19       Members, I move Amendment 30.
  20       And this is a technical amendment that was
  21 brought to me by the drafter. This is a grammatical
  22 adjustment in light of the substantive changes we
  23 had made in the others that was caught this morning.
  24       I had it distributed to your desks so you
  25 could see for yourself the grammatical clean-up
  0009
   1 nature of the amendment.
   2      And I would just ask for an aye vote on
   3 Amendment 30.
   4      THE CHAIRWOMAN: Is there any discussion
   5 on Amendment 30?
   6      Seeing none, the motion is for the
                                                                                                    LEG HX 000798                   4713
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            Appellate
   7 adoption           Case: 14-1290
                of Amendment    30.         Document: 01019371764                     Date Filed: 01/16/2015           Page: 50
   8       All those in favor say aye.
   9       All those opposed, no.
  10       The amendment is adopted.
  11       There is another amendment on the desk,
  12 Amendment 31.
  13       Senator Harvey.
  14       Mr. Majors, would you please read the
  15 Amendment 31.
  16       MR. MAJORS: Amendment L.031 by -- the
  17 House Bill 1229 by Senator Harvey to strike the
  18 Senate Appropriation's Committee reported dated
  19 March 6th --
  20       THE CHAIRWOMAN: Senator Harvey.
  21       SENATOR HARVEY: Thank you, Madame Chair.
  22       This is in -- thank you, Madame Chair. I
  23 move Amendment 031, and it is in accordance with a
  24 previous amendment that had been offered on this
  25 floor by the chairman of the Joint Budget Committee.
  0010
   1       And because of the amendments that we just
   2 passed in State Affairs, where we have taken out
   3 some of the transfers, and there really is no known
   4 amount of transfers that is will be going on with
   5 this bill, because who knows how many people will be
   6 transferring between family members and -- and
   7 non-family members. It's almost impossible for us
   8 to know that.
   9       Historically, when the total number of
  10 background check requests has exceeded the Bureau's
  11 ability to process them in a timely manner, the
  12 Bureau was able to shift resources from elsewhere to
  13 meet the temporary increase in demand without
  14 requiring any additional spending or hiring
  15 authority. And remember, this bill has a 2.4
  16 million dollar fiscal note. I don't understand why
  17 that is the case.
  18       So in light of the uncertain fiscal impact
  19 of requiring additional background checks on
  20 firearms sales and transfers, it is the intent of
  21 the General Assembly that any resulting increase in
  22 the national instant criminal background check
  23 program workload will be offset through regular
  24 supplemental appropriations processes.
  25       Therefore, the General Assembly has
  0011
   1 determined that this Act can be implemented within
   2 existing appropriation; and therefore, no separate
   3 appropriations of state monies is necessary to carry
   4 out the purpose of this act.
   5       There is impact of this bill on the
   6 citizens of the State of Colorado. There is no
   7 impact to the citizens of the State of Colorado for
   8 the state to be requiring them to do a background
                                                                                                    LEG HX 000799                   4714
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   9 check Appellate
             to transfer Case:
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                                  husband and            01019371764
                                               wife, or any                           Date Filed: 01/16/2015           Page: 51
  10 other way. If this is an important statewide
  11 concern, we should be doing it out of the state
  12 budget and doing it within a current appropriations.
  13 This amendment simply says that is the way we've
  14 done it in the past and that's the way we'll do it
  15 in the future.
  16        I'd ask for an aye vote.
  17        THE CHAIRWOMAN: Any discussion on the
  18 amendment?
  19        Senator Carroll.
  20        MAJORITY LEADER CARROLL: Thank you,
  21 Madame Chair.
  22        I want to thank Senator Harvey for helping
  23 get the fiscal note off my bill. I really
  24 appreciate that.
  25        Oh, not -- some well-esteemed Senator from
  0012
   1 Douglas County. So my apologies on that.
   2       The reality, though, is if we could do
   3 this within existing means, I think it would
   4 actually be an unfair burden to gun owners
   5 everywhere because it would probably take three
   6 years to get your background check. That's a little
   7 long.
   8       And so while I do appreciate the spirit in
   9 which this is offered, and I wish we could do it
  10 within existing means, I would respectfully ask for
  11 a no vote on this amendment.
  12        THE CHAIRWOMAN: Further discussion on
  13 Amendment 31?
  14        Seeing none, the motion before you is to
  15 adopt Amendment 31.
  16        All those in favor say aye.
  17        All those opposed, no.
  18        And that motion fails.
  19        One more. There is an amendment on the
  20 desk.
  21        And, Mr. Majors, would you please read
  22 Amendment 33.
  23        MR. MAJORS: Amendment L.033 to House Bill
  24 1229 by Senator Carroll, amend the Appropriation's
  25 Committee report dated March 6th --
  0013
   1       THE CHAIRWOMAN: Senator Carroll. Senator
   2 Carroll.
   3       MAJORITY LEADER CARROLL: Oh, thank you,
   4 Madame Chair.
   5       Members, I move L.033.
   6       This is another technical amendment.
   7 There was some language that was left off on the
   8 Appropriation's Committee report. I have also asked
   9 that it be distributed to you so you can see the
  10 language it is of what should have been included and
                                                                                                    LEG HX 000800                   4715
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  11 wasn't.Appellate Case: 14-1290 Document: 01019371764                             Date Filed: 01/16/2015           Page: 52
  12       This too is a technical cleanup amendment,
  13 and I would just ask for an aye vote.
  14       THE CHAIRWOMAN: Any discussion on
  15 Amendment 33?
  16       Seeing none, the motion before us is to
  17 adopt Amendment 33.
  18       All those in favor say aye.
  19       All those opposed, no.
  20       And the amendment is adopted.
  21       Senator Carroll.
  22       MAJORITY LEADER CARROLL: Thank you,
  23 Madame Chair.
  24       Members, I'm very proud to be here today
  25 to bring you House Bill 1229. I know and respect
  0014
   1 how intense, obviously, the issues are around these
   2 issues, and where everyone is coming from, where I
   3 think we all believe we are defending deeply held
   4 principles. And for that, I thank everybody for
   5 participating in this.
   6      I do think everyone agrees that
   7 law-abiding citizens should be able to own firearms,
   8 and that guns should be kept out of the hands of
   9 dangerous criminals.
  10       As we all know, it is currently illegal
  11 for someone convicted of certain crimes to own or
  12 possess a firearm. That's illegal right now under
  13 state law. It's illegal under federal law.
  14       How would we ever know when we buy or sell
  15 a gun whether someone is a dangerous, convicted
  16 felon but for a background check? There is zero
  17 other way to know. We can't know unless we do a
  18 background check.
  19       If we don't have a meaningful background
  20 check system, we are essentially giving a nod and a
  21 wink to the prohibition that keeps guns out of the
  22 hands of the folks who are convicted murders,
  23 convicted rapists, or those convicted of domestic
  24 violence. But for the background check, there is
  25 zero way for us to ever enforce the state or federal
  0015
   1 law prohibiting those folks, not the law-abiding
   2 folks, prohibiting those folks from being able to
   3 purchase or possess.
   4      House Bill 1229 simply requires the exact
   5 same background check before a private purchase of a
   6 gun that we use when a gun is purchased from a
   7 licensed dealer or a gun show.
   8      Back when we were first implementing the
   9 background check for licensed gun dealers and for
  10 gun show folks, at that time the Internet was still
  11 in its infancy. And what was maybe a rare and novel
  12 mechanism for how guns, for example, on online
                                                                                                    LEG HX 000801                   4716
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           Appellate
  13 posting           Case:
               boards are really14-1290    Document: 01019371764
                                 a modern phenomenon    that                          Date Filed: 01/16/2015           Page: 53
  14 our prior laws really weren't drafted to contemplate
  15 and keep up.
  16       Why am I carrying this bill? I'm carrying
  17 this bill because gun violence has become an
  18 epidemic. And while 34 Americans die on average
  19 every day as a result of guns, this issue hit home
  20 personally for me on July 20, 2012, when 70 people
  21 were shot down at the Aurora Century 16 Theater in
  22 my district this summer, fatally injuring 12 people.
  23       And just when I couldn't imagine how it
  24 could get any worse, on December 14, 2012, 20
  25 children were shot and killed, along with six adults
  0016
   1 at Sandy Hook Elementary School.
   2      There are 310 million guns in America, and
   3 314 million people in America.
   4      America still has one of the highest
   5 homicide rates amongst any of the developed
   6 countries, at 4.7 murders for every 100,000 people.
   7 72 percent of all homicides in this country involve
   8 guns. And every year, guns are responsible for
   9 8,583 homicides, 19,392 suicides, and 606 accidents.
  10       There are more gun deaths each year in the
  11 United States than total war casualties in Iraq and
  12 Afghanistan over a 12-year period of time.
  13       Enough is enough. Closing the
  14 private-sale loophole is a meaningful way to keep
  15 guns out of the hands of dangerous people, because a
  16 high percentage of killers were known to have had
  17 a -- 71 percent -- had a prior arrest record,
  18 42 percent a prior conviction that would have
  19 triggered a denial of a gun purchase at any licensed
  20 dealer, any gun show, and with passage of this bill,
  21 at any private transaction.
  22       These -- those folks are not the
  23 law-abiding folks, and those are the folks whose
  24 hands we need to keep guns out of so that everybody
  25 else is free to continue to enjoy their Second
  0017
   1 Amendment rights, but not those who are dangerous
   2 criminals.
   3      As you probably know by now, we've been
   4 requiring background checks at licensed gun dealers
   5 since 1993, and for purchases at gun shows in
   6 Colorado, by way of ballots since 2002, making
   7 effective use of FFLs.
   8      This bill builds on the exact same
   9 existing infrastructure to use in order to reduce
  10 arms trafficking and help keep guns out of the hands
  11 of convicted felons and those who are dangerously
  12 mentally ill.
  13       Here's what the bill does: The bill
  14 closes the private sale and transfer loopholes to
                                                                                                    LEG HX 000802                   4717
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            Appellate
  15 the current  laws Case:    14-1290checks
                        on background       Document:
                                                by using 01019371764
                                                         the                          Date Filed: 01/16/2015           Page: 54
  16 exact same FFL system that we use on all other
  17 background checks.
  18       The bill updates the accuracy of the data
  19 within the background check process to be virtually
  20 near live-time transfer to better ensure that we are
  21 both blocking illegal purchases to criminals but
  22 also by making sure that we are not inappropriately
  23 blocking purchases to law-abiding citizens.
  24       The bill, as amended, provides a copy of
  25 either an approval or a denial to both the buyer and
  0018
   1 seller, should they wish to keep it for their
   2 records. They do not have to. The official record
   3 is kept, not by the government, but by the FFL, just
   4 like they do in all other background checks
   5 currently.
   6       The bill makes exceptions for private
   7 sales or transfers. And I think this is important
   8 just to keep up because this has been amended. The
   9 exceptions to the requirement of a background check
  10 for private sales or transfers include if it's a
  11 gift to a family member; if it is inherited by will
  12 or estate; if it occurs in the home for need -- for
  13 purpose of self-defense; for use at a shooting
  14 range; at a shooting competition; if it's dropped
  15 off for repair; for hunting; fishing; target
  16 shooting, at any lawful location, so long as it's
  17 not transferred to a convicted felon or a person who
  18 is currently federally or by state law prohibited
  19 from owning or possessing a firearm.
  20       The bill adds enhanced due process to the
  21 restoration of rights section for people who were
  22 previously prohibited from purchasing guns, either
  23 for criminal reasons or for serious mental health
  24 reasons, who become eligible for lawful purpose.
  25 This adds appellate rights and due-process rights
  0019
   1 and evidentiary rights and timeliness rights for
   2 law-abiding citizens, who, at one point may have
   3 been denied who should, in a more expeditious and
   4 fair way, get restored in their Second Amendment
   5 right to purchase a firearm.
   6       So why support background checks? Why
   7 support closing the loophole on private
   8 transactions? This measure is absolutely essential
   9 if we believe, as a matter of public policy, that we
  10 do need to keep guns out of the hands of convicted
  11 felons and the dangerously mentally ill, yet, at the
  12 same time, allow law-abiding citizens to proceed
  13 with their purchases.
  14       Approximately 40 percent of all guns are
  15 sold in private transactions. This loophole, if
  16 left unclosed, is so large so as to make it easy,
                                                                                                    LEG HX 000803                   4718
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
  17 and, inAppellate   Case:
              fact, perhaps     14-1290
                             inviting, for anyDocument:
                                                and every 01019371764                 Date Filed: 01/16/2015           Page: 55
  18 convicted criminal in Colorado, who would otherwise
  19 currently be prohibited from buying or owning a gun,
  20 to simply skirt the laws with open flagrancy by
  21 simply making their purchases privately or on online
  22 sales boards.
  23        For lawful, law-abiding gun owners, who
  24 are seeking to sell or transfer their firearms, a
  25 law-abiding gun owner has no way of knowing when
  0020
   1 they, in good faith and in the good conscience, have
   2 every right to sale their -- sell their firearm, but
   3 that law-abiding seller has no way to know that
   4 they're not selling their firearm to a convicted
   5 felon, a convicted murderer, a convicted rapist, or
   6 someone convicted of domestic violence, but for that
   7 background check.
   8       I believe this protects the law-abiding
   9 seller as well as the public at large.
  10        So why? 80 percent of handguns found at
  11 crime scenes were acquired through private sellers.
  12 Under current law as mentioned, 100 percent of all
  13 criminals in Colorado could purchase guns through
  14 private sellers without a background check. In
  15 fact, most criminals, who know they can't pass a
  16 background check, would do just that. And yet you'd
  17 think, well, why would any criminal then actually go
  18 through a process where they're subjected to a
  19 background check? Why even do that?
  20        We do have data to tell us that background
  21 checks work. And while nothing is perfect, and I'll
  22 be the first to concede that, this mechanism has
  23 detected, even under current law, we have detected
  24 and blocked sales of over 700,000 prohibited gun
  25 sales that would have gone to criminal, but for the
  0021
   1 background check. In 2012, Colorado alone, 5,607
   2 applicants were denied because of background checks
   3 revealing ineligible, criminal purchasers.
   4       Why do this? We have data that tells us
   5 that violent incidents go down in states that
   6 require a background check for every handgun sale.
   7 Thirty-eight percent fewer women are shot to death
   8 by their intimate partners in states that close this
   9 loophole.
  10        We export fewer guns in the criminal gun
  11 trafficking market when we close this loophole.
  12 Data show us that after Colorado closed the gun-show
  13 loophole, Colorado went from the 17th largest source
  14 of guns found at crime scenes in other states down
  15 to 32nd by 2009.
  16        Why close this loophole? We know from
  17 data that the rate of suicide with a firearm in
  18 states with background checks on every gun sale is
                                                                                                    LEG HX 000804                   4719
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  19 in factAppellate
              49 percentCase:
                          lower14-1290        Document:
                                 than in states that don't 01019371764                Date Filed: 01/16/2015           Page: 56
  20 require it.
  21        The overwhelming majority of the public,
  22 including poled NRA members, support background
  23 checks and closing loopholes for private sales,
  24 according to three separate polls.
  25        In some ways, I know all of these bills
  0022
   1 and conversations are charged, but we just have to
   2 have one public policy question of do we or don't we
   3 believe that we need some mechanism to detect, at
   4 any point of purchase or transfer, whether or not
   5 we're transferring to someone who is a dangerous or
   6 convicted criminal.
   7       In the context of many of these bills, it
   8 has been almost as important to talk about what the
   9 bill does not do. The bill will not prohibit any
  10 law-abiding citizen from buying or purchasing (sic)
  11 any firearm of their choosing. And I think that
  12 bears repeating. This bill will not prohibit a
  13 single law-abiding citizen from buying or possessing
  14 a firearm of their choosing. The people it
  15 prohibits are people who are criminally ineligible
  16 under state or federal law now.
  17        The bill does not violate the Second
  18 Amendment. And, in fact, background checks were
  19 explicitly upheld by the Supreme Court in the case
  20 of D.C. v. Heller.
  21        The bill does not prohibit anyone from
  22 using a firearm for self-defense. The bill does not
  23 limit family members from giving weapons to other
  24 family members, long-term, or loaning, or for the
  25 short-term.
  0023
   1       It does not prohibit hunting, target
   2 practice, or competitive shooting.
   3       And this is a significant point. This
   4 bill does not create a registry. I do not support a
   5 registry. There is no registry in this bill.
   6       You may hear that this bill is
   7 unenforceable, but it is enforceable. Within the
   8 bill, there is both a civil and criminal remedy.
   9 And failure to comply with this measure may be
  10 detected or reported by a buyer, a seller, an FFL, a
  11 member of law enforcement, or a whistleblower.
  12        No law any of us have ever passed in our
  13 history of the General Assembly, in any of our time
  14 here, has ever had 100 percent compliance. And if
  15 perfect, 100 percent compliance was the standard for
  16 any law, I think we could easily go home and realize
  17 there was no need for a single law, ever.
  18        But we do have data that we know this
  19 works because of what we've seen in Colorado and in
  20 other states that have chosen to close these
                                                                                                    LEG HX 000805                   4720
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            Appellate
  21 loopholes.    And Case:    14-1290
                        this important        Document:
                                         loophole          01019371764
                                                   being closed                       Date Filed: 01/16/2015           Page: 57
  22 actually does reduce the number of criminals,
  23 substantially, who with purchase guns.
  24        You may hear that running background
  25 checks on private sales somehow violates the Second
  0024
   1 Amendment. It doesn't. And I read from the
   2 decision, the Supreme Court decision, on the Second
   3 Amendment, "like most rights, the right secured by
   4 the Second Amendment is not unlimited. From
   5 Blackstone through the 19th century cases,
   6 commentators and courts routinely explain that the
   7 right was not a right to keep and carry any weapon,
   8 whatsoever, for any purpose, whatsoever. Nothing
   9 in our opinion should be taken to cast doubt on a
  10 longstanding prohibitions on the profession -- on
  11 the possession -- of firearms by felons and the
  12 mentally ill."
  13        That is an explicit upholding of what we
  14 are doing today in House Bill 1229, and by a
  15 conservative Supreme Court justice, I might add.
  16        You may hear that there are variety of ad
  17 hoc situations where one would want to buy, sell, or
  18 transfer a gun without a background check. We have
  19 amended the bill to ensure that anyone can loan a
  20 weapon to anyone they want for up to 72 hours
  21 without a background check, so long as they're not
  22 loaning it to a convicted felon or someone who is
  23 otherwise criminally prohibited from owning or
  24 possessing a gun.
  25        What this bill does do is it ensures that
  0025
   1 there will be a criminal background check on the
   2 sale of all guns in Colorado to ensure that we do
   3 allow law-abiding citizens to purchase guns of their
   4 choosing, yet prevent criminals and the dangerously
   5 mentally ill, from buying and possessing firearms.
   6 It's actually quite simple.
   7       As a member of the Aurora community that
   8 has been directly and repeatedly impacted by
   9 senseless gun violence, I can tell you it is time to
  10 modernize Colorado's gun laws so that no one can buy
  11 a gun without a basic, common-sense requirement of a
  12 background check.
  13        THE CHAIRWOMAN: Thank you.
  14        Senator Balmer.
  15        SENATOR BALMER: Thank you, Madame Chair.
  16        Members, good afternoon. We each
  17 represent 143,000 Coloradans. We each have in our
  18 district babies, little tiny infants that are either
  19 sleeping right now or crying to be changed or fed,
  20 and they have no idea what we're discussing today,
  21 but we will affect their lives today. We will
  22 affect their rights today, from sleeping babies to
                                                                                                    LEG HX 000806                   4721
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            Appellate
  23 the oldest          Case:
                  citizens       14-1290
                            that we           Document:
                                    have in our districts. 01019371764                Date Filed: 01/16/2015           Page: 58
  24        I've received many e-mails from elderly
  25 people in my district, and they are just shaking
  0026
   1 their heads because they moved here -- they moved to
   2 a Colorado decades ago, and the Colorado that they
   3 moved to would have never considered bills like the
   4 bills that we are discussing today.
   5       So we represent 143,000 Coloradans, and
   6 each one of those Coloradans has the honor of also
   7 being an American. So I think it's important that
   8 we discuss this bill under the context of our U.S.
   9 Constitution.
  10        Now, foundational to any bill that we
  11 discuss is the U.S. Constitution and our State
  12 Constitution. We each took an oath on our first
  13 day. We had our families here. We took pictures.
  14 And we each took an oath to defend our Constitution.
  15        So it's incredibly important that when we
  16 discuss these bills today, and specifically this
  17 bill, that we talk about the Constitution and how
  18 does it affect this bill, and more importantly, how
  19 does this bill infringe on our constitutional
  20 rights.
  21        So let's first talk about the Second
  22 Amendment. Now, why do we have the Second
  23 Amendment? It's very important understand that.
  24 Those who don't know this are going to accidentally
  25 or intentionally infringe on Second Amendment
  0027
   1 rights.
   2       So why do we have the Second Amendment?
   3 Well, it's critical that you understand history. In
   4 April, 1775, British General Thomas Gage's spies
   5 alerted him that the American patriots were
   6 stockpiling weapons in Concord, Massachusetts.
   7 Determined to disarm the rebels, General Gage
   8 ordered Major John Pitcairn, a British Major, and
   9 700 British soldiers to march on Concord and seize
  10 and destroy the patriot arms. That's a quote from
  11 the (inaudible) order.
  12        Well, a silversmith named Paul Revere rode
  13 on horseback all night long to warn patriots the
  14 British were coming.
  15        When Major Pitcairn marched into
  16 Lexington, his force came across a small and
  17 determined group of militia. Pitcairn demanded that
  18 the group disarm. Pitcairn said, and I quote,
  19 "Disperse ye rebels, damn you. Throw down your arms
  20 and disperse."
  21        I apologize for swearing, I'm just quoting
  22 him.
  23        The militia's refusal to disarm resulted
  24 in the shot heard round the world, which began the
                                                                                                    LEG HX 000807                   4722
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            AppellateWar.
  25 Revolutionary     Case: In 14-1290
                                the aftermathDocument:    01019371764
                                              of the battles,                         Date Filed: 01/16/2015           Page: 59
  0028
   1 General Gage would attempt to disarm the entire city
   2 of Boston.
   3       Well, as you know, our founders fought a
   4 long war, not a short war, but a long Revolutionary
   5 War to gain our independence. That war was not
   6 fought on a faraway land, it was fought right here,
   7 in the United States of America. Their homes were
   8 burned. Their families were killed. And if they
   9 had not succeeded, they all would have been killed.
  10       So when they won the war, our founders
  11 were not casual about the rights that they wanted to
  12 protect as sacred. No, the founders were determined
  13 to put into their Constitution certain rights that
  14 had been very much infringed by the British
  15 government. They wanted to make sure that the new
  16 American government would not allow the infringing
  17 of these sacred rights. So they debated, and they
  18 debated.
  19       You can read the federalist papers if you
  20 wanted to read the debates. It's very interesting
  21 reading. Our founders were passing a Constitution
  22 that was not just for the 1700's. Our founders knew
  23 that they were passing a Constitution that would
  24 live many decades, many centuries into the future.
  25 They thought about the future, and they said, these
  0029
   1 are the rights that we're going to protect in this
   2 Constitution.
   3       As I've heard it said many times, well,
   4 that was just passed because it was in the 1700's.
   5 I think that we are selling our founders short with
   6 that kind of thinking. Our founders knew by the
   7 time that they were finished writing the
   8 Constitution that they had written a truly unique
   9 model for government, a model that has been copied
  10 by every freedom-loving people in the world ever
  11 since.
  12       Indeed, we are blessed in this country to
  13 have the best written Constitution in the history of
  14 the world, the best form of government in the
  15 history of the world.
  16       So why did the founders protect certain
  17 rights as sacred? There's two main reasons.
  18       First, they wanted to protect the
  19 individual American from an overreaching government,
  20 from a tyrannical government. Our founders wanted
  21 to put rights in the Constitution that would protect
  22 individual Americans from their government.
  23       Secondly, our founders wanted to put
  24 rights in the Constitution to protect individual
  25 Americans from an overreaching majority. How many
  0030
                                                                                                    LEG HX 000808                   4723
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   1 times Appellate     Case:
             have you heard      14-1290
                              it said, oh, well,Document:
                                                 majority 01019371764                 Date Filed: 01/16/2015           Page: 60
   2 rules? Well, let me tell you something, majority
   3 does not rule in America. We are unique. We
   4 protect the rights of minorities in America. We do
   5 not allow a steamrolling majority to just roll over
   6 the rights of the minority in America. Isn't that
   7 great that we have that in our Constitution?
   8       I'm sure there's certain things that each
   9 of you love the most about the rights that you have
  10 as Americans, and isn't it great that those rights
  11 are preserved and protected by your Constitution?
  12        So I'll just give you one example.
  13 There's many, many examples. The Japanese
  14 internment, which happened in our state.
  15        THE CHAIRWOMAN: Senator Balmer, could you
  16 please stick to the bill?
  17        REPRESENTATIVE BALMER: Thank you, Madame
  18 Chair. I appreciate that.
  19        When you talk about the Second Amendment,
  20 when you talk about how important the Second
  21 Amendment is, you have to think about can we or
  22 should we allow the rights of a minority to be so
  23 infringed?
  24        Now, one thing that a lot of people have
  25 misunderstood about the first ten amendments to our
  0031
   1 U.S. Constitution, and we're talking about a bill in
   2 this body, we've got to make sure -- we have to make
   3 sure -- that it's constitutional. So let's talk
   4 about that.
   5       The first ten amendments are not in a
   6 random order. The first ten amendments to the U.S.
   7 Constitution were deliberately written by our
   8 founders to be interconnected and to ride on top of
   9 the foundation of the First Amendment and the Second
  10 Amendment.
  11        The First Amendment right to free speech
  12 is built on top of the Second Amendment.
  13        Do you think that they had free speech
  14 rights in Nazi Germany? No, they didn't. It's also
  15 because they didn't have any Second Amendment
  16 rights.
  17        Do they have free-speech rights in
  18 Communist Russia? No, because they didn't have any
  19 Second Amendment rights in Communist Russia.
  20        Well, let's talk specifically about this
  21 bill. This bill definitely, definitely, infringes
  22 on our Second Amendment rights.
  23        Now, what if we passed a bill that --
  24 basically, what this bill does is, is it says, well,
  25 you can have Second Amendment rights, but in certain
  0032
   1 categories you can't have Second Amendment rights.
   2 Is that what the Constitution says? No. The
                                                                                                    LEG HX 000809                   4724
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
             Appellate
   3 Constitution    saysCase:
                          that we14-1290       Document:
                                   shall not infringe on 01019371764                  Date Filed: 01/16/2015           Page: 61
   4 Second Amendment rights, period. There's no
   5 footnote, one, two, three, four, except in these
   6 categories you can infringe. No.
   7        What if we passed a bill that said that
   8 you can infringe -- you cannot infringe on freedom
   9 of speech except for this subject you can infringe
  10 on? What if we passed a bill on freedom of
  11 religion, except for this religion? That's what
  12 we're doing here today. We're saying that you can
  13 have the right to bear arms except that we're going
  14 to take it away in certain situations.
  15        What if we passed a bill on the Fourth
  16 Amendment that took away your right to be safe from
  17 search and seizure?
  18        These rights are all sacred. We must
  19 protect them all. We can't just have your favorite
  20 rights in the Bill of Rights. All of us are charged
  21 when we take that oath to protect all the rights,
  22 not just the ones that we particularly like.
  23        Why is this so important? Why should we
  24 take so seriously protecting these rights? Well,
  25 let me tell you why. Because there's a lot of
  0033
   1 people over the years that have protected these
   2 rights. They haven't just protected these rights
   3 with their words, they've protected their rights --
   4 these rights -- with their lives.
   5        There were men and women during the
   6 American Revolution that fought for our country
   7 because they wanted to see a Second Amendment right
   8 in the U.S. Constitution. There were men and women
   9 who fought during the War Between the States to
  10 protect Second Amendment rights.
  11        Interestingly, while we're on the war
  12 between the states, it's interesting to notice that
  13 General Grant allowed the -- right after the
  14 surrender -- of course there's a lot of people in
  15 this South that don't acknowledge they surrendered,
  16 but anyway that is an aside -- General Grant allowed
  17 a lot of Confederate troops to return home with
  18 their weapons. Why? Well, because it never even
  19 occurred to the commanding general of the U.S. Army
  20 that he would take away the Confederate's right to
  21 bear arms. Now, he'd just been fighting them for
  22 four and a half years, but he let them have their
  23 weapons, because everyone in America knew that that
  24 was a sacred right.
  25        Let me read you about one particular
  0034
   1 American who sacrificed greatly to protect these
   2 sacred rights. This is a letter you've probably
   3 heard before, but it's -- it's just worth reading.
   4 It's -- it's poetic. This is a letter from Abraham
                                                                                                    LEG HX 000810                   4725
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            Appellate
   5 Lincoln.             Case:
                 It's written    14-1290 21,
                              on November   Document:
                                              1864 to 01019371764                     Date Filed: 01/16/2015           Page: 62
   6 Ms. Bixby in Boston, Massachusetts.
   7       It reads: "Dear Madame. I have been
   8 shown in the files of the war department a
   9 statement of the Adjutant General of Massachusetts
  10 that you are the mother of five sons who have died
  11 gloriously on the field of battle.
  12        "I feel how weak and fruitless must be
  13 any words of mine which should attempt to beguile
  14 you from the grief of a loss so overwhelming. I
  15 cannot refrain from tendering you the consolation
  16 that may be found in the thanks of a Republic they
  17 died to save.
  18        "I pray that our Heavenly Father may
  19 assuage the anguish of your bereavement and leave
  20 only the cherished memory of the loved and lost,
  21 and the solemn pride that must be yours to have
  22 laid so costly a sacrifice upon the alter of
  23 freedom.
  24        "Yours, very sincerely and respectfully.
  25 Abraham Lincoln."
  0035
   1       There were many Americans who fought
   2 gloriously and bravely to defend these sacred rights
   3 in World War I. There were many Americans who
   4 fought courageously to protect these rights in World
   5 War II. There are many souls at the bottom of the
   6 harbor in Pearl Harbor.
   7       I had last year the opportunity to go to
   8 the American Sector Battlefield Cemetery in
   9 Normandy, France. It's actually a part of the
  10 United States. The French government actually gave
  11 the land where our American cemetery is to the
  12 United States of America.
  13        If you walk down the rows of American
  14 graves in Normandy, it will fill up your heart, and
  15 you will understand, once again, how important it is
  16 that we protect these precious rights that our
  17 founders made.
  18        There's many people that gave their life
  19 in World War II, Korea, Vietnam.
  20        If you ever have an opportunity to thank a
  21 Vietnam veteran, I hope you'll take it, because they
  22 didn't get thanked enough when they came home.
  23        There's more than 3,000 people that burned
  24 to death in the Twin Towers. Not their choice, but
  25 that's where they were.
  0036
   1       And one of my friends in Afghanistan, who
   2 I was in the bible study with, died. His son has
   3 his father's flag in a triangle-shaped shadow box.
   4 His father believed deeply in the Second Amendment.
   5 His father believed deeply in the freedoms that we
   6 hold sacred in America.
                                                                                                    LEG HX 000811                   4726
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   7        Appellate
           Let         Case:
               me tell you how14-1290       Document:
                                 great America  is.    01019371764                    Date Filed: 01/16/2015           Page: 63
   8 This -- his son who was a little boy when his dad
   9 was shot in Afghanistan, the son is now starting
  10 college, and he's in Army R.O.T.C. And from
  11 generation to generation, to generation, we have the
  12 noble duty to protect these rights.
  13        So I just wanted to talk about the Second
  14 Amendment today because I feel like we get so much
  15 into the weeds that we forget what these bills are
  16 actually doing.
  17        Madame Chair, I ask for a no vote. Thank
  18 you.
  19        THE CHAIRWOMAN: Thank you.
  20        Senator Harvey.
  21        SENATOR HARVEY: Thank you, Madame Chair.
  22        And thank you, Senator Balmer, for giving
  23 us a history lesson on why America is great and why
  24 America is free.
  25        You talked about how we have it to defend
  0037
   1 ourselves against a tyrannical government, that
   2 being the Second Amendment, but we also have it to
   3 defend ourselves and our family from evil.
   4       And no government has the authority to
   5 take away somebody's inalienable right to defend
   6 themselves and their family. No government has the
   7 right to say we will disarm you and tell you that
   8 you have to be helpless. That is what this debate
   9 all day long will be about. What is the role of
  10 government when it comes to the right of
  11 self-defense?
  12        You all received an e-mail from a young
  13 lady who most of us have forgotten about. Most of
  14 us were kids when her story was on the front page of
  15 every paper in the country. I read that e-mail, and
  16 I asked her to come testify in committee on Monday
  17 as one of my, quote/unquote, expert witnesses. Many
  18 of you weren't in that -- many of you weren't in
  19 that chamber in that committee room when Krista
  20 Ceresa gave her testimony. Do you know the name?
  21 Do you remember her story?
  22        Let me read her testimony: "My name is
  23 Krista Ceresa. I grew up and currently reside in
  24 District 29 and am represented by Senator Morgan
  25 Carroll.
  0038
   1       "I am here today on behalf of my family,
   2 as well as a large number of people from my
   3 community who are so familiar with the tragedy I'm
   4 going to share with you today.
   5       "The last man executed in the State of
   6 Colorado was the man who killed my mom.
   7       "July 21, 1986, Gary Davis kidnapped,
   8 raped, and murdered my mom -- my mother, Genie May.
                                                                                                    LEG HX 000812                   4727
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            Appellate
   9 Gary Davis    had aCase:
                          history14-1290
                                  of predatoryDocument:
                                                sexual  01019371764                   Date Filed: 01/16/2015           Page: 64
  10 behavior, raping 15 woman, and convicted -- and
  11 convictions of grand larceny, burglary, menacing,
  12 and jailed on sexual assault in Colorado.
  13        "Four years prior to my mother's murder,
  14 a man who should have never been released from
  15 prison was released early.
  16        "In 1985 my mother met Gary Davis and his
  17 wife Becky at church. He stalked my mother until
  18 killing her one year later. He was a criminal, and
  19 it was against the law for him to have a gun. He
  20 had no respect for my mother, my family, and he
  21 certainly had no respect for the law.
  22        "If I had to do it over again, this is
  23 often a phrase we throw around when reflecting on
  24 how we could have done things differently, whether
  25 it relates to our careers or maybe raising our
  0039
   1 children. I was speaking with my dad. He said to
   2 me, 'If I had to do it over again, I would have
   3 made sure your mother had a gun. If she could have
   4 had a chance to protect herself and you kids.
   5       "In this case -- in this case we were
   6 talking about saving someone's life and keeping a
   7 family in tact.
   8       "I know my father struggles daily with
   9 the fact that he was unable to protect my mother on
  10 that day. The reality is these sick individuals
  11 prey on those who are considered least likely to be
  12 able to protect themselves, woman and children, in
  13 places we falsely label as safe zones, gun-free
  14 zones.
  15        "If my mother had been armed with a gun,
  16 my story might be much different. She was
  17 approached by two assailants that day."
  18        Listen to this, members.
  19        "She was approached by two assailants
  20 that day, not just one. She was outnumbered.
  21        "If any of you are parents, maybe you can
  22 imagine what might have went through her mind as
  23 the lives of her two young children would now be
  24 forever changed because of the premeditated acts of
  25 this -- of these sick individuals.
  0040
   1       "I am a mother now, and I think back
   2 daily on that terrible moment when I saw Gary Davis
   3 physically force my mom from our front yard as I
   4 was held -- as I was held by his wife on the front
   5 steps of our country home. I will never forget the
   6 last time -- the last time I saw my mom. I was
   7 four years old."
   8       And she was held by this man's wife as
   9 he -- as he threw her mother into a truck.
  10        "My efforts must be focused now on my
                                                                                                    LEG HX 000813                   4728
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
            Appellate
  11 children   and whatCase:
                           I can14-1290
                                 do to ensureDocument:
                                               that their 01019371764                 Date Filed: 01/16/2015           Page: 65
  12 lives, that their last memories of their mother are
  13 never the same as what I have of mine.
  14        "As a concealed-carry permit holder, I
  15 exercise my right to carry daily. As carrying a
  16 firearm may seem unnecessary, those who know my
  17 story understand the heartbreaking reality that
  18 evil, evil can approach without warning. It is
  19 because of the Second Amendment that I do not have
  20 to worry about what others think is necessary or
  21 unnecessary as it relates to the protection of my
  22 family and myself.
  23        "I am thankful for that right and choose
  24 to exercise that right quietly and carefully,
  25 whether I am at church or visiting my cousin for
  0041
   1 lunch at the college campus at UNC, where she
   2 works.
   3       "She too is a mother and legally
   4 exercises her right to carry. We know better than
   5 anyone that the moment we are unprepared might be a
   6 moment we live or may not live to regret.
   7       "I have seen firsthand how quickly a
   8 situation like this can occur, and as many of our
   9 law enforcement officers are outstanding public
  10 servants, there simply may not be enough time. I
  11 understand more than most, my protection is
  12 ultimately my responsibility.
  13        "So as I ask you to consider the
  14 consequences of imposing more regulations upon
  15 law-abiding citizens, please remember whom these
  16 laws will really restrict. How, by diluting these
  17 rights, my rights, you will only make people like
  18 myself, a daughter, a wife, a mother, an easy
  19 target.
  20        "These regulations will not affect those
  21 whose intent is to ultimately break the law by
  22 obtaining a gun, not getting a background check.
  23 Statistics have shown that many of these people
  24 committing these heinous crimes had illegally
  25 obtained a gun in the first place. Stricter gun
  0042
   1 control will not stop another sick-minded Gary
   2 Davis from killing somebody else's mother. In
   3 fact, if you pass these regulations, it is more
   4 likely that you will ensure that it will happen
   5 again.
   6       "My stance, along with my entire family,
   7 is to oppose any measures for gun control. And we
   8 will oppose any lawmaker who authors or votes in
   9 favor of any legislation that infringes on the
  10 Second Amendment and my right to self-protection.
  11        "The government was never intended to
  12 regulate my needs as it relates to protecting
                                                                                                    LEG HX 000814                   4729
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  13 myself.Appellate Case: 14-1290 Document: 01019371764                             Date Filed: 01/16/2015           Page: 66
  14        "We follow the law, and have every right
  15 to protect our family from danger with the highest
  16 measure of security we see fit.
  17        "I am standing before you today having
  18 just shared a story I have never spoken publicly
  19 about."
  20        Never, until Monday, when she came into
  21 the State Affairs Committee to tell her story. She
  22 has never spoken publicly since she was four years
  23 old. Her dad has never spoken publicly since she
  24 was four years old. Her brother, who is three years
  25 older than she is, has never spoken publicly since
  0043
   1 she was four years old, until she walked through the
   2 doors of that committee room upstairs to tell you
   3 this story.
   4       "This is because I have never felt more
   5 passionate for a cause as I do about this and
   6 understand first hand the consequences this
   7 legislation presents. These restrictions will only
   8 make my world less safe, leaving law-abiding
   9 citizens out-gunned by criminals who have no
  10 respect for the law.
  11        "I'm speaking out today because you have
  12 to be out of your mind to believe someone with a
  13 plan to kill will not get their hands on a gun,
  14 that any measure to put restrictions on the Second
  15 Amendment will keep firearms of any capacity out of
  16 the hands of criminals, nor will it influence where
  17 they will choose to use them. And I certainly know
  18 that these measures will not take a way the
  19 malicious intent of those with evil in their
  20 hearts.
  21        "Thank you for hearing me today. I pray
  22 that God guides you as you cast your very powerful
  23 vote on this dangerous piece of legislation."
  24        She finishes with a quote from Thomas
  25 Jefferson:
  0044
   1       "No free man shall ever be debarred the
   2 use of arms. The strongest reason for the people
   3 to retain the right to keep and bear arms is at a
   4 last resort to protect themselves against tyranny
   5 of government."
   6       Members, thank you for listening to that.
   7 I think that's what we are talking about on all of
   8 these bills that we have coming before us. How
   9 profound is it that this family chose to go public
  10 about their horrific story to tell you how important
  11 this is for them and their family?
  12        I wrote them -- I wrote Krista and asked
  13 her to be here today.
  14        She said, "Senator Harvey, I would love
                                                                                                    LEG HX 000815                   4730
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  15 to be Appellate
            your guest Case:   14-1290
                        on Friday.           Document: 01019371764
                                     I have already                                   Date Filed: 01/16/2015           Page: 67
  16 arranged for a sitter. The irony of all of this, I
  17 can only think how nervous I will be walking alone
  18 from my car to the capital, knowing that I'll have
  19 to leave my .38 in the car, or, according to your
  20 Senate colleagues, my false sense of security.
  21       "I am so glad you felt it was worth --
  22 was worth it. I just wish I could make everyone
  23 who questions my position understand my reality
  24 without -- without experiencing my tragedy.
  25 Impossible. So I will -- so I will continue to
  0045
   1 carry around my false sense of security while
   2 people, your colleagues, carry around their false
   3 sense of reality."
   4      She took me up on my offer. She's in the
   5 chamber today. Thank you, Krista, for being here.
   6      Vote no on this bill.
   7      THE CHAIRWOMAN: Senator King.
   8      SENATOR KING: Thank you, Madame Chair.
   9      Well, the Bloomberg dysfunctional hit
  10 parade just keeps coming.
  11       Let's talk about self-defense. Let's talk
  12 about personal safety. Let's talk about one
  13 exception which covers a temporary transfer to a
  14 person faced with imminent death or bodily harm. It
  15 has to be in the transferee's home.
  16       So if my neighbor, whom I've known for 30
  17 years, comes to my home to borrow a gun because a
  18 criminal has just broken into hers, I can't give her
  19 that gun in my house. I have to go back to her
  20 house before I can hand her the gun.
  21       If someone is getting calls from a stalker
  22 but the stalker's not shown up at that person's
  23 home, I can't loan the targeted victim a gun. That
  24 would be a crime under this bill. The reason is
  25 that that transfer to a person being threatened by
  0046
   1 criminals are allowed only when the threat is so
   2 imminent that the victim would be justified in
   3 shooting the threatening person at that very
   4 instant.
   5      Another exception is for temporary
   6 transfer of possession is permitted at a shooting
   7 range of specific charter: at a target, firearms
   8 shooting is completed, it is under the auspices of
   9 the state agency or non-profit organization while
  10 hunting or fishing under those prescribed terms.
  11       Another exception allows a temporary
  12 transfer up to 72 hours. This is a good exception,
  13 but it's flawed. The transfer -- the transfer or --
  14 is justly and severely liable for anyone who is
  15 injured by the use of that transferred gun.
  16       Notably, liability is for use. Liability
                                                                                                    LEG HX 000816                   4731
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
  17 is for Appellate   Case: 14-1290
            use, not unlawful   use. So if I Document:
                                             loan my gun 01019371764                  Date Filed: 01/16/2015           Page: 68
  18 to my brother-in-law and he's going to take it out
  19 hunting, and my brother-in-law is attacked by a
  20 violent criminal, and my brother-in-law, in
  21 defending himself and his life, shoots the criminal
  22 in self-defense, ladies and gentlemen, that criminal
  23 can sue me.
  24       This is a day of dysfunctionallism.
  25       THE CHAIRWOMAN: Senator Baumgardner.
  0047
   1       SENATOR BAUMGARDNER: Thank you, Madame
   2 Chair.
   3       Thank you, members.
   4       Heard a lot of talk this morning. Let's
   5 go back about an hour. Let's talk about law-abiding
   6 citizens. That, in itself, is a statement,
   7 law-abiding citizens, which means law-abiding
   8 citizens play by the rules. And I think that every
   9 law-abiding citizen that is in the State of Colorado
  10 does play by the rules.
  11       What makes us think that if we pass this
  12 piece of legislation it's going to stop criminals
  13 from getting guns? There's nothing that will ever
  14 stop someone that is mean, someone that is a
  15 criminal, from getting a weapon to carry out
  16 whatever they want to carry out.
  17       We heard about closing loopholes. I've
  18 been to gun shows. I've been to gun shops. You
  19 have to apply, you have to pass a background check
  20 to receive a firearm from these places.
  21       Does the criminal go in and say, hey, I
  22 want to buy in a .357 magnum right there and, oh, by
  23 the way, I want to fill out this background check?
  24 Most generally, you won't find -- well, probably 100
  25 percent of the time you won't find a criminal in a
  0048
   1 gun shop or at a gun show buying a piece of --
   2 buying a handgun or buying a rifle or whatever,
   3 because they know they have to pass a background
   4 check.
   5       The loophole. Again, we've heard from all
   6 of our constituents, and a lot of people seem to
   7 think that to close this loophole, especially on
   8 private sales, is to just make sure that it's known
   9 who owns a gun, who's got the gun, where the gun is,
  10 to where, not only in this state, but all over this
  11 nation, there's a national directory on who owns a
  12 gun.
  13       The Constitution says we have the right to
  14 keep and bear arms. Can you imagine when we went to
  15 war, when these guys left their homes in defense of
  16 this country, in defense of the tyranny that we had
  17 when England was over us, that they'd say, you know,
  18 we'd like for you to take that gun and go over there
                                                                                                    LEG HX 000817                   4732
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            Appellate
  19 and fight,  but weCase:    14-1290
                          have to  check youDocument:
                                              out to make 01019371764
                                                          sure                        Date Filed: 01/16/2015           Page: 69
  20 that you didn't steal something or you didn't do
  21 something. Law-abiding citizens goes through the
  22 process.
  23        The Constitution gives us that right to
  24 keep and bear arms, and it also says those rights
  25 will not be infringed. This bill infringes those
  0049
   1 rights.
   2       When a licensed firearm dealer elects to
   3 pursue the business of selling new and used
   4 firearms, he or she does so under the constraints
   5 already in place under the provisions of federal
   6 law. He or she agrees to abide by that law, in the
   7 place, at the time, and any subsequent laws that may
   8 be related to the licensed business.
   9       Now, private individuals, private
  10 individuals own and possess firearms under the
  11 provisions of the U.S. Constitution, which, to my
  12 understanding, usurping federal, state, or local
  13 law, because those firearms, possessed under the
  14 provisions of the United States Constitution, are
  15 not registered or otherwise tagged by a private or
  16 governmental agency or entity, the availability to
  17 enforce firearm background legislation that attempts
  18 to control the transfer of ownership of private
  19 sales, is impossible.
  20        The bill defines transfers very broadly.
  21 It includes temporary changes in possession that has
  22 nothing to do with ownership. We're talking about
  23 swapping arms, giving somebody a firearm. You know,
  24 one of the problems I see, you know, we talk about
  25 72 hours here so -- and this may have already been
  0050
   1 spoken about, and if it is, I apologize to make you
   2 sit through it again -- but if I leave town and I
   3 give my firearms to one of my esteemed colleagues
   4 and say I'm going to be back if four days, if he
   5 doesn't clear a background check, he's a criminal.
   6       It becomes a Class 1 misdemeanor for any
   7 person to accept even a temporary loan of a gun,
   8 except in very limited exemptions.
   9       Even if the actual sentence for this
  10 misdemeanor is 60-day probation and a $50 fine, the
  11 fact that the potential punishment of this crime is
  12 more than a year in jail, means that violating this
  13 definition of a temporary transfer, even once, will
  14 lead to the loss of the ability to legally own a gun
  15 under federal law. That's what this bill does. We
  16 talked -- we keep talking about, we're just trying
  17 to get in line with -- with the federal law.
  18        This bill, as written, could lead to gun
  19 confiscations in Colorado in various circumstances.
  20 In Denver, in a traffic stop, the police can
                                                                                                    LEG HX 000818                   4733
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
            Appellate
  21 confiscate  a gun Case:    14-1290
                        if the person        Document:
                                      possessing  legal 01019371764                   Date Filed: 01/16/2015           Page: 70
  22 ownership of the gun cannot prove to that officer
  23 that the gun belongs to them.
  24       How's the officer to know, unless he's got
  25 a gun registration that I bought this gun, this is
  0051
   1 when I bought it, here's the paperwork, it is my
   2 gun.
   3       When a driver's stopped by police, you
   4 know, on a traffic infraction, any infraction, and
   5 he can't show a vehicle registration to prove
   6 ownership, that officer may decide he has probable
   7 cause to impound that vehicle. Are we moving
   8 towards the same thing with guns that law-abiding
   9 citizens own, have the right to possess, that our
  10 Constitution says you have that right? And just
  11 because I can't prove it, I lose that right.
  12       There's none of us in here that wants guns
  13 in the hands of criminals. There's none of us in
  14 here that wants hands -- or guns in the hands of
  15 people that are mentally ill, but doing a national
  16 background check on every citizen, law-abiding
  17 citizen, on any type of firearm transfer, especially
  18 on private transfers, is just unconscionable, that
  19 we, as one of the senators spoke earlier, we all
  20 stood down here, we raised our right hand and we
  21 swore an oath to uphold the Constitution of the
  22 United States and the Constitution of the State of
  23 Colorado. The Constitution I swore an oath to tells
  24 me that I have the right to keep and bear arms
  25 without a universal background check.
  0052
   1       THE CHAIRWOMAN: Thank you.
   2       There is an amendment on the desk.
   3 Mr. Majors, would you please read Amendment 34?
   4       MR. MAJORS: Amend L.034 to House Bill
   5 1229 by Senator Carroll, amend the --
   6       THE CHAIRWOMAN: Thank you.
   7       Senator Carroll.
   8       MAJORITY LEADER CARROLL: Thank you,
   9 Madame Chair.
  10       I move Amendment L.034.
  11       Members, to a point raised earlier by a
  12 colleague, maybe the easiest way to look at this is
  13 on page 2 of the State, Veterans, and Military
  14 Affairs report. Amendment 34 inserts the word
  15 unlawful before the word use of firearm.
  16       And to put this into context, this is one
  17 of the two catch-all provisions that says you can
  18 loan any firearm to anyone you want for up to 72
  19 hours without a background check, as long as they're
  20 not a convicted felon or prohibited.
  21       But the point was also made that as far as
  22 being responsible for the subsequent use, what this
                                                                                                    LEG HX 000819                   4734
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
            Appellate
  23 amendment     does,Case:     14-1290
                           is it adds the wordDocument:
                                                  for the 01019371764                 Date Filed: 01/16/2015           Page: 71
  24 subsequent unlawful use. One word, I think an
  25 important word, raised by a colleague, which is
  0053
   1 consistent -- more consistent, actually, with my
   2 intent of the bill.
   3       So I would just ask for an aye vote on
   4 Amendment 34.
   5       THE CHAIRWOMAN: A discussion on Amendment
   6 34?
   7       The motion is -- yes, I'm sorry, Senator
   8 Brophy.
   9       SENATOR BROPHY: Thank you, Madame Chair.
  10        And -- and this amendment will be an
  11 important improvement to the bill, but it still
  12 doesn't solve all of the problems with regard to
  13 assuming liability for things that happened that are
  14 completely beyond your control. And we're going to
  15 discuss another bill today that deals with that
  16 extensively also. But that -- that still remains in
  17 this bill, you're -- you can be held liable for
  18 things that are completely beyond your control.
  19        We don't do that very often in very many
  20 areas. This is -- this is -- this is a huge step to
  21 place you in a position where you're responsible for
  22 things that happen that are clearly, way beyond your
  23 control.
  24        THE CHAIRWOMAN: Senator Carroll.
  25        MAJORITY LEADER CARROLL: Thank you,
  0054
   1 Madame Chair.
   2       And just to be clear, it's joint and
   3 several liability, it's not strict liability. So if
   4 anything's out of your control, it's not strict
   5 liability, you wouldn't be held liable. It's the
   6 ordinary negligence standard.
   7       And I would just ask for an aye vote as
   8 far as clarifying the use of the word unlawful.
   9       THE CHAIRWOMAN: Thank you.
  10        The motion before us is to adopt Amendment
  11 34.
  12        All those in favor say aye.
  13        All those opposed, no.
  14        And that amendment is adopted.
  15        Next, we have Senator Scheffel.
  16        SENATOR SCHEFFEL: Thank you, Madame
  17 Chair.
  18        Members, if we go back and just recall
  19 ever so slightly the events of Monday, when these
  20 were heard in committee. I remember being on the
  21 way down here and received a phone call, a friend of
  22 a gentleman that I did not know. I believe his name
  23 was Rick.
  24        And he indicated -- asked me -- indicated
                                                                                                    LEG HX 000820                   4735
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  25 he was Appellate
              going to Case:    14-1290
                        come down   here and  Document:
                                                testify. He01019371764
                                                            was                       Date Filed: 01/16/2015           Page: 72
  0055
   1 concerned in particular about the package of bills,
   2 but in particular this bill. And I gave him the
   3 outline of the procedures and how to come down here
   4 and warned him about the parking, whatnot, and then
   5 I was able to bump into him when he was actually
   6 down here. He left before he could testify.
   7       He had tried to attempt to circumvent the
   8 process that day, and suffice it to say, and we all
   9 know that this place was very, very busy, very
  10 crowded, and unfortunately a lot of folks could not
  11 testify.
  12       To this particular gentleman, I apologized
  13 on behalf of the process and the fact that it had
  14 turned unfortunately against his ability to speak
  15 that day, and I said as best as I can do, I will
  16 speak for you, given the opportunity. And so,
  17 relevant to this particular bill, I'd like to -- to
  18 read into the record Rick's words.
  19       Concerning the requirement -- and relevant
  20 to the discussion, I appreciate the sponsor's
  21 amendment, and it maybe addresses some of things
  22 here, and we can --
  23       THE CHAIRWOMAN: Senator Scheffel, could I
  24 ask you -- I just want to confirm: This is
  25 testimony on this particular bill that was supposed
  0056
   1 to be read?
   2       SENATOR SCHEFFEL: It is, Madame Chair.
   3       THE CHAIRWOMAN: Okay. Thank you.
   4       SENATOR SCHEFFEL: He indicated that
   5 concerning the requirement that loans of firearms
   6 must go through a background check, the bottom line
   7 is that such a requirement would be complicated,
   8 impractical, and unenforceable. My hope is that
   9 once your colleagues understand what would be
  10 involved that they will drop this idea.
  11       He writes: "I'm a certified instructor.
  12 I mostly teach woman and young adults, especially
  13 young adults belonging to a chartered national
  14 organization. Except for very few certain
  15 circumstances, I do all of this training at my
  16 expense.
  17       "When I work with women, I take them to
  18 various shops to see different firearms. I do this
  19 so that they might learn about them, about their
  20 differences, and to find one that would suit them.
  21 This process prevents people from buying a firearm
  22 that they don't really need, which will end up
  23 stuck in a drawer somewhere.
  24       "As part of this educational process, I
  25 take them to the range so they can try some
  0057
                                                                                                    LEG HX 000821                   4736
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
             Appellate
   1 different   types ofCase:    14-1290
                           firearms. And as IDocument:
                                               don't own 01019371764                  Date Filed: 01/16/2015           Page: 73
   2 all the different models and types I might use for
   3 this purpose, I have to borrow them. I generally
   4 have to get two or three friends involved, so no
   5 single one of my friends owns all the types I might
   6 want to demonstrate. Right now, they loan them to
   7 me, and then I go to the range with the person I'm
   8 instructing, and then I return them to the owners
   9 afterward.
  10         "If I'm teaching my youth group, I use
  11 simple .22 rifles, however, I don't own enough to
  12 cover my needs for even a small group, so I have to
  13 involve several friends there as well.
  14         "However, if this proposed requirement
  15 for transfers on loans between friends and families
  16 become law, the whole process would grind to a
  17 halt, at least for me. I would have to have each
  18 of my friends accompany me to an FFL holder. I
  19 would then fill out the federal form and transfer
  20 the FFL, run a background check. I have to do all
  21 that with every firearm from every friend. And I
  22 have to pay the fee for the FFL holder charges at
  23 the time. And if the state passes its own fee, I
  24 would also have to pay that.
  25         "After that, the firearms are technically
  0058
   1 mine and not the property of the owner, as they
   2 have been transferred to me. Add to that, the time
   3 I it takes more me to wait for the background check
   4 to clear, depending on how much the CBI is backed
   5 up, and the process becomes even worse.
   6        "Then I go to the training. Hopefully,
   7 handling a firearm to -- handing a firearm to
   8 someone in the range is not a transfer. And once
   9 the training is finished, I have to drag each of my
  10 friend's back, fill out the forms again and go
  11 through the CBI background check again with the
  12 accompanies fees and wait times. Only then, could
  13 they take possession of their firearms as I return
  14 them.
  15         "Note that there is no such thing that
  16 I'm aware of, of any sort of batch processing, if
  17 that's what anyone thinks happens in this
  18 circumstance. Each firearm requires its own
  19 paperwork, and each firearm requires a separate
  20 background check. Each check requires time in the
  21 CBI system and separates the fees.
  22         "All of this to serve no useful purpose.
  23 It clogs the CBI system, and it's a monetary
  24 hardship on people like me who teach for free. It
  25 would keep my friends from participating in
  0059
   1 responsible training. In fact, the whole idea is
   2 ultimately counterproductive to government's goals,
                                                                                                    LEG HX 000822                   4737
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   3 becauseAppellate
               it hindersCase:  14-1290education
                          safe firearms       Document:
                                                    and 01019371764                   Date Filed: 01/16/2015           Page: 74
   4 could actually put more firearms into the hands of
   5 the public. I would have to buy firearms I don't
   6 really need in order to give this training, or some
   7 people would buy firearms they don't really need or
   8 that they couldn't use properly.
   9       "Some of the young people I've taught
  10 over the years were headed into the military. I
  11 taught them shooting fundamentals that helped them
  12 master the necessary military skills. I know this
  13 from my own experience. I learned to shoot with
  14 the Boy Scouts, then shot expert for the military
  15 police training during the Vietnam era, even though
  16 I had no prior experience with the military
  17 firearms.
  18        "You say you don't want inexperienced
  19 people to own firearms, but when training is made
  20 this difficult, that's what you'll get.
  21        "The requirement is time consuming,
  22 expensive, we don't know what the state wants to
  23 charge yet, and it's obnoxious. I guarantee most
  24 shooters will just ignore it, as it is, frankly,
  25 unenforceable. I would hope that elected officials
  0060
   1 would not knowingly put an unenforceable law in the
   2 books. That would be irresponsible, and
   3 ultimately, such actions undermine the rule of
   4 law."
   5       Rick, I appreciate you taking the time to
   6 get in touch with me. I enjoyed meeting you. And I
   7 hope in some small way this makes up for your
   8 failure to be able to testify the day these were
   9 heard. People are listening now, as I've related
  10 this. Your arguments resonate with me.
  11        And, for that reason, I will be a no vote
  12 on this bill.
  13        THE CHAIRWOMAN: Thank you.
  14        Senator Brophy.
  15        SENATOR BROPHY: Thank you, Madame Chair.
  16        Colleagues, I'm going to ask obviously for
  17 a no vote on this bill. It is interesting in that
  18 it will yield absurd results. It is absolutely
  19 unnecessary, will not improve state of the one iota,
  20 and will ultimately lead us down a dangerous path
  21 that I think we ought not start our way down.
  22        I appreciate some of the other stories
  23 that we heard about the absurdity of this, the
  24 notion that you would have to go and get a
  25 background check every time you borrow a few
  0061
   1 firearms from some friends to take other friends to
   2 the shooting range so that everybody would have, you
   3 know, an assortment of firearms to experiment with
   4 so they could figure out what it is that they like,
                                                                                                    LEG HX 000823                   4738
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
             Appellate
   5 what suits     them, Case:  14-1290
                          what becomes        Document:
                                         the best          01019371764
                                                  firearm that                        Date Filed: 01/16/2015           Page: 75
   6 they can use for their own personal safety.
   7        And I guess these stories of absurdity
   8 shouldn't shock anybody in here, when the real
   9 proponents of the bill appear not to reside in the
  10 State of Colorado and have Colorado values.
  11         If you lived here in Colorado, you might
  12 know a little about our Colorado values.
  13         I -- I commend to the story that Curtis
  14 Lee wrote in the Denver Post last Sunday, a fabulous
  15 story talking about the rural culture, which
  16 encompasses almost all of the area that most of you
  17 folks are unfamiliar with, with the population
  18 growth here on the Front Range. Only four of us, I
  19 think, represent the -- the rural edges of the State
  20 of Colorado at this day.
  21         Another story of absurdity under this bill
  22 -- and again, I wouldn't expect folks from New York
  23 to understand this, but when you go elk hunting in
  24 the state of Colorado, which is a great past time of
  25 mine, especially as a youth, and members of my
  0062
   1 family and extended family, my neighbors, and
   2 friends all engage in this activity. It's a --
   3 it's -- it truly was always the highlight of my
   4 Fall, since I wasn't big enough to play football.
   5 You go for a week.
   6        Now, a lot of our friends, distant
   7 cousins, neighbors, will take their kids hunting for
   8 the first time, and maybe they haven't -- haven't
   9 gotten around to purchasing the first hunting rifle
  10 for that -- for that new hunter, and they want to
  11 come to me and -- and borrow one of mine.
  12         Under this bill, we either have to make an
  13 appointment with one of the two FFL dealers that I
  14 know in -- in my hometown. They don't have
  15 storefronts. You have to make an appointment with
  16 them, go down and pay for all the background checks,
  17 just to loan a hunting rifle to a person who you've
  18 known maybe your whole life. You probably know he
  19 has a .22 rifle because almost everybody does out
  20 there. So I know he understands firearms.
  21         He can -- he can have a firearm, but I
  22 have to get a background check on him, or both of us
  23 go to jail for 18 months because it exceeds the
  24 arbitrary 72-hour period placed upon the loaning of
  25 a firearm to somebody established in the Judiciary
  0063
   1 Committee.
   2        I think, and you may hear from everybody
   3 on my side of the aisle, another story of absurdity.
   4 Hopefully, that one will do it, because I just think
   5 that is absolutely ludicrous.
   6        I say it's unnecessary, because if you
                                                                                                    LEG HX 000824                   4739
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   7 look atAppellate   Case:
              the existing       14-1290
                            statute,           Document:
                                     it's 18-12-111. It  01019371764                  Date Filed: 01/16/2015           Page: 76
   8 says that it is unlawful to purchase a firearm for
   9 or transfer a firearm to someone who you know or
  10 reasonably should know cannot legally possess the
  11 firearm. That's what it says, 18-12-111.
  12       Now, what does that mean? Well, if you
  13 know they can't own -- own or possess the firearm,
  14 you got that. But what -- what does reasonably
  15 should know? Well, the case law is fairly clear on
  16 that. Florida courts, for instance, have construed
  17 this standard to require proof that quote, the
  18 circumstances of the transaction were sufficiently
  19 suspicious to put a person of ordinary intelligence
  20 and caution on inquiry.
  21       So if somebody is insisting to buy a
  22 firearm from you and you don't know them, it's not a
  23 neighbor that you've gone forever, which, by the way
  24 would -- is not allowed under this bill, so
  25 neighbors that I've known forever, I can't sell them
  0064
   1 a firearm privately, it has to be a public
   2 transaction, loss of privacy. But someone you don't
   3 know, you can and you probably should, ask them to
   4 do a background check. And if they say, yes, no
   5 problem. If they say, no, hum? Why? Would that
   6 put a reasonable person on caution? I think so.
   7 And I think for that reason the bill is absolutely
   8 unnecessary.
   9       And as the county sheriffs tell us, it's
  10 absolutely unenforceable because there's no way to
  11 know if the firearm that anybody has, has ever --
  12 was purchased or obtained with a background check.
  13 There is no way to know, and that's part of why this
  14 bill is so dangerous.
  15       I also said that the bill won't improve
  16 safety at all. And how do I know that? Well, the
  17 National Institutes of Justice tells us that. Eric
  18 Holder's Department of Justice did a study on
  19 various gun control proposals, and they studied
  20 specifically universal background checks.
  21       And to really understand this study,
  22 you -- you probably ought to look at the history of
  23 crime associated with firearms and how those
  24 firearms were attained -- obtained, and you should
  25 note then that half of them are obtained through
  0065
   1 straw purchase.
   2       Now, a straw purchase is when you use a
   3 friend who can legally possess and purchase a
   4 firearm to go and obtain that firearm on your
   5 behalf. It's illegal, but half of the firearms
   6 currently used in crimes are obtained through this
   7 manner, a quarter are stolen, but 20 percent truly
   8 were purchased from a private seller. So this bill
                                                                                                    LEG HX 000825                   4740
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   9 wouldAppellate
             be dealingCase:    14-1290
                          with that           Document: 01019371764
                                    20 percent.                                       Date Filed: 01/16/2015           Page: 77
  10        And then you say, okay, well, what if
  11 then -- if we stop that 20 percent, it would
  12 probably be worth it, wouldn't it? And the answer
  13 is, yes, if we stopped that 20 percent, but we
  14 won't. We won't come anywhere near stopping that 20
  15 percent, because if you read a little bit further in
  16 the National Institute of Justice study, what you
  17 will find is they say -- and this is, again, from
  18 Eric Holder's Department of Justice -- looking at
  19 this proposal, they said it will have no affect
  20 because it will just force criminals to use other
  21 methods to obtain their firearms.
  22        So you won't really get at that 20
  23 percent, you will just force those people who want
  24 firearms into other avenues, more straw purchases,
  25 more stolen weapons, creating more crime. All that,
  0066
   1 all that, no improvement on safety, merely imposing
   2 upon law-abiding citizens a pretty significant
   3 inconvenience, coupled with other bills, a fairly
   4 expensive inconvenience, and taking away from the
   5 citizens of Colorado, the law-abiding citizens of
   6 Colorado, the opportunity to engage in a private
   7 transaction because some of us actually believe it's
   8 smart to own a handful of firearms for which there
   9 is no government record.
  10        And I'll tell you the bill is dangerous,
  11 and it's dangerous just because it is unenforceable,
  12 as one of the other senators said. And I wrote this
  13 in the Denver Post op-ed the other day. I mean,
  14 I -- I am rural. And again, this goes back to rural
  15 culture. It is highly likely that at any given time
  16 when I hop in my pickup to head out to the farm from
  17 my home in Wray there will be one or two firearms in
  18 that vehicle.
  19        One of them, which we'll probably be
  20 discussing later today, is -- is effectively the
  21 utility rifle of all farmers and ranchers because
  22 it's perfect for the job. And, let's just say for
  23 instance that I fail to use my turn single when I
  24 pull onto the highway to head north of town to my
  25 farm, because heck, everybody in Wray knows where
  0067
   1 I'm going anyway, I really don't need a turn signal.
   2       But let's say we have a new police officer
   3 who doesn't know where I'm headed, and he pulls me
   4 over and says, Mr. Brophy, I pulled you over because
   5 you failed to use your turn signal, and -- and, you
   6 know, while we're sitting here, I'd like to see
   7 your -- your driver's license, your registration,
   8 and your proof of insurance.
   9       Happens all the time, even though I have tags on
  10 the back of the pickup that says it is registered by -- of
                                                                                                    LEG HX 000826                   4741
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  11 having Appellate   Case: color
               the appropriate  14-1290
                                      of year,Document:    01019371764
                                               which I think is red                   Date Filed: 01/16/2015           Page: 78
  12 now. And then he looks in there and he notices in the gun
  13 rack -- because I have a gun rack in my pick up, I am rural
  14 -- and he sees the firearm and he says, Mr. Brophy, did you
  15 obtain that firearm with a background check? Well,
  16 dependent upon which one it is, the answer is yes, maybe,
  17 no. I got my first rifle when I was nine years old, it's a
  18 .22. I got my second one when I was 13. And by the time I
  19 was 18, I had a few more than that. And I didn't have a
  20 background check on any of them, my mother did. And the
  21 rest of the story is, is that there no longer exists any
  22 paperwork at all on those firearms, because, and again,
  23 unless you really look into this and know this, you
  24 wouldn't know that the form 4473 that you fill out now to
  25 obtain a background check -- all noes and one yes, if I
  0068
   1 remember right -- the FFL, the dealer, who got that firearm
   2 from a distributor and sold it to you, is required to keep
   3 that piece of paper that says you passed the background
   4 check with some identification for the particular firearm
   5 or firearms associated with that background, and sometimes
   6 it's more than one.
   7       They're required to keep it in a file cabinet for
   8 20 years. After 20 years, they can do one or two things --
   9 actually, they can do three things: they continue to keep
  10 it, they can turn it over to ATF, or they can shred it,
  11 which is what most of them do, God bless them.
  12       So now a portion of the firearms that I
  13 own, there is no way an God's green earth for me to
  14 prove that I legally obtained them. Then what
  15 happens? Do I get to keep it? I can't get an
  16 affidavit from my mother. She passed away on
  17 May 19, 2003. What do we do?
  18       There's only one answer. There's only one
  19 answer. You have to register all of them. And
  20 that's what so insidious about this bill, is that
  21 after a handful of law-abiding gun owners have their
  22 guns held or taken away from them by the
  23 authorities, the law-abiding gun owners seeking
  24 relief very well may suggest that a centralized
  25 registry database would protect them from the
  0069
   1 authorities, and maybe they'll be asking for it
   2 themselves. And that, everybody knows, is very
   3 dangerous.
   4       Members, I'm going to urge a no vote on
   5 this bill. I hope, I hope, that some of you were
   6 listening and that it went to your hearts. It is
   7 absurd, the outcomes of this bill. It's
   8 unnecessary, doesn't improve safety, and it's
   9 ultimately very, very dangerous.
  10       I ask for a no vote.
  11       THE CHAIRWOMAN: Thank you.
  12       Senator Marble.
                                                                                                    LEG HX 000827                   4742
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                                            you, Madame 01019371764
                                                          Chair.                      Date Filed: 01/16/2015           Page: 79
  14        I rise in opposition to House Bill 1229
  15 for more reasons than I can count, and for more
  16 reasons than we have days to address this issue.
  17        During testimony on Monday, I was
  18 privileged to sit in, in the State Affairs Committee
  19 and listen to some of the most incredible, marvelous
  20 testimony I have ever heard. I doubt that history
  21 will ever give me that chance again.
  22        We had sheriffs of Colorado come in and
  23 testify regarding the fact that not only was this
  24 bill not properly drafted, but also unenforceable,
  25 the unintended consequence of burden that we are now
  0070
   1 forcing upon our law enforcement.
   2       Besides that fact El Paso County Sheriff,
   3 Terry Maketa, gave us some pretty good statistics
   4 regarding firearms, stolen, between 2005 and 2010.
   5 It was 1.4 million firearms. That's 240,000 a year.
   6 Don't you think that's where the black market really
   7 begins? Do you really think that criminals are
   8 going through and getting a background check when
   9 there is such a black market available for them?
  10        Terry Maketa also testified to the fact
  11 that this is not only unenforceable, but it will
  12 create an inconvenience and more innocent criminals.
  13        I think that we have enough laws directing
  14 law enforcement to the overcriminalization of
  15 America. Right now the State of Colorado has one of
  16 the lowest firearm crime rates in the nation,
  17 1.9 percent per 100,000. Less than half of the
  18 national average. And what are we doing? We're
  19 punishing them. We're punishing good citizens for
  20 what?
  21        I want to read you a quote, which I'm
  22 sure you're all very, very aware of. And I bet you
  23 will know exactly who it came from. It says,
  24 "Nothing we're going to do is going to
  25 fundamentally alter or eliminate the possibility of
  0071
   1 another mass shooting or guarantee that we will
   2 bring gun deaths down do a thousand a year from
   3 what it is now. Vice President Joe Biden."
   4       What's the real reason behind these gun
   5 bills? What are we really trying to prove? Who are
   6 we trying to punish? And who are we making promises
   7 to?
   8       I want to take a minute and address that
   9 40-percent rate that has been bantered about, saying
  10 that 40 percent of gun sales never go through a
  11 background check.
  12        I'm going to read from (sic) you, a piece
  13 from the National Review that was actually written
  14 by John Fund.
                                                                                                    LEG HX 000828                   4743
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  15        Appellate
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                  of the reasons for the highDocument:
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  16 that 250 people back during the Clinton
  17 Administration were all that were considered for the
  18 study when it came to that 40-percent rate. 250
  19 people. And that was before the Brady Bill was even
  20 enacted. Before we even had background checks.
  21        He says: "Most advocates of gun control
  22 believe the loopholes in federal law are the rule
  23 and not the exception when it comes to gun
  24 purchases.
  25        "A 2011 study by the Office of New York
  0072
   1 Mayor Michael Bloomberg claimed that 40 percent of
   2 guns are sold through private sellers. His study
   3 went on to say, these sales, which take place in
   4 many venues, including gun shows and increasingly
   5 on the Internet, fuel the black market for illegal
   6 guns."
   7        The dubious statistic of guns that avoided
   8 background checks, which is actually around
   9 36 percent, comes from a small 251-person survey on
  10 gun sales two decades ago, very early in the Clinton
  11 Administration, which I explained to you. Most of
  12 the survey covered sales before the Brady Act
  13 instituted mandatory federal background checks in
  14 early 1994.
  15        If that alone didn't make the number
  16 invalid, the federal survey simply asks buyers if
  17 they thought they were buying from a licensed
  18 firearms dealer? While all federal firearm
  19 licensees do background checks, only those perceived
  20 as being FFL's were counted. Yet there is much
  21 evidence that survey respondents, who went to the
  22 smallest FFL's, especially the kitchen-table types,
  23 had no idea that the dealer was actually licensed.
  24 Many buyers seem to think that only the
  25 brick-and-mortal stores were license dealers, and so
  0073
   1 the survey underestimating the number of sales
   2 covered by checks.
   3       And another reason for the high number is
   4 that it includes gun transfers as inherited or as
   5 gifts from family members. Even President Obama's
   6 background proposal excludes almost all of those
   7 transfers.
   8       We have another study by John Lott that
   9 says his research suggests that expanding background
  10 checks might actually contribute to a slight net
  11 increase in violent crime, particularly rapes.
  12 Before we expand background checks, he suggests we
  13 focus on the real world statistics, not Obama's
  14 magical number, and recognize that criminals are
  15 seldom burdened by background checks because they
  16 buy weapons on the black market.
                                                                                                    LEG HX 000829                   4744
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  17        Appellate
           As           Case:they
                for gun bans,  14-1290        Document:
                                   do little to combat 01019371764                    Date Filed: 01/16/2015           Page: 81
  18 crime. When guns were banned in Washington, D.C.,
  19 or Chicago, the rate of violent crime went up. Even
  20 in islands nations, such as Great Britain, Ireland,
  21 and Jamaica, murder rates went up after the gun bans
  22 were put in place.
  23       When you look between 1965 and 2010, in
  24 Colorado, there has been no change in crime with
  25 background checks. None at all. So the purpose of
  0074
   1 this bill is for what? To punish law-abiding
   2 citizens who have carried Colorado to the lowest
   3 gun-crime late in the nation? To make us an example
   4 of the overuse and abuse of power? Bad legislation?
   5 What are we telling -- what are we telling the
   6 people of the world about our Constitution?
   7       This bill does not reflect the Colorado
   8 Constitution, nor the federal -- nor our federal
   9 Constitution. It reflects New York politics,
  10 Bloomberg agenda, and New Jersey's handprints are
  11 all over it.
  12       Before we go any further, let's take a
  13 look at who we really serve. We serve the people of
  14 Colorado. We are elected by the people of Colorado,
  15 and we answer to the people of Colorado, not to any
  16 other administration, not to any other state.
  17       And I am here to speak for the people who
  18 elected me. Don't punish us.
  19       I will never advocate for criminals by
  20 taking away the gun rights of law-abiding citizens,
  21 and I'm hoping that you will follow suit.
  22       Thank you for your time. And I really, I
  23 beg you, vote no on this bill.
  24       SENATE PRESIDENT: Majority Leader
  25 Carroll.
  0075
   1       MAJORITY LEADER CARROLL: Thank you,
   2 Mr. Chair.
   3       Members, just a couple of things for the
   4 record. I'm a second generation Colorado native. I
   5 come from the community of Aurora in eastern
   6 Arapahoe County. That is who I am representing here
   7 today on this bill.
   8       There have been a lot of very legitimately
   9 absurd examples given of what things that other
  10 folks are suggesting could happen here. And, I
  11 guess I with just say that the good news is, is that
  12 if you look on page 2, lines 7 through 18 on the
  13 committee report of what was already amended, and
  14 then look at the actual text of the bill, whether it
  15 was shooting instruction classes, loaning to a
  16 neighbor, or self-defense, none of those folks have
  17 to go through a background check. And the only
  18 prohibition is just making sure that you comply with
                                                                                                    LEG HX 000830                   4745
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  19 currentAppellate    Case:
               law, as was      14-1290
                            mentioned        Document:
                                        that you are not 01019371764                  Date Filed: 01/16/2015           Page: 82
  20 supposed to be transferring to someone who is a
  21 convicted felon.
  22        I do think those stories would be
  23 problematic. You will look to the text to find that
  24 some of them in early versions of the bill actually
  25 could have come about. It's the importance of the
  0076
   1 amendments in the bill taken as a whole on the
   2 total. And so, hopefully, it should be the relief
   3 to some that whether it's hunting or training or
   4 self-defense, you will find in this text of the
   5 bill, as amended, that those situations are
   6 exempt -- are exempted.
   7       The people who are harmed by this bill
   8 would be people who can't pass a background check.
   9 And those are people who are already criminally
  10 ineligible to own or possess a firearm.
  11        SENATE PRESIDENT: Thank you, Majority
  12 Leader Carroll.
  13        Now that I'm back up here, I just want to
  14 re-emphasize the rules of decorum and not imputing
  15 the motives of others. Thank you for stating your
  16 motives and intentions clearly with this bill. And,
  17 again, if comments are made to the contrary, they
  18 will be called out of order.
  19        There is an amendment on the desk.
  20        Mr. Majors, would you please read
  21 Amendment L.035?
  22        THE CLERK: Amendment L.035 to House Bill
  23 1229 by Senator Balmer, amend the State, Veterans
  24 and Military Affairs Committee report dated March 4,
  25 2013: page 2, line 9, strike "or"; page 2, line 14,
  0077
   1 strike "firearm" and substitute "firearm or"; page
   2 2, after line 14, insert Subsection I: A transfer of
   3 a firearm from a person serving in the armed forces
   4 of the United States who will deployed outside of
   5 the United States within the next 30 days to any
   6 family member or friend of the person.
   7       SENATE PRESIDENT: Senator Balmer.
   8       REPRESENTATIVE BALMER: Thank you,
   9 Mr. Chairman.
  10        And thank you, Reading Clerk, for reading
  11 it.
  12        I think that sometimes it's important that
  13 we do read the amendments out loud, because, you
  14 know, those who are following at home can't tell
  15 what we're doing otherwise.
  16        This is simply an amendment to allow for a
  17 service member, military personnel, who has got a
  18 deployment order getting ready to go overseas to
  19 defend our country, this allows them to transfer to
  20 a family member or a friend.
                                                                                                    LEG HX 000831                   4746
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  21        Appellate
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  22 they want to transfer it to their family, it's got
  23 to be a permanent gift. They actually, they have to
  24 give it to their mom or dad. And as you know,
  25 that -- that has a lot of -- I mean, you don't want
  0078
   1 to do that. What you would want to do is just what
   2 you currently could do in Colorado, at least for
   3 today, at least right now, you can do this.
   4      You can -- if you're getting deployed
   5 overseas, you can leave your privately owned weapon
   6 with your parents. You're probably going to leave
   7 your car at your -- at your parents' house. A lot
   8 of these young Americans are 18, 19, 20 years old,
   9 and the way that they handle these situations is
  10 they leave their car at their parents' house, and
  11 they leave their weapons with their mom and dad.
  12       They -- and -- and this would also allow
  13 them, if they didn't have a mom and dad or if
  14 they're in a situation where their mom and dad is
  15 several states away, they could say well, we're
  16 going to leave it with my trusted friend.
  17       Well, that friend would be doing them a
  18 great favor to safeguard their weapon for them while
  19 they're gone, but underneath our -- the -- the way
  20 the law is going be changed with this bill, we would
  21 be penalizing that -- that American, that Coloradan,
  22 for safeguarding a weapon of a deployed soldier.
  23       So I apologize, Senator Carroll, for not
  24 giving you a lot of notice on this, but I just
  25 thought of it. And I think it's important that we
  0079
   1 safeguard our military personnel. When they're
   2 getting ready to be deployed, they have a lot things
   3 on their mind, and we should make it easy for them
   4 to take care of their personal things.
   5      Thank you, Mr. Chairman.
   6      SENATE PRESIDENT: Majority Leader
   7 Carroll.
   8      MAJORITY LEADER CARROLL: Thank you,
   9 Mr. Chair.
  10       Members, I actually may be open and
  11 receptive to this. My understanding of the reading
  12 is that this, like any other provisions, would still
  13 have kind of that generic, as long as you're not
  14 transferring it to a convicted felon and someone
  15 who's already criminally ineligible. And I think
  16 where you've inserted it, that umbrella still
  17 applies.
  18       So more time would have been good, but
  19 I -- I believe that the circumstances approached
  20 here are reasonable, where you may not want to do a
  21 permanent transfer, and 72 hours may not cover it.
  22 So at this point, I'm not going to oppose this
                                                                                                    LEG HX 000832                   4747
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            Appellate Case: 14-1290 Document: 01019371764
  23 amendment.                                                                       Date Filed: 01/16/2015           Page: 84
  24        SENATE PRESIDENT: Is there any further
  25 discussion on L.035?
  0080
   1       Seeing none, the motion before the body is
   2 the adoption of Amendment L.035.
   3       All those in favor say aye.
   4       Those opposed, no.
   5       The ayes have it.
   6       And the amendment is adopted.
   7       Back to the bill. I have Senator King.
   8       SENATOR KING: Thank you, Mr. Chair.
   9       I got -- I have received a very good book
  10 called the Second Amendment: Preserving the
  11 Inalienable Rights of Individual Self-Protection.
  12 Got it from a good friend.
  13        In it, "A free people ought to be armed."
  14 George Washington, President of the United States,
  15 signer of the Constitution.
  16        How can that be prevented? How can a free
  17 people be prevented from being armed? House Bill
  18 1228 (sic) imposes two fees, on the applicant, a $10
  19 fee by the dealer processing the application --
  20        SENATE PRESIDENT: Senator King, we're
  21 speaking to House Bill 1229 at this point. You
  22 addressed your comments to House Bill 1228. You
  23 just referenced House Bill 1228.
  24        SENATOR KING: Yes, Mr. Chair, thank you.
  25        SENATE PRESIDENT: Please proceed.
  0081
   1       SENATOR KING: Right now, in Denver -- and
   2 this is not a hypothetical -- the police department
   3 has a 90-day waiting period for the mere acceptance
   4 of an application for a concealed-carry permit. The
   5 total waiting period in Denver is now five months.
   6 The idea that -- I pass.
   7       Thank you, Mr. Chair.
   8       SENATE PRESIDENT: Next, I have Senator
   9 Lundberg.
  10        SENATOR LUNDBERG: Thank you, Mr. Chair.
  11        Members, as I look at this bill, it -- it
  12 troubles me. And I just had a discussion with --
  13 with my county sheriff, Justin Smith, Larimer
  14 County, and he concurred with me that -- that any --
  15 any time we are trying to put in place a universal
  16 system for background checks, it -- it becomes
  17 practically impossible to stand on its own. It --
  18 it begs the policy of universal registration in
  19 order to facilitate the process.
  20        As a county sheriff, he -- he says, you
  21 know, there's no way he can deal with this without
  22 having that set of data. And he understands that to
  23 be -- well, he's concerned that it's the next step,
  24 and so am I.
                                                                                                    LEG HX 000833                   4748
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  0082
   1 unreasonable circumstances where it just doesn't
   2 work and it will be ignored, and we will essentially
   3 criminalize a great deal of the law-abiding citizens
   4 in the State of Colorado, whose only desire is to be
   5 able to defend themselves and their family and their
   6 property.
   7       And world history is replete with the
   8 examples of when you register, you eventually
   9 confiscate. So whenever I see that concept of
  10 registration for firearms, I mean I am a student of
  11 history, that's the next step. It may not be this
  12 legislature, maybe ten years from now, when no one
  13 sitting here today will be there. A new group may
  14 look at it, and they're like, well, okay, now we
  15 know where they are, let's go get them. That's the
  16 concern, the major concern I have with this piece of
  17 legislation.
  18        And if I lay that up against our Colorado
  19 Constitution's right to bear arms, it makes no sense
  20 whatsoever. There's been several references to --
  21 to this section, but I'm not sure that we've
  22 actually looked at it word for word here today.
  23        You may not have been familiar with this
  24 in this past, but I think you're becoming fast
  25 familiar with -- it's part of our Bill of Rights,
  0083
   1 which is Article II. It's Section Number 13, Right
   2 to Bear Arms. And the pertinent parts of it read
   3 like this:
   4       "The right of no person to keep and bear
   5 arms in defense of his home, person, and property,
   6 or in aid of the civil power when thereto legally
   7 summoned, shall be called in question."
   8       Now, if I were constructing something to
   9 state clear defense of the citizens to defend
  10 themselves, their home, their property, their
  11 families, I would seek for this kind of language,
  12 not something that just sort of says it or it could
  13 be questioned to some degree or another. No, I'd
  14 say it clearly. And that's what they've done. It
  15 shall not be called in question.
  16        This bill calls it into question. It sets
  17 up an unreasonable standard for the honest citizen
  18 to comply with at all times. It sets up an
  19 expectation that we don't trust the citizens of the
  20 State of Colorado, and so we're going to run them
  21 through that many more hoops before they can legally
  22 possess and bear firearms. It puts in concepts that
  23 are contrary to the Constitution. How many times do
  24 we have to remind ourselves of this? Shouldn't it
  25 take but one time? Remember the oath of office we
  0084
                                                                                                    LEG HX 000834                   4749
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   1 all took  when weCase:
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   2       Some of us who have been here for many
   3 years have taken that oath again and again. It's
   4 the same. I take that as job number one when I'm
   5 down here, and there are some elements within the
   6 Colorado constitution that I -- I have some
   7 heartburn over, but I have no question as to where
   8 my allegiance lies, because I took that oath of
   9 office to follow that Constitution.
  10        I would like the sponsor to clearly defend
  11 how this comports with not only the letter but the
  12 spirit of Article II, Section 13. I believe the
  13 people of Colorado deserve nothing less. And I'm
  14 pretty sure I'm going to be down at this mike later
  15 today with other mayors that call into question the
  16 citizen's right to defend themselves, to possess, to
  17 control, to bear those arms.
  18        Now, oftentimes, I'm chided or derided
  19 because I have this notion that the Constitution is
  20 where we need to start. I got that because it is
  21 our job. It is our solemn oath and commitment.
  22        Let me read it to you again:
  23        "The right of no person to keep and bare
  24 arms in defense of his home, person, and property,
  25 or in aid of the civil power when thereto legally
  0085
   1 summoned, shall be called in question."
   2       Answer that question before you vote on
   3 this bill and the entire agenda before us today.
   4       SENATE PRESIDENT: Is there any further
   5 discussion?
   6       Senator Hill.
   7       SENATOR HILL: Thank you, Mr. Chair.
   8       Mr. Chair, I too had some friends come
   9 up -- constituents come up -- wanted to testify on
  10 this bill. I see some of them up in the gallery
  11 today, and thank you all for coming.
  12        I would like to read some of their
  13 testimony as well. They were unable to because of
  14 time, but I would like to honor their desires as
  15 well as represent them, as we have --
  16        Phil writes: "While I can understand the
  17 intent of this bill, it is entirely unenforceable.
  18 Unless every firearm in the state was registered
  19 into a database, the transfer of ownership cannot
  20 be identified unless through licensed firearm's
  21 dealers or by volunteered participation or mandate.
  22        "Obviously, the criminal or mentally
  23 impaired have to -- have no incentive to
  24 participate. The state would get better results if
  25 it could get all criminals to register with the CBI
  0086
   1 and constantly monitor their whereabouts.
   2       "Again, this bill is an example of a
                                                                                                    LEG HX 000835                   4750
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
            Appellate Case: 14-1290
   3 make-the-public-feel-good                Document:
                                     law that cannot be 01019371764                   Date Filed: 01/16/2015           Page: 87
   4 enforced and will be totally ineffective in solving
   5 the violent crime problem. It will successfully
   6 alienate the law-abiding citizens."
   7       Again, that's from Phil.
   8       From Quinten (phonetic), he writes:
   9       "Like House Bill 1224, this bill can
  10 never be enforced against the people of Colorado
  11 unless one of two things happens: the State would
  12 either have to start an illegal gun registry
  13 database, or they would have to violate our Fourth
  14 Amendment rights and inventory every home in
  15 Colorado to document what weapons are owned by each
  16 person. The fact that these are only two possible
  17 methods of enforcement of this law, it betrays the
  18 true intentions of the author."
  19        And that's from Quinton.
  20        Nick is Navy retired. A good man.
  21        "More bureaucratic paperwork and tax
  22 money from the poor people, which won't stop one
  23 bad guy from doing what he or she decides he or she
  24 wants to do.
  25        "As I recall, the State of Colorado
  0087
   1 hasn't done a very good job on keeping drugs from
   2 entering the state over the past few years, so why
   3 would anyone, in their right mind, think this bill
   4 will keep the bad guys from obtaining and bringing
   5 unregistered firearms into our state?"
   6       And, finally, Matt writes: "I'm struck by
   7 the attitude of many advocates of this bill who
   8 accept the notion that it's permissible to
   9 restrict -- restrict the rights of law-abiding
  10 citizens on the off chance that they may at some
  11 future date commit a crime.
  12        "In legal terms, this is known as prior
  13 restraint, which is generally impermissible. Our
  14 system of governance and law, rule of law, rejects
  15 this concept.
  16        "In common language, this reminds us of
  17 the film Minority Report. A dystopian vision of
  18 the future of people arrested for pre-crime. This
  19 bill will make pre-criminals of tens, hundreds of
  20 thousands of Coloradans. The Colorado Constitution
  21 makes it explicit that such prior restraint on the
  22 right to keep and bear arms is not permissible."
  23        And he quotes here the Constitution.
  24        "The right of no person to keep and bear
  25 arms in defense of his home, person or property, or
  0088
   1 in aid of the civil power with thereto legally
   2 summoned, shall not -- shall be called into
   3 question."
   4       What does this bill seek to do but to
                                                                                                    LEG HX 000836                   4751
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            Appellate
   5 call into  questionCase:    14-1290
                          the right            Document: 01019371764
                                    of law-abiding                                    Date Filed: 01/16/2015           Page: 88
   6 citizens to exercise a fundamental constitutional
   7 right?
   8       "A key issue" -- and I continue to quote
   9 this letter -- "a key issue in this bill is the
  10 concept of reasonableness. The threshold should be
  11 set very high to infringe or call into question a
  12 fundamental constitutional right. Is it reasonable
  13 to require private citizens, not dealers, to obtain
  14 government permission to engage in lawful commerce
  15 of legal goods?
  16        "Should private citizens -- is it
  17 reasonable to require private citizens to invest
  18 time and money to find, locate, travel to a
  19 licensed firearm dealer? Is it reasonable to
  20 require private citizens to self-register ownership
  21 of firearms? Is it reasonable to require intrusion
  22 into all aspects of owning firearms? Is it
  23 reasonable to require private citizens to suggest
  24 themselves to vague, undefined regulations, subject
  25 to whim of law enforcement?"
  0089
   1       And he leaves here as a note that the
   2 40-percent private sale figure is a myth and has
   3 been debunked from the 1994 survey. The state came
   4 from a single survey of 251 people, two decades ago,
   5 before the national instant check system passed.
   6 And he links here to an article in the Washington
   7 Post.
   8       Friends, I want to say I appreciate all of
   9 you who have brought in testimony and who've been a
  10 part of this process. Thank you for participating,
  11 and hopefully we can represent you well here.
  12        But to that, I would add a few of my
  13 comments and questions as well.
  14        I grew up in Blacksburg, Virginia, at
  15 Virginia Tech, which was tragically part of the
  16 shooting several years ago. My -- many dear
  17 friends, actually, were personally involved in -- in
  18 that day, and then in also celebrating the lives
  19 that were lost that day as well.
  20        And -- and my question comes back to this.
  21 The testimony in support of this law -- and
  22 Mr. Chair, I will address this question to you --
  23 but I would appreciate maybe understanding, would
  24 this bill -- Columbine, Aurora, Newtown were given
  25 in examples of why this law is important. And my
  0090
   1 question is -- would any one of those, Virginia
   2 Tech, Columbine, Newtown, Aurora, would any of those
   3 have been prevented had this law been in place?
   4       SENATE PRESIDENT: Senator Grantham.
   5       SENATOR GRANTHAM: Thank you, Mr. Chair.
   6       We did have many constituents that wanted
                                                                                                    LEG HX 000837                   4752
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            Appellate
   7 to be able          Case:
                  to voice their 14-1290
                                 concerns withDocument:
                                                each of 01019371764                   Date Filed: 01/16/2015           Page: 89
   8 these bills, and for whatever reason, they were not
   9 afforded that opportunity. But they had other means
  10 of expressing themselves to us, and I'm sure
  11 regardless of the divide in the aisle here, we all
  12 received many pieces of input into this process.
  13        I've just got a couple here I'd like to
  14 share in regard specifically to this bill. First
  15 one comes from a fellow by the name of Kevin. And,
  16 no, that's not why I picked this one.
  17        But, it says:
  18        "Requiring a background check for all
  19 firearms transfers is an idea that's been tossed
  20 around for some time now. However, the hastily
  21 written bill that is currently being considered was
  22 not drafted with enough care.
  23        For starters, this bill would criminalize
  24 common instances in which a law-abiding friend
  25 loans another law- abiding friend a firearm for an
  0091
   1 unspecified amount of time.
   2       By way of example, you few years back, I
   3 loaned one of my guns to my girlfriend for four
   4 months as she had taken a Colorado POST law
   5 enforcement academy. Such an act would be
   6 prohibited under this proposed law.
   7       If you aren't involved in shooting
   8 sports, you might be surprised how often such
   9 activities also occur for hunting trips, shooting
  10 competitions, and other lawful activities.
  11        I personally borrowed a friend's rifle
  12 for a hunting trip that my friend wasn't attending.
  13 And a couple of my friends have borrowed rifles
  14 that I've owned for similar purposes.
  15        There's no need or justifiable benefit to
  16 restricting our citizens in such a manner.
  17        Furthermore, the current bill will create
  18 undo hardship on rural citizens, who wish to
  19 actually transfer ownership of their firearms to
  20 other citizens.
  21        Gun shops are not very accessible in all
  22 parts of our great state, and not all gun shops
  23 will be willing to perform such a transfer for two
  24 private parties.
  25        As such, it may prove very difficult for
  0092
   1 many law-abiding citizens to sell privately owned
   2 firearms in private transactions.
   3       I do realize that this is a contentious
   4 issue, and each of you has probably been
   5 overwhelmed with letters both for and against these
   6 measures. If you've made it this far," in the
   7 letter he says, "I thank you for taking the time to
   8 read my letter. I do hope that I can count on your
                                                                                                    LEG HX 000838                   4753
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   9 supportAppellate   Case: 14-1290 Document: 01019371764
              in this matter."                                                        Date Filed: 01/16/2015           Page: 90
  10        And the second one, colleagues, is really
  11 kind of to the point that the previous letter was
  12 about and the transference and the -- the creation
  13 of illegal transfers through this bill, and what
  14 would normally be legal activity.
  15        "Like all Americans, Colorado's federally
  16 licensed firearms retailers are deeply saddened by
  17 tragic events that took place over the last few
  18 months in Aurora, Colorado, and Newtown,
  19 Connecticut.
  20        "Our thoughts and prayers go out to all
  21 the victims and families of these horrible
  22 tragedies.
  23        "We share the goal of all Coloradans in
  24 wanting to find real and effective solutions that
  25 will make our children and communities safer, while
  0093
   1 at the same time respecting and safeguarding our
   2 constitutional rights.
   3       "We believe the gun control measures
   4 currently proposed by the Colorado legislature,
   5 while well-intentioned, will not achieve our shared
   6 goal, and instead will burden law-abiding citizens.
   7 The unfortunate reality is that none of the
   8 proposed laws will stop a madman determined to
   9 pursue evil. Law enforcement agencies agree,
  10 notably including Colorado County Sheriffs.
  11        "The so-called universal background
  12 check, 1229, is one of the bills of particular
  13 concern to Colorado's firearms retailers, most of
  14 whom are hard-working, tax-paying, jobs-creating
  15 small businesses. 1229 requires federally licensed
  16 firearms retailers to perform background checks for
  17 the private transfers of firearms unrelated to our
  18 businesses.
  19        "This legislation will not deter
  20 criminals who are determined to obtain firearms.
  21 For example, most guns used in crime are stolen.
  22        "We are deeply concerned, however, about
  23 the significant financial and regulatory burdens
  24 and legal consequences this bill will have on our
  25 businesses. It is clear the legislature never
  0094
   1 bothered to ask us retailers how this proposal
   2 would impact our businesses or they were wholly
   3 indifferent to our concerns.
   4       "Requiring retailers to conduct
   5 background checks will have a significant impact on
   6 our ability to service our actual customers. I can
   7 think of no other government mandate which requires
   8 a business to provide a service on behalf of a
   9 non-paying individual. By definition, these
  10 private transferors are not entering our stores
                                                                                                    LEG HX 000839                   4754
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            Appellate
  11 interested         Case:
                 in buying   our14-1290      Document:
                                 products. They   will only01019371764                Date Filed: 01/16/2015           Page: 91
  12 be in our stores to take advantage of our
  13 designation as a federally licensed dealer.
  14        "While the bill allows for a $10 fee to
  15 be charged for the background check, this hardly
  16 equates to the value of the lost time with actual
  17 customers that will taken to conduct private sale
  18 background checks.
  19        "Based on the experience of licensed
  20 firearms retailers in the few states that require
  21 retailers to conduct background checks on the
  22 private transfer of firearms between individuals,
  23 we know requiring universal background checks will
  24 impose on federally licensed retailers significant
  25 increased regulatory burdens, tremendous additional
  0095
   1 cost, logistical nightmares, unacceptably lengthy
   2 delays and processing (inaudible) checks,
   3 unprecedented liability exposure, and other
   4 additional unintended consequences.
   5       "Further, if universal background checks
   6 become law, it would be difficult to measure
   7 compliance without mandatory national firearm
   8 registration, a policy broadly opposed by
   9 law-abiding citizens and retailers.
  10        "Increased cost to businesses. Before
  11 any retailer mandate is enacted, please consider
  12 the following: The universal background check is a
  13 pure cost to the retailer, and most of us are small
  14 mom-and-pop businesses.
  15        "As retailers, we would lose a
  16 significant amount of money generating the legally
  17 required recordkeeping entries, maintaining those
  18 records for decades for law enforcement, and
  19 performing the background check on a firearm we are
  20 not selling, and for which we realize no profit.
  21        "Licensed retailers would be forced to
  22 use paid staff hours or to hire additional staff
  23 and pay for additional infrastructure to
  24 accommodate such transactions, including, but not
  25 limited to, additional surveillance equipment to
  0096
   1 secure firearm storage, parking, I.T.
   2 infrastructure, and acquisition and distribution of
   3 records.
   4       "Staff conducting background checks on
   5 private party transfers will not be able to serve
   6 paying customers, many of whom will leave our
   7 stores rather than wait, resulting in lost sales.
   8       "The liability risk. In addition to the
   9 cost of providing this government function, the
  10 liability a retailer has in such transactions, for
  11 example, retaining additional ATF form 4473,
  12 subject to inspections and litigation for 20 years.
                                                                                                    LEG HX 000840                   4755
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            Appellate
  13 Maintaining     the Case:  14-1290
                         (inaudible) records Document:
                                             for life of the01019371764               Date Filed: 01/16/2015           Page: 92
  14 business, would require a significant increase in
  15 compliance efforts. Any errors would be cited as
  16 violations by ATF against the retailers. A single
  17 violation of the Gun Control Act or the ATF
  18 regulations is sufficient to revoke our license.
  19 Imagine losing your livelihood for a recordkeeping
  20 error for a product you didn't even sell?
  21        "We would be forced to handle firearms
  22 that we are not familiar with because we do not
  23 stock them. It would no longer be the case that
  24 every firearm we now acquire, whether new or used,
  25 is a firearm that we want to acquire. Some used
  0097
   1 firearms in commerce may have been modified by
   2 their owners, may have been missing markings,
   3 making proper firearm acquisition and disposition
   4 records difficult for retailers to achieve a
   5 compliant transfer. The licensed retailer would
   6 also be subject to product liability and other
   7 lawsuits if the transferred firearm is alleged to
   8 be defective.
   9       "Insurance coverage in those cases will
  10 likely be unavailable to us, since we did not sell
  11 the firearm. Imagine being sued over an accident
  12 involving a firearm you didn't sell, and having no
  13 insurance coverage.
  14        "Federal law requires us as licensed
  15 retailers to provide a secure gun storage or safety
  16 device, typically a gun lock, when we transfer any
  17 handgun. Who will pay for the cost of that gun
  18 lock in these private transfers?
  19        "If the firearm being transferred is in a
  20 retailer's possession, custody and control while a
  21 delayed NIX response is being resolved, up to three
  22 business days, the retailer would face additional
  23 liability over claims that the firearm was altered
  24 or damaged while in the retailer's possession.
  25        "There are significant safety concerns
  0098
   1 presented by a massive influx of private-party
   2 firearms entering a carefully controlled retail
   3 establishment. For example, in California, persons
   4 have entered large retailers with a firearm, walked
   5 through the store, for example, passed the shoe
   6 department to get to the sporting goods in order to
   7 conduct a private-party background check.
   8       "About what the logistical nightmare of
   9 this? In the event a buyer is denied based on the
  10 background check results, it is now unclear how the
  11 transaction should be handled. Would we then be
  12 required to run a background check on the seller
  13 before returning the firearm back to the seller?
  14 If the firearm is maintained overnight by the
                                                                                                    LEG HX 000841                   4756
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            Appellate
  15 licensed   retailer,Case:
                         federal14-1290     Document:
                                 law would require   for 01019371764                  Date Filed: 01/16/2015           Page: 93
  16 retailer to conduct a background check and have
  17 them complete a form 4473 in order to return the
  18 firearm to the private-party seller.
  19        "What is a licensed retailer to do in the
  20 event of a double denial? Both the private party
  21 is denied and the potential seller is denied. This
  22 has happened. It's happened in California. How
  23 would such a transaction be noted on the ATF 4473?
  24        "As a point of contact state, Colorado is
  25 already overwhelmed with retail transactions.
  0099
   1 Colorado CBI is already overwhelmed, and at one
   2 point was eight days behind in processing these
   3 background checks. Adding a massive influx in
   4 transactions would further tax the system to the
   5 point of potential collapse.
   6       "Additionally, there remains uncertainty
   7 about how to best handle temporary transactions,
   8 such as the loan of a firearm for a hunting trip or
   9 at the shooting range.
  10        "All of these concerns aside, the
  11 firearms industry contributes over $590 million in
  12 economic activity to Colorado, creating 4,800 jobs,
  13 paying $43 million in state taxes in these
  14 difficult economic times. This industry is one of
  15 the few industries that continues to create jobs.
  16        "We ask you to oppose this so-called
  17 universal background check, 1229, because it places
  18 costly and unreasonable burdens on Colorado's
  19 retailers, infringes upon our Second Amendment
  20 rights, while failing to make Colorado safer. It
  21 cannot be effective without mandatory universal
  22 firearms registration, a policy universally opposed
  23 by firearms owners."
  24        Sincerely, Lucas Galeb, Michael Shane,
  25 Matt Solomon, John Devoe, Jeffry Ray, John Burred,
  0100
   1 Patrick Blake, Douglas Craft, Brent Hoffbauer, Lisa
   2 Cohen, Randy Terbush, Chris Camp, William Comegys,
   3 Keith Martin, Glenn Rocovich, Tyler and Tracy Hoff,
   4 Bryce Meretti, Robert Parker, Phillip Collins, Roy
   5 Rutz, Brue Baredicas, Jr., Perry McDonald, Matthew
   6 Paskowitz, Derrick Dercoli, Steve Gettle, Celvin
   7 Boyer, Diane Mestis, Victor Gabriela, and Kitt
   8 Robertson.
   9       Colleagues, please vote no.
  10        SENATE PRESIDENT: Senator Scheffel.
  11        SENATOR SCHEFFEL: Thank you,
  12 Mr. Chairman.
  13        Colleagues, I wanted to take a minute to
  14 thank Angel, who contacted me and said: "Yes, I
  15 woke up last Monday at 6:00 a.m. to arrive at the
  16 capital early and sign up to testify, and after nine
                                                                                                    LEG HX 000842                   4757
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  17 hoursAppellate
              seated in aCase:
                           closed14-1290      Document:
                                  room listening   to the 01019371764                 Date Filed: 01/16/2015           Page: 94
  18 process for two bills, not eat anything all day, I
  19 can't testify, of course so angry and frustrated, I
  20 drive, come back home for two hours."
  21        Unfortunately, his conclusion was that
  22 after watching the process, "Honestly, lost my faith
  23 in the process."
  24        If he had been given the opportunity to
  25 testify -- and I won't read all of it, I'll just
  0101
   1 read the relevant portions as applied to 1229 here.
   2       "My name is Angel. I'm a resident of
   3 Colorado Springs. I'm from Puerto Rico. Last year
   4 I decided to move to a nice, safe, and free state,
   5 and after a lot of research and friend's
   6 recommendations, I choose Colorado and moved here.
   7       "My wife and me are in love with this
   8 state, but now I find that Colorado will no longer
   9 free and safe in the future and with this
  10 anti-constitutionals bands.
  11        "Why I said this? Because my experience
  12 living in Puerto Rico has taught me this."
  13        I'll just highlight, but he then relates:
  14 "While I was in Puerto Rico, which seemed to be
  15 fairly onerous and describes a litany of costs and
  16 fees and registrations and background checks. He
  17 concludes, that anyone can see that more gun
  18 control in a state equals higher crime, and on the
  19 other hand, less gun control, like Colorado, until
  20 now, equals less crime. I moved to this beautiful
  21 state looking for a better place to live for me and
  22 my family, and it will make me really sad that you
  23 are choosing the path that Puerto Rico choose and
  24 that it has been proven to be a failure." Angel.
  25        Steven writes: "I write to you today to
  0102
   1 express my deep concern about the extreme proposals
   2 being brought forward in the state legislature
   3 regarding gun control. To me, this is a knee-jerk
   4 reaction to the actions of a few mentally unstable
   5 persons.
   6       "These legislative proposals are absurd.
   7 We all know that gun control laws are obeyed only
   8 by law-abiding citizens. Criminals, will, by
   9 definition, ignore any new and current gun control
  10 laws. Taking lawful guns off the streets won't
  11 make the problem better, in fact, they will make it
  12 worse.
  13        "I strongly oppose limitations and urge
  14 rejection of redundant background checks that are
  15 nothing more than a new tax and burden. Enforce
  16 the current laws and rescind redundant burdens on
  17 the lawful. Sincerely, Steven."
  18        To Steven and Angel, I want to thank you
                                                                                                    LEG HX 000843                   4758
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  19 for notAppellate
               giving upCase:
                          on our14-1290
                                  process. I'mDocument:
                                                 sorry that 01019371764               Date Filed: 01/16/2015           Page: 95
  20 you were not able to come here and testify. But it
  21 has been the theme here, your arguments resonate
  22 with me. They resonate in this building.
  23        We know that this particular bill is an
  24 overreach. It cannot successfully accomplished and
  25 will without what is tantamount to registration. I
  0103
   1 cannot support that. Your words resonate with me.
   2 I thank you for taking the time to contact us here,
   3 and I will be a no vote on this bill.
   4       THE CHAIRWOMAN: Senator Crowder.
   5       SENATOR CROWDER: Thank you, Madame
   6 Chair.
   7       I'd just like to talk a little bit about
   8 the things I've been hearing in here. I'd like to
   9 start out by kind of reading a short blurb of a
  10 letter I got from the American Legion.
  11        "From the 35,000 members of the American
  12 Legion family in Colorado, I'm asking you to vote
  13 no on the subject bills of Friday, March 8, 2013.
  14 By doing so, you'll be sending the message to all
  15 citizens of our great state that you believe in the
  16 Second Amendment and the right of your constituents
  17 to bear arms freely and without prejudice."
  18        And that's all I'll read of that.
  19        The slippery slope in which we talk
  20 about, we -- if we could just go back a little bit
  21 and look at it, I come from an era where, if you
  22 wanted a weapon, you get a catalog or however you
  23 want to do it, and you order that weapon, and it
  24 comes in the mail.
  25        The slippery slope in which we've already
  0104
   1 come down to this point, we have gun laws in place,
   2 but now we see the mass murders going on. The laws
   3 in which we have placed is part of that slippery
   4 slope to registration.
   5       I'm not sure that I would agree with any
   6 additional laws would -- would refrain that from
   7 happening again. I'm of the opinion that -- I'm
   8 basically of the opinion that if -- the one thing
   9 that's not been talked about today is our freedom.
  10 If indeed we are a free nation, we should be
  11 looking in the opposite direction. Instead of
  12 restricting our rights, we should be expanding our
  13 rights.
  14        There was a enormous amount of -- of gun
  15 sales in this country, but I think the -- the laws
  16 in which we have placed today is not necessarily
  17 what has kept the -- the homicide rates down, I
  18 think it's the gun ownership rights that have kept
  19 that down.
  20        So I -- again, if we're -- if we're going
                                                                                                    LEG HX 000844                   4759
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  21 to talkAppellate
              about beingCase:    14-1290
                             a free            Document: 01019371764
                                    nation without                                    Date Filed: 01/16/2015           Page: 96
  22 additional regulation, that's almost a -- an issue
  23 that cannot be compromised. So I'm opposed to this
  24 bill. You know, I -- I do not believe additional
  25 regulation for the best of intent is -- in the
  0105
   1 direction to go.
   2       I -- until this -- until today, I had an
   3 argument with veterans over the last 40 years that
   4 I was adamant that I was right. And that argument
   5 has been -- I'm a Vietnam veteran -- that argument
   6 has been in the past I do not believe there's ever
   7 been an American veteran who has died in vain for
   8 this country.
   9       I'm a very, very firm believer that every
  10 American death in service had a purpose, and that
  11 purpose was to promote the freedom of this nation,
  12 not restrict it. I do believe adamantly that
  13 freedoms can be attained, but it has to be worked
  14 for and fought for. That's what, you know, the
  15 letter I just read was from 35,000 American
  16 Legions.
  17        We have roughly two million veterans in
  18 this state, and I think that, that in itself -- the
  19 veterans understand exactly what it means to the --
  20 the Second Amendment and the right to bear arms,
  21 and those rights shall not be infringed upon.
  22        So I -- and I normally -- what I normally
  23 do is just represent my district.
  24        And in my district right now, the Pueblo
  25 Chieftain had an article the other day, their poll,
  0106
   1 and it wasn't scientific by no means, but they --
   2 they indicated 60 percent of the people in Pueblo,
   3 which is out of my district, but it's within my
   4 boundaries, but 60 percent of the people were
   5 opposed to this gun bill.
   6       I do believe in my district, which
   7 surrounds Pueblo, which is predominantly rural,
   8 St. Luis Valley and ten counties east, would be
   9 considerably higher than 60 percent. I would not
  10 make a judgment, but I do believe it would be close
  11 to 80 percent. Of the 5,000 e-mails I've -- I've
  12 received, it's well over 80 percent.
  13        So I would -- you know, I would really
  14 look at the slippery slope that we're going down as
  15 one to registration.
  16        There is -- there is one thing that I
  17 would never do. I'm a fifth-generation Coloradan,
  18 and I will never leave this state. I will continue
  19 to stay here and fight for what I believe is right
  20 for the State of Colorado and its people.
  21        But I would really urge a no vote on --
  22 on, you know, these existing gun bills. And I would
                                                                                                    LEG HX 000845                   4760
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  23 ask for Appellate    Case:
                your support   on 14-1290
                                  that.        Document: 01019371764                  Date Filed: 01/16/2015           Page: 97
  24         And thank you very much.
  25         THE CHAIRWOMAN: Thank you.
  0107
   1        Senator Cadman.
   2        SENATOR CADMAN: Thank you, Madame
   3 Chairman.
   4        I want to share a letter that was sent to
   5 one of my colleagues. Trying to maintain decorum, I
   6 won't mention his name, but he is from Grand
   7 Junction, and his hair is perfect. I'm 0-2 there.
   8        "Dear Senator. I met you yesterday after
   9 the so-called public hearings on the anti-gun
  10 bills.
  11         "As I mentioned, I am an executive
  12 producer for Outdoor Channel. I currently have
  13 four series in production, including Gun Stories,
  14 the top show on the Outdoor Channel, with several
  15 additional series in development. My series focus
  16 on guns, hunting, shooting, and the outdoors."
  17         It sounds like a pretty good fit for
  18 Colorado, doesn't it?
  19         "This morning, I met with my three
  20 producers, and we made the decision that if these
  21 anti-gun bills become law, we will be moving all of
  22 our production out of Colorado. We've already
  23 canceled a scheduled filming session for late this
  24 month.
  25         "Obviously, part of this is due to our
  0108
   1 own commitment to the right to keep and bear arms
   2 it also reflects" -- listen to this -- "this also
   3 reflects three lawyers' opinions that these laws
   4 are so poorly drafted and so designed to trap
   5 otherwise legal citizens into a crime, one of our
   6 attorneys referred to them as flypaper laws, that
   7 it is simply too dangerous for us to film here."
   8        That's a pretty strong message. Three
   9 lawyers' opinions.
  10         "I can give you chapter and verse on the
  11 legal implications if you need, but suffice it to
  12 say that the first legal opinion was so scary we
  13 went out and got two others, all three attorneys
  14 agreed."
  15         The first legal opinion was so scary that
  16 we went out and got two others.
  17         I think this really confirms the
  18 assertion that I have made in this building, and
  19 probably at this microphone. Have you ever been in
  20 a situation where you had one attorney and two more
  21 attorneys made it better? No.
  22         I'd say forgive me to the all the
  23 attorneys here, but you know it's true.
  24         "We are relatively small potatoes in
                                                                                                    LEG HX 000846                   4761
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            Appellate
  25 television,       Case:
                  but our      14-1290
                          relocation       Document:
                                     of production will 01019371764                   Date Filed: 01/16/2015           Page: 98
  0109
   1 cost Colorado just under one million dollars in
   2 2013.
   3       "Secondly, we have proudly promoted
   4 Colorado in our productions, and have been moving
   5 more and more production into the State. Now we
   6 will do exactly the opposite.
   7       "What does this mean for Colorado? The
   8 community of television producers is a small one.
   9 Last week, I had lunch with a major network
  10 producer who is looking to locate his new reality
  11 series here in Colorado. That producer is also a
  12 shooter, and the new reality series will now be
  13 based out of Phoenix. That lunch cost Colorado
  14 over a million dollars in economic impact."
  15        That's an expensive lunch. That's an
  16 expensive lunch even before Amendment 41 kicked in.
  17 A million dollars, another production company gone.
  18        "Thirdly, according to numbers I received
  19 from the National Shooting Sports Foundation" --
  20 for whom he used to work -- "hunting had an almost
  21 $800 million impact on Colorado in 2012."
  22        You heard mentioned up here earlier that
  23 firearms specifically were 400 million, so if you
  24 add to that all of the other peripheral components
  25 into hunting, it doubles that. Citing nearly 8,330
  0110
   1 jobs.
   2       "Next month, I will be in Texas meeting
   3 with most of the top outdoor hunting producers.
   4 And the number one agenda item will be Colorado.
   5       "Already hunting organizations and
   6 statewide hunting clubs around the country are
   7 pulling out of Colorado, and we expect this trend
   8 to accelerate rapidly.
   9       "The message we will take to our viewers
  10 and listeners is that these proposed laws are so
  11 dangerous -- these laws are dangerous to hunters
  12 and any other person, be she a fisherman or a skier
  13 who brings a handgun into the state for
  14 self-defense, that we cannot recommend hunting,
  15 fishing, or visiting Colorado.
  16        "We reach millions of people, and quite
  17 frankly, we have a credibility that the Colorado
  18 government officials can no longer match.
  19        "Colorado Division of Wildlife is already
  20 running ads trying to bring more out-of-state
  21 hunters to Colorado in light of the flood of
  22 negative publicity about these proposed laws. I
  23 can assure you, those ads will fail."
  24        Sounds like we have two situations
  25 coming: One, we can probably expect to see our
  0111
                                                                                                    LEG HX 000847                   4762
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   1 formerAppellate
              Senator --Case:
                         former14-1290        Document:
                                colleague Senator     White01019371764                Date Filed: 01/16/2015           Page: 99
   2 over here asking for more money to promote Colorado
   3 to counter these; or frankly, since we probably
   4 can't, once this tidal wave gets rolling, we ought
   5 to ask them for the $15 to $20 million back. How
   6 do you think that will go over?
   7       He goes on. "We estimate that as many as
   8 one-quarter to one-third of out-of-state hunters
   9 will desert Colorado in the next 18 to 24 months,
  10 which will, quite frankly, be a disaster for the
  11 hunting industry here and have a devastating affect
  12 on our western and northern communities, certainly
  13 like Grand Junction.
  14        "This is not a boycott in the traditional
  15 sense of a centralized, organized operation,
  16 rather, it is a more grassroots decision on where
  17 shooters, hunters, and other sportsmen are willing
  18 to spend their money.
  19        Look at the collapse of the Eastern
  20 Sports and Outdoor Show in February. That
  21 venerable, multimillion dollar trade show chose to
  22 ban modern sporting rifles and standard capacity
  23 magazines. And within three weeks, it collapsed,
  24 as all vendors and sponsors pulled out.
  25        "Colorado is going to pay a huge price
  0112
   1 for laws that will do nothing to increase public
   2 safety.
   3       Thank you for your support. As one of
   4 the top gun guys in the America, I personally reach
   5 more than a million people a week. If there's
   6 anything I can do to help in this fight, I would be
   7 glad to help you in any way."
   8       You know, a few years ago, we had an
   9 opportunity at the end of the session each year to
  10 go to a conference up in Craig, and I know my
  11 colleagues, I think some of them may have stepped
  12 out of the room, but one of my colleagues I served
  13 in the House with Adams County would attend, my
  14 other colleague from Jefferson County would attend.
  15        And what really struck me about my time
  16 up there was all these big beautiful hotels in
  17 Craig. Anybody been to Craig? It's a ways from
  18 everything. And what I found out sustained these
  19 hotels and why they were continuing to add to them
  20 and build more, was mostly for the hunting
  21 industry.
  22        And I found out that major celebrities
  23 buy up entire wings of some of these -- or rent up
  24 the entire wings of some of these hotels during
  25 hunting season for two, three, four, six, eight
  0113
   1 weeks at a time. It is a -- it is the lifeblood,
   2 the lifeblood of these communities, hunting season.
                                                                                                    LEG HX 000848                   4763
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   3       Appellate Case:
           Obviously,           14-1290
                         this will           Document: 01019371764
                                   have a significant                                Date Filed: 01/16/2015           Page: 100
   4 impact -- affect on a whole lot of rural communities
   5 in Colorado.
   6       I'm sure Senator White is listening right
   7 now wondering what our next move will be. I don't
   8 see myself supporting more money for him to try to
   9 make up for this loss. Frankly, how could we
  10 even -- how could we even put a figure to this?
  11 Somebody has a million -- a reach of a million
  12 people a week and he says don't come here.
  13        Remember the old adage, good news stays
  14 quiet, bad news travels fast? This bad news is
  15 traveling very fast.
  16        I would ask for a no vote.
  17        THE CHAIRWOMAN: Thank you.
  18        And now the Senator from Grand Junction
  19 with the perfect hair, Senator King. Your minority
  20 leader said it, I didn't. Then Senator Renfroe.
  21        Oh, Senator Harvey. Okay.
  22        SENATOR HARVEY: The Senator from Douglas
  23 County with no hair.
  24        THE CHAIRWOMAN: Yes.
  25        SENATOR HARVEY: Thank you, Madame Chair.
  0114
   1       I'd like to take a minute to talk about
   2 another business here in Colorado, who is concerned
   3 about the impacts of this legislation, not on them,
   4 but on the freedoms of all Coloradoans. This is a
   5 company that is a significant employer here in
   6 Colorado that is going to be expanding -- was
   7 planning on expanding substantially here in 2013.
   8       I'm -- I assume that you all got this
   9 letter, and I wanted to read it to you as well.
  10 It's -- it says: "Dear Fellow Coloradan" --
  11        THE CHAIRWOMAN: And -- and Senator
  12 Harvey, this is pertaining to 1229?
  13        SENATOR HARVEY: Yes.
  14        THE CHAIRWOMAN: Okay. Thank you.
  15        SENATOR HARVEY: That's why I'm up here.
  16 And all other bills, as well. I might come up for
  17 every bill and read this.
  18        "Our state legislature is embroiled in a
  19 gun control debate that is precipitating a malaise
  20 in our citizens and tolls ominous consequences for
  21 local businesses like ours.
  22        "My name is Mark Butler, and I'm the CEO
  23 and co-founder of J.R. Butler, Inc. We are an
  24 engineering and manufacturing firm, specializing in
  25 commercial glass industry. We are located in the
  0115
   1 heart of Denver, at 6th and I-25, and employing 104
   2 local men and women. We serve on numerous local
   3 boards of directors. Our employees donate hundreds
   4 of thousands of dollars to charities -- I'm
                                                                                                    LEG HX 000849                   4764
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   5 sorry Appellate     Case: 14-1290
             -- our employees               Document:
                                donate hundreds  of      01019371764                 Date Filed: 01/16/2015           Page: 101
   6 charitable hours annually and donate hundreds of
   7 thousands of dollars. We are the City and County
   8 of Denver. We are Colorado.
   9        "Our company is considering a two-fold
  10 expansion in our operations, which demands a
  11 facility and a number of employees twice the size
  12 of our current one. Naturally, our original plans
  13 included building locally and deepening our
  14 Colorado roots. Due to the recent action in our
  15 state, however, we are looking instead to move our
  16 operations out of Colorado, potentially to Texas.
  17 We are currently in the process of reaching out to
  18 their EDC's, while you're in the process of
  19 considering these egregious gun bills.
  20         "J.R. Butler is a vehement defender of
  21 the U.S. Constitution and the Second Amendment. We
  22 will not abide the loss of our liberties. We will
  23 not allow our rights to be tread upon. If these
  24 egregious bills are signed into law, we will move
  25 all of our jobs, charitable activities, and tax
  0116
   1 base away from the State of Colorado.
   2        "We know that you will directly consider
   3 these statements, as we have. I believe I am one
   4 of the many CEO's that will see the legislative
   5 actions that you are taking in the same light.
   6 Colorado cannot endure the loss of so many leaders.
   7 God's speed, Mark Butler, CEO."
   8        Just one more example of how these bills
   9 are going to have a detrimental impact, not only on
  10 our economy, but also on the perception of who we
  11 are as Coloradoans, and what our state has become.
  12         I remember a couple of decades ago when
  13 Amendment 2 was passed on the ballot, and we had
  14 film industry experts leaving the state; we had
  15 companies leaving the state; we have people saying
  16 we weren't going to come back to Colorado because
  17 Colorado was quote, a hate state.
  18         What do we hate today? Freedom, liberty,
  19 the right of self-protection?
  20         I ask for a no vote.
  21         THE CHAIRWOMAN: Thank you. Senator
  22 Renfroe.
  23         SENATOR RENFROE: Thank you, Madame Chair.
  24         Members, you've heard some amazing letters
  25 from companies that call Colorado home. Now, you
  0117
   1 might think that, well, this is a gun bill, what are
   2 we doing about -- talking about companies? Well,
   3 every bill that we face down here has a lot of sides
   4 to it, obviously. One of them is a economic impact;
   5 one of them is a safety impact; hopefully, one of
   6 them is a constitutional impact.
                                                                                                    LEG HX 000850                   4765
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   7       IAppellate
             think this Case:    14-1290
                         bill is one          Document:
                                     of those that we   01019371764                  Date Filed: 01/16/2015           Page: 102
   8 could look at all three levels as reasons why to
   9 vote no on this bill.
  10        You heard stares just now. List to that.
  11 The Outdoor Channel. You don't think they don't
  12 reach every hunter and fisherman in the country, in
  13 the world?
  14        In fact, I did get an e-mail from a man
  15 that lives in Switzerland, that calls Colorado his
  16 summer home. And I think he sent that to quite a
  17 few of you, too. And within that, I think he said
  18 that he was almost ashamed of us and was probably
  19 looking for a different place to call his
  20 Colorado -- his summer home rather than Colorado,
  21 because of the freedoms that we were taking away
  22 with these bills, and this bill in particular.
  23        That is amazing with the Outdoor Channel.
  24 What Senator Cadman read, I don't think -- I think
  25 is -- deserves to be repeated in a few highlights.
  0118
   1       Number one, the executive producer met
   2 with his other three producers, and they have a
   3 decision -- made the decision to move out of state
   4 if these anti-gun bills become law, moving all of
   5 their production out of Colorado. What do you think
   6 that will do to hunting and fishing?
   7       But they just didn't say that because
   8 they're pro-Second Amendment. They actually hired
   9 some attorneys to look at the legislation, to see if
  10 it stands up to one of the other pillars, our
  11 Constitution, see how it stands there. And their
  12 lawyers' opinions said they are so poorly drafted
  13 and designed to trap otherwise legal citizens into a
  14 crime.
  15        I don't think anybody could have said
  16 anything better about this bill. That's truly what
  17 I believe this bill does. There are so many
  18 examples, many that have been shared, many that
  19 unfortunately we're going to find out through the
  20 newspaper of stories of people being trapped by them
  21 in the future, if this passes.
  22        It is too -- simply too dangerous for us
  23 to film here. Wow. Wow. Too dangerous to film
  24 here. They have proudly promoted Colorado and have
  25 been moving more and more production into our state.
  0119
   1 Now we will do exactly the opposite. The message we
   2 will take to your viewers and listeners is that
   3 these proposed laws are so dangerous to hunters and
   4 any other person, be she a fisherman or a skier who
   5 brings a handgun into the state for self-defense,
   6 that we cannot recommend hunting, fishing, or
   7 visiting Colorado.
   8       When you look at the Governor's office and
                                                                                                    LEG HX 000851                   4766
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
           Appellate
   9 his economic      Case: 14-1290
                     development             Document:
                                     department,          01019371764
                                                 they've given                       Date Filed: 01/16/2015           Page: 103
  10 documents to our JBC staff. And here's a little
  11 backgrounder of -- of their goals and what they
  12 stand for.
  13        "The Colorado Office of Economic
  14 Development" --
  15        THE CHAIRWOMAN: Senator Renfroe --
  16        SENATOR RENFROE: -- "and International
  17 Trade" --
  18        THE CHAIRWOMAN: -- would be willing to
  19 stick to the bill, please?
  20        SENATOR RENFROE: This is exactly to the
  21 bill, Madame Chairman, because this is talking about
  22 the economics of what this policy -- this bill -- is
  23 going to do to the State of Colorado.
  24        THE CHAIRWOMAN: Thank you. Let's stick
  25 to that.
  0120
   1       SENATOR RENFROE: And so I'm talking about
   2 one of the other branches of government, the
   3 Governor's Office of Economic Development and
   4 International Trade, and what they have said about
   5 what their goals are, are for our state, when it
   6 comes to economic development.
   7       I think the last letter from the outdoor
   8 channel shows what the problems will be, that there
   9 will be great economic impact to our state. And so
  10 I just want to share with the -- with the body and
  11 with you what their goals actually are and what
  12 they're tasked with, if I may.
  13        May I do that, Madame Chair?
  14        THE CHAIRWOMAN: Yes.
  15        SENATOR RENFROE: Thank you, Madame Chair.
  16        The governor's office -- The Colorado
  17 Office of Economic Development and International
  18 Trade is tasked with assisting and creating a
  19 positive business climate, encouraging economic
  20 development, and building sustainable job growth
  21 across the state. They're focused on retention and
  22 growth in 14 key industries. They will not meet
  23 their goals. They cannot with this bill. This bill
  24 is absolutely against what we're funding another
  25 part of government to promote.
  0121
   1       The third part I talked about within the
   2 bill that we need to look at is -- is the safety
   3 aspect.
   4       The Senator from Fort Collins talked about
   5 some data early on that the -- the sponsor of the
   6 bill referenced, and frankly that the President of
   7 the United States has referenced in regards to this
   8 matter. And I would have questions for the sponsor
   9 and for the Chair, Madame Chairman.
  10        Where did the 40 percent number come from,
                                                                                                    LEG HX 000852                   4767
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  11 whenAppellate      Case:
             we're talking     14-1290
                            about             Document:
                                  the so-called  loophole?01019371764                Date Filed: 01/16/2015           Page: 104
  12 Could you please tell me where that number came
  13 from? I think I know where it came from. So if I'm
  14 wrong, I would love to be corrected with the -- the
  15 proper data on this and the proper facts. Because
  16 I'd hate for us to mess up the statistics and the
  17 facts on a bill that we're hearing on guns.
  18        That 40 percent number, which actually I
  19 think in the study that it was supposedly using out
  20 of is actually 36 percent, but we can round up and
  21 say that. But, it's a study that was conducted with
  22 only 251 people during the Clinton Administration,
  23 which was from, I think, a '91 to '96 period of
  24 time.
  25        But the thing you have to remember,
  0122
   1 colleagues, is that we did not require background
   2 checks until I think it was '94. So the question
   3 that was put during this so-called loophole study
   4 was before we even required a background check at
   5 all. So how can we say 40 percent of people are in
   6 this loophole that we're trying to fix with this
   7 bill?
   8       So I would love, Madame Chair, for an
   9 answer to these questions and some -- some
  10 statistics to show the need and where that
  11 40 percent comes from.
  12        And you could even go a little further
  13 into digging into what the questions of that 1994
  14 survey was, and actually what the survey simply
  15 asked was if they thought they were buying from a
  16 licensed dealer, so it didn't even actually ask the
  17 right questions within that.
  18        So is there really proper data that we've
  19 been told about on this bill? I would love that
  20 answer, Madame Chair.
  21        Another question I would have, when you
  22 look at background checks and you question
  23 40 percent out there that we've allegedly been told
  24 is what the loophole is we're trying to protect,
  25 okay, well then, the other side of that is, how
  0123
   1 about the people that we've been told failed a
   2 background check and the number that they are, what
   3 percentage of those really actually failed the test?
   4       8 percent of background checks are
   5 initially denied, but actually 94 percent of that
   6 eight percent is found to be a false positive, in
   7 that they just had a name was similar or the same as
   8 somebody else that was on the list, and they had to
   9 go through a few steps to get there.
  10        So in reality, what this bill, in my
  11 opinion, really does from a safety issue, and there
  12 are researchers that actually have came to this same
                                                                                                    LEG HX 000853                   4768
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
           Appellate
  13 conclusion,        Case:
                    is that this 14-1290      Document: 01019371764
                                 bill, by expanding                                  Date Filed: 01/16/2015           Page: 105
  14 background checks, might actually contribute to an
  15 increase in violent crime because of the time it
  16 would take people to wait for this to happen, the
  17 people that actually do need the right to protect
  18 themselves, and they will be waiting for that right.
  19        This is a very, very bad bill, a bad
  20 package of bills. And I would ask for a no vote.
  21        THE CHAIRWOMAN: Members, we have been
  22 joined by Secretary of State Gessler, and we should
  23 acknowledge his presence in the room.
  24        Senator Baumgardner.
  25        SENATOR BAUMGARDENER: Thank you, Madame
  0124
   1 Chair.
   2       We just heard from one of our colleagues
   3 that talked about key industries here in the State
   4 of Colorado and reports that we had from other
   5 branches of our legislative body that talked about
   6 the amount and percentage of money that comes into
   7 our state from people coming into the state, jobs
   8 that are here in the state.
   9       And one of the most important pieces of
  10 this, I believe, is the tourism industry that brings
  11 as tremendous amount of money into the state.
  12        This is just one of the components in the
  13 Governor's Blueprint to make our state one of the
  14 best in the nation, along with outdoor recreation
  15 and natural resources and energy.
  16        Madame Chair, if I may, I -- I have some
  17 letters from constituents and from members of -- or
  18 the citizens of the State of Colorado, just a
  19 couple. If I may, if I could read those?
  20        THE CHAIRWOMAN: Are they pertaining to
  21 House Bill 1229?
  22        SENATOR BAUMGARDENER: Yes, Madame Chair,
  23 they are.
  24        THE CHAIRWOMAN: Yes, sir.
  25        SENATOR BAUMGARDENER: Thank you.
  0125
   1       Understand these were not my words. These
   2 are words of a citizen in the State of Colorado.
   3 These are boycott letters.
   4       It says:
   5       "I am a registered Democrat and a
   6 lifelong Colorado citizen. I need to let you know
   7 that I'm strongly against the current gun laws
   8 being proposed. A vote for these laws will do
   9 nothing to prevent any of the current tragedies
  10 that have happened. In fact, some will actually
  11 weaken the law-abiding Colorado citizens from being
  12 able to protect themselves, their loved ones, and
  13 others if when they -- when some sick individual
  14 tried to copycat what has already happened. They
                                                                                                    LEG HX 000854                   4769
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
           Appellate
  15 are not           Case: 14-1290
              common-sense    approaches toDocument:
                                             deal with 01019371764                   Date Filed: 01/16/2015           Page: 106
  16 criminal forces, as the criminals already do not
  17 follow the laws we have.
  18       More effort is needed to place -- to
  19 enforce our current gun laws. It is already
  20 illegal to knowingly sell or give a gun to a felon
  21 or an individual that you know who will commit a
  22 crime. Most of these individuals have long
  23 histories or a background of criminal behavior, and
  24 many are repeat offenders, and they're being let
  25 back out on to the streets."
  0126
   1      And he cites an example:
   2      "A couple of years ago, I was broken into
   3 by two individuals that among things stolen were
   4 three guns. They were arrested later that day and
   5 had in their possession some of my property, but of
   6 course none of the guns. When arrested, they had
   7 several bags of pot, a large amount of cash, and
   8 some -- and both were high on drugs. Most likely,
   9 they had swapped or sold my guns in some dope deal.
  10       "During the interrogation or the
  11 questioning by the police, they both admitted and
  12 pointed a finger at each other on the break-in and
  13 on other break-ins they had committed that same
  14 night.
  15       "The owner of the car was the only one
  16 since the property was in the possession of the
  17 car, the other one he was the only one that was
  18 charged because he had possession of the property.
  19 The other one was released, even though he had a
  20 prior warrant.
  21       "The owner was convicted of a felon. He
  22 was out on parole from another county in Colorado
  23 with a same, similar of offense.
  24       "Again, criminals do not go in and have a
  25 background check done. They don't go in to gun
  0127
   1 dealers and buy a firearm that can be registered.
   2 They don't go to a gun show where you have to
   3 register a firearm. They break in, they steal, or
   4 they get it from another criminal.
   5      "During the plea deal, I asked, what had
   6 been done to find out what they had done with my
   7 guns. They informed me that there was no -- there
   8 had been no warrants, and it had not been an issue
   9 on any of their other locations. I also asked were
  10 they pressing him to divulge what they did with the
  11 guns, and what was going to be -- if that was going
  12 to be part of the plea agreement to where he could
  13 be let off if he plead, and they said no."
  14       He also adds: "Now, in we're going to be
  15 serious about keeping guns out of the hands of
  16 these type of people and off the streets," he
                                                                                                    LEG HX 000855                   4770
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
  17 asked, Appellate   Case:
               "what kind       14-1290
                           of law            Document:
                                   enforcement           01019371764
                                                is that? What                        Date Filed: 01/16/2015           Page: 107
  18 kind of laws do we need? What type of laws do we
  19 have on the books? Do we not need to enforce the
  20 laws we have on the books without adding more
  21 laws?"
  22         And he would like your opinions. He
  23 says:
  24         "I'm a very proud Coloradan, and I resent
  25 outside forces like the Bloombergs trying to push
  0128
   1 their money into Colorado to try to add legislation
   2 that will not solve anything. It will weaken the
   3 law-abiding citizen's gun rights and turn us into
   4 New York or California. Keep Colorado proud and
   5 maintain our western heritage.
   6        "If gun restrictions and laws like this
   7 work, then why do Chicago, Washington, D.C., and
   8 New York have some of the highest crime rights and
   9 have some of the most restrictive laws on the
  10 books?"
  11         He asks for you to vote against House
  12 Bill 1229.
  13         Madame Chair --
  14         THE CHAIRWOMAN: Yes, Senator.
  15         SENATOR BAUMGARDENER: -- may I proceed
  16 with this last letter?
  17         THE CHAIRWOMAN: As long as it pertains
  18 to 1229, yes.
  19         SENATOR BAUMGARDENER: Thank you, Madame
  20 Chair.
  21         This gentleman spends a lot of time in
  22 Colorado. He doesn't live here. He's from Kansas.
  23         "Dear Colorado Senators, it is our
  24 understanding that a representative from Denver,
  25 who put forth these bills, which would disarm
  0129
   1 responsible citizens in Colorado has a past --
   2        THE CHAIRWOMAN: Senator --
   3        SENATOR BAUMGARDENER: -- "while we
   4 respect" --
   5        THE CHAIRWOMAN: -- is this about 1229?
   6        SENATOR BAUMGARDENER: Yes, Madame Chair,
   7 it is. I did not mention any names. It's not --
   8 these are not my words. This is someone that --
   9 thank you -- it is about the bill, thank you.
  10         Thank you, Madame Chair, may I continue?
  11         THE CHAIRWOMAN: Yes.
  12         SENATOR BAUMGARDENER: Thank you, Madame
  13 Chair.
  14         "I urge you to vote against all gun
  15 control bills," House Bill 1229 and other bills
  16 that I can't mention in the bills that we've
  17 already heard.
  18         "These bills will do nothing to improve
                                                                                                    LEG HX 000856                   4771
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
  19 safetyAppellate
              or reduceCase:
                         crime,14-1290       Document:
                                 and will only serve to 01019371764                  Date Filed: 01/16/2015           Page: 108
  20 further abridge the fundamental rights of
  21 responsible Colorado citizens.
  22        "Although I am not a resident of
  23 Colorado, I and my family travel and spend leisure
  24 money in your state that will seize, should any new
  25 gun-legislation related bills pass.
  0130
   1       "I am also actively contacting everyone I
   2 know who travels to and spends recreational dollars
   3 in Colorado to consider boycotting your state,
   4 should any of these erroneous bills be passed."
   5       Madame Chair, there's more to this, but I
   6 think I will reserve the right to come back later
   7 and read it, since it pertains to another piece of
   8 legislation.
   9       THE CHAIRWOMAN: Well, thank you, sir.
  10        SENATOR BAUMGARDENER: I would just ask
  11 that we consider House Bill 1229 as a piece of
  12 legislation that's going to affect economic
  13 development in Colorado to the effect that tourism
  14 dollars will be lost because people will not come to
  15 the state, and this is part of our bottom-up or the
  16 Blueprint piece of our economic development. These
  17 bills are going to affect that. So let's be very
  18 careful.
  19        And I would ask for a no vote on 1229.
  20        THE CHAIRWOMAN: Thank you.
  21        Senator Lundberg.
  22        SENATOR LUNDBERG: Thank you, Madame
  23 Chair.
  24        Jobs, jobs, jobs. House Bill 1229 is not
  25 about jobs, it's about getting rid of jobs. No,
  0131
   1 that isn't the specific language that you'll read in
   2 the bill, but as you've heard the recent discussion,
   3 that is in fact the affect you'll see from the bill,
   4 along with all of these other bills.
   5       Let me talk to the people in the gallery
   6 as well as the Senate, because it's your jobs, it's
   7 your economic future, it's your life we're talking
   8 about.
   9       This bill is a part of a package of bills
  10 that are clearly seen by the -- not just the people
  11 of Colorado -- but the people of this nation as a--
  12 as an anti-Second Amendment package. It -- from my
  13 understanding, is predicated upon the assumption
  14 that the fewer guns we have anywhere, the better off
  15 we all are.
  16        Never mind the fact that the Constitution
  17 is very, very clear on that one specific point, both
  18 the U.S. Constitution and the State Constitution.
  19 Never mind the fact that the people of Colorado have
  20 spoken very clearly.
                                                                                                    LEG HX 000857                   4772
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
  21       Appellate
            It would beCase:    14-1290
                          interesting to hear Document:
                                              one       01019371764                  Date Filed: 01/16/2015           Page: 109
  22 Senator come down to this microphone and say the
  23 overwhelming number of constituents who have
  24 contacted me through e-mail and phone calls and
  25 personal conversations are urging me to pass this
  0132
   1 legislation. Is there one of you out here who can
   2 attest to that?
   3       For my part, I've received thousands of
   4 e-mails, thousands. And they are overwhelming. You
   5 know, let's say like 90-something percent,
   6 95 percent, 99 percent opposed to this legislation.
   7       And those from outside of the state very
   8 often will add that little note, you know I used to
   9 go elk hunting in your state, never again if you
  10 cross the line. I don't blame them. If another
  11 state were to take this action, I would take that as
  12 a you're not welcome sign and take my business
  13 elsewhere.
  14        Now, I'll leave the podium here with this
  15 one final point to the people of Colorado, and that
  16 is: Don't give up on this. Don't give up on us.
  17 Don't give up on our state. I, for one, commit to
  18 you that any anti-Second Amendment legislation
  19 that's passed by this legislature, I will do
  20 everything within my power to repeal.
  21        And there are many of us, not only on the
  22 floor here, but maybe up in the gallery or maybe
  23 watching elsewhere, who can come down and join our
  24 ranks and make that difference and put Colorado back
  25 on the track we need to be, because bills like House
  0133
   1 Bill 1229 do not deserve to be in the statutes of
   2 the State of Colorado, not this land of liberty, not
   3 this land of freedom, not this land of opportunity.
   4       And even as our founding fathers
   5 understood that one of the key elements to the
   6 opportunity is that ability to defend yourself, and
   7 your family, and your property, and your community,
   8 and to have that freedom as an individual.
   9       It's so clearly stated in our
  10 constitutions, in our -- the -- the warp and the
  11 weave of the fabric of our laws from the very
  12 founding. All of this contributes to that general
  13 direction of -- of personal responsibility rather
  14 than the government saying no, we'll take care of it
  15 and we'll take care of you too.
  16        No, that's not what this nation was
  17 founded on. That's not what this state of Colorado
  18 is all about. That is definitely what the people of
  19 Colorado are calling for. I urge each and every
  20 Senator to look their constituents in the eye and
  21 follow their lead.
  22        Vote no on 1229.
                                                                                                    LEG HX 000858                   4773
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
  23       Appellate   Case: 14-1290
            THE CHAIRWOMAN:                Document:
                                     Senator   King.    01019371764                  Date Filed: 01/16/2015           Page: 110
  24        SENATOR KING: Thank you, Madame Chair.
  25        Well said, Senator.
  0134
   1       I'm asked why today is a day of
   2 dysfunction at the capital. So let's take a look a
   3 this.
   4       All studies show that the vast majority of
   5 guns used in crime are obtained either through theft
   6 or straw purchases, neither of which will be
   7 affected by this bill. Criminals, and their use of
   8 firearms will not be deterred by this bill.
   9       And crazy people, I'm sorry, but I'm
  10 convinced that the only thing that stops a crazy
  11 person with a weapon from violence is a sane person
  12 with a better sight picture.
  13        All we are doing with this proposal, with
  14 1229, is imposing costs and burdens on law-abiding
  15 citizens and not making them safer.
  16        Vote no on 1229.
  17        THE CHAIRWOMAN: Any further discussion on
  18 Senate -- on House Bill 1229?
  19        Senator Tochtrop.
  20        SENATOR TOCHTROP: Thank you, Madame
  21 Chair.
  22        And I wasn't going to get up and talk on
  23 any of these bills, but when Senator Cadman brought
  24 up Craig, Colorado, and I will tell you I used to
  25 live up there, and our son still lives up there, and
  0135
   1 he is right, they have gorgeous hotels, and hunting
   2 is -- other than energy, hunting is one of the main
   3 economies in the northwest part of the state.
   4       They've got prized -- prized game that
   5 everybody goes after, and in particular your
   6 out-of-state hunters who come up. And every year
   7 you've got the group that go to the same motels and
   8 rent the rooms. In fact, when they had the oil boom
   9 a couple years ago, it was interesting because the
  10 motels made sure that those rooms, even though they
  11 had a lot of the oil people staying at the motels,
  12 they had to make sure that they were vacant for
  13 their yearly hunters that came up every year. I
  14 would venture to say that about 20 percent of sales
  15 tax that the City of Craig receives is from hunting
  16 season.
  17        And it was really kind of ironic, it is a
  18 rural area, but when we lived up there, our kids
  19 were in high school. And my one son, who is living
  20 up there now, had a pickup truck. And he would get
  21 up in the morning, and he would go deer hunting when
  22 it was both seasons, and then go off to school with
  23 his rifle on the gun rack, along with many, many of
  24 the other students in his school, get off of school
                                                                                                    LEG HX 000859                   4774
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
            Appellate
  25 and then          Case:
                 go hunting     14-1290
                              again           Document:
                                     because the           01019371764
                                                  deer -- you                        Date Filed: 01/16/2015           Page: 111
  0136
   1 like to hunt them dawn and dusk, those of you that
   2 are hunters.
   3       So, you know, I guess, again, I wasn't
   4 going to say this, but if -- if this bill affects
   5 some of the parts of the state that really rely on
   6 hunting, I am concerned about it because even though
   7 I don't represent that area, I think we need to look
   8 very carefully of how we impact the entire state of
   9 Colorado.
  10        And, anyway, I just wanted to make a
  11 comment about the hunting -- how hunting is
  12 important in many parts of the State of Colorado.
  13        THE CHAIRWOMAN: Senator Carroll.
  14        MAJORITY LEADER CARROLL: Thank you,
  15 Madame Chair.
  16        I agree, hunting is important. So
  17 everyone who owns a gun can obviously continue to
  18 hunt just as they do in Colorado.
  19        And, in fact, I'll just remind you there's
  20 an exception written in there that even if it's --
  21 if it's not your gun, if it's borrowed, again, as
  22 long as you're not a convicted felon, you can use
  23 your own gun, you can borrow a gun, but hunting is
  24 one of the explicit exemptions in the bill.
  25        Thank you.
  0137
   1       THE CHAIRWOMAN: Senator Brophy.
   2       SENATOR BROPHY: Well, thank you Madame
   3 Chair.
   4       And as I said in my first time that I came
   5 up here -- and I thank the previous senator speaking
   6 about the importance of -- of hunting up in the
   7 Craig area -- this does impact hunting, because as I
   8 mentioned earlier, most hunting trips are for longer
   9 than 72 hours. So this bill still has a cast of
  10 negative impact upon hunting.
  11        And -- and we're -- we're all getting
  12 e-mails from all over the country. People that come
  13 to the state to -- to -- for tourist activities
  14 swearing they're going to Wyoming and Montana if we
  15 pass this package of bills. They're paying
  16 attention to all of them, and specifically to -- to
  17 this bill, the constitutionally of the ability of a
  18 police officer to call into question your right to
  19 possess a firearm because you may or may not be able
  20 to prove that you legally obtained a background
  21 check on it.
  22        Which brings me to a communication that I
  23 had from a friend of mine up in Longmont asking very
  24 clearly, Why are checks tied to guns? Shouldn't
  25 they be tied to people? Why aren't the bad guys
  0138
                                                                                                    LEG HX 000860                   4775
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   1 beingAppellate    Case: of
             watched instead  14-1290      Document:
                                the good guys   being 01019371764                    Date Filed: 01/16/2015           Page: 112
   2 watched? Why can't the police officers check to see
   3 if the person that they have pulled over is a felon
   4 and not allowed to own a gun. That's the solution
   5 that the people of Colorado like.
   6       And they're paying attention outside of
   7 the state and inside of this state. You have seen
   8 all of the e-mails that you received. I just
   9 distributed to each and every one of you a poll
  10 result memo. It looks like this, Public Opinion
  11 Strategies.
  12        And they polled specifically about all the
  13 bills as a package, and this one, and especially the
  14 one that we're going to take up in a couple of
  15 bills. This is important. Two-thirds of likely
  16 voters say that they are very or fairly closely
  17 watching the progress of these bills as they move
  18 through the legislature. Two-thirds of the people
  19 of Colorado either oppose them outright or think
  20 that they go too far. Like this bill does. It goes
  21 too far.
  22        It was supposed to be about background
  23 checks, but it doesn't even allow you to loan a
  24 firearm to a friend for more than three days. It
  25 calls into question whether or not anybody wants to
  0139
   1 bring a firearm to the State of Colorado.
   2       What if law enforcement start -- starts
   3 harassing out-of-state hunters who don't even know
   4 about this law? Well, that's not likely, because
   5 this is the -- did you guys see the Outdoor Life
   6 Channel letter? Colorado is the number one topic at
   7 a director's meeting they're having in Texas later
   8 this month.
   9       The eyes of the nation are upon us. What
  10 we do here today matters to everybody, just like it
  11 matters to a former constituent of mine, now she's
  12 in senate district 35, because you guys stole her
  13 from me. A brand new county commissioner from
  14 Prowers County, who, along with about 49 other
  15 people from La Mar, drove all the way up here last
  16 Monday to have their voices heard on the bills that
  17 they believe are unconstitutional, like this one.
  18        "Hi. I am Wendy Buxton-Andrade." She
  19 had -- she had prepared a statement that she wanted
  20 to give us to everybody.
  21        "I'm a county commissioner in Prowers
  22 County just as you are. I'm an elected official
  23 and sworn to uphold the Constitution of the United
  24 States and the Second Amendment that upholds the
  25 rights of all American citizens to bear arms.
  0140
   1       "As we are all elected officials, I am
   2 asking you to uphold our American rights set forth
                                                                                                    LEG HX 000861                   4776
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-030813.txt[11/12/2013 10:57:52 AM]
   3 by ourAppellate     Case:
              forefathers.     14-1290
                            Passing any billsDocument:
                                              that limit 01019371764                 Date Filed: 01/16/2015           Page: 113
   4 our ability to bare arms is against our
   5 Constitution and the rights of law-abiding
   6 citizens."
   7       The eyes of the entire nation are upon
   8 Colorado. All of your constituents are watching
   9 what we do here today, and a large majority of
  10 them, nearly two-thirds, oppose the things that you
  11 are imposing upon them.
  12        Vote no on 1229.
  13        THE CHAIRWOMAN: Thank you.
  14        Senator Crowder.
  15        SENATOR CROWDER: Thank you, Madame Chair.
  16        I -- I just had a quick question for the
  17 sponsor and anybody who supports this bill. We've
  18 heard from the people that oppose this about the
  19 bill -- the businesses that are leaving the state of
  20 Colorado. What I was wondering if you could tell us
  21 of any businesses wanting to locate in Colorado due
  22 to this bill?
  23        Thank you.
  24        THE CHAIRWOMAN: Any further discussion on House
  25 Bill 1229?
  0141
   1       Seeing none, the motion before you is to adopt
   2 House Bill 1229.
   3       All those in favor say aye.
   4       All those opposed, no.
   5       The ayes have it, and it is adopted.
   6       (Whereupon, the recording was concluded.)
   7
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  0142
   1                 CERTIFICATE
   2 STATE OF COLORADO                       )
   3 CITY AND COUNTY OF DENVER                       ) ss.
   4
                                                                                                    LEG HX 000862                   4777
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   5       Appellate   Case: Registered
             I, Elissa Steen, 14-1290 Professional
                                           Document: 01019371764                     Date Filed: 01/16/2015           Page: 114
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
  10 the speakers in this transcript were identified by me to
  11 the best of my ability and according to the introductions
  12 made and written materials provided; that the foregoing is
  13 a true transcript of the proceedings had; that I am not
  14 attorney, nor counsel, nor in any way connected with any
  15 attorney or counsel for any of the parties to said action
  16 or otherwise interested in its event.
  17          IN WITNESS WHEREOF, I have hereunto affixed
  18 my hand and notarial seal this 21st day of June, 2013.
  19
  20
  21
                     ________________________________
  22                  Registered Professional Reporter
                               and
  23                          Notary Public
  24
  25




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           Appellate Case: 14-1290 Document: 01019371764                             Date Filed: 01/16/2015           Page: 115
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 SENATE MEETING
   4 Held on March 11, 2013
   5 HOUSE BILL 13-1229
   6 -----------------------------------------------------------
   7 REPORTER'S TRANSCRIPT
   8 -----------------------------------------------------------
   9
  10         This transcript was taken from an audio
  11 recording by Elissa Steen, Registered Professional Reporter
  12 and Notary Public.
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  0002
   1            PROCEEDINGS
   2           * * * * *
   3      THE CHAIRMAN: Mr. Majors, would you
   4 please read the title to House Bill 1229 by Majority
   5 Leader Carroll.
   6      MR. MAJORS: House Bill 1229 by
   7 Representatives Fields and McCann and Senator
   8 Carroll, concerning criminal background checks
   9 performed pursuant to the transfer of a firearm, and
  10 in connection therewith, making an appropriation.
  11       THE CHAIRMAN: Majority Leader Carroll.
  12       MAJORITY LEADER CARROLL: Thank you,
  13 Mr. President.
  14       I move House Bill 1229 on third reading,
  15 final passage, and ask for an aye vote.
  16       THE CHAIRMAN: Majority Leader Carroll, I
  17 have an amendment on the desk.
  18       Mr. Majors, would you please read
  19 Amendment L.39 by Senator Carroll?
  20       And so, actually, Senator Carroll, first.
  21       Majority Leader Carroll.
  22       MAJORITY LEADER CARROLL: Thank you,
  23 Mr. President.
  24       Members, I ask for permission to offer a
  25 third reading amendment on House Bill 1229.
  0003

                                                                                                    LEG HX 000864                   4779
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   1       Appellate
           THE         Case: 14-1290
                 CHAIRMAN:       Would youDocument:      01019371764
                                              please explain                         Date Filed: 01/16/2015           Page: 116
   2 what you're thinking and what?
   3       MAJORITY LEADER CARROLL: Yes, I'd be
   4 happy to.
   5       So as far as why permission, it will go
   6 into the substance of the amendment a little bit.
   7       You'll recall one of the exceptions of not
   8 requiring a background check is in the case of being
   9 repaired. And there's some potential ambiguity
  10 about the way it's worded, where you might almost
  11 need a background check to prove that you're
  12 eligible for the exemption of a background check.
  13       So this is basically for the repair
  14 owners, you know, they can reasonably rely on the
  15 information they're given, and it's to make the
  16 intended exception work the way we meant so that you
  17 don't need a background check to prove you don't
  18 need a background check. That would be why I would
  19 be asking permission, 'cause I think it is tighter
  20 language around that exception.
  21       And I'd ask for an aye vote.
  22       THE CHAIRMAN: Okay. The motion before --
  23 the question before the body is whether to grant
  24 Majority Leader Carroll permission for a third
  25 reading amendment.
  0004
   1       All those in favor say aye.
   2       Opposed, no.
   3       The ayes have it. Permission has been
   4 granted.
   5       Mr. Majors, would you please read
   6 Amendment 39 to House Bill 1229 by Majority Leader
   7 Carroll.
   8       MR. MAJORS: Amendment L.039 --
   9       THE CHAIRMAN: Majority Leader Carroll.
  10       MAJORITY LEADER CARROLL: Thank you,
  11 Mr. President.
  12       I move Amendment L.039.
  13       Members you've heard this described.
  14       Again, this is to make the exception to a
  15 requirement of a background check for the case of
  16 having your firearm repaired, to make sure that the
  17 repair owner doesn't need to go through a background
  18 check to prove they don't need a background check.
  19       And I would just ask for an aye vote on
  20 the amendment.
  21       THE CHAIRMAN: Discussion?
  22       Senator Renfroe.
  23       SENATOR RENFROE: Thank you,
  24 Mr. President.
  25       Members, I -- I just want to make an
  0005
   1 over-arching question, pose it to Mr. President and
   2 the body with an amendment like this.
                                                                                                    LEG HX 000865                   4780
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
   3       Appellate
           So           Case:
               what we're       14-1290
                            doing            Document:
                                  with this bill is       01019371764                Date Filed: 01/16/2015           Page: 117
   4 we're saying that we will trust a person when he
   5 tells someone that's going to fix his gun that it's
   6 okay, and that he's legal, but we won't trust a
   7 person when he wants to give it to his neighbor that
   8 he's know for 30 years that wants to go and do
   9 something with the gun?
  10        That's what this amendment allows, and
  11 that's what this bill does.
  12        THE CHAIRMAN: Further discussion?
  13        Senator Lundberg.
  14        SENATOR LUNDBERG: Thank you,
  15 Mr. President.
  16        I'm inclined to support this amendment and
  17 would note that it underscores the severity of the
  18 bill, but it at least creates a -- one reasonable
  19 exception, and for that reason, as I say, I think
  20 the amendment's good; good amendment for a bad bill.
  21        THE CHAIRMAN: Further discussion?
  22        Seeing none, the motion before the body is
  23 the adoption of Amendment 39 to House Bill 1229.
  24        Are there any no votes?
  25        With a vote of 35 ayes, zero noes, zero
  0006
   1 absent, and zero excused, the amendment is adopted.
   2       To the bill.
   3       Senator Lundberg.
   4       SENATOR LUNDBERG: Thank you,
   5 Mr. President.
   6       Members, I just noted that we amended this
   7 bill in a way that created one little tiny island of
   8 sanity to a measure that I believe lacks much of
   9 that rationality for the rest of its policies. And
  10 this amendment, again, underscores the severity of
  11 this legislation.
  12        Background checks are one thing; universal
  13 background checks are entirely another. Because the
  14 background check system that has been in place,
  15 bureaucratic, and tiresome, and expensive, and
  16 troubling as it has been -- I mean, how many people
  17 have talked to in the last couple of months who have
  18 been very frustrated by the length of time it has
  19 taken to simply purchase, legally purchase, a
  20 firearm?
  21        And, of course, much of this is because
  22 Colorado policy creates its own little unique
  23 background check system, never mind the fact that
  24 the FBI has been doing it for no cost and with a
  25 system large enough to handle the volume, but now
  0007
   1 we're going to expand this to the universal
   2 background check idea, which means we don't trust
   3 anybody, except, of course, this amendment that we
   4 put in place.
                                                                                                    LEG HX 000866                   4781
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
   5       Appellate
           We            Case:
                don't trust        14-1290
                              anybody     else to Document:
                                                  -- to     01019371764              Date Filed: 01/16/2015           Page: 118
   6 have -- have the -- the ability to understand how
   7 this free exchange of if you're selling privately to
   8 somebody or -- or you're loaning, and that's --
   9 that's the -- you know, the most glaring shortcoming
  10 in this bill, is to simply loan your firearm to
  11 somebody for more than an extended period of time or
  12 more than a very limited circumstance, such as
  13 you're in a firing range, but not just any old
  14 firing range, no, one that has specific parameters
  15 and definitions.
  16        In my part of Larimer County, about every
  17 neighbor has a firing range, and every weekend you
  18 can hear them out there tuning up their -- their
  19 rifle. Not a bad idea. But that wouldn't qualify,
  20 of course, because that's not the specified legal,
  21 you know, definition of -- of a firing range. And
  22 so it's -- it's -- it's -- it's just filled with so
  23 much bureaucratic, dare I say it, nonsense, that it
  24 really boils down to an impression, at least that I
  25 get, that we don't trust the people of Colorado to
  0008
   1 have good common sense when it has -- comes to
   2 exercising their constitutional rights to own and
   3 use their firearms.
   4       And part of that use can be the most
   5 practical application of -- of your neighborhood has
   6 a reason for -- for needing to borrow a hammer, you
   7 give them a hammer, you know, get it back to me next
   8 week. But if it has to do with that firearm, oh,
   9 you can't do that without going through a background
  10 check.
  11        Now, that's one concern I have, is just
  12 the bureaucratic nonsense that this puts in place
  13 for the people of Colorado. And I can deduce no
  14 other reason for it, other than we must not trust
  15 the people of Colorado to have good reasonable
  16 common sense. These are the law-abiding citizens of
  17 our state. And, no, no, no, we won't trust you
  18 further than we can throw you.
  19        That's one problem. The other dilemma we
  20 have is the practical reality of how you're going to
  21 enforce such a system, because I can see it very
  22 clearly, oh, today, it's -- it's -- it's the
  23 assurances. This is all it is. This is just what
  24 we're going to do.
  25        But next year, when we get the reports of
  0009
   1 law enforcement, who have -- who have told us
   2 repeatedly right now, we can't enforce this.
   3 There's no way we can -- we can really plug this in
   4 and make it a functional part of the -- of the legal
   5 process here in the state unless we do one
   6 particular thing, and that is register every firearm
                                                                                                    LEG HX 000867                   4782
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   7 in theAppellate    Case:every
             state. Register   14-1290
                                    firearm Document:
                                            in the state. 01019371764                Date Filed: 01/16/2015           Page: 119
   8       When I see universal background check, I
   9 can put A and B and C together and draw the line
  10 between, and it -- B is: We register your guns, and
  11 that is a very, very troubling notion.
  12        History is replete with examples of
  13 country after country that simply says, Well, we
  14 just want to know where it's at so we can look after
  15 things properly and legally. You know, maybe it's
  16 for background checks; maybe it's for some other
  17 reason.
  18        But when you register the guns, the next
  19 step is, somewhere down the line, you confiscate
  20 them.
  21        That's what I see when I read the
  22 particulars in House Bill 1229. That's why the
  23 people in my district have been very, very, very
  24 clear on House Bill 1229. Kill it. Vote no. Don't
  25 allow this to become a part of the Colorado legal
  0010
   1 requirements for the citizens of Colorado.
   2       I've received thousands of responses from
   3 people, thousands, and maybe a handful saying it's a
   4 good idea, but the other thousands are saying,
   5 absolutely not, this is a violation of our
   6 constitutional rights. This is a -- an alarming
   7 piece of legislation where the path is clear. The
   8 trajectory is headed right in that direction.
   9       Some people have talked of the arc of
  10 history. Well, this arc is leading towards tyranny,
  11 and it is clear.
  12        THE CHAIRMAN: Majority Leader Carroll.
  13        MAJORITY LEADER CARROLL: Thank you,
  14 Mr. President.
  15        You know, I've heard -- it's interesting.
  16 I've watched different iterations through this bill,
  17 and I've heard a lot of descriptions of what people
  18 think the bill does, and if some of the assertions
  19 overall that globally I've heard were true, I think
  20 I'd be pretty alarmed too. So what I want to do is
  21 create a factual record based on what the bill
  22 actually does and -- and really what it does not do.
  23        The bill trusts that law-abiding citizens
  24 will pass a background check and can go on to buy
  25 the weapon of their choice, or as many weapons of
  0011
   1 their choice as they want. People can continue to
   2 own or possess any firearm of their choosing, so
   3 long as they're not a convicted felon and otherwise
   4 prohibited under current law.
   5       We have, as a matter of public policy,
   6 before said that when people commit certain crimes,
   7 you lose certain rights, and the right to purchase
   8 or own a firearm is one of those rights you lose
                                                                                                    LEG HX 000868                   4783
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
            Appellate
   9 after you  have a Case:
                         serious14-1290
                                 conviction, Document:   01019371764
                                             whether that's                          Date Filed: 01/16/2015           Page: 120
  10 for homicide, for rape, for kidnapping, for
  11 burglary. That is one of the consequences of what
  12 happens.
  13        Yet without a background check, any and
  14 every single convicted felon in the State of
  15 Colorado can easily access a gun, or as many as they
  16 want, any type they want.
  17        We have had incredible -- you know, on the
  18 experience we've had before the -- the Internet made
  19 it too easy for third-party postings. We have, in
  20 fact, had experience with the background check
  21 mechanism. That's your gatekeeper. That's what it
  22 is. And what it does is it makes sure every
  23 law-abiding citizen walks through that gate to go on
  24 to exercise 100 percent of their Second Amendment
  25 rights, for whatever purpose they see fit, whether
  0012
   1 it's hunting, fishing, self-defense, competitive
   2 shooting, whatever.
   3       But the other side of the gate is that
   4 everyone who is prohibited under law, who is not
   5 supposed to, dangerous people, dangerous convicts,
   6 who are not supposed to have access to a weapon,
   7 there is no way other than a background check to
   8 make sure that those folks don't access firearms.
   9       It will be true that there are going to be
  10 some people who continue to circumvent the law.
  11 Murder is illegal now, and people go on to murder.
  12 It is against the law to drive drunk. And it's
  13 true, we do have people who drive drunk, but that
  14 doesn't mean that we shouldn't, as a matter of
  15 public policy, say that that shouldn't happen. And
  16 because something less than 100 percent of people
  17 may be caught doesn't mean we shouldn't do it.
  18        The facts are that this is the gate that
  19 lets law-abiding people walk through and stops
  20 criminals from acquiring more guns. What it does is
  21 basically extends to private sales an
  22 ever-increasing share of the gun sale market, the
  23 exact same background check we use at FFLs and
  24 background checks. Same process.
  25        If we fail to close this loophole, we are
  0013
   1 saying that the difference between law-abiding
   2 citizens and criminals isn't worth making and that
   3 we might as well just go ahead and let anybody --
   4 convicted felon, those under court order for being
   5 dangerously mentally ill or not -- go ahead and have
   6 it. Let's go ahead and skip that process.
   7       That renders current law prohibiting
   8 ownership and possession by convicted felons
   9 meaningless because without the background check,
  10 there's no factual way for determine.
                                                                                                    LEG HX 000869                   4784
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
  11       Appellate
            Colorado's Case:
                        process14-1290       Document:
                                 on our background       01019371764
                                                     check                           Date Filed: 01/16/2015           Page: 121
  12 does tap into three additional databases, which
  13 helps increase the accurate detection of people who
  14 are not supposed to have access and makes it more
  15 likely that we do.
  16        The other thing the bill does, besides
  17 being that gatekeeper, is it actually does some
  18 things for gun owners to make sure that the data is
  19 more accurate and more timely, in terms of what is
  20 uploaded and downloaded. Why? Because false
  21 positives and false negatives, either way, are a
  22 problem.
  23        So by having transfer within 48 hours,
  24 this means that we are more likely, with passage of
  25 this bill, to make sure that law-abiding citizens,
  0014
   1 in fact, don't get a false flag to go through, nor
   2 do we fail to capture people convicted of domestic
   3 violence or other felonies, who may have just
   4 recently been convicted yet escaped the background
   5 check.
   6       I've handed out a page that kind of goes
   7 over the exceptions. There is no registration in
   8 this bill. There is no confiscation in this bill.
   9 Everyone can hunt. Everyone can fish. You can loan
  10 it to your family. You can leave it on deployment.
  11 You can have it repaired. You can inherit a weapon.
  12 You can use it at Boy Scouts. I mean, there's a lot
  13 of examples, and you will see for yourself that
  14 those have been explicitly contemplated, plus two
  15 additional catch-all. And I think there has been
  16 some confusion among the exceptions.
  17        In addition to everything that's
  18 explicitly numerated, those other exceptions don't
  19 have any 72-hour limit on them. That's just
  20 temporary. It means something other than that
  21 permanent. Those are exempted.
  22        There is an additional exception for a
  23 72-hour catch-all, as long as you're not giving it
  24 to somebody who's a convicted felon or under court
  25 order for mental health reasons, prohibited from
  0015
   1 having a firearm. That is in case there's some
   2 other scenario that we hadn't contemplated. But the
   3 72 hours doesn't apply to all the exceptions. So
   4 when you go through and you look at that, realize
   5 that that only applies to the one. These are all
   6 ors. Meaning, you don't have to satisfy all of
   7 these. If you satisfy any of these, it's an
   8 exception.
   9       At the end of the day, it's just everybody
  10 who's buying a gun gets a background check. You can
  11 loan it, basically, to whoever you want, as long as
  12 they're not a convicted felon.
                                                                                                    LEG HX 000870                   4785
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  13       Appellate
           And that isCase:
                        the gist14-1290
                                 of what hasDocument:
                                             been done 01019371764                   Date Filed: 01/16/2015           Page: 122
  14 to change the bill while it's there.
  15       I think, at the end of the day, what I
  16 find balanced about this, if I just look at the
  17 public policy, is you don't want a bill that
  18 prevents law-abiding people from having access to
  19 firearms, nor do you want a public policy that fails
  20 to differentiate dangerous and convicted people that
  21 allows them to do it. This bill really actually
  22 just does that. It's the gatekeeper. If you're law
  23 abiding, you go through the gate; if you're not, you
  24 don't.
  25       The real agenda here that I've heard
  0016
   1 questioned is that I'm an Auroran that comes from a
   2 community that has been wracked by senseless and
   3 very painful gun violence. And while we can't get
   4 that to zero, if we fail to do a common-sense
   5 measure, the one thing that the data tells us
   6 actually works to block many, many, many ineligible
   7 criminals from buying and transferring weapons, then
   8 shame on us.
   9       I'm proud to be carrying House Bill 1229.
  10 I'm proud to be here to do something that does that
  11 exact balance of letting law-abiding citizens walk
  12 through that gate and hopefully stops a lot more of
  13 the criminals from getting through and increasing
  14 their access.
  15       I appreciate your time, respect, and
  16 attention, and respectfully ask for an aye vote.
  17       THE CHAIRMAN: Senator Brophy.
  18       SENATOR BROPHY: Thank you, Mr. President,
  19 and good morning to you.
  20       And on a side note, I'd like to mention
  21 that today is the last day that you can buy a
  22 20-ounce Mountain Dew in New York City. And I
  23 think --
  24       THE CHAIRMAN: New York city?
  25       SENATOR BROPHY: I think one of us
  0017
   1 probably hopes that value doesn't work its way to
   2 Colorado soon.
   3       Mr. President, I ask for a no vote on
   4 House Bill 1229. In -- in all of the discussion
   5 that we just heard about 1229, we barely heard a
   6 mention about safety. So I will bring that up.
   7       This bill will do absolutely nothing to
   8 improve the safety of the citizens of Colorado.
   9 Absolutely nothing. Now, you don't have to take my
  10 word for that, you can ask the President.
  11       United States Department of Justice
  12 studied this proposal, universal background checks,
  13 and their discovery was that universal background
  14 checks would do absolutely nothing -- their words,
                                                                                                    LEG HX 000871                   4786
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           Appellate
  15 not mine           Case: 14-1290
                 -- to improve   safety unlessDocument:  01019371764
                                               coupled with                          Date Filed: 01/16/2015           Page: 123
  16 universal registration of firearms, something the
  17 proponents say isn't in this bill and isn't sought
  18 through this bill.
  19       Well, to me that sends a very clear
  20 message. This bill does nothing to improve safety,
  21 and we ought to then spike the bill because the bill
  22 does produce some absurd results.
  23       Under this bill, if one of my life-long
  24 friends decides he's going on a week-long
  25 backpacking trip down the Colorado Trail, for
  0018
   1 instance, and he doesn't have the appropriate
   2 firearm to -- to pack on a backpacking trip and he
   3 wants to borrow one of mine, I can't loan him one of
   4 mine without meeting him somewhere and arranging for
   5 a background check and paying for it, and maybe
   6 waiting up to three days for the check to clear.
   7       Which one of you thinks that isn't an
   8 absurd result? And that's in the bill because the
   9 exemptions that have been steadily added to this
  10 bill every time we point out how foolish the bill
  11 is, only allows a temporary transfer to a friend for
  12 a maximum of 72 hours, and a week-long camping trip
  13 is longer than 72 hours. That's absurd.
  14       And it's an absurdity that doesn't do
  15 anyone any good because it doesn't improve safety,
  16 unless and until you're willing to take the step of
  17 registering all firearms.
  18       Vote no.
  19       THE CHAIRMAN: Senator Baumgardner.
  20       SENATOR BAUMGARDNER: Thank you,
  21 Mr. Sec -- sorry -- Mr. President. Thank you,
  22 Mr. President.
  23       We've heard about citizens of the state of
  24 Colorado that will do things legal, law-abiding
  25 citizens. This bill, if it were to pass, will make
  0019
   1 law-abiding citizens not law-abiding citizens
   2 anymore. That reason being, if a neighbor wants to
   3 sell a firearm or give a firearm to the neighbor,
   4 unless they go and have a background check done at a
   5 federal firearms licensed dealership and wait for
   6 that to come back, that check to come back, that
   7 makes you a criminal.
   8       So is it right that although our
   9 Constitution says that you have the right to have
  10 that firearm, is it right that you can't have it if
  11 you don't pass a background check? Do we here in
  12 the state, if we guarantee that law-abiding citizens
  13 have to have a background check to swap, possess,
  14 buy, and again, law-abiding citizens are going to
  15 adhere to the law, criminals will never adhere to
  16 the law.
                                                                                                    LEG HX 000872                   4787
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  17       Appellate    Case: 14-1290
            And if we honestly               Document:
                                  believe in the State of 01019371764                Date Filed: 01/16/2015           Page: 124
  18 Colorado that if we pass this, this is going to have
  19 any affect, whatsoever, on the criminal element in
  20 this state or any other state in the nation, I think
  21 that we need to come to the reality that this will
  22 have nothing to do with criminals getting their
  23 hands on any firearm they want to get it on.
  24        The other thing, with this universal
  25 background check, and this has been spoken about
  0020
   1 before, what this will do, if every law-abiding
   2 citizen or any private transfers, if they go and
   3 register this firearm, or when they go and register
   4 this firearm, because they are law-abiding citizens,
   5 then there is a record, a national directory, as it
   6 were, of anybody in the state, anybody in the
   7 nation, that possesses a firearm.
   8       Law-abiding citizens, they're going to do
   9 the right thing. They've always done the right
  10 thing. If this bill passes, that mandates that
  11 someone purchases a firearm and then they don't
  12 register it makes them a criminal. Makes them a
  13 criminal.
  14        Is that what we want to do in the United
  15 States, is to pass laws that will make law-abiding
  16 citizens criminals? I think not.
  17        Consider what we're doing here with this
  18 piece of legislation today. We want -- we want
  19 people to do the right thing. People in the state,
  20 people in the country, are afraid. They're scared
  21 that their right, given to them by the Constitution,
  22 is slowly being taken away. Let's not do that.
  23 Let's do what we promised to do when we upheld our
  24 right hands down here and swore an oath to uphold
  25 the Constitution. Let's prove to the people of
  0021
   1 Colorado that our word, my word -- my word means
   2 something.
   3       I would ask for a no vote on House Bill
   4 1229.
   5       THE CHAIRMAN: Senator Harvey.
   6       SENATOR HARVEY: Thank you, Mr. President.
   7       Thank you, members, for the discussion on
   8 this. We have heard why this bill is important. We
   9 have heard the sponsor say that this will stop
  10 private sales of guns to those that should not get
  11 guns. You've heard the arguments say that every
  12 convicted felon can get a gun today because of the
  13 loophole for private sales, but that's not just what
  14 this bill is about. You've heard the polls that say
  15 the public wants to tighten up this loophole
  16 regarding private sales, but that's not what this
  17 bill is about.
  18        This bill is also talking about transfers
                                                                                                    LEG HX 000873                   4788
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           Appellate
  19 between    family Case:   14-1290
                        members.    There is Document:
                                             an exception01019371764
                                                          in                         Date Filed: 01/16/2015           Page: 125
  20 the bill that says if you leave town for 72 hours,
  21 you can loan -- I can loan my wife my .45 so that
  22 she can protect herself. The sponsor of that
  23 amendment said -- when I asked that, I said, okay,
  24 so if it goes more than 72 hours, then what happens?
  25 My wife is going to have to illegally protect
  0022
   1 herself and my two kids?
   2       And the sponsor of the amendment said,
   3 well, that's giving time so that you're wife can go
   4 buy a gun. I'm not joking. So if I go out of town
   5 for a week and I am as poor as my family and I are,
   6 then we can't go buy a gun, then my wife has to
   7 violate the law and defend herself and her kids.
   8       Or the statute says I can give her the
   9 gun, but if I give her the gun, then when I come
  10 back, she has to give it back to me and we have to
  11 do, I believe, the legal paperwork showing that that
  12 gun is in her legal possession because if by chance
  13 she uses that gun when I am out of the house over
  14 that 72-hour period, under the pretense of Make My
  15 Day, will she really be protected under make my day
  16 because she used a gun that she lawfully should not
  17 have had?
  18       So I will write a contract to her and say,
  19 okay, she now owns it the gun legally under this
  20 bill, and I put it in her hands and say you legally
  21 have the right to protect yourself in your house
  22 when I'm gone for more than 72 hours, and if
  23 something happens where she actually does and
  24 utilizes the make-my-day provisions of current
  25 statutes, she can do that legally and not be called
  0023
   1 into question. And then, when I come back, she can
   2 sign the gun back to me. Is that ludicrous? Is
   3 that ludicrous? We're talking about keeping guns
   4 out of the hands of criminals.
   5       Let's talk about out of the hands of
   6 criminals. Those who can't have a gun right now are
   7 felons, additionally persons awaiting a trial on
   8 felony charges who are prohibited from receiving
   9 firearms.
  10       This is all in federal statute, Section
  11 18 -- or -- or Section 18, 922 of the U.S. Code: A
  12 drug user or addict, an alien -- an illegal alien,
  13 is subject to a domestic retraining order, has a
  14 prior conviction of domestic assault, fugitive from
  15 justice, dishonorably charged from the military.
  16       How many of you all are married? How many
  17 of you all know or should have known that your
  18 spouse falls under one of these categories? Do you
  19 all know or should have known that your spouse would
  20 have fallen under one of these categories? Most
                                                                                                    LEG HX 000874                   4789
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  21 likelyAppellate
             you do. Case: 14-1290 Document: 01019371764                             Date Filed: 01/16/2015           Page: 126
  22        And under current federal statute,
  23 knowingly sell, give, or otherwise dispose of any
  24 firearm or ammunition to any person who falls within
  25 one of the above categories shall not have a gun.
  0024
   1       So the paternalistic message that we are
   2 sending to the citizens of the State of Colorado is
   3 we don't think you know whether your spouse falls
   4 under one of these categories, so we are going to
   5 require you to sell your gun to your spouse if
   6 you're going to be gone for 72 hours or your spouse
   7 will have to go do a background check and buy a gun,
   8 which many Coloradoans can't afford to do, or you
   9 are going to be in violation of this law, and if you
  10 are charged under this law for violating this law by
  11 transferring a gun to somebody you already should
  12 know or knowingly know doesn't fall under one of
  13 these categories, you will be charged with a
  14 misdemeanor of up to 18 months in prison.
  15        Most likely that won't happen, but simply
  16 by being charged, you will never, ever, ever be
  17 allowed to own a gun, ever again, as long as you
  18 live. How ridiculous is that?
  19        The sentiment is, well, if you are not a
  20 felon, you should not have to worry about it. You
  21 should not have to worry about this bill. Well, I'm
  22 worried about this bill. Do I want to be charged
  23 with not selling my gun to my wife when I leave town
  24 and somebody breaks in and she uses it and I
  25 violated this law? Are you? Are you -- can you
  0025
   1 honestly say you will -- that raised your hand in
   2 here -- if you leave town for more than 72 hours,
   3 you're going to abide by this law? Honestly,
   4 honestly, can you look me in the eye and say you
   5 will?
   6       I ask for a no vote.
   7       THE CHAIRMAN: Majority Leader Carroll.
   8       MAJORITY LEADER CARROLL: Thank you,
   9 Mr. President.
  10        Members, I want to clear up something
  11 that's really central to what you're hearing. There
  12 is no 72-hour limit on the exception for immediate
  13 family or for self-defense. I know that there have
  14 been amendments, and they may be difficult to go
  15 through. When you go through the list of
  16 exceptions, one of the exceptions is sort of a
  17 catch-all for 72 hours, as long as you're not giving
  18 it to someone who's a convicted felon or otherwise
  19 prohibited. There is no 72-hour exception on
  20 gifting to your family, or using for self-defense,
  21 or for hunting.
  22        Grammar in this case matters. If you read
                                                                                                    LEG HX 000875                   4790
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           Appellate
  23 that to  apply to Case:   14-1290
                       all of the exceptions,Document:
                                              then go on 01019371764                 Date Filed: 01/16/2015           Page: 127
  24 and many of the hypothetical scenarios that carry
  25 out, and you carry that all the way out to a
  0026
   1 different conclusion.
   2       There is no 72-hour limit on the other
   3 exceptions. Therefore, you're not going to be
   4 getting a background check on your wife, you're not
   5 going to be getting a background check when you're
   6 going hunting.
   7       And as a practical matter, for all of --
   8 for everybody who is a law-abiding citizen, and
   9 before you give your firearm to someone else, this
  10 just makes sure that you know, as a responsible gun
  11 owner, that you're not handing it over to somebody
  12 who is actually a convicted felon or otherwise
  13 dangerous. And I would argue you'd be hard-pressed
  14 to find any responsible gun owner who would want to
  15 loan their gun to somebody who is ineligible.
  16        But the most important correction before
  17 we go any further down this debate, the 72 hours is
  18 an addition. It does not apply to the other
  19 exceptions. That doesn't mean you're going to like
  20 the bill, but I do think we need to at least be
  21 accurate about what the bill does.
  22        THE CHAIRMAN: Senator Harvey, for your
  23 second time.
  24        SENATOR HARVEY: Thank you, Mr. President.
  25        And with all due respect, I disagree.
  0027
   1 This semantics of what was just said is talking
   2 about gifting, and I'm not talking about gifting.
   3 I'm talking about if you leave town for more than 72
   4 hours and you want to transfer/loan your gun for
   5 more than 72 hours, that is what the limit is. If
   6 that is not the case, if we're not talking about
   7 transferring of weapons, we're just talking about
   8 the sale of weapons, then let's have a bill that
   9 talks about the sale of weapons.
  10        But what we are sitting here talking with
  11 is saying we are going to outlaw this transfer of
  12 weapons to people that we already know or should
  13 have known is not able to own a gun, or own a gun,
  14 or possess a gun. That is what we are talking about
  15 here. If you want to do a bill on the sale of
  16 firearms, private sales of firearms, let's have that
  17 discussion, but you are having to run around the
  18 semantics of what is a transfer and what is not a
  19 transfer and say, if you do not know or should not
  20 have known, then you have to do a background check.
  21        When you transfer a gun, when you go out
  22 to Senator Brophy's property to do a watermelon
  23 shoot, or when you go on a hunt with a friend, or if
  24 you want to go on a hunt like I did this fall, went
                                                                                                    LEG HX 000876                   4791
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  25 on a Appellate    Case:
            deer hunt with     14-1290
                            a friend's      Document:
                                       deer rifle, I      01019371764                Date Filed: 01/16/2015           Page: 128
  0028
   1 guarantee you my best friend knows or should have
   2 known that I can or cannot carry a weapon, but under
   3 this law, I am the criminal, and my friend is the
   4 criminal.
   5       I should say my best friend is
   6 Representative Chris Holbert. We're both going to
   7 jail.
   8       This is a ridiculous bill. Vote no.
   9       THE CHAIRMAN: Senator Lundberg, for your
  10 second time.
  11        SENATOR LUNDBERG: Thank you,
  12 Mr. President.
  13        Members of the Senate, citizens of
  14 Colorado, I think it's quite obvious from the debate
  15 we've been listening to that this bill is fraught
  16 with -- with details that are difficult for any of
  17 us to -- to capture and comprehend fully, and it
  18 will provide a great deal of fodder for the courts
  19 and trouble for the citizens. That's one problem.
  20        Another problem is it puts additional
  21 costs on the people of Colorado. I recognize
  22 there's another bill that actually places costs on
  23 background checks for the Colorado Bureau of
  24 Investigation, but this bill authorizes the gun
  25 dealer that you go to for the background check to
  0029
   1 process it to charge you another 10 bucks. So
   2 that's another problem.
   3       I want to get to the main point, though,
   4 because, as dysfunctional as this bill is, it's also
   5 just a very bad idea that's offensive to the
   6 freedoms of the people of Colorado.
   7       Mr. President, the Second Amendment was
   8 not written to protect duck hunting. The Second
   9 Amendment was written to protect the citizens of
  10 this country. And in Article II, Section 13 of the
  11 Colorado Constitution, that right for the citizens
  12 of Colorado is spoken of in even more clear terms.
  13 It was written to allow the citizens the protections
  14 that they have as inalienable rights as human
  15 beings, to protect themselves, to protect their
  16 families, to protect their property, to be a part of
  17 the protection of their community when they are
  18 called to do so.
  19        Now, let me bring you back to the bill
  20 itself, on page 3, before we get into all the
  21 confusing exceptions and particulars that I'm not
  22 sure anybody's ever going to fully sort out. But
  23 there's one point that's very clear, and that is
  24 it's not just a background check that you take, but
  25 it's require that a background check be conducted of
  0030
                                                                                                    LEG HX 000877                   4792
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   1 the prospective   Case: 14-1290
                                   and, not or,Document:
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   2 approval of a transfer from the bureau.
   3       Now, where in the Bill of Rights does it
   4 say the government must be consulted for permission
   5 before you exercise your God-given inalienable
   6 rights? But that's what a background check is all
   7 about, is going to the government and saying,
   8 Mother, may I?
   9       The sponsor said we need this for balance.
  10 I submit to you that we have more than enough
  11 balance in this area by the requirement of a
  12 background check when going to a licensed firearms
  13 dealer. Under those circumstances we have tolerated
  14 this compromise of our Second Amendment rights by
  15 requiring a background check for purchase of a
  16 firearm from a licensed dealer. That is the
  17 balance.
  18        House Bill 1229 is throwing the balance
  19 completely to the one side of government control,
  20 and it states it very clearly here in the bill. In
  21 order to even transfer, not just sell but just to
  22 loan for an extended period of time for a great
  23 number of people, you have to ask permission from
  24 the government. Mother, may I?
  25        And a little footnote: If you go through
  0031
   1 that process, the only way you're going to get that
   2 loan (sic) back is if you go through the same
   3 process because it's a new transfer. That's very
   4 clear.
   5       But let me get back to the point. 1229
   6 requires that the citizens of this state go to the
   7 state for permission for approval. And the intent,
   8 if I might speculate in that area, is to capture as
   9 many of those transfers as possibly can be. That's
  10 part of the reason where, no, there's no
  11 registration written into this bill, but if you can
  12 read between the lines and be a good student of
  13 history or just a practical legal scholar, you'll
  14 recognize that you can't enforce this. You can't
  15 really put any teeth to what this is doing, without
  16 knowing whose got what where.
  17        That's called gun registration, or I've
  18 heard a creative alternative that some have
  19 suggested, which I think is equally abhorrent, and
  20 that is: Let's not register the guns, let's just
  21 register the gun owners. Wow. One or the other is
  22 going to be the practical outgrowth of the
  23 application of this bill, if it is -- if it becomes
  24 law, and if those of us, myself included, are not
  25 able to repeal it as soon as we possibly can.
  0032
   1       But again, let me leave you with the
   2 point. 1229 is not a bill of balance. 1229 is a
                                                                                                    LEG HX 000878                   4793
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   3 tightening  of theCase:
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                               of government Document:
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   4 private ownership of firearms for the people of
   5 Colorado. It's squeezing that down so that the only
   6 way you can exercise your right of ownership of
   7 allowing someone else the use of your firearm is to
   8 ask permission from the state. Is that really what
   9 the people of Colorado are expecting from this
  10 legislature?
  11       You know the answer. You've received it
  12 thousands of times over in the last couple of weeks,
  13 in your e-mail box, on your phones, I'm sure in
  14 private conversations. If you attended any of the
  15 committee hearings, you know that to be the case.
  16       The people of Colorado know better. They
  17 should not have to ask permission each and every
  18 time they choose to exercise their right of
  19 ownership by allowing the use of some, you know,
  20 somebody else to use that firearm. That's not
  21 balance. That's full government control. That's
  22 completely inappropriate for the freedoms, for the
  23 liberty, for the principles that our nation and our
  24 state are founded upon, and particularly when it
  25 comes to -- to firearms because it's underscored in
  0033
   1 the Second Amendment. It's underscored in the
   2 Colorado Constitution. It is so crystal clear.
   3       Those acknowledgements of our God-given,
   4 inalienable rights to defend ourselves were not
   5 written for duck hunting. They were written to
   6 protect the citizen, to protect them from any
   7 threat, and those who wrote the Second Amendment had
   8 clear memory of the threat being the very government
   9 that exercised control over them.2they wrote that to
  10 keep the balance in check.
  11       1229 is not balance. 1229 is the heavy
  12 hand of government taking over the lives of its
  13 citizens in defiance of our constitutional rights.
  14       Vote no.
  15       THE CHAIRMAN: Senators Marble, Renfroe,
  16 Scheffel.
  17       Senator Marble.
  18       SENATOR MARBLE: Thank you, Mr. President.
  19       I'm here to express a very, very
  20 resounding no on 1229, and that is coming from every
  21 e-mail I have received over the weekend to please do
  22 not stop our efforts to kill this bill.
  23       When a government infringes on the rights
  24 of law-abiding citizens, criminals are thankful to
  25 those who pass such legislation. In trying to
  0034
   1 curtail criminal activity, this bill does just the
   2 opposite. It has no effect on where criminals
   3 really go to purchase weapons, and that is the black
   4 market.
                                                                                                    LEG HX 000879                   4794
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                     guns       14-1290
                           are stolen        Document:
                                      every year.   This 01019371764                 Date Filed: 01/16/2015           Page: 131
   6 bill does not address that. And this is where the
   7 criminal activity thrives, and this bill encourages
   8 it. No amendment can make a bad bill an acceptable
   9 bill.
  10        Law enforcement, the real professionals,
  11 they are the ones who came forth and said this is
  12 unenforceable.
  13        This is a poorly written bill, and it will
  14 only criminalize law-abiding citizens. And another
  15 way to say that -- and you have to admit, when
  16 criminals find that out, they're going to love you
  17 for passing this bill.
  18        Vote no on 1229 because you cannot
  19 criminalize law-abiding citizens.
  20        THE CHAIRMAN: Senator Renfroe.
  21        SENATOR RENFROE: Thank you,
  22 Mr. President.
  23        I also rise in opposition to this bill.
  24 We heard a lot of testimony on this bill in
  25 committee. We heard a lot of testimony on Friday on
  0035
   1 this bill, but I would like to remind this body
   2 again that there are a lot of people that didn't get
   3 to testify on this bill, and it was a shame, in my
   4 opinion, the process that we went through, the
   5 people that came to this capital and did not have
   6 their voices heard, the sheriffs that came and had
   7 to choose one to speak on their behalf.
   8       That's a sad day when we -- only 62 days
   9 or whatever we are into our session, that we felt it
  10 too unimportant to listen and to let the people have
  11 their voice. And I think that's what this process
  12 had when you look at all the bills together the way
  13 they've went through, the way we've passed bills,
  14 the way this one's come through.
  15        Look at the questions that are even coming
  16 up today on this bill that still have loopholes.
  17 Loopholes. I thought this bill was to fix all the
  18 loopholes. In my opinion this bill creates more
  19 loopholes than the ones that allegedly is trying to
  20 fix.
  21        The one that, honestly, the data that was
  22 used by our President of the United States, the
  23 40 percent data, and that the sponsors used --
  24 didn't use today, but used on Friday -- that data is
  25 incomplete, inaccurate. That statistic comes before
  0036
   1 background checks were even required. So how could
   2 it have been a truthful reason to do this bill?
   3       One of the major concerns I have with this
   4 bill, we could start with the divide to where I
   5 think half the people in the state or the country
   6 would look at these answers or concerns and say,
                                                                                                    LEG HX 000880                   4795
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   7 yeah,Appellate     Case:
             I -- I agree,      14-1290
                           the other         Document:
                                     half probably tunes 01019371764                 Date Filed: 01/16/2015           Page: 132
   8 out and doesn't even hear when we would mention
   9 inalienable rights.
  10        In my opinion, this is what happens. Or
  11 if we mention or constitutional Second Amendment
  12 rights, or if we go and we talk about our Colorado
  13 Constitution in the Article II, Section 13 and what
  14 it says: The right of no person to keep and bear
  15 arms in defense of his home, person, and property,
  16 shall be called into question.
  17        This bill is, what, 30 -- 25 pages long.
  18 How does that fit into that one little sentence? It
  19 doesn't, in my opinion. And you may not listen to
  20 those type of arguments, and that might not -- that
  21 may not be what drives you. Honestly, there are a
  22 lot of people in this world that that does. And for
  23 those reasons alone, that's where they are.
  24        You've heard people get up here today and
  25 talk about Second Amendment rights and that that is
  0037
   1 the reason to do this, and I believe strongly in
   2 those rights, the inalienable rights, and as a
   3 reason to vote no on this bill.
   4       But we could also go back -- and this will
   5 gloss over a few too -- and talk about what did our
   6 founders think? Did they think that our
   7 Constitution should change over time or should it
   8 stay still? Is it a living document as some like to
   9 say? I don't believe it's a living document in the
  10 way a lot of people like to modify it, but I do
  11 think our founders believed that things do change
  12 over time, and there is a way to amend our
  13 Constitution. And that's what our founders said we
  14 should do.
  15        Let me just read briefly out of this
  16 little book on the Second Amendment. It says,
  17 "The founders made it clear that when the meaning and thus
  18 the application of any part Constitution was to be altered,
  19 it was to be at the hands of the people."
  20        I believe that's the people that we didn't
  21 let testify last week.
  22        "Not at the feet of the court or through the
  23 encroachment of the legislative body. For this reason,
  24 Article V was placed in the Constitution to establish the
  25 proper means whereby the people might adjust their
  0038
   1 government."
   2       That's what we're trying to do with this
   3 slew of bills. We're trying to adjust our
   4 government, saying that there's loopholes and
   5 there's problems, but they can't -- we can't
   6 reconcile these problems if you read the language of
   7 our Second Amendment and Article II, Section 13 of
   8 our Constitution. How do you get there? I don't
                                                                                                    LEG HX 000881                   4796
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   9 think Appellate
            you can. ICase:     14-1290
                         don't think  you can.Document: 01019371764                  Date Filed: 01/16/2015           Page: 133
  10 Another problem I have with this bill -- and I have great
  11 concerns about this part of it too -- is on page 5,
  12 sentence -- lines 5 through 8. I want to read this part to
  13 you.
  14        It says, "a person who transfers a firearm in
  15 violation of the provisions of this section may be jointly
  16 and severally liable for the civil damages -- for any civil
  17 damages proximately caused by the transferee's subsequent
  18 use of the firearm."
  19        Okay. So if I violate these provisions --
  20 I've sold many firearms in my life. I've bought
  21 many, and some of them have been through -- with
  22 background checks, many, a majority of them, have
  23 been privately. All the ones that I bought through
  24 a background check and sold, how -- what if that's
  25 used in a crime in the future or somehow used in
  0039
   1 violation of this? How do I protect myself if they
   2 were to trace that gun back to me?
   3       I think this is -- that's the same type of
   4 circular logic of why there was another bill that
   5 didn't go forward. How do I protect myself from
   6 that part right there with -- with what I've done
   7 over the past 10, 15 years? Is that section of the
   8 bill making me a potential criminal for something
   9 that I did years ago? I would love an answer to
  10 that question within this.
  11        Another part of the bill, if we continue
  12 on into the sections that don't apply, and we've had
  13 some discussion about this, the Senator from
  14 Highlands Ranch, I thought, brought up some very,
  15 very valid points that English does matter, and we
  16 need to look at what the language does say.
  17        On line 13 under -- of page 5 -- it talks
  18 about a bona fide gift. So for a family member, I'd
  19 have to give it to them, gift it to them, then they
  20 could do whatever they want with it. Maybe I don't
  21 want to give my high school junior my guns when my
  22 wife and I go out of a town for a conference for my
  23 job. Is that what I'd have to do for them to be
  24 able to protect themselves under this, under that
  25 part? Could they take it out of the home? How does
  0040
   1 that apply within that section?
   2       Or you go down further under -- under Part
   3 D, under Section D of this, or Pren. D, a temporary
   4 transfer. How long is temporary? Is that another
   5 loophole that we're creating within this bill?
   6 Temporary. It says a transfer that is temporary and
   7 occurs while in the home of the unlicensed
   8 transferee. Who is an unlicensed transferee?
   9       I think we talked about that being
  10 language that's nowhere else in our statutes, of the
                                                                                                    LEG HX 000882                   4797
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  11 testimony         Case:
                 we had,  that14-1290
                               came straightDocument:    01019371764
                                              out of Mayor                           Date Filed: 01/16/2015           Page: 134
  12 Bloomberg's bill to Congress.
  13       But that temporary transfer, how long is
  14 temporary? That's not in this part. It's not 72
  15 hours. I don't know. For me temporary might mean a
  16 lot longer than what you think it is, but, of course
  17 it's going to be the -- the police officer or the
  18 sheriff that shows up at the door, or whenever it's
  19 at, that that temporary -- and then the judge.
  20 That's going to be who's going to decide that.
  21       Why -- why are we allowing that? Why are
  22 we passing legislation, if we say it's good
  23 legislation, to allow that within this? And this
  24 transfer has to be within the home.
  25       THE CHAIRMAN: Senator Renfroe, 30
  0041
   1 seconds.
   2       SENATOR RENFROE: Thank you. I would like
   3 to continue, if I may, then?
   4       THE CHAIRMAN: So you're asking for your
   5 second crack too? Is that what you're saying?
   6       SENATOR RENFROE: Yes, please --
   7       THE CHAIRMAN: Okay. Granted.
   8       SENATOR RENFROE: -- Mr. President.
   9       So think of that. The temporary transfer
  10 in the home. So -- so the sponsor says, it's okay,
  11 we -- we've covered it. Your -- your family can
  12 have -- have the gun. I go out of town for a week.
  13 What if she wants to have the gun in the car while
  14 she goes to visit one of the college campuses with
  15 my junior daughter? I don't think she can.
  16       If I'm reading that wrong, please come up
  17 and correct that because -- because that's a concern
  18 that, of the way I look at the bill, I would have.
  19       And then, on top of all of those other
  20 reasons that I just talked about, obviously some
  21 don't care, in my opinion, about the Constitution,
  22 about inalienable rights, but a lot of people care
  23 about safety. I think everybody cares about safety.
  24 And the Senator from Wray I think said it best, this
  25 bill is not about safety.
  0042
   1       The U.S. Department of Justice, the
   2 National Institute of -- of Justice, the arm -- the
   3 research arm, clearly said without gun registration,
   4 checks are unenforceable and do not improve safety.
   5       So what are we doing here? What loopholes
   6 are we trying to fix? Or are we just creating new
   7 loopholes because our English and our words actually
   8 mean things that are creating more loopholes, in my
   9 opinion? More loopholes. That's what this bill is.
  10 This isn't about safety. If it was about safety, I
  11 would look at it.
  12       But since it does even infringe on our
                                                                                                    LEG HX 000883                   4798
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           Appellaterights,
  13 constitutional    Case:in14-1290
                               my opinion,Document:
                                             I think we 01019371764                  Date Filed: 01/16/2015           Page: 135
  14 need to go with what our founders said, and it needs
  15 to be by constitutional amendment to fix it.
  16        For those reasons, I would ask for you to
  17 vote no on this bill.
  18        THE CHAIRMAN: Senator Scheffel.
  19        SENATOR SCHEFFEL: Thank you,
  20 Mr. President.
  21        Colleagues, this bill has been debated
  22 extensively in committee, on the floor. And as I
  23 think about it, I feel confident that our minority
  24 leader talks about this aisle disappearing.
  25        One of the things I feel very confident
  0043
   1 about, where this aisle literally would disappear,
   2 something that we all agree on, for to come to a
   3 vote that would be 35-nothing, and that's that
   4 criminals have deeply hurt our community, our state,
   5 and our nation.
   6       As we debate this here, there are families
   7 out there -- probably some listening, maybe some up
   8 in the gallery -- who even today and forever will
   9 feel unspeakable hurt, as they've had family members
  10 that have been wounded, killed. Their lives were
  11 forever changed by Aurora, Columbine, the shootings
  12 back East. And while those are the big ones that
  13 make the news, there's actually little ones that go
  14 on all the time that affect people and change their
  15 lives forever.
  16        And as we debate this topic, that's
  17 something I know none of us would ever want to lose
  18 sight of, because there is such a tangibly strong
  19 desire, an ache, to do something.
  20        Add to that the pressure that people elect
  21 us to come to this building to do something. We're
  22 expected to, and so bills like this result.
  23        And so I think for all of us there's been
  24 careful and detailed deliberation. I certainly hope
  25 so for myself, and I believe so for my colleagues.
  0044
   1 That is what the public expects of us, that we will
   2 carefully consider these things. And having done
   3 so, and with the template of the deep, deep hurt
   4 that I know exists out there, because nobody would
   5 like to see the things that had happened happen to
   6 society, I'm persuaded that 1229 is not the right
   7 answer for a number of reasons.
   8       As much as I wish it were different, as
   9 much as I wish I could come to a different
  10 conclusion, I am persuaded by the evidence that says
  11 that public safety will not be increased by the
  12 passage of 1229. We so strongly desire for there to
  13 be a nexus, but the evidence indicates otherwise.
  14        And so I'm persuaded that this is not the
                                                                                                    LEG HX 000884                   4799
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
  15 rightAppellate
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                                  -- I -- at theDocument:
                                                 risk of  01019371764                Date Filed: 01/16/2015           Page: 136
  16 sending a false sense of security and indicating a
  17 -- sending a message to the public that, hey, we are
  18 going to do something, it -- it -- it seems clear
  19 that it simply does not.
  20        I believe that our work here is not done.
  21 This may pass. I think the bottom line is there are
  22 areas we need to look at. There's other things we
  23 need to do, and -- and our work is not going to be
  24 finished here.
  25        In fact, with the passage of this, I'm
  0045
   1 concerned, and my colleagues have alluded to it, and
   2 so I -- I -- I will spare the detail, but -- but I
   3 am concerned with the complexity of this bill and
   4 the number of issues that have been raised.
   5       I mean, here we are in third reading,
   6 and -- and there's this -- this ongoing theme and
   7 drum beat of discussion that says, what does this
   8 mean? If I give it to my family, give it my wife,
   9 I'm leaving town. Can I be gone for a week or just
  10 72 hours? Is my wife and kids going to be able to
  11 be protected? Is safety going to be compromised
  12 because of this?
  13        My fear with 1229 is that the only people,
  14 if we're sitting here on third reading trying to
  15 ferret this out and trying to discern the
  16 complexities of it, the criminals are not going to
  17 be doing this. Those are not the folks that are
  18 going to be calling up the hotlines or hiring an
  19 attorney saying, hey, I -- I need to figure out this
  20 bill.
  21        It's the law-abiding citizens that are
  22 going to be doing it. It's going to be the people
  23 in this room. It's going to be our constituency.
  24 It's going to be the law-abiding citizens that are
  25 going to try to figure this out. And based on what
  0046
   1 I've heard, based on the testimony, based on the
   2 discussion, my fear is that they, we, will fail.
   3       And so now we're introducing a whole new
   4 class of criminals, law-abiding citizens, trying
   5 desperately to comply with the complex law and
   6 failing. And we know the road that takes us down,
   7 arbitrary enforcement.
   8       And all of a sudden, we've read about
   9 these in the papers, the purported good guy or gal
  10 who finds themselves on the wrong side because,
  11 oops, they did something, didn't mean to do it.
  12 They left town for that extra day or whatever the
  13 situation is with respect to this law, and they find
  14 themselves on the wrong side of a prosecution --
  15 prosecutorial discretion in a case. And none of us
  16 would wish that on any our colleagues or any of our
                                                                                                    LEG HX 000885                   4800
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
           Appellatethat
  17 constituencies     Case:   14-1290 Document:
                            are law-abiding citizens.    01019371764                 Date Filed: 01/16/2015           Page: 137
  18        The only people that will try to ferret
  19 through this and figure it out are law-abiding
  20 citizens. The criminals will ignore this. They
  21 will not try to abide with this. They will
  22 continue, I believe, in what they do now, which is
  23 obtain weapons by clandestine means, and this will
  24 not deter that. I fear for the chilling effect this
  25 bill will have on law-abiding citizens.
  0047
   1       And finally, for me all things complex
   2 ultimately become simple. Like all of us, in
   3 various forms, we're students of the Constitution.
   4 We've read it; we're familiar with it; it's included
   5 in our curriculum in schools.
   6       I vividly remember the day I walked into
   7 these chambers as a freshman, second row, second
   8 seat over. Sat next to a gentleman senator, who is
   9 no longer here, named Mike Kopp. I'd known Mike by
  10 serving in this body would get to know him in much
  11 more detail. He was sitting in that corner spot and
  12 he leaned over to me, and he handed me this pocket
  13 Constitution. He said, Here, you're going to need
  14 this.
  15        At that time it was all shiny and new. If
  16 you look at it now, before coming up on five years
  17 later, it's pretty tattered. I've marked it up and
  18 highlighted different things. Whenever I see him, I
  19 thank him for giving that to me. It wasn't my first
  20 copy of the Constitution, but it seemed kind of
  21 special that he gave it to me that day.
  22        And we all know, it states in Amendment II
  23 that the right of the people to keep and bear arms
  24 shall not be infringed. I believe 1229 is an
  25 infringement. Fairly simple for me. And,
  0048
   1 therefore, I'm a no vote and would ask you to do the
   2 same.
   3       THE CHAIRMAN: Senator Cadman.
   4       SENATOR CADMAN: Thank you, Mr. President.
   5       I'm trying to remember back 13 years ago
   6 when I was shiny and new here. I was.
   7       So when I first heard this bill coming, I
   8 thought, you know, this is really just an extension
   9 of background checks beyond the current requirement,
  10 beyond federally licensed firearms dealers, and
  11 obviously, since the gun show initiative passed, to
  12 include sales of firearms to each other, but as I
  13 sat through committee and heard the bill presented,
  14 it apparently became significantly greater than had
  15 been purported.
  16        It's more than just sales. This literally
  17 has determined a new requirement for virtually any
  18 type of transfers, any time you hand off a weapon to
                                                                                                    LEG HX 000886                   4801
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
           Appellate
  19 another  person. Case:    14-1290
                         So then  we get thisDocument:
                                              bill that, as 01019371764              Date Filed: 01/16/2015           Page: 138
  20 was mentioned, is fairly lengthy. And why is it so
  21 lengthy? Because it is well beyond what was being
  22 reported initially, to close the private sales
  23 loophole, which even in the fiscal note asserts that
  24 38 percent of all sales in Colorado are private.
  25       I'm still trying to figure out how they
  0049
   1 came up with that number because we couldn't come up
   2 with any number to estimate on another bill why the
   3 drop-off in sales and the effect that it would have
   4 on the departments that use revenues off of those
   5 sales and hunting and fishing. But we have this
   6 number, 38 percent private sales in Colorado,
   7 private sales.
   8       But this bill went so far beyond that that
   9 now we have exemptions. Good. We have
  10 exceptions -- exemptions. What the fiscal note
  11 doesn't supply is the new office that we're going to
  12 need in DORA or the Department of Public Safety, the
  13 new office of exemptions to interpret what we meant
  14 or what we should have included in that.
  15       And I think after we heard the sheriffs
  16 testify against this bill and saying how
  17 unenforceable it was because it's so confusing and
  18 so convoluted, chances are they're just going glean
  19 over those additional pages in the Red Books. We
  20 started getting amendments or exemptions.
  21       Maybe what we should call them are, oops,
  22 how about this? Oops, how about that? My colleague
  23 from Douglas County was accurate to use that word,
  24 oops. That should be our new acronym for
  25 amendments.
  0050
   1       So we talk about the oops exception for an
   2 issue that was brought up in the committee, and I
   3 also believe on the floor, for getting folks trained
   4 in the Scouts. I believe the bill sponsor mentioned
   5 that as well, and I think it was also articulated on
   6 the handout that she provided.
   7       But where's the oops of the oops? What's
   8 not included in there is the transportation of those
   9 weapons. It talks about having the use of those
  10 weapons for Boy Scouts at a facility, but they don't
  11 just show up. Really, as much as some people think
  12 they do, they don't just fall out of the sky into
  13 people's hands, including criminals and law-abiding
  14 citizens.
  15       So how do those weapons get to those
  16 facilities? There is no provision in here for
  17 transportation. None. So as our troop has done
  18 over the years, we collect them from each other.
  19 Somebody's responsible for every one of them, just
  20 like we used to do in the army. When you were in
                                                                                                    LEG HX 000887                   4802
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  21 chargeAppellate
               of all theCase: 14-1290
                          weapons,  that was Document:  01019371764
                                             your job. You                           Date Filed: 01/16/2015           Page: 139
  22 even slept with them.
  23        Colonel, is that accurate?
  24        UNIDENTIFIED SPEAKER: (Inaudible.)
  25        SENATOR CADMAN: Yeah. That means yes to
  0051
   1 all you civilians.
   2       You are in charge of those weapons. They
   3 were never out of your possession, ever, day or
   4 night. Same thing that we do in the Scouts.
   5       Somebody takes charge of those. They
   6 become the arsenal quarter master. You're
   7 responsible for them. And sometimes it's 5, 10, 15,
   8 20 shotguns at a time. It's kind of cool. Some of
   9 these are pretty nice weapons. No provision in here
  10 for transporting weapons to these now exempted,
  11 authorized activities. Oops. Oops.
  12        How about this one? I have some friends
  13 that spend three weeks every year going to Canada.
  14 They're not allowed to take their weapons there.
  15 And so they want to leave them with someone you-all
  16 know. I'm not going to name names, but he has a gun
  17 safe. He takes possession of about half a dozen of
  18 these, puts them in his gun safe, and off they go to
  19 Canada for three weeks.
  20        Under this bill, I believe if that person
  21 that took possession of these, they would have to
  22 get a background check, and I think you have to get
  23 one for each, or maybe you can get two under one.
  24        But half a dozen weapons for a few weeks
  25 means that person's got to get a background check.
  0052
   1 And then, when they come back, they actually would
   2 have to go to a background -- get a background check
   3 to get their own weapons back, unless that person
   4 becomes a weapon's blacksmith or a maintenance
   5 facility as under the new exemption, under the other
   6 oops.
   7       How many more oops have we forgot? How
   8 many more exemptions have we forgotten? How many
   9 more -- because we've already -- now we have just
  10 created two scenarios where multiple people will be
  11 committing a misdemeanor, at least a misdemeanor.
  12 It's only 18 months. It's only 500 or $5,000. A
  13 misdemeanor for an oops. We really should have the
  14 office of unintended consequences to highlight the
  15 oops factor.
  16        I think the sheriffs knew what this meant.
  17 The sheriffs, who are responsible to enforce this,
  18 understood that this was a problem. There's
  19 probably a bigger list than we can go get to. We've
  20 picked up a few. I'm pretty sure we haven't caught
  21 them all.
  22        So what do we have now? We have a
                                                                                                    LEG HX 000888                   4803
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           Appellate
  23 situation   where Case:
                        we don't14-1290     Document:
                                  have enough           01019371764
                                                exemptions. So                       Date Filed: 01/16/2015           Page: 140
  24 now we're going to have innocent, law-abiding people
  25 that are no longer law-abiding people. Though, in
  0053
   1 their minds, they're probably still innocent, though
   2 the law says different. How are we going to get the
   3 word out to them? How are they going to understand
   4 that what they've been doing for 5, 10, 15, 20, 25
   5 years is now a misdemeanor? How do we do that? Is
   6 that fair? It's not. It's not right.
   7       I think the final parting shot of this
   8 bill, which is egregious, is that component of
   9 another bill that we don't have here today, to hold
  10 somebody liable, to hold somebody liable if they use
  11 a weapon illegally.
  12        You know the global problem with this
  13 whole concept is we keep referring to these items,
  14 these weapons, these firearms, and those licensed to
  15 use them. And I know those are the FFL's, and the
  16 rest of us are unlicensed. Licensed for what? What
  17 does that mean? We're talking about items that have
  18 no title. We've referring to an item as if it is a
  19 vehicle.
  20        You can track the sale, the use, the
  21 ownership of a motor vehicle all along its lifetime,
  22 from the first dealer -- get the Carfax -- all the
  23 way to the salvage yard. We have absolutely no way
  24 to ensure title on any of these things. When you
  25 buy one now, you don't get a title to it, you get a
  0054
   1 receipt. You're not required -- I don't want you
   2 guys to think this is an oops for you -- but you're
   3 not required to laminate that receipt and wear it on
   4 a chain around your neck to show I've got title to
   5 this weapon.
   6       They don't exist. They don't exist. Does
   7 anybody have a title to their weapon? Show me the
   8 Gunfax.
   9       THE CHAIRMAN: Senator Cadman, you've got
  10 30 seconds.
  11        SENATOR CADMAN: Unworkable,
  12 unenforceable, convoluted, confusing. Makes our
  13 citizens, our neighbors, our friends criminals
  14 overnight. Bad policy. Bad law. Vote no.
  15        THE CHAIRMAN: Further discussion?
  16        Senator Aguilar.
  17        SENATOR AGUILAR: As you know, I'm pretty
  18 new to politics, and one of the fun new experiences
  19 I've had is that of reading court cases. And -- and
  20 so when I got all these e-mails saying that I was
  21 infringing on people's constitutional rights, I did
  22 some research, and I found that, in fact, the
  23 Supreme Court has stated that, like most rights, the
  24 rights secured by the Second Amendment is not
                                                                                                    LEG HX 000889                   4804
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           Appellate
  25 unlimited.     AndCase:    14-1290
                         so I really reject theDocument:  01019371764
                                                argument that                        Date Filed: 01/16/2015           Page: 141
  0055
   1 I am violating people's constitutional right.
   2       More importantly than that, in 2000,
   3 Colorado passed a ballot measure to close the gun
   4 show loophole, but as you know, since 2000, the use
   5 of the Internet has become a major source of sales
   6 for people. In fact, you don't have to pay state
   7 taxes on the Internet.
   8       So House Bill 1229 is set out to help
   9 close that loophole by letting our law-abiding
  10 citizens, setting a standard for them, of asking
  11 them to please do background checks on people to
  12 whom they sell weapons.
  13       And interestingly enough, a national
  14 survey done by the Department of Justice of inmates
  15 found that nearly 80 percent of those who used a
  16 handgun in a crime acquired it in a private
  17 transfer.
  18       There was an underground investigation
  19 done by people who looked on the Internet to see
  20 where they could find weapons and called people up
  21 and actually met in person five times and were able
  22 to secure five weapons without any questions at all
  23 about their criminal history. And so I think that
  24 this law is important to the safety of our state,
  25 and I'm proud to vote for it today.
  0056
   1       THE CHAIRMAN: Further discussion?
   2       Senator Brophy, for your second crack.
   3       SENATOR BROPHY: Thank you, Mr. President.
   4       And I'm aware that this is my second time
   5 at the microphone, so I'll cover a lot fairly
   6 quickly. Listen fast.
   7       First, with regard to Internet sales. No
   8 secret, I'm a gunny and so I look at stuff on the
   9 Internet a lot, and here's how it works. You can
  10 buy a firearm on GunBroker.com if you want, but any
  11 time the firearm is shipped through any of the
  12 services, postal service, FedEx, whatever it is, it
  13 has to ship from an FFL to an FFL.
  14       So if you purchase a gun from someone on
  15 GunBroker.com, if you're a private individual
  16 selling it, you have to -- once the -- once the bid
  17 is set -- it's like eBay, only it's eBay for cool
  18 stuff like guns -- you -- you cut the deal, the
  19 money comes in, you take the firearm to a licensed
  20 dealer, and the licensed dealer ships it to another
  21 licensed dealer, and the person who purchased it
  22 goes to that licensed dealer, does a background
  23 check, picks the gun up. This bill doesn't cover
  24 that. It's already covered.
  25       I think it's important again to let me
  0057
                                                                                                    LEG HX 000890                   4805
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            Appellate
   1 reiterate that the Case:  14-1290
                        bill does absolutelyDocument:
                                             nothing to 01019371764                  Date Filed: 01/16/2015           Page: 142
   2 improve the safety of the citizens of the State of
   3 Colorado, so says the Department of Justice and
   4 their study, unless, of course, you want to go ahead
   5 and go all the way in, go all in, shove them all in,
   6 and say we're going to do full-on registration of
   7 all firearms. Then this bill would actually reduce
   8 the amount of guns that go into the hands of
   9 criminals, but only that way, and not by very much,
  10 because we still have the problem of theft and straw
  11 purchases.
  12        And speaking of straw purchases, when we
  13 talk about opportunities to close the aisle down
  14 here, if you wanted to work on -- and I offered this
  15 to the Governor on January 17th, I believe, Monday
  16 morning when I met with him -- if you want to work
  17 on closing the -- the straw purchase loophole in
  18 that know or should-have-known standard, we could
  19 work on that together. That actually makes some
  20 sense, but this bill doesn't do that either.
  21        And then, finally, I want to talk about
  22 the constitutionality of the bill. And I -- and
  23 I've said this, you know, publicly before. I -- I
  24 think arguing constitutionality in this room is --
  25 is somewhat like Evangelicals and Buddhists arguing
  0058
   1 matters of faith. It's just not very productive.
   2       The arguments for constitutionality should
   3 be held in the courtroom in front of a judge. But I
   4 want to establish something for future arguments in
   5 the courtrooms, and that is this: That this bill
   6 sets up opportunity for law enforcement officers to
   7 question whether or not you can legally possess a
   8 firearm that you have. It sets up a scenario where
   9 they can call into question your right to possess a
  10 firearm because it gives them the opportunity to ask
  11 you if you have received a background check on that
  12 firearm.
  13        Okay. So for the courts, and for the
  14 record, I have a problem with that.
  15        Now, let's deal with the absurdity. More
  16 stories of absurdity that you get from this bill.
  17 This bill has nine exceptions to the rule where you
  18 have to have a background check for a transfer, any
  19 transfer. One of those, of course, is a -- related
  20 to an antique firearm that the fed's defined.
  21 That's fine.
  22        Another one of those transfers is for a
  23 bona fide gift between family members, and that's
  24 been expanded since we've been pointing out the
  25 absurdities of this to include more people than it
  0059
   1 had when it originally came out of the house, but
   2 that's a bona fide gift. That means you are
                                                                                                    LEG HX 000891                   4806
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
           Appellate
   3 relinquishing        Case:
                      title      14-1290
                            of that firearm to Document:
                                               somebody 01019371764                  Date Filed: 01/16/2015           Page: 143
   4 else. It's theirs. There's no guarantee that
   5 they're going to give it back.
   6       It's like Toy Story, if you can imagine.
   7 That's whether the new owner gets to scratch your
   8 name off the bottom of the firearm and write their
   9 name. It's theirs. Scratch Andy off and write
  10 Greg. It's mine now. He gave it to me. That's one
  11 of the exceptions.
  12        Another one is through a will. So if
  13 you -- if you pass away, you can give your guns to
  14 just about anybody, and you won't have to go to
  15 prison for that. That's mighty fortunate.
  16        Temporary transfer that occurs while in
  17 the home of the unlicensed transferee. Now, this is
  18 the part about self-protection. So if you want to
  19 loan a firearm to somebody so that they can protect
  20 themselves, you can do that, and there is no
  21 limitation on that. Okay? As long as they stay in
  22 their home, but they can't come over to your house
  23 and borrow it from you to take back to their house
  24 for their own self-protection, because the law is
  25 very specific, you have to do it in the home of the
  0060
   1 unlicensed transferee.
   2       Another one of the great exceptions to
   3 this -- and this one's fairly lengthy and this goes
   4 to hunting, et cetera, target shooting. Those
   5 exceptions are only good while you're in the field.
   6 So my example of loaning a firearm to a friend of
   7 mine from my home, who is going to take it on a long
   8 hunting trip, isn't covered. We have to arrange for
   9 a background check.
  10        Now, I -- I've been in this body for about
  11 ten years -- a little over that. And I know that
  12 the laws that show up in those Red Books aren't what
  13 you think these bills say, it's what these bills
  14 actually say. And this bill says I cannot loan a
  15 firearm to a long-time friend of mine for him to
  16 take it hunting if he's going to be gone for more
  17 than 72 hours, period.
  18        The only way it can go longer than 72
  19 hours is if I go with him on the hunting trip, then
  20 it's unlimited as to the amount of time. I can loan
  21 it to someone, as long as I'm with them, for almost
  22 any instance. That's G. And then you get to the
  23 72-hour one, and it's clear, 72 hours. Once you
  24 exceed 72 hours, you have a problem.
  25        So then it brings up another absurdity.
  0061
   1 This bill very well could criminalize legislative
   2 spouses. Those of us who don't live in the Denver
   3 metro area leave home on Monday morning and come up
   4 here and leave our firearms in possession of our
                                                                                                    LEG HX 000892                   4807
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
   5 familyAppellate
              members Case:
                        back at14-1290
                                 home. Can'tDocument:    01019371764
                                               bring a bunch of                      Date Filed: 01/16/2015           Page: 144
   6 them up here with me because Denver bans some of
   7 them that I own.
   8       And under the two types of exemptions that
   9 cover that, the one for -- unless it's a bona fide
  10 gift -- if I want to gift them every week when I
  11 leave and trust that they will gift them back to me
  12 when I get home so I can use them over the weekend,
  13 we could do that. The other one is the self-defense
  14 in the home. So as long as Mrs. Brophy only uses
  15 the firearms in the home, she's covered. We
  16 haven't, either one of us, broken the law.
  17        But what happens if on Thursday, I've been
  18 gone for 72 hours and my dad, who lives at the farm
  19 still, calls her up and says, Hey, we have a
  20 rattlesnake out here bothering the livestock and I
  21 can't get ahold of Greg's sister. Can you bring a
  22 shotgun out and dispatch this rattlesnake to protect
  23 our livestock? If she does that on Thursday, that's
  24 an illegal transfer because we're outside the
  25 72-hour period.
  0062
   1       There are nine exemptions in this bill.
   2 They keep getting added when we point out how absurd
   3 this is, but we don't have them all covered yet.
   4       Again, we could have tightened up the
   5 biggest problem that we have, which is straw
   6 purchases, but instead we go down this path that
   7 results in utter absurdities in the day-to-day lives
   8 of law-abiding Coloradoans.
   9       Vote no.
  10        THE CHAIRMAN: Senator Aguilar, for your
  11 second crack.
  12        SENATOR AGUILAR: Thank you,
  13 Mr. President.
  14        I want to clarify the Internet sales to
  15 which I referred took place in person, and I've
  16 purchased things from Craigslist, where I just went
  17 to somebody's home and we traded goods.
  18        And, secondly, I want to read the language
  19 here because it says a temporary transfer of
  20 possession without transfer of ownership or title to
  21 ownership, which transfer takes place -- this is
  22 page 6, if you go down to line 9 -- while hunting,
  23 fishing, target shooting, or trapping, if this is
  24 occurring where it's legal and where and as long as
  25 the unlicensed transferee holds a license or permit
  0063
   1 for hunting, fishing, target shooting or trapping.
   2 There is no referral to a 72-hour limit. So Senator
   3 Brophy's friend can take his gun on his trip.
   4       THE CHAIRMAN: Further discussion?
   5       Seeing none, the motion before the body is
   6 the adoption of House Bill 1229. A roll call --
                                                                                                    LEG HX 000893                   4808
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
   7 okay,Appellate    Case:
            sorry. Senator    14-1290
                            Lambert    wouldDocument:     01019371764
                                              like to speak.                         Date Filed: 01/16/2015           Page: 145
   8       Senator Lambert.
   9       SENATOR LAMBERT: Thank you,
  10 Mr. President. Sorry for my --
  11       THE CHAIRMAN: Hitch in your get-along?
  12       SENATOR LAMBERT: -- hitch in my get-along
  13 here.
  14       I'm -- I'm really confused now. I guess I
  15 am one of those legislators that Senator Brophy just
  16 talked about. We had our last election on
  17 November 6th. I moved into my apartment on
  18 November 8th, and I promptly went to the airport,
  19 left for about three weeks to go to my mother's
  20 funeral, came back right after Thanksgiving. And
  21 I -- I didn't go home during the week.
  22       And this weekend was the last -- a good
  23 example of why. I couldn't get up my hill because
  24 it was too icy. Plus it is difficult for me to load
  25 my car. My wife's been sick for about three weeks.
  0064
   1 So, you know, I'm -- I'm not sure if this is a
   2 temporary transfer, if so, is it limited by 72
   3 hours? Then I guess that's a new misdemeanor every
   4 week for my wife. If it's a gift, then do I have to
   5 pay the IRS every year for every week that I
   6 transfer my weapon, all my weapons to my wife, that
   7 total cost?
   8       And then she has to transfer those all
   9 back to me? Is that taxable? This is just raising
  10 a lot more questions than we've heard answers to.
  11       And I'm just an example of that. There
  12 are other people who have to do their business out
  13 of state, who have to do their business coming back
  14 and forth to different parts of our state. Even our
  15 state employees sometimes go out for days at a time.
  16 And it just creates a -- a dilemma, a legal dilemma,
  17 of how to interpret this, that we -- we just don't
  18 need in law.
  19       Now, I -- I said one time some of these
  20 bills were a matter of trust. I trust my wife to do
  21 the right thing. We were both diplomats overseas.
  22 We were both trained by the State Department to
  23 defend ourselves.
  24       My wife actually thought it was really fun
  25 going out to the shooting range with the Foreign
  0065
   1 Protective Service in Washington, D.C., and shooting
   2 the kinds of weapons that we might have to have to
   3 defend ourselves in overseas environment, all the
   4 inventory of our marine security guards at U.S.
   5 embassies, including things like Uzis. She thought
   6 that was particularly fun to shoot.
   7       And yet what's the impact here on people
   8 who are trained with firearms on our veterans, on
                                                                                                    LEG HX 000894                   4809
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
   9 other Appellate
            people goingCase:   14-1290
                            overseas,       Document: 01019371764
                                      over unforeseen                                Date Filed: 01/16/2015           Page: 146
  10 circumstances?
  11        I didn't know it was going to be snowing
  12 this week. It wouldn't have made any difference,
  13 because I was here longer than 72 hours anyway. But
  14 it just puts more complications into the law. What
  15 do I have to do? Every Monday go down and do a
  16 background check? If my wife's out of town, do I
  17 have to leave them with somebody else and check
  18 them? You know, I may have to ask for -- to be
  19 excused every Monday so I can go down to some gun
  20 shop because they're probably not open on Sunday.
  21        Maybe -- you know, maybe I could do it
  22 every Saturday in advance of coming up to the
  23 capital every Monday, and then maybe get off early
  24 on every Friday so I can go back and get my guns
  25 back so that I can go back and on Saturday
  0066
   1 retransfer them to somebody else.
   2       It just -- there's so many scenarios we
   3 just don't know about in this bill. And I think
   4 people of Colorado are listening. They're having
   5 the same questions. How do we do this? How do we
   6 enforce this? Why would anybody want to enforce
   7 this?
   8       So I'd ask for a no vote on House Bill
   9 1229.
  10        THE CHAIRMAN: Further discussion?
  11        Seeing none, the motion before the body is
  12 the adoption of House Bill 1229. A roll call has
  13 been requested.
  14        Mr. Majors, would you please poll the
  15 Senators?
  16        MR. MAJORS: Aguilar?
  17        SENATOR AGUILAR: Aye.
  18        MR. MAJORS: Aguilar, aye.
  19        Balmer?
  20        SENATOR BALMER: No.
  21        MR. MAJORS: Balmer, no.
  22        Baumgardner?
  23        SENATOR BAUMGARDNER: No.
  24        MR. MAJORS: Baumgardner, no.
  25        Brophy?
  0067
   1       SENATOR BROPHY: No.
   2       MR. MAJORS: Brophy, no.
   3       Cadman?
   4       SENATOR CADMAN: No.
   5       MR. MAJORS: Cadman, no.
   6       Carroll?
   7       MAJORITY LEADER CARROLL: Aye.
   8       MR. MAJORS: Carroll, aye.
   9       Crowder?
  10        SENATOR CROWDER: No.
                                                                                                    LEG HX 000895                   4810
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  11         Appellate Case:Crowder,
             MR. MAJORS:     14-1290no. Document: 01019371764                        Date Filed: 01/16/2015           Page: 147
  12         Giron?
  13         SENATOR GIRON: Aye.
  14         MR. MAJORS: Giron, aye.
  15         Grantham?
  16         SENATOR GRANTHAM: No.
  17         MR. MAJORS: Grantham, no.
  18         Guzman?
  19         SENATOR GUZMAN: Aye.
  20         MR. MAJORS: Guzman, aye.
  21         Harvey?
  22         SENATOR HARVEY: No.
  23         MR. MAJORS: Harvey, no.
  24         Heath?
  25         SENATOR HEATH: Aye.
  0068
   1        MR. MAJORS: Heath, aye.
   2        Hill?
   3        SENATOR HILL: No.
   4        MR. MAJORS: Hill, no.
   5        Hodge?
   6        SENATOR HODGE: Aye.
   7        MR. MAJORS: Hodge, aye.
   8        Hudak?
   9        SENATOR HUDAK: Aye.
  10        MR. MAJORS: Hudak, aye.
  11        Jahn?
  12        SENATOR JAHN: Aye.
  13        MR. MAJORS: Jahn, aye.
  14        Johnston?
  15        SENATOR JAHNSTON: Aye.
  16        MR. MAJORS: Johnston, aye.
  17        Jones?
  18        SENATOR JONES: Aye.
  19        MR. MAJORS: Jones, aye.
  20        Kefalas?
  21        SENATOR KEFALAS: Aye.
  22        MR. MAJORS: Kefalas, aye.
  23        Kerr?
  24        SENATOR KERR: Aye.
  25        MR. MAJORS: Kerr, aye.
  0069
   1        King?
   2        SENATOR KING: No.
   3        MR. MAJORS: King, no.
   4        Lambert?
   5        SENATOR LAMBERT: No.
   6        MR. MAJORS: Lambert, no.
   7        Lundberg?
   8        SENATOR LUNDBERG: No.
   9        MR. MAJORS: Lundberg, no.
  10        Marble?
  11        SENATOR MARBLE: No.
  12        MR. MAJORS: Marble, no.
                                                                                                    LEG HX 000896                   4811
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
  13      Appellate
           Newell? Case: 14-1290 Document: 01019371764                               Date Filed: 01/16/2015           Page: 148
  14       SENATOR NEWELL: Aye.
  15       MR. MAJORS: Newell, aye.
  16       Nicholson?
  17       SENATOR NICHOLSON: Aye.
  18       MR. MAJORS: Nicholson, aye.
  19       Renfroe?
  20       SENATOR RENFROE: No.
  21       MR. MAJORS: Renfroe, no.
  22       Roberts?
  23       SENATOR ROBERTS: No.
  24       MR. MAJORS: Roberts, no.
  25       Scheffel?
  0070
   1      SENATOR SCHEFFEL: No.
   2      MR. MAJORS: Scheffel, no.
   3      Schwartz?
   4      SENATOR SCHWARTZ: Aye.
   5      MR. MAJORS: Schwartz, aye.
   6      Steadman?
   7      SENATOR STEADMAN: Aye.
   8      MR. MAJORS: Steadman, aye.
   9      Tochtrop?
  10       SENATOR TOCHTROP: No.
  11       MR. MAJORS: Tochtrop, no.
  12       Todd?
  13       SENATOR TODD: Aye.
  14       MR. MAJORS: Todd, aye.
  15       Ulibarri?
  16       SENATOR ULIBARRI: Aye.
  17       MR. MAJORS: Ulibarri, aye.
  18       Mr. President?
  19       THE CHAIRMAN: Aye.
  20       MR. MAJORS: Mr. President, aye.
  21       THE CHAIRMAN: With a vote of 19 ayes, 16
  22 noes, zero absent, zero excused, House Bill 1229 is
  23 adopted.
  24       Cosponsors: Senator Ulibarri, Senator
  25 Aguilar, Senator Kerr, Senator Hudak, Senator Giron,
  0071
   1 Senator Jones, Senator Heath -- sorry, Mr. Majors --
   2 Senator Nicholson, Senator Todd, Senator Steadman,
   3 Senator Guzman, Senator Hodge. Please add the
   4 President. Senator Johnston, Senator Newell.
   5      Majority Leader Carroll.
   6      MAJORITY LEADER CARROLL: Thank you,
   7 Mr. President.
   8      I move that the Senate stand in recess until
   9 1:30, where we'll come back and finish third reading.
  10        (Whereupon, the recording was concluded.)
  11
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                                                                                                    LEG HX 000897                   4812
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031113.txt[11/12/2013 10:57:54 AM]
  15       Appellate Case: 14-1290 Document: 01019371764                             Date Filed: 01/16/2015           Page: 149
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  0072
   1                CERTIFICATE
   2 STATE OF COLORADO                     )
   3 CITY AND COUNTY OF DENVER                    ) ss.
   4
   5         I, Elissa Steen, Registered Professional
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
  10 the speakers in this transcript were identified by me to
  11 the best of my ability and according to the introductions
  12 made and written materials provided; that the foregoing is
  13 a true transcript of the proceedings had; that I am not
  14 attorney, nor counsel, nor in any way connected with any
  15 attorney or counsel for any of the parties to said action
  16 or otherwise interested in its event.
  17          IN WITNESS WHEREOF, I have hereunto affixed
  18 my hand and notarial seal this 21st day of June, 2013.
  19
  20
  21
                     ________________________________
  22                  Registered Professional Reporter
                               and
  23                          Notary Public
  24
  25




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           Appellate Case: 14-1290 Document: 01019371764 Date Filed: 01/16/2015                                       Page: 150
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Held on March 13, 2013
   5 HOUSE BILL 13-1229
   6 __________________________________________________________
   7               REPORTER'S TRANSCRIPT
     __________________________________________________________
   8
   9       This transcript was taken from an audio
  10 recording by Elissa Steen, Registered Professional
  11 Reporter and Notary Public.
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  0002
   1               PROCEEDINGS
   2             * * *         * *
   3        UNIDENTIFIED SPEAKER: -- buys guns for
   4 the use at that range, does everybody that has an
   5 interest in that shooting, in -- in -- in that
   6 shooting club or range, do they have to go through
   7 a background check? Do they have to pay for a
   8 background check for everybody that goes through
   9 that, if it's a 200-, 300-member -- help -- help me
  10 understand this. I don't understand exactly what
  11 that says.
  12         Is that what that means?
  13         MR. SPEAKER: Representative McCann.
  14         REPRESENTATIVE MCCANN: Thank you,
  15 Mr. Speaker.
  16         This section is designed to prevent
  17 people setting up corporations to purchase firearms
  18 rather than having them purchased by individuals.
  19 So if a corporation is buying guns, yes, the
  20 members of the corporation have to go through a
  21 background check.
  22         MR. SPEAKER: Representative Sonnenberg.
  23         REPRESENTATIVE SONNENBERG: -- only
  24 two --
  25         MR. SPEAKER: Yes.

                                                                                                    LEG HX 000899                   4814
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  0003     Appellate Case: 14-1290 Document: 01019371764                             Date Filed: 01/16/2015           Page: 151
   1        REPRESENTATIVE SONNENBERG: Okay. Thank
   2 you, Mr. Speaker.
   3        And I guess this will be the last time
   4 I'm -- I talk on this by rule.
   5        So the example would be that my family
   6 corporation that I'm in with my parents, my
   7 siblings, and our children, in order for them to
   8 continue to collect guns or artifacts that are
   9 guns, every one of those members, we would have to
  10 pay for a background check, even though we already
  11 are a corporation, we already do these type of
  12 things.
  13        If I understand this correctly, then,
  14 every single one, every time we buy a gun, we have
  15 to go through 23 background checks. The way -- the
  16 way I understand this, the way it reads, on line
  17 22, each member, partner, officer, or other person,
  18 that's what I'm trying to understand. If each
  19 person, part of that corporation has to go through
  20 a background check, that means 23 or 24 different
  21 background checks for that -- for my family farm
  22 corporation to buy a gun.
  23        I'd ask for a no vote on concurrence.
  24        MR. SPEAKER: Any further discussion?
  25        Representative Gerou.
  0004
   1        REPRESENTATIVE GEROU: Thank you,
   2 Mr. Chair.
   3        And I -- I just have another question for
   4 the bill sponsors. Those of you that are
   5 familiar -- familiar with different state laws know
   6 that in California, most -- most couples set up a
   7 trust that they don't -- even their bank accounts
   8 are in -- in a trust, they don't hold anything
   9 personally just because of the laws of the state.
  10        So, Representative McCann, if you could
  11 tell me, if -- if I have -- and I have a family
  12 trust that I set up for my children so if I get hit
  13 by the bus, they don't have to worry about
  14 transferring things that I have inherited, and
  15 this -- they're not guns, but other things that
  16 I've inherited that they -- they automatically --
  17 it's one transfer.
  18        So the family trust, if I -- if I have a
  19 family trust that holds guns, if that's part of
  20 what is named in the family trust, then my family
  21 members will have to go through the background
  22 check because it's -- it's actually held in the
  23 trust?
  24        I'll wait until you're done talking. I
  25 would be curious because that one -- that's going
  0005
   1 to be problematic for a lot of families that --
                                                                                                    LEG HX 000900                   4815
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031313.txt[11/12/2013 10:57:56 AM]
   2 well, Appellate   Case: 14-1290 Document: 01019371764
           she's not listening.                                                      Date Filed: 01/16/2015           Page: 152
   3       MR. SPEAKER: Representative Gerou,
   4 actually Representative McCann can't speak again on
   5 this motion --
   6       REPRESENTATIVE GEROU: Okay.
   7       MR. SPEAKER: -- under the rules, so --
   8       REPRESENTATIVE GEROU: Oh, thank you,
   9 Mr. Chair -- or Mr. Speaker. I apologize.
  10        Well, then, it sounds to me like this
  11 isn't quite solved yet. And I'll support the
  12 Minority Leader's suggestion that we vote for this.
  13 But it sounds to me like we may have opened
  14 Pandora's box with this. This is going to be very
  15 problematic.
  16        MR. SPEAKER: Representative McNulty.
  17        REPRESENTATIVE MCNULTY: Thank you,
  18 Mr. Speaker.
  19        I think with Representative Gerou and
  20 Representative Sonnenberg having the same
  21 questions, I understand while Representative McCann
  22 is limited by the rules from answering those
  23 questions, Representative Fields is the maker of
  24 the motion and can speak to this issue as often as
  25 she likes. And I -- I hope that -- that these
  0006
   1 questions can be answered, and perhaps they'll be
   2 answered in a way that provides clarity to the
   3 Republican members who have questions.
   4       This is -- these are Senate amendments.
   5 This is new to us, new information to us. And so
   6 making sure that the House is comfortable with what
   7 the Senate did is an appropriate use of this time,
   8 Mr. Speaker.
   9       MR. SPEAKER: I agree, Representative
  10 McNulty.
  11        Representative Fields.
  12        REPRESENTATIVE FIELDS: Thank you,
  13 Mr. Speaker.
  14        And as we look at page 3 in the bill, if
  15 you are a corporation, you will be required to do a
  16 background check.
  17        MR. SPEAKER: Any further discussion?
  18        Representative Holbert.
  19        REPRESENTATIVE HOLBERT: Members, I'm
  20 inclined to vote yes on concurrence.
  21        Representative Sonnenberg has brought up
  22 an issue that I had not considered, and I think
  23 it's another opportunity for us to -- though this
  24 side of the aisle would clearly be in the minority
  25 -- to form a conference committee and resolve this
  0007
   1 issue, the idea of 20-some background checks for a
   2 club, is that what you intend?
   3       And if it isn't, is there any harm in
                                                                                                    LEG HX 000901                   4816
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031313.txt[11/12/2013 10:57:56 AM]
           Appellate
   4 stepping  back andCase:  14-1290
                          saying,           Document:
                                  wait a minute, maybe 01019371764
                                                        we                           Date Filed: 01/16/2015           Page: 153
   5 can -- maybe we can fix this before we -- we just
   6 pile onto the people of Colorado with these
   7 unnecessary requirements? Is that really what you
   8 intended? And if it is, I -- I -- I can't
   9 understand why you would do that kind of -- put
  10 that kind of a requirement on Representative
  11 Sonnenberg's constituents. Why would we do that?
  12        Now, I understand there is a reluctance
  13 to call a conference committee to form that and go
  14 beyond the scope and fix these issues, but that is
  15 something I think that the minority, we could
  16 certainly support and say wait a minute, even if
  17 we're not going to support this bill, don't be so
  18 heavy-handed with the people of Colorado. Please
  19 be thoughtful. Please take a moment and reconsider
  20 that.
  21        MR. SPEAKER: Any further -- any further
  22 discussion?
  23        Representative Dore.
  24        REPRESENTATIVE DORE: Thank you,
  25 Mr. Speaker.
  0008
   1       I have many concerns about this
   2 legislation. But now hearing the fact that a gun
   3 club, a shooting club, of which there are many in
   4 my district, and they serve members outside of my
   5 district as well -- many will come from Denver down
   6 to Elbert County, for instance -- that they would
   7 have to because the club buys a gun that they want
   8 others to try and use that they would not buy on
   9 their own, would have to go through background
  10 checks, I think goes far beyond what we're trying
  11 to do here.
  12        I mean, these are individuals who are
  13 doing it for the sport. They're highly trained, if
  14 you will, because they've been shooting for so
  15 long. And this is not the individuals that we're
  16 worried about. And then having to go through a
  17 secondary hoop, which I think will -- will not only
  18 hurt individual's ability to have an opportunity to
  19 shoot guns, but it will really hurt these clubs to
  20 stay in existence. And I know that's not the
  21 intent of the legislation, to put clubs out of
  22 business as well.
  23        So I would ask for some clarity or some
  24 hope that we could get to a point to where we can
  25 get this part cured in the legislation.
  0009
   1       MR. SPEAKER: Mr. Assistant Majority
   2 Leader.
   3       ASSISTANT MAJORITY LEADER PABON: Thank
   4 you, Mr. Speaker.
   5       And this argument is a red herring. The
                                                                                                    LEG HX 000902                   4817
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031313.txt[11/12/2013 10:57:56 AM]
   6 intentAppellate    Case: 14-1290
             of this amendment              Document:
                                 has to do with  the    01019371764                  Date Filed: 01/16/2015           Page: 154
   7 recognition that the State of Colorado has, and
   8 frankly, the United States of America has, that of
   9 corporate personhood.
  10         And what the fear was, and I think this
  11 is a just and -- and correct fear, is that an
  12 entity, to get around the sale of these weapons
  13 without a background check, would be set up a
  14 corporate entity, and that would be the transferor
  15 involved in these transfers. That is why you need
  16 this protection to guard against this corporate
  17 loophole. Because as jurisprudence and as we well
  18 know, a corporate entity is treated as a person for
  19 a lot of elements of the law, including this one.
  20        So this doesn't deal with the gun clubs.
  21 This isn't saying that those entities that are not
  22 corporate entities or that they're corporate
  23 entities and there's members of those corporate
  24 entities, which is a term of art, they will not
  25 have to engage in these background checks, but it's
  0010
   1 for the purpose of preventing the straw purchase.
   2 The strawman is what we generally call it, but in
   3 this case it would be the straw corporation, to
   4 avoid these background checks.
   5        That's the intention of the amendment.
   6        And with that, I ask for a no vote on
   7 going to conference committee and a yes vote on
   8 concurrence.
   9        MR. SPEAKER: Representative McNulty.
  10         REPRESENTATIVE MCNULTY: Thank you,
  11 Mr. Speaker.
  12         And, Representative Pabon, you can just
  13 stand down a little bit. This isn't a red herring.
  14 These are sincere questions that are being brought
  15 from members of our side of the aisle who have
  16 these particular circumstances that I understand
  17 may not be familiar to everybody in the chamber,
  18 and that -- myself included.
  19         Rural Colorado is different than Denver,
  20 and for those members who represent the eastern
  21 plains, that's different from the western slope.
  22 And so these are sincere questions based upon
  23 fact-specific situations that we want to make sure
  24 are either addressed with these Senate amendments
  25 or aren't obstructed by the Senate amendments.
  0011
   1        I suspect that the vote on the final bill
   2 isn't going to be the same, but we're not
   3 discussing the bill, we're discussing Senate
   4 amendments. And so having clarity on what these
   5 Senate amendments do is important.
   6        And it's also important to recognize that
   7 you and Representative Fields have given two
                                                                                                    LEG HX 000903                   4818
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031313.txt[11/12/2013 10:57:56 AM]
           Appellate
   8 different         Case:
                answers.      14-1290 Fields
                          Representative   Document:    01019371764
                                                  answered                           Date Filed: 01/16/2015           Page: 155
   9 Representative Sonnenberg's question in the
  10 affirmative, that he would have to have background
  11 checks for everybody and that the same would apply
  12 when Representative Dore came up to the situation
  13 that his constituents face. And then, you --
  14 you -- you come to us and give us a different
  15 answer.
  16        So there is clearly a need for not only
  17 clarity on our side of the aisle, but some level of
  18 clarity from -- from the bill's proponents. And I
  19 understand that we're in a situation here where we
  20 are limited in the -- in the types of debate and
  21 the times that we can speak, so it makes it more
  22 difficult. But having conflicting information from
  23 the bill's proponents does -- I think does lend us
  24 to a situation where we may not know what the
  25 Senate amendments do and how these Senate
  0012
   1 amendments apply to these specific situations that
   2 some of our state representatives -- the
   3 constituents of some of our state representatives
   4 face.
   5       MR. SPEAKER: Representative Scott.
   6       REPRESENTATIVE SCOTT: Thank you,
   7 Mr. Speaker.
   8       As you all know, I come from western
   9 Colorado, where it's been well publicized that guns
  10 are a way of life, and I think we all understand
  11 that better than most on the eastern slope.
  12        One of the questions that we also have
  13 for the sponsors, we, in western Colorado, have a
  14 lot of tournament-type shooting events, where
  15 people from other states, other regions, other
  16 countries, actually come to these shooting
  17 tournaments to shoot either sporting clays or to
  18 shoot in target-shooting events.
  19         The question being: Will all of these
  20 individuals that fly in from, let's just say
  21 France, for an example, for a shooting tournament,
  22 have to pass a background check prior to being able
  23 to participate in this tournament?
  24        We're not seeing that in the language of
  25 the bill. And again, I think it's something that
  0013
   1 we should sit down and discuss before we make a
   2 mistake and have to redo something or end up in
   3 court with something that we shouldn't have done in
   4 the first place.
   5       Thank you.
   6       MR. SPEAKER: Representative Fields, do
   7 you want to address this point?
   8       REPRESENTATIVE FIELDS: Thank you,
   9 Mr. Speaker.
                                                                                                    LEG HX 000904                   4819
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  10        Appellate
             And the --Case:
                         the bill14-1290
                                  does allow Document:
                                             for a -- a 01019371764                  Date Filed: 01/16/2015           Page: 156
  11 transfer for the scenario that you just described.
  12 If you look at the amendments made by the Senate,
  13 it does allow for that transfer to take place.
  14         MR. SPEAKER: Representative Landgraf.
  15         REPRESENTATIVE LANDGRAF: Thank you,
  16 Mr. Speaker.
  17         I have a question I'm trying to get
  18 answered for a constituent who owns a pawnshop.
  19 It's a legitimate question. His concern is: He
  20 takes in guns, and he gives those guns back to
  21 people who have pawned them, and he also sells
  22 guns. So his concern is that when the gun comes
  23 in, does he have to have a background check? When
  24 it goes back to the owner, does the owner have to
  25 have a background check?
  0014
   1        The purchaser would have to have a
   2 background check, but I'm trying to figure out
   3 about the owner who pawned the gun. Do they have
   4 to then have a background check? And I'm just
   5 wondering if somebody who can speak on that could
   6 give me an answer? And I'm -- I'm guessing he
   7 doesn't need one when he takes it in because he's
   8 covered under whatever rules apply.
   9        MR. SPEAKER: Representative Fields.
  10         REPRESENTATIVE FIELDS: Thank you,
  11 Mr. Speaker.
  12         And if you look in the bill, on page 7
  13 the Senate did make some amendments. And it says
  14 here that an owner, manager, or an employee of a
  15 business that repairs or maintains a firearm may
  16 transfer that firearm.
  17         MR. SPEAKER: Representative Coram.
  18         REPRESENTATIVE CORAM: Thank you,
  19 Mr. Speaker.
  20         I will not speak on what happens in -- in
  21 the metro Denver, I-25 corridor, or the eastern
  22 plains, but I can assure you that in rural, western
  23 Colorado, probably 90 percent of our farms and
  24 ranches are either corporations or LLC's.
  25         And if the LLC were to buy a weapon, and
  0015
   1 there's maybe 25, 30 members of this limited
   2 liability corporation, that weapon is used for
   3 predator control. It doesn't stay in one location.
   4 It -- it goes around with different members of the
   5 LLC. So, therefore, they would have to get a
   6 background check each time that changes; is that
   7 correct?
   8        MR. SPEAKER: Representative Fields.
   9        REPRESENTATIVE FIELDS: Thank you,
  10 Mr. Speaker.
  11         And I think there's -- there may be some
                                                                                                    LEG HX 000905                   4820
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031313.txt[11/12/2013 10:57:56 AM]
           Appellate
  12 confusion         Case:
                  regarding     14-1290 asDocument:
                             corporations      it relates to 01019371764             Date Filed: 01/16/2015           Page: 157
  13 family members, 'cause the bill does have outlines
  14 and exceptions that you can make a transfer to your
  15 immediate family member. But, if you are a
  16 corporation, you will be required to have a
  17 background check. So if you are a family member,
  18 you can make that transfer to your uncle, your
  19 niece, your nephew, your cousin, the mother,
  20 everything that we've already identified as
  21 immediate family member.
  22         MR. SPEAKER: Representative Priola.
  23         REPRESENTATIVE PRIOLA: Thank you,
  24 Mr. Speaker.
  25         Representative Fields, I think
  0016
   1 Representative Coram's question was: If your ranch
   2 is incorporated, your Bar-K ranch, let's say, and
   3 your 20 or 30 ranch hands that patrol the
   4 perimeter, fix a fence so on and so forth, they
   5 don't all work at the same time, but they hop on
   6 the ATV -- yes, I did say ATV -- and they also take
   7 a weapon with them, how does that relate to the
   8 requirements of the background checks?
   9        Do they have to have a one-time
  10 background check as an employee of the entire
  11 corporation or LLC, or do they have to have
  12 background checks, assuming that they will or won't
  13 have it within the 72-hour window?
  14         MR. SPEAKER: Representative Fields.
  15         REPRESENTATIVE FIELDS: Thank you,
  16 Mr. Speaker.
  17         And the bill does already allow for a
  18 temporary transfer for 72 hours. And it's my
  19 understanding that there would only be a one-time
  20 background check if these folks are employed with
  21 this corporation.
  22         MR. SPEAKER: Representative Kagan.
  23         REPRESENTATIVE KAGAN: Thank you.
  24         And I'd just like to add that my
  25 understanding of the bill, Representative Coram, is
  0017
   1 that if the corporation has bought it, the
   2 corporation is the owner, and all the members of
   3 the corporation have to have the background check,
   4 then it is a piece of corporate property, and any
   5 member of the corporation who has had the
   6 background check can pass it between themselves
   7 because it is a piece of corporate property and
   8 there is no transfer taking place, as long as a
   9 member of the corporation themselves has it.
  10         So I think that if the situation that
  11 Representative Coram averted to were to take place,
  12 no, there would not be a need for subsequent
  13 background check every time somebody passed it from
                                                                                                    LEG HX 000906                   4821
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           Appellate
  14 one member      of Case:  14-1290to another,
                        the corporation     Document:
                                                   one 01019371764                   Date Filed: 01/16/2015           Page: 158
  15 farmhand member to another. I -- I think that it's
  16 corporate property at that point.
  17         MR. SPEAKER: Representative Priola.
  18         REPRESENTATIVE PRIOLA: Thank you,
  19 Mr. Speaker.
  20         This also leads to another question
  21 concerning ranch ownership, corporation. Let's
  22 say, for instance, that a member of the family that
  23 lives in Oregon and comes out to the family ranch
  24 every few years or so but really is a silent
  25 partner in the business, would that resident of
  0018
   1 Oregon have to go through a background check as a
   2 member of the corporation, even though they -- him
   3 or her -- may never even actually come in contact
   4 of -- with the weapon?
   5       MR. SPEAKER: The House will stand in a brief
   6 recess.
   7       (A recess was taken at this time.)
   8        MR. SPEAKER: The House will come back to
   9 order.
  10         Madame Majority Leader.
  11         MAJORITY LEADER HULLINGHORST: Thank you,
  12 Mr. Speaker.
  13         I move to lay over House Bill 1229 one
  14 bill.
  15         MR. SPEAKER: Seeing no objection, and
  16 just to be clear with Members, when we come back to
  17 this bill, Members who have spoken twice will still
  18 not be allowed to speak under the rules. I just
  19 want to make that clear.
  20        House Bill 1229 will be laid over one bill.
  21         (House Bill 1229 continued.)
  22         REPRESENTATIVE FIELDS: -- find a very
  23 legitimate issue in one of the amendments that the
  24 Senate adopted regarding background checks for
  25 corporations. So I thank them for raising this
  0019
   1 important issue and -- and helping us to make this
   2 bill better.
   3        I'm very confident that we can address
   4 this issue while still ensuring that corporations
   5 are not used to make straw purchases for those
   6 individuals who cannot pass background checks.
   7        MR. SPEAKER: Representative McCann.
   8        REPRESENTATIVE MCCANN: I concur with
   9 Representative Fields' recommendation that we
  10 reject the Senate amendments.
  11         MR. SPEAKER: Representative Sonnenberg.
  12         REPRESENTATIVE SONNENBERG: Thank you,
  13 Mr. Speaker.
  14         And, Members, I would also urge that you
  15 adopt this motion. Vote yes to go to conference
                                                                                                    LEG HX 000907                   4822
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           Appellate
  16 committee     so weCase:  14-1290
                          can indeed addressDocument:
                                              those issues01019371764                Date Filed: 01/16/2015           Page: 159
  17 that were talked about earlier.
  18        So thank you.
  19        MR. SPEAKER: The question before the
  20 House is to reject Senate amendments and appoint a
  21 conference committee on House Bill 1229.
  22        Mr. Kolar, please open the machine, and
  23 Members proceed to vote.
  24        Representatives Court, Rosenthal, Ryden.
  25       Close the machine.
  0020
   1       With 64 aye votes, zero no votes, one
   2 excused, and zero absent, the House rejects said
   3 amendments to House Bill 1229 and requests a
   4 conference committee be formed.
   5       The conferees are Representatives
   6 Sonnenberg, McCann, Fields, Chair.
   7       Madame Majority Leader.
   8       MAJORITY LEADER HULLINGHORST: Thank you,
   9 Mr. Speaker.
  10        I move to lay over the balance of the
  11 calendar until Thursday, March 14.
  12        MR. SPEAKER: Seeing no objection, the
  13 balance of the calendar will be laid over as
  14 requested by the Majority Leader.
  15       (Announcements and introductions.)
  16       MR. SPEAKER: And just to make sure there's
  17 notice, the conference committee on House Bill 1229 will
  18 be meeting tomorrow. So just everyone knows that.
  19       Seeing no objection, the House will stand in
  20 recess until 2:30 today.
  21         (Whereupon, the recording was concluded.)
  22
  23
  24
  25
  0021
   1                 CERTIFICATE
   2 STATE OF COLORADO                      )
   3 CITY AND COUNTY OF DENVER                     ) ss.
   4
   5          I, Elissa Steen, Professional Shorthand
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
  10 the speakers in this transcript were identified by me to
  11 the best of my ability and according to the introductions
  12 made; that the foregoing is a true transcript of the
  13 proceedings had; that I am not attorney, nor counsel, nor
  14 in any way connected with any attorney or counsel for any
  15 of the parties to said action or otherwise interested in
  16 its event.
  17           IN WITNESS WHEREOF, I have hereunto affixed
                                                                                                    LEG HX 000908                   4823
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  18 my hand       Case:seal
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                                          of August, 2013.                           Date Filed: 01/16/2015           Page: 160
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  22             ________________________________
                Registered Professional Reporter
  23                       and
                      Notary Public
  24
  25




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           Appellate Case: 14-1290 Document: 01019371764 Date Filed: 01/16/2015                                       Page: 161
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Held on March 14, 2013
   5 HOUSE BILL 13-1229
   6 __________________________________________________________
   7            REPORTER'S TRANSCRIPT
     __________________________________________________________
   8
   9      This transcript was taken from an audio
  10 recording by Elissa Steen, Registered Professional
  11 Reporter and Notary Public.
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  0002
   1            PROCEEDINGS
   2           * * *         * *
   3       COMMITTEE CHAIR REP. FIELDS: Good morning.
   4 Calling together the conference committee for House
   5 Bill 1229.
   6       Ms. Shipley, please call the roll.
   7       THE CLERK: Representative McCann.
   8       REPRESENTATIVE MCCANN: Here.
   9       THE CLERK: Senator Ulibarri.
  10        SENATOR ULIBARRI: Here.
  11        THE CLERK: Representative Sonnenberg.
  12        REPRESENTATIVE SONNENBERG: Here.
  13        THE CLERK: Senator Brophy.
  14        SENATOR BROPHY: Here.
  15        THE CLERK: Senator Carroll.
  16        SENATOR CARROLL: Here.
  17        THE CLERK: Madame Chair.
  18        COMMITTEE CHAIR REP. FIELDS: Here.
  19        REPRESENTATIVE FIELDS: We're here to
  20 discuss the -- the merits of the bill and the reason
  21 (inaudible) specifically treats corporations, and how
  22 they're used to make straw purchases for individuals
  23 who cannot pass a background check. So that's going
  24 to be the -- the scope of our discussion today.
  25        Senator Carroll.

                                                                                                    LEG HX 000910                   4825
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  0003      Appellate Case: 14-1290 Document: 01019371764                            Date Filed: 01/16/2015           Page: 162
   1        SENATOR CARROLL: Thank you, Madame Chair.
   2        I can start our discussion with -- move
   3 conference committee report Amendment Q for the
   4 first report on the first conference committee. And
   5 folks may know that this (inaudible), I had actually
   6 started with an amendment in the Senate that was
   7 trying to deal with --
   8       (Inaudible speakers.)
   9        COMMITTEE CHAIR REP. FIELDS: Who seconded?
  10         REPRESENTATIVE MCCANN: I did.
  11         COMMITTEE CHAIR REP. FIELDS: Seconded by
  12 Representative McCann. Okay. Thank you.
  13         Senator Carroll.
  14         SENATOR CARROLL: Thank you, Madame Chair.
  15 Sorry about that.
  16         So in the amendment that I had put on in
  17 the House, we were trying to deal with, and we were
  18 alerted to the fact that anyone could (inaudible)
  19 any criminal avert a background check by basically
  20 doing it through a straw purchase (inaudible).
  21         And I think you guys helped highlight
  22 yesterday -- and some of the language specifically,
  23 for example, looking at anyone with a beneficial
  24 interest could be incorporated to include
  25 shareholders and all kinds of people who may never,
  0004
   1 in fact, come into possession with any firearm. And
   2 so what 2 does, is this -- so it's conforming the
   3 definition of a transferee. But specifically the
   4 way it fixes the problem and what's there is it
   5 narrows it only to natural persons who come into
   6 actual possession.
   7        So in the shareholder situation, if you
   8 had a corporation or a trust or -- but somebody
   9 who's never going to see this firearm, in this case,
  10 it's only natural people who would come into actual
  11 possession. And so that is meant to narrow the
  12 point of the (inaudible) on that.
  13         COMMITTEE CHAIR REP. FIELDS: Further
  14 discussion?
  15         Representative Sonnenberg.
  16         REPRESENTATIVE SONNENBERG: Thank you,
  17 Madame Chair.
  18         And I am -- for the purpose of discussion,
  19 I am going to move to substitute 4 --
  20         SENATOR BROPHY: Second.
  21         REPRESENTATIVE SONNENBERG: -- and ask that
  22 we discuss that as well, because the provisions in 4
  23 and -- and understand that even though you made the
  24 statement this is solely to deal with the corporate,
  25 we can still deal with any of the Senate amendments in
  0005
   1 the conference committee.
                                                                                                    LEG HX 000911                   4826
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   2        Appellate
            And those Case:     14-1290
                        amendments            Document:
                                       also address,       01019371764
                                                     I think,                        Date Filed: 01/16/2015           Page: 163
   3 the -- the husband-wife issue that is a part of 4 as
   4 well. And so I would ask at least to have that
   5 discussion on 4, as I think those are -- those are
   6 things that needed to be added as well.
   7        COMMITTEE CHAIR REP. FIELDS: 4 has been
   8 moved and seconded.
   9        Can we have discussion?
  10         Representative Brophy -- Senator.
  11         SENATOR BROPHY: Thank you, Madame Chair.
  12         And looking at -- looking at the -- the
  13 first amendment and comparing it to the second
  14 amendment, I see that we have zeroed in on a -- on
  15 one of the same flaws in 1229, one of the many
  16 absurdities that exist in this bill, where, for
  17 instance, if you had a security corporation, every
  18 shareholder would have to be background checked
  19 under 1229 on the re-revised bill. And I think both
  20 Amendment 2 and Amendment 4 address that.
  21         I think that the -- the language in
  22 Amendment 2 appears to be more elegant, but I think
  23 it misses a couple of things that are picked up in
  24 the language in Amendment 4 on the first page, where
  25 we include it -- the -- I think it's a
  0006
   1 subparagraph -- or -- or, well, we don't have lines
   2 on this, but down where the last A in parentheses
   3 is, in regards to whether the transferee of the --
   4 of the transfer is a member of the corporation,
   5 association, partnership, or limited liability
   6 company.
   7        That would actually catch those security
   8 guards, who are employees of the security
   9 corporation, for instance, if the corporation
  10 happens to purchase some of the firearms used for
  11 the security purposes. And I -- I believe that
  12 your -- your amendment misses that. And I think we
  13 could make the language more elegant like yours is,
  14 but I think -- I think Amendment 4 catches other
  15 (inaudible) people who would have reason to possess
  16 a firearm.
  17         And further, on the second page of
  18 Amendment 4, Representative Sonnenberg also
  19 discovered that we could, under that same difference
  20 between the House and the Senate, ensure that the
  21 transferee does not include a member of a youth
  22 organization whose participation in shooting sports
  23 if they take temporary possession of a firearm.
  24         And, you know, for instance, on a 4-H
  25 shooting sport, when we're trying to reach out to --
  0007
   1 to kids in -- in the 4-H community, sometimes
   2 you'll -- you'll find young people who come from a
   3 household where they may not possess, for instance,
                                                                                                    LEG HX 000912                   4827
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031413.txt[11/12/2013 10:57:56 AM]
           Appellate
   4 a shotgun   for -- Case:   14-1290
                        for a shooting  sportsDocument:   01019371764
                                               purposes, and                         Date Filed: 01/16/2015           Page: 164
   5 they may need to take temporary possession of the
   6 shotgun through their 4-H participation. It goes
   7 well beyond the 72-hours. They may need to
   8 take possession (inaudible) -- I mean, they may need
   9 to take possession of that shotgun for the entire
  10 length of the shooting sport season, which runs from
  11 sometime early in the spring until either the county
  12 fair, or if they're so lucky as to achieve it, the
  13 state fair at the end of August, where they have the
  14 final shooting competition -- trap-shooting
  15 competition.
  16        And so, on the top of page 2, Roman
  17 numeral III takes that into account, and I think
  18 fixes that absurdity that resulted from the
  19 re-revised version of House Bill 1229.
  20        And then further down on page 2, where we
  21 amend the build, that re-revised bill, on page 5,
  22 line 13, if you want to go to that part.
  23        What we're talking about there, this is
  24 where you have the -- the -- the bona fide gift
  25 section, which again, created the absurdity that,
  0008
   1 for instance, when I leave home on Monday morning,
   2 unless I do a bona fide gifting over to my wife on
   3 day four of the -- of my absence, she can no longer
   4 take a firearm out of the house for any purpose
   5 without being in violation of the illegal transfer
   6 part of this bill.
   7       Another absurdity that -- that -- that
   8 we're trying to fix here with -- with the inclusion
   9 of loan besides bona fide gift to immediate family
  10 members, as expressed in that section of the bill.
  11        And then, finally, further down on page 2,
  12 where we say -- where we're amending -- actually, on
  13 page 2 of the amendment, go to page 7 of the bill,
  14 after line 6, this is where we expand the definition
  15 of immediate family members to include step
  16 relations.
  17        So, for instance, if you have a stepson or
  18 a stepdaughter, you would be able to do the bona
  19 fide gift or loan to your stepchildren, partners of
  20 civil unions, and domestic partnership, and then
  21 finally, the dreaded mother-in-law.
  22        COMMITTEE CHAIR REP. FIELDS: Further
  23 discussion on L.004?
  24        Senator Morgan Carroll.
  25        SENATOR CARROLL: Thank you, Madame Chair.
  0009
   1       So I guess just a couple of different
   2 thoughts on some of the different components on --
   3 on what's here.
   4       As to closing, like, the shareholder
   5 issue, I -- I -- I do think that I have preference
                                                                                                    LEG HX 000913                   4828
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           Appellate
   6 for the languageCase:      14-1290
                        that's in Q.        Document: 01019371764                    Date Filed: 01/16/2015           Page: 165
   7        As to the additional issues that you
   8 raised in yours, some comments on feedback, I would
   9 believe a member in a youth organization is already
  10 covered under the 72-hour section. I actually like
  11 the -- I think the addition (inaudible) next section
  12 of making a gift or loan may make some sense,
  13 because they're still subject to, as long as you're
  14 not a convicted felon and all that other stuff.
  15        And I -- I'm -- the definition on family,
  16 this is broader than the scope of either the House
  17 or Senate version on the definition of family. So
  18 despite different reaction to the different
  19 components of what you have in here, and cutting and
  20 pasting isn't the easiest thing of what we do, but I
  21 think the last part is broader than what we did in
  22 either the House or the Senate.
  23        COMMITTEE CHAIR REP. FIELDS: Representative
  24 McCann.
  25        REPRESENTATIVE MCCANN: Thank you, Madame
  0010
   1 Chair.
   2        So I had a question about the boarding,
   3 the (inaudible) club boarding kind of situation.
   4 Because it seems to me that if the way it would work
   5 that the 4-H, or the person that's running the 4-H
   6 club, would be the one that would actually get the
   7 gun, and then -- or do the guns get transferred to
   8 the parent of the person that's -- I mean, because
   9 you're not going to give the gun to a 14-year-old, I
  10 assume. I mean, you could -- you have to have
  11 somebody supervising the person.
  12        So it -- what I'm getting at is that, if
  13 the director of the 4-H group takes possession of
  14 the gun and has a background check, then presumably
  15 the gun would be used in his or her presence. So I
  16 don't know that we need to add that in here. It
  17 seems like it's already covered through other
  18 provisions that are exceptions.
  19        COMMITTEE CHAIR REP. FIELDS: Representative
  20 Sonnenberg.
  21        REPRESENTATIVE SONNENBERG: Thank you,
  22 Madame Chair.
  23        And actually I'll address your question
  24 first, and then I'll go back to Senator Carroll's
  25 question.
  0011
   1        The way it typically works in -- in youth
   2 sports, those youth shooting sports, is that you
   3 will have someone that wants to learn about guns and
   4 then they have the opportunity to take guns apart,
   5 to clean them. And this is done over a longer
   6 period of time than 72 hours.
   7        What happens is, is you find someone
                                                                                                    LEG HX 000914                   4829
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   8 that's Appellate
            supportiveCase:
                         within 14-1290     Document:
                                the community   that will 01019371764                Date Filed: 01/16/2015           Page: 166
   9 allow them to borrow a gun, whether it be a simple
  10 22 or a shotgun, whatever type of shooting sport
  11 they're using at that time, and they will loan that
  12 gun to actually the child, and the child -- I
  13 believe they have already gone through the
  14 hunting -- hunter's safety course to be able to
  15 participate in the shooting sports, but I'm not sure
  16 of that -- but what happens is, is that they are
  17 then allowed to keep that gun and utilize that gun
  18 on their own without a -- a leader there.
  19         That's the purpose for them to continue
  20 to -- to work on that project and learn about that
  21 gun without the leader there. And so I don't
  22 believe it would fall under the 72 hours. Many of
  23 those are -- sometimes a project can be completed in
  24 30-45 days.
  25         As Senator Brophy said, oftentimes they're
  0012
   1 given in the spring to be utilized until the county
   2 fair or the state fair, when the project's
   3 completed. So it can be three, four months.
   4        With regard to Senator Carroll and talking
   5 about the -- the potential of the last portion being
   6 outside of the scope, I would argue that the top of
   7 page 7, where we are talking about family, and the
   8 Senate indeed added the provisions and then tried to
   9 define what is family as a spare -- a spouse, a
  10 parent, a child, but this indeed would be part of
  11 that scope as we figure out indeed what a family
  12 member is, as we try to figure that solution. So I
  13 would argue that it indeed fits within the scope of
  14 this committee.
  15         COMMITTEE CHAIR REP. FIELDS: Further
  16 discussion?
  17         Senator Ulibarri.
  18         SENATOR ULIBARRI: So I want to keep to one
  19 of the provisions of that line. Page 5, line 13,
  20 after difficult, insert or loan.
  21         I guess in terms of property in common
  22 between spouses, I don't understand why you would have
  23 to loan property that's held commonly between spouses
  24 if that property is -- is essentially owned by two
  25 married couples. I say that for me, a perspective of
  0013
   1 someone who is not yet in a civil union or has any
   2 legal recognition in my relationship. I understand
   3 what is mine is mine under law. But for married
   4 couples, what is hers is also his, and vice versa.
   5 And so saying that there must be a loan or bona fide
   6 gift belies the fact that the property that's held in
   7 a marriage is property that's jointly held. So I
   8 guess I'm confused about why that would be necessary.
   9        COMMITTEE CHAIR REP. FIELDS: Senator
                                                                                                    LEG HX 000915                   4830
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           Appellate Case: 14-1290 Document: 01019371764
  10 Carroll.                                                                        Date Filed: 01/16/2015           Page: 167
  11        SENATOR CARROLL: Thank you, Madame Chair.
  12        It -- it's actually an interesting point
  13 because as respect to spouses, as you guys know, any
  14 property that's acquired subsequent to marriage is
  15 joint property by law.
  16        COMMITTEE CHAIR REP. FIELDS: Senator
  17 Brophy.
  18        SENATOR BROPHY: Thank you, Madame Chair.
  19        And I thought about that. The problem is
  20 that the specifics in this bill, with regard to
  21 firearms and transfers, would override that general
  22 rule because the legislature got specific in here
  23 dealing with bona fide gifts, and then potentially
  24 loans. So that specific, then, suggests that the
  25 spouse would have to either be gifted the firearm or
  0014
   1 go get a background check in order to qualify for
   2 the handling of it.
   3       I would suggest that your -- your joint
   4 property ownership rule would apply if they have a
   5 divorce and you have to take into account the value,
   6 the monetary value, of the firearms. But because
   7 1229 gets specific about background checks and
   8 transfers, the transfer rule still applies, even
   9 between spouses.
  10        COMMITTEE CHAIR REP. FIELDS: Representative
  11 Sonnenberg.
  12        REPRESENTATIVE SONNENBERG: Thank you,
  13 Madame Chair.
  14        And if I would -- could add to that, I
  15 would also say that, that many of my guns, I've had
  16 for years before I was married. And for my wife to
  17 be able to access those guns, that would be a
  18 violation.
  19        COMMITTEE CHAIR REP. FIELDS: Representative
  20 McCann.
  21        REPRESENTATIVE MCCANN: Personally, I don't
  22 have any problem adding loan in there because, um, I
  23 think the idea of gifting a (inaudible) Representative
  24 Sonnenberg doesn't want to give all his guns to his
  25 wife --
  0015
   1       REPRESENTATIVE SONNENBERG: She won't give
   2 them back.
   3       REPRESENTATIVE MCCANN: See, that's a part
   4 of the problem with the way that it's worded, is that
   5 if you give it to somebody, technically they don't
   6 have to give it back.
   7       So, I mean, I think that's the spirit of
   8 what we were trying to say is that you can loan your
   9 gun to your child to go hunting without having to
  10 gift it or have to (inaudible) background check.
  11        And I -- I would like a little more
                                                                                                    LEG HX 000916                   4831
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031413.txt[11/12/2013 10:57:56 AM]
            Appellate
  12 discussion    on theCase:  14-1290
                          expansion           Document:
                                       of the family     01019371764
                                                     members,                        Date Filed: 01/16/2015           Page: 168
  13 actually, because, um, you know, if you have a
  14 stepson, not (inaudible) or a son or a daughter, and
  15 I think we do want to be expand it to partners of
  16 civil unions and domestic partnerships. Inlaws, I
  17 don't know, maybe. I think we have to be careful
  18 about that, because I'm not sure what that
  19 encompasses, maybe father-in-law, mother-in-law, but
  20 inlaws of nieces and nephews and cousins and aunts
  21 and uncles and all of that, I don't -- I don't think
  22 we want to deal with. Maybe a brother-in-law or a
  23 sister-in-law, mother-in-law, father-in-law, I
  24 wouldn't have any problem with that, something more
  25 limited.
  0016
   1        COMMITTEE CHAIR REP. FIELDS: Senator
   2 Brophy.
   3        SENATOR BROPHY: Thank you, Madame Chair.
   4        And, Representative, thank you for your --
   5 your -- your thoughtful reception on all of the
   6 first part of -- of this latter part of Amendment 4.
   7        I'd like to specifically address the --
   8 the in-law question. I think it's -- I think it's
   9 fairly important if we -- if we keep the -- the
  10 in-law relationship very similar to what was amended
  11 in -- in the Senate to include, you know, your --
  12 you can have a -- a brother-in-law, you know, who's
  13 a -- who's an avid hunter who maybe is trying a
  14 different type of game than he's ever hunted before,
  15 who would like to borrow one of my specific rifles
  16 that would be, you know, the appropriate size for
  17 that, he isn't covered under this bill. It's
  18 another one of the absurdities in this bill. So I
  19 think that it would be appropriate to add them at
  20 that relationship level. And -- and I think that's
  21 what this really does grasp, and I'm not sure about
  22 the niece and nephew. I also have, you know, when a
  23 -- you know, if you're from a multi-generation
  24 farming family in a community, you end up with
  25 great-nieces and great-nephews and, you know -- I
  0017
   1 have -- I have -- I have a great-nephew who's
   2 actually older than my son, but pretty much a
   3 contemporary, and I've contemplated that I can loan
   4 him a shotgun, you know, when he -- when he goes to
   5 the farm to stay with my dad, you know, his
   6 great-grandpa.
   7        You know, and I -- and I think that -- we
   8 should catch that type of relationship. And again,
   9 if they are not legally allowed to possess or
  10 purchase a firearm, you're still not covered, you
  11 know, it's not a blanket -- it's not a blanket
  12 get-out-of-jail-free card here. It -- it's -- it's
  13 just recognizing that, you know, just so many absurd
                                                                                                    LEG HX 000917                   4832
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  14 results           Case:
              from trying       14-1290
                           to require   every Document:    01019371764
                                              single transfer                        Date Filed: 01/16/2015           Page: 169
  15 have a background check, even -- you know, even to
  16 the extent which we're sort of working on but still
  17 not covered, if you're out camping but not target
  18 shooting, and only one of you brings a handgun, the
  19 other can't possess it without a background check.
  20        COMMITTEE CHAIR REP. FIELDS: So I believe
  21 L.004, on page 2, the paragraph that we're discussing
  22 right now, which would be immediate family members, is
  23 beyond the scope of differences. So I don't -- I
  24 don't think that we can expand the scope.
  25        Senator Carroll.
  0018
   1        SENATOR CARROLL: Thank you, Madame Chair.
   2        You know, for the committee, just one
   3 thought is -- because we're an a substitute motion
   4 here, and I think the committee members might have
   5 slightly different thoughts about the components of
   6 what's been brought on 4.
   7        So one thought, I think, is that we could
   8 take -- we could start with the narrower question of
   9 just lending it to natural persons on transfer here,
  10 and then maybe take up portions of this committee
  11 report separately.
  12        Because I am sensing -- you know, I agree
  13 with Representative McCann, you know, for example,
  14 on the provision of adding or loan, gift or loan,
  15 under the immediate family section. And so rather
  16 than doing it all, I think right now in order to get
  17 the underlying motion, we could either withdraw or,
  18 frankly, I'd be -- if it's all or nothing, I'd be
  19 inclined to vote that down or if we do it
  20 (inaudible), but I think if we could accept the
  21 natural language stuff here and then maybe take up
  22 components of your proposed changes on one issue at
  23 a time would be (inaudible).
  24        COMMITTEE CHAIR REP. FIELDS: Representative
  25 Sonnenberg.
  0019
   1        REPRESENTATIVE SONNENBERG: Thank you,
   2 Madame Chair.
   3        My concern with the natural person
   4 language in 002, for example, the Haxton Gun Club is
   5 a corporation, and it's a shooting club with 104
   6 members.
   7        Under the way this is written, if they
   8 purchased the gun, in order for anyone in that
   9 corporation to use that gun, according to this
  10 language, all 104 would have to have done a
  11 background check, if I read that correctly.
  12        Under my provision, and the first page,
  13 that takes care of that and allows them to use that
  14 gun on the range there within that 72-hour period.
  15        COMMITTEE CHAIR REP. FIELDS: Senator
                                                                                                    LEG HX 000918                   4833
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           Appellate Case: 14-1290 Document: 01019371764
  16 Ulibarri.                                                                       Date Filed: 01/16/2015           Page: 170
  17        SENATOR ULIBARRI: So I think procedurally
  18 we're at a point in discussing whether or not to
  19 substitute 4 for L.002, right? So speaking to 2 is
  20 definitely speaking to 4. And I understand there's a
  21 difference in what it's saying.
  22        I guess for me, I understand that folks
  23 who use guns that are owned or purchased by a
  24 corporation have the ability, that 72-hour period,
  25 but for a gun club, there would be, in my opinion,
  0020
   1 ability for someone to come and use that gun
   2 underneath the guise of that club, and would still
   3 be subject to a background check if they're going
   4 through the club for a pheasant hunt or something
   5 else.
   6        And so I guess I see the language,
   7 definitely, but I think the motion before us is
   8 whether or not this substitutes L.004 for 2, and
   9 then we can go back to (inaudible) 2 versus 4.
  10        COMMITTEE CHAIR REP. FIELDS: Senator
  11 Brophy.
  12        SENATOR BROPHY: Thank you, Madame Chair.
  13        And -- and once again, Senator, the
  14 problem is: The specific overrules the general when
  15 the courts look at things -- questions like that.
  16        But the 72-hour rule applies or does the
  17 corporate rule apply because there was a specific
  18 rule directed at corporate relationship, that
  19 specific rule will apply and overrule this
  20 general -- especially since the 72-hour rule has
  21 been characterized as a general catch-all by the
  22 sponsor of the bill. So we have to fix that part.
  23        The 72-hour rule can no longer overrule
  24 the specific exemptions laid out in the bill. It is
  25 a catch-all general, and the courts will look at the
  0021
   1 specifics and say that they rule over the general.
   2       So we have no -- well, if we want to make
   3 it right. If we want to make it so that everyone
   4 doesn't have to get a background check by sense of
   5 being a member of the corporation, then we have to
   6 accept that language.
   7        We can't try to rely on the general
   8 72-hour catch-all rule because the courts will not
   9 go along with that. They will follow the specifics.
  10        COMMITTEE CHAIR REP. FIELDS: Senator --
  11 Representative McCann.
  12        REPRESENTATIVE MCCANN: Thank you, Madame
  13 Chair.
  14        I don't -- I don't know if that's correct.
  15 I mean, I think an argument can be made both ways.
  16 But in general, the specifics would overrule the
  17 general, but that's usually if they're different
                                                                                                    LEG HX 000919                   4834
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           Appellate Case: 14-1290 Document: 01019371764
  18 statutes.                                                                       Date Filed: 01/16/2015           Page: 171
  19        In that statute, because we have
  20 exemptions that are outlined, and then this section
  21 comes later. I'm not sure that you -- that that's
  22 the way a court would rule. I mean, I think you
  23 could make arguments both ways.
  24        COMMITTEE CHAIR REP. FIELDS: And I -- I
  25 agree with Representative McCann because the way I
  0022
   1 read the bill, when I look at page 5, the transfer
   2 of -- the transfer is a temporary transfer of
   3 possession without transferring of ownership, and it
   4 then identifies organizations, it identifies shooting
   5 ranges, it identifies that it can do that without
   6 having to be restricted to a 72-hour hold. So I
   7 believe that that is already covered in the original
   8 intent of the bill.
   9       Representative Sonnenberg.
  10        REPRESENTATIVE SONNENBERG: Thank you,
  11 Madame Chair.
  12        And let's -- let's assume that you are
  13 correct, that that's the way the court would see it.
  14 As this is written, for any of the members of the
  15 gun club to take possession of that gun, to utilize
  16 it according to this, they would have to have a
  17 background check. So every one of the 104.
  18        I don't believe that fits under the
  19 72-hours. Are you -- are you saying to me that you
  20 believe it does?
  21        COMMITTEE CHAIR REP. FIELDS: Senator
  22 Carroll.
  23        SENATOR CARROLL: Thank you, Madame Chair.
  24        First of all, I don't think if you're a
  25 member of a club that you are receiving it as an
  0023
   1 entity. I think you're receiving it as an
   2 individual.
   3       So you'll recall, when we go through the
   4 whole structure of the exception, (inaudible), you
   5 can meet any one of these exceptions. So if I'm a
   6 member of a club, I'm still a person. And there's,
   7 yes, the 72-hour catch-all, and you can do basically
   8 whatever, as long as you stay in possession, you're
   9 not giving it to a felon.
  10        But there's actually multiple -- you don't
  11 lose your status as an individual, you don't become
  12 an entity because you're a member of a club. So
  13 the -- we are focusing on the, like, trust and the
  14 straw corporation, but the fact is, is that if I
  15 belong to a club, and I'm either buying or
  16 transferring a weapon, and I'm still doing that as
  17 an individual, natural person.
  18        And so you'll see, for example, the
  19 exceptions about at a shooting range where it's
                                                                                                    LEG HX 000920                   4835
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  20 locatedAppellate    Case: 14-1290
                or at a firearms             Document: 01019371764
                                 shooting competition.                               Date Filed: 01/16/2015           Page: 172
  21 There's existing language in there about
  22 organization organized for conservation purposes or
  23 to foster proficiency in firearms.
  24         I think there's up to four different
  25 exceptions explicitly spelled out that would satisfy
  0024
   1 the facts that you're talking about. You could pick
   2 any number of them, but I believe under the current
   3 bill, none -- that -- that scenario, those -- would
   4 not have to go through a background check, under a
   5 number of existing exemptions.
   6        COMMITTEE CHAIR REP. FIELDS: Senator
   7 Brophy.
   8        SENATOR BROPHY: Thank you.
   9        Well, the problem is: We have so many
  10 specifics in here. For instance, the -- the
  11 temporary transfer or possession without transfer of
  12 ownership, which I have on page 6, at the top of
  13 page 6, in the re-revised bill, which should be the
  14 latest version. That -- that is limited.
  15         Then, E, specifically E, is limited then
  16 by Roman numerals I, II, and III; and then III is
  17 limited by I think that's subparagraph A and B.
  18         And so -- so that's -- what that all talks
  19 about in that case is, is those -- are those
  20 temporary transfers that -- that happen while you're
  21 all together as a group doing some kind of group
  22 activity, hunting together, because it says while in
  23 the field and while hunting, so while engaging in
  24 that activity, at -- at the shooting range.
  25         So I'm still afraid that we have to
  0025
   1 address the -- the unintended consequences of -- of
   2 drawing in everybody who may not be there but are
   3 specifically listed as -- as members of a
   4 corporation.
   5        Again, go back to the security company
   6 example that -- that may be publicly held. Every
   7 shareholder has to get a background check if we
   8 don't -- if we don't fix this. And they won't ever
   9 even see that aspect of the security company, namely
  10 a firearm purchased for security purposes, but they
  11 have to get a background check.
  12         And I think it's important that we -- that
  13 we fix that and that we recognize that when you
  14 start getting specific like this, you've got to
  15 follow the specifics because the general wouldn't
  16 apply.
  17         COMMITTEE CHAIR REP. FIELDS: Representative
  18 McCann.
  19         REPRESENTATIVE MCCANN: Thank you, Madame
  20 Chair.
  21         Well, the way I read Amendment 02, even
                                                                                                    LEG HX 000921                   4836
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031413.txt[11/12/2013 10:57:56 AM]
  22 thoughAppellate   Case:talking
               I know we're     14-1290     Document:
                                     about the  substitute01019371764                Date Filed: 01/16/2015           Page: 173
  23 (inaudible), the background check is only required
  24 for the person who's actually going to take
  25 possession of the weapon. It's not every member of
  0026
   1 the club.
   2        If -- you know, if you go into a club --
   3 the way I understand it is that most people take
   4 their own guns to the club. But if somebody doesn't
   5 have a gun or a new person that wants to show
   6 someone else how to use a gun and they don't have --
   7 actually, maybe the club has purchased some guns
   8 that people can rent or borrow, I think they would
   9 be exempted under the 72-hour, myself. But, also, I
  10 think even if they're not exempted under the
  11 72-hour, it's only the people who actually -- it's
  12 only the person that's going to use the gun that
  13 would -- would need to get a background check.
  14         Most of your members who bring their own
  15 guns are never going to need to lend a gun or own --
  16 take a gun from the gun club.
  17         COMMITTEE CHAIR REP. FIELDS: Representative
  18 Sonnenberg.
  19         REPRESENTATIVE SONNENBERG: Thank you,
  20 Madame Chair.
  21         And that is very true. The scenario in
  22 which this creates a problem is: If a gun club buys
  23 a gun and it's put in its gun case and then one of
  24 the members comes to utilize -- and he brings his
  25 own gun, but he brings someone else that needs a gun
  0027
   1 -- and they want to utilize that gun, according to
   2 this, every -- he would have had to have had a
   3 background check before he could utilize that gun or
   4 loan it under the 72 hours to someone else.
   5        And since you don't know which one of the
   6 other 103 are going to bring somebody and need to
   7 use that gun, they will all need to have that
   8 background check according to the language in 2.
   9        And, Madame Chair, thank you for allowing
  10 us to -- to have a discussion on 2 as part of the
  11 discussion with 4. I appreciate being able to
  12 openly discuss this.
  13         COMMITTEE CHAIR REP. FIELDS: Representative
  14 McCann.
  15         REPRESENTATIVE MCCANN: Thank you.
  16         And thank you, Representative Sonnenberg.
  17         But to me, the way I read this is that a
  18 person who comes with someone else to the club to
  19 use the gun would come under the temporary transfer
  20 of not more than 72 hours. So I don't -- that would
  21 be the first line of defense, if you will.
  22         And then, secondly, I think that the way
  23 this is written, it is the person who will actually
                                                                                                    LEG HX 000922                   4837
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           Appellate
  24 possess           Case: 14-1290 Document: 01019371764
               the firearm.                                                          Date Filed: 01/16/2015           Page: 174
  25         So, I mean, I would argue that the
  0028
   1 temporary transfer covers a member of the club who
   2 uses the club's gun or someone who comes with the
   3 member of the club who uses the club's gun.
   4        COMMITTEE CHAIR REP. FIELDS: So I'd like to
   5 call for a vote, then, on L.004.
   6        THE CLERK: Representative McCann.
   7        REPRESENTATIVE MCCANN: No.
   8        THE CLERK: Senator Ulibarri.
   9        SENATOR ULIBARRI: No.
  10         THE CLERK: Representative Sonnenberg.
  11         REPRESENTATIVE SONNENBERG: Yes.
  12         THE CLERK: Senator Brophy.
  13         SENATOR BROPHY: Aye.
  14         THE CLERK: Senator Carroll.
  15         SENATOR CARROLL: No.
  16         THE CLERK: Madame Chair.
  17         COMMITTEE CHAIR REP. FIELDS: No.
  18         THE CLERK: That amendment fails, 2-4, 4-2.
  19         COMMITTEE CHAIR REP. FIELDS: Back to
  20 Amendment L.002.
  21         Senator Carroll.
  22         SENATOR CARROLL: Thank you, Madame Chair.
  23         You know, (inaudible) if we want to, as a
  24 committee, adopt any portions of what was here, we
  25 can amend it to this one before final adoption of
  0029
   1 002.
   2        And people have different thoughts on
   3 different sections, and I probably agree with the
   4 Chair about strictly the scope issue on the family.
   5       I don't think on page 2 Subsection 2 is
   6 needed because I think there's actually up to four
   7 exemptions that already cover that. But I -- I -- I
   8 did wonder if you did want to have some discussion
   9 on the gift or loan or any of the other portions
  10 that were in 4 before we take action on 2?
  11         COMMITTEE CHAIR REP. FIELDS: Representative
  12 McCann.
  13         REPRESENTATIVE MCCANN: Well, I would make a
  14 motion -- see, I don't know how we do this. But I
  15 would like to add (inaudible) as outlined in 004, on
  16 page 5, line 13 after gift, I would like to insert or
  17 loan. I don't know if I need to make a motion to
  18 amend --
  19         UNIDENTIFIED SPEAKER: Yes.
  20         REPRESENTATIVE MCCANN: So I would make a
  21 motion to amend 002 to add page 5, line 13, and after
  22 gift insert or loan.
  23         SENATOR CARROLL: Second.
  24         COMMITTEE CHAIR REP. FIELDS: Seconded by
  25 Senator Carroll.
                                                                                                    LEG HX 000923                   4838
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  0030      Appellate Case: 14-1290 Document: 01019371764                            Date Filed: 01/16/2015           Page: 175
   1        THE CLERK: Representative McCann.
   2        REPRESENTATIVE MCCANN: Yes.
   3        THE CLERK: Representative Ulibarri.
   4        SENATOR ULIBARRI: Aye.
   5        THE CLERK: Representative Sonnenberg.
   6        REPRESENTATIVE SONNENBERG: Yes.
   7        THE CLERK: Senator Brophy.
   8        SENATOR BROPHY: Voting for Ms. Brophy, aye.
   9        THE CLERK: Senator Carroll.
  10         SENATOR CARROLL: Aye.
  11         THE CLERK: Madame Chair.
  12         COMMITTEE CHAIR REP. FIELDS: Yes.
  13         THE CLERK: That passes, 6-0.
  14         COMMITTEE CHAIR REP. FIELDS: Any other
  15 adoptions to L.002?
  16         Senator -- Representative Sonnenberg.
  17         REPRESENTATIVE SONNENBERG: Thank you for
  18 the demotion. I appreciate that, Madame Chair.
  19         And I am going to go ahead and make the
  20 motion that we include Roman numeral II at the top
  21 of page 2 on 4 so I can actually get a better
  22 understanding of where you think that is already
  23 covered within the four exemptions.
  24         And that's respectfully asked for a
  25 second.
  0031
   1        SENATOR BROPHY: Second.
   2        COMMITTEE CHAIR REP. FIELDS: So it has been
   3 moved and seconded by Senator Brophy. If you'll then
   4 call -- Senator Carroll.
   5        SENATOR CARROLL: Thank you, Madame Chair.
   6        Sorry, I didn't mean to drag this out a
   7 little bit. But I do think (inaudible) to where
   8 specifically I think it's covered, and if you start
   9 on page 5, on there -- in fact, I'm on page 6. I
  10 believe line 3, at a shooting range located in or on
  11 the premises owned or occupied by a duly
  12 incorporated organization organized for conservation
  13 purposes or to foster proficiency in firearms. That
  14 is not 72-hour limited. That covers the scenario
  15 that we were talking about in one way.
  16         I think under subsection 2, a shooting
  17 competition, in fact, may be narrower, but in some
  18 cases that may apply.
  19         Also, for any lawful, you know, hunting,
  20 fishing, less relevant, as long as they're, you
  21 know, doing it on lawful land or with a permit.
  22 That may be one of those youth activities. That is
  23 possibly another exemption.
  24         If an adult is staying there, hopefully,
  25 to supervise children with firearms, then the
  0032
   1 temporary transfer that occurs in the present may
                                                                                                    LEG HX 000924                   4839
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031413.txt[11/12/2013 10:57:56 AM]
           Appellate Case: 14-1290 Document: 01019371764
   2 also apply.                                                                     Date Filed: 01/16/2015           Page: 176
   3       And then, finally, the catch-all 72 hours
   4 would apply. And so I believe that that fact
   5 pattern is covered by (inaudible) exemptions.
   6       COMMITTEE CHAIR REP. FIELDS: You have a
   7 question, Senator Brophy?
   8       SENATOR BROPHY: Yeah. Unfortunately, it --
   9 it doesn't quite cover it. And again here's why:
  10 Because these -- these programs last for several
  11 months, and part of what is so great about 4-H is you
  12 actually make the participants responsible for the
  13 entire project.
  14        If it's a steer, they have to buy them, feed
  15 them, water them, care for them. If it's a firearm,
  16 in this case they have to be responsible for it. They
  17 don't only use it at the shooting range, and they --
  18 they actually are expected, then, to take it home
  19 and -- and care for it and clean it and do all of the
  20 things that you would normally do with a firearm.
  21        And again, it takes, you know, it's a three-
  22 or four-month project. And if you want the kid to,
  23 you know, to hit 25 out of 25 at the state shooting
  24 competition, they got to practice more than just once
  25 a week, when the organized classes occur that are
  0033
   1 covered under E in the bill.
   2       So I -- I do. I think it's an unintended
   3 consequence of the bill that the kid wouldn't be
   4 allowed -- actually they're teenagers -- they wouldn't
   5 be allowed to take full responsibility and fully
   6 participate in the 4-H program without the background
   7 check.
   8       And again, remember in -- in many, many,
   9 many of these rural communities where this is
  10 occurring, there's no store where you can walk into
  11 and get a background check.
  12        COMMITTEE CHAIR REP. FIELDS: I believe
  13 that -- I agree with Senator Carroll that the scenario
  14 that you-all are -- are describing is covered on page
  15 6, because it also talks about fostering proficiency
  16 in firearms. And so that doesn't necessarily mean to
  17 be at a specific area, shooting range, those kind of
  18 things. I believe it encompasses it.
  19        Representative McCann.
  20        REPRESENTATIVE MCCANN: No, I -- I think
  21 there might be a (inaudible) here. I mean, we don't
  22 have problems with 4-H kids shooting people. I mean,
  23 I don't think we want to cover -- I don't think we
  24 want any -- any confusion or any unintended
  25 consequence that, you know, a 4-H kid can't use
  0034
   1 somebody else's gun. I mean, I'm -- I'm -- I'd like
   2 to ask a question, though.
   3       Don't most of these kids have -- their --
                                                                                                    LEG HX 000925                   4840
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           Appellate
   4 their parents     Case:
                    have guns 14-1290
                               or they haveDocument:    01019371764
                                             their own guns?                         Date Filed: 01/16/2015           Page: 177
   5       COMMITTEE CHAIR REP. FIELDS: Representative
   6 Sonnenberg.
   7       REPRESENTATIVE SONNENBERG: You know, I
   8 would say probably many do. But what -- what we tried
   9 to reach out to is youth shooting sports, if
  10 (inaudible) that hasn't had that education at home.
  11 Give them an opportunity because their parents aren't
  12 interested in guns and they are interested in
  13 shooting.
  14        And so I would also say that many of them
  15 don't. Many of them have never had that opportunity.
  16 Their parents wouldn't (inaudible) the first idea on
  17 how to help them, and that's why they become part of
  18 the shooting course within the 4-H club.
  19        COMMITTEE CHAIR REP. FIELDS: Senator
  20 Ulibarri.
  21        SENATOR ULIBARRI: Thank you, Madame Chair.
  22        I just want to say: I think that
  23 the current exemptions do apply, and one of the
  24 reasons why I think that the current exemptions
  25 should remain in tact that we don't -- we don't need
  0035
   1 a change to take place is that the exemptions that
   2 exist include a component of supervision.
   3       So to give a, you know, 13-year-old,
   4 14-year-old a gun for three or four weeks without
   5 having a background check in the house or of the
   6 person supervising, I think goes against what we've
   7 said, is that we want to make sure that there's
   8 consistency under the law, that there's --
   9 especially when folks are using firearms, that
  10 there's an understanding that there is consistency
  11 or supervision, and the person who is responsible
  12 for the supervision, whether it's a non-profit
  13 organization or the firing range, they have to go
  14 through that process, and the exemptions currently
  15 allow for that use.
  16        To put a gun in a household for three or
  17 four months and with an adult maybe we don't know
  18 who's supervising who wouldn't pass a background
  19 check, I think, the supervision piece, as the
  20 exemptions currently exist, are important because it
  21 makes sure that there is a responsible party, 4-H,
  22 that non-profit that's already outlined in the
  23 exemption, will still have a continuing relationship
  24 or -- or supervision with the young person who's
  25 learning how to shoot, which I think is an important
  0036
   1 component.
   2       To say that a person could give a gun to a
   3 13-year-old for four weeks and put it a household
   4 where someone may not be responsible I think is
   5 concerning. So to have the supervision piece with
                                                                                                    LEG HX 000926                   4841
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           Appellate as
   6 the exemptions    Case:
                         they 14-1290        Document:
                               currently, I think,       01019371764
                                                   balances                          Date Filed: 01/16/2015           Page: 178
   7 what I think is an important part of someone
   8 being -- to learn how to shoot, but still having it
   9 under a responsible party, a shooting range, a
  10 non-profit organization or other entity that can
  11 help ensure that that person knows how to use
  12 that -- that weapon responsibly.
  13        COMMITTEE CHAIR REP. FIELDS: Senator
  14 Brophy.
  15        SENATOR BROPHY: Senator, I'm not sure I
  16 followed. At first you started off saying you thought
  17 it was covered by the exemptions, and then you -- I
  18 think you then morphed into an argument where
  19 everybody in the household from which the 4-H shooting
  20 sport attendant comes -- should have a background
  21 check.
  22        Could you clarify your position? Do you
  23 believe that we -- that it's already covered, that
  24 they can take it home for four months, or do you
  25 believe that we need to expand the background check
  0037
   1 to include everybody in the household from which
   2 they come?
   3       COMMITTEE CHAIR REP. FIELDS: Senator
   4 Ulibarri.
   5       SENATOR ULIBARRI: Thank you.
   6       I think the way the -- the multiple
   7 exceptions allow for someone to take possession of a
   8 weapon with supervision related to that, so we
   9 talked about at a target firearm shooting
  10 competition under the auspices of an non-profit
  11 organization, state agency.
  12        You know, I think the pieces here speak to
  13 continual supervision. That's why I think these
  14 pieces need to stay in place.
  15        I probably shouldn't have said anything
  16 further there, but saying that supervision is
  17 essential and that there is a responsible entity
  18 that's connected to this exemption. So I think
  19 that's an important piece for me in understanding as
  20 the law currently exists. That's why I don't think
  21 Number 2 is necessary.
  22        COMMITTEE CHAIR REP. FIELDS: And so I think
  23 what we have on the table right now -- and it's been
  24 moved and seconded -- is if we should include Roman
  25 number II, page 2, of L.004, as a part of L.002.
  0038
   1       Senator Brophy.
   2       SENATOR BROPHY: Thank you, Madame Chair.
   3       So let me be clear, then. You do not
   4 think the 4-H kids should be allowed to take the
   5 shotgun home from the shooting range so that they
   6 can become responsible for it and clean it and take
   7 care of it under the -- the way 4-H has worked for
                                                                                                    LEG HX 000927                   4842
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   8 -- forAppellate    Case:I14-1290
            years? Because                    Document:
                                 think that's what        01019371764
                                                   you said.                         Date Filed: 01/16/2015           Page: 179
   9 I think -- I'd -- I'd like to have you clarify that.
  10        Because the supervision that exists at the
  11 shooting range is the -- is the 4-H instructor who
  12 goes back to his home after it's over, and
  13 traditionally, then, the participant, the 4-H kid,
  14 who's never once been involved in any kind of
  15 incident or accident, takes the firearm home then,
  16 away from the shooting range and away from the
  17 direct supervision of the shooting sports instructor
  18 so that they can properly care for and clean the
  19 weapon in their home environment.
  20        So I -- I need to be clear. Either -- I
  21 don't see how it's covered in the bill. And you can
  22 show me how it's cover in the bill, that allows them
  23 to take it home for the four or five months that the
  24 program lasts, or you can make the statement that
  25 you don't think they should be allowed to take it
  0039
   1 home?
   2        COMMITTEE CHAIR REP. FIELDS: It's clear to
   3 me. And what I've heard the Senator say did not say
   4 he does not believe that you cannot have that young
   5 person take that firearm home. And I believe that
   6 that is the direct on page 6 of the bill, as it
   7 relates to temporary transfers, as it relates to the
   8 proficiency of firearms.
   9        So, Ms. Shipley, I'd like to call for the
  10 vote.
  11        SENATOR BROPHY: Madame Chair, a
  12 clarification question.
  13        COMMITTEE CHAIR REP. FIELDS: Senator
  14 Brophy.
  15        SENATOR BROPHY: Um, I see the -- I see the
  16 proficiency in firearms, but that's under the -- the
  17 part about where it says it's at a shooting range to
  18 foster proficiency in firearms. I still don't see how
  19 it allows that -- that participant in 4-H to take it
  20 away from the shooting range for care.
  21        COMMITTEE CHAIR REP. FIELDS: Senator
  22 Ulibarri.
  23        SENATOR ULIBARRI: Thank you, Madame Chair.
  24        I think, looking at the totality of the
  25 exceptions, including the 72-hour transfer, as I
  0040
   1 understand how 4-H works, you have weekly or
   2 semi-frequent meetings where you meet with your
   3 instructors and talk with folks, you're coming back
   4 working on the skill with your -- your person more
   5 than once a week.
   6        And so maybe that's -- that's how I
   7 understand that you would have continual contact
   8 with bringing the weapon back and forth in between
   9 the shooting competition, where you would have
                                                                                                    LEG HX 000928                   4843
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           Appellate
  10 someone            Case:
                 there who      14-1290
                             could           Document:
                                   then transfer         01019371764
                                                 the weapon                          Date Filed: 01/16/2015           Page: 180
  11 again to you during the course of that competition,
  12 where you could take that home for up to 72 hours
  13 and have the ability to use it while you're at
  14 the -- at the firing range or under the auspice of a
  15 shooting competition, which means during the course
  16 of those four or five months with the person
  17 learning the skill, the totality of the exceptions
  18 would -- would allow that person to keep and retain
  19 that firearm, but there is a level of supervision
  20 that I think is important.
  21        COMMITTEE CHAIR REP. FIELDS: Senator
  22 Brophy.
  23        SENATOR BROPHY: Thank you, Madame Chair.
  24        And -- and, Senator, I appreciate that.
  25 So they could do it if they had a practice every
  0041
   1 three days, let's say under 72 hours, and
   2 re-establish the 72-hour rule. But the reality is,
   3 is that 4-H shooting sports practices on Sunday
   4 afternoon, once a week. So the 72 -- we -- we
   5 clearly go beyond the 72-hour rule.
   6       That's -- that's just how they do it.
   7 They -- they don't get together once every three
   8 days, which, on average, would be 2.1 times a week.
   9 They get together once a week. And I really think
  10 that it's important. Unless you just want to
  11 cripple the shooting sports program that 4-H puts
  12 together, I think we have to vote for Representative
  13 Sonnenberg's motion.
  14        COMMITTEE CHAIR REP. FIELDS: Representative
  15 McCann.
  16        REPRESENTATIVE MCCANN: No. I think that
  17 we're saying it's available under other exemptions.
  18 So why not just make it clear? I mean, I really don't
  19 think our intention in this bill is to say we don't
  20 want kids who are learning how to handle a gun
  21 responsibly not to be able to take it home, if that's
  22 the way the 4-H program works.
  23        I was never in 4-H, but I can see the
  24 benefit of having the kid learn how to clean and take
  25 the gun apart so they can handle it safely. I mean, I
  0042
   1 think that our goal here is to make sure that we're
   2 safe, our communities are safe. And, I mean, it seems
   3 to me that if it -- if we're having this much trouble
   4 figuring out if it covers or it doesn't, and some of
   5 us want to allow them to take it home and some don't,
   6 I don't see any harm personally in putting this in the
   7 bill.
   8       I -- I don't think our intention is to say
   9 to a 4-H kid you can't take the gun home when -- I'm
  10 not aware of any problems we've had with 4-H kids
  11 using guns inappropriately, but --
                                                                                                    LEG HX 000929                   4844
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  12        Appellate
             COMMITTEE  Case:CHAIR
                               14-1290        Document:
                                       REP. FIELDS:        01019371764
                                                        I don't want                 Date Filed: 01/16/2015           Page: 181
  13 to do that, but I -- I do believe the bill is clear.
  14         Senator Carroll.
  15         SENATOR CARROLL: Thank you, Madame Chair.
  16         I have two points: One a drafting point
  17 and then one kind of a conceptual point.
  18         Let me first bring up that this exception
  19 isn't written like the others as an exemption. This
  20 is written as an exception to a definition we didn't
  21 adopt. So us this language that a transferee does
  22 not include. So the transferee language here is
  23 talking about an entity, and I don't think anyone is
  24 thinking that kids are entities.
  25         If what -- the whole -- the discussion
  0043
   1 we've had would make a little bit more sense to me
   2 if it were written straight up as an exception to
   3 just requiring a background check. But the way this
   4 is written, it's as an exception to basically
   5 whether or not kids are entities, which they're not
   6 an entity. If they're a member of a club, they're
   7 still acting in their individual capacity.
   8        So I think even -- wherever anybody thinks
   9 about the actual scenarios, this is drafted to be an
  10 exception to a definition, not an exception to a
  11 background check, like the other lists of
  12 exceptions.
  13         So I would just want to make that point.
  14         And overall I -- I think it's fair to say
  15 that, you know, to Representative McCann's point, I
  16 don't think anyone thinks that 4-H kids are a
  17 problem. I think we know overall that the
  18 overwhelming majority of people, in fact, are
  19 law-abiding people. But, this is the one way we
  20 know any time a gun changes hands, we either do or
  21 don't find out whether we're transferring it over
  22 the long-term to somebody who is not prohibited
  23 under law from checking (inaudible).
  24         So I have sort of a narrow drafting point,
  25 which adopting this doesn't make sense in the
  0044
   1 context of the other exceptions, as an exception to
   2 a transferee. And because ut really was written to
   3 go with subsection 1, when the approach was how do
   4 you define a transferor, which is not what we're
   5 doing.
   6        But the other issue is, is that, you know,
   7 somebody -- whoever the person who's getting
   8 transferred -- whoever is receiving the firearm as a
   9 point of a transfer, you know, at the end of the
  10 day, the whole purpose of the bill is to make sure
  11 we're not transferring it to someone where it's
  12 prohibited. And you will find 95 percent of these
  13 are going to places where they are perfectly allowed
                                                                                                    LEG HX 000930                   4845
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           Appellate
  14 to transfer,  and Case:  14-1290 of Document:
                       some percentage                  01019371764
                                             the time where                          Date Filed: 01/16/2015           Page: 182
  15 they're not.
  16        So I guess I would just make those two
  17 points about this section. And even if you wanted
  18 to address this, I don't think you would address it
  19 with this language.
  20        COMMITTEE CHAIR REP. FIELDS: Ms. Shipley,
  21 take a vote.
  22        THE CLERK: Representative McCann.
  23        REPRESENTATIVE MCCANN: Yes.
  24        THE CLERK: Senator Ulibarri.
  25        SENATOR ULIBARRI: No.
  0045
   1       THE CLERK: Representative Sonnenberg.
   2       REPRESENTATIVE SONNENBERG: Yes.
   3       THE CLERK: Senator Brophy.
   4       SENATOR BROPHY: Aye.
   5       THE CLERK: Senator Carroll.
   6       MR. CARRIGAN: No.
   7       THE CLERK: Madame Chair.
   8       COMMITTEE CHAIR REP. FIELDS: No.
   9       THE CLERK: That motion fails, 3 to 3.
  10        COMMITTEE CHAIR REP. FIELDS: So back to our
  11 discussion on L.002, which it was amended to include
  12 page 5, line 13, after gift insert or loan.
  13        Senator Brophy.
  14        SENATOR BROPHY: Thank you, Madame Chair.
  15        I -- I move an amendment to Amendment 2
  16 that includes that part of 4, where it says,
  17 starting on page 7, after line 6, insert this
  18 Section 7.
  19        UNIDENTIFIED SPEAKER: Second.
  20        COMMITTEE CHAIR REP. FIELDS: So it has been
  21 moved and seconded by Senator Brophy (sic).
  22        Senator McCann.
  23        REPRESENTATIVE MCCANN: I think you ruled
  24 this is beyond the scope. Didn't you already rule
  25 that?
  0046
   1       COMMITTEE CHAIR REP. FIELDS: Yes, it's
   2 already been ruled.
   3       Representative Sonnenberg.
   4       REPRESENTATIVE SONNENBERG: Thank you,
   5 Madame Chair.
   6       And clearly -- and although I made the
   7 argument on how I think that fits within the
   8 definition that the Senate puts in there, perhaps
   9 what needs to be done, then, is we need to dissolve
  10 this conference committee and -- and go and ask for
  11 a second conference committee that goes beyond the
  12 scope so we can actually fix these things.
  13        COMMITTEE CHAIR REP. FIELDS: Further
  14 discussion on that?
  15        Senator Brophy.
                                                                                                    LEG HX 000931                   4846
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  16       Appellate
            SENATOR    Case:   14-1290
                         BROPHY:       ThankDocument:
                                             you, Madame 01019371764
                                                           Chair.                    Date Filed: 01/16/2015           Page: 183
  17        I think Representative Sonnenberg really
  18 hit on the important point. We sit here discussing
  19 a bill that has so far passed two chambers without a
  20 single solitarily Republican vote. It's a bill that
  21 has so far only garnered bipartisan opposition.
  22        If, on the other hand, as a -- as a
  23 conference committee we come out of here and go to
  24 the floor of our respective chambers and ask to
  25 dissolve this conference committee and form a new
  0047
   1 conference committee that goes beyond the scope of
   2 differences, we might just be able to craft a brand
   3 new bill that would garner bipartisan support and
   4 start acting like the traditional Colorado
   5 legislature as opposed to the dysfunctional
   6 Washington, D.C., congress.
   7        The purpose of the bill is to make sure
   8 that we aren't transferring to people who shouldn't
   9 have firearms. I think everybody agrees with that
  10 goal. And to that end, I think what we could do is
  11 come back in a new conference committee that's going
  12 beyond the scope, put in a -- an addition to
  13 18-12-111, a stranger-danger rule, which says that
  14 it shall be considered unlawful to sell a firearm to
  15 somebody whom you don't have a prior relationship
  16 with, and we'd do away with all of the exemptions.
  17 No more unintended consequences of who is left out
  18 and who isn't.
  19        But instead recognize that if you know the
  20 person, then you should know whether or not they can
  21 legally purchase or possess a firearm. So that's
  22 the should-have-known clause. If you don't know
  23 them, it's the stranger-danger rule, that you ought
  24 to be more cautious, that you should have known not
  25 to sell that firearm to somebody with whom you do
  0048
   1 not have a prior relationship.
   2        And then we do away with all of the
   3 exemptions and all of the unintended consequences of
   4 who is left out. We pass a bill that can earn
   5 bipartisan support, the way the Colorado legislature
   6 usually works when we identify a problem.
   7        Madame Chair, Madame Vice Chair, that's
   8 what I recommend that we do, that we go back to our
   9 body, stand side by side at the podium, and say
  10 let's (inaudible). Let's put some Colorado values
  11 back to work here, find a bipartisan solution to a
  12 problem that's been identified.
  13        COMMITTEE CHAIR REP. FIELDS: Our Colorado
  14 values are hard at work in this committee.
  15        Senator Carroll.
  16        SENATOR CARROLL: Thank you, Madame Chair.
  17        I guess I have two points. I -- I would
                                                                                                    LEG HX 000932                   4847
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  18 love Appellate    Case: 14-1290
            to see a bipartisan              Document:
                                 version of this bill. I 01019371764                 Date Filed: 01/16/2015           Page: 184
  19 think we're gaining support for that at the federal
  20 level. We have made probably over a dozen changes
  21 to this bill, not because we had to, but because we
  22 have been reaching out, listening and responding,
  23 maybe not to a hundred percent of what's been
  24 raised, but the majority of what you see's changed
  25 on this bill on the way through is actually
  0049
   1 listening and responding to what you've said. So we
   2 are, in fact, responding, and none of it has changed
   3 anyone's position so far to date. I would love to
   4 see a bipartisan bill.
   5        My thought on the stranger-danger rule,
   6 and, Senator Brophy, I think that's a totally
   7 legitimate public-policy question. The problem is,
   8 is that criminals know each other. And in firearms
   9 trafficking situations, you also have gun
  10 trafficking that's going on with people who know
  11 each other. And so that's in some ways the heart of
  12 what we're actually trying to get at. And you can
  13 have two convicted felons who know each other well
  14 and thereby evade a background check. And obviously
  15 that's beyond the scope, and this isn't what we have
  16 permission to be here anyway.
  17         But I do think it's important to note that
  18 relationships among the criminal underground, in
  19 fact, are often with each other, and -- and while
  20 may be strangers to us, they're certainly no
  21 stranger to each other.
  22         COMMITTEE CHAIR REP. FIELDS: Ms. Shipley,
  23 let's call for the vote on L.002 as amended.
  24         THE CLERK: Representative McCann.
  25         REPRESENTATIVE MCCANN: Yes.
  0050
   1        THE CLERK: Senator Ulibarri.
   2        SENATOR ULIBARRI: (Indiscernible).
   3        THE CLERK: Representative Sonnenberg.
   4        REPRESENTATIVE SONNENBERG: I'm not sure.
   5       I'm disappointed that you won't allow the
   6 discussion to continue to have the discussion.
   7 Senator Brophy clearly wanted to make a statement.
   8 And -- and quite frankly, I'd like to make a statement
   9 as well.
  10         The example that Senator Carroll brought
  11 up, felons are already illegal to have guns. We
  12 haven't stopped them from having guns, and
  13 background checks still around are going to stop
  14 them from having guns.
  15         But rather than belabor the point and
  16 disrespect the Chair, it's not my intent to
  17 disrespect the Chair, I will simply vote no and save
  18 my comments for later.
  19         THE CLERK: Senator Brophy.
                                                                                                    LEG HX 000933                   4848
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            SENATOR    Case:  14-1290
                         BROPHY:     No. Document: 01019371764                       Date Filed: 01/16/2015           Page: 185
  21        THE CLERK: Senator Carroll.
  22        SENATOR CARROLL: Let me make a quick
  23 comment too.
  24        Um, I could vote no here too, and we could
  25 go back with, you know, where we were on the
  0051
   1 differences and try and go back. Each of these
   2 things that we've adopted has come at your
   3 suggestion. So even though you didn't get
   4 everything you wanted, I think it's unfortunate that
   5 we, in good faith, heard, made changes, again at
   6 your suggestion, and yet you'll vote no on your own
   7 suggested changes.
   8       But I am an aye vote.
   9       THE CLERK: Madame Chair.
  10        COMMITTEE CHAIR REP. FIELDS: Yes.
  11        THE CLERK: So that's 4 to 2.
  12       COMMITTEE CHAIR REP. FIELDS: We're adjourned.
  13        (Whereupon, the recording was concluded.)
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   1                CERTIFICATE
   2 STATE OF COLORADO                     )
   3 CITY AND COUNTY OF DENVER                    ) ss.
   4
   5         I, Elissa Steen, Professional Shorthand
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
  10 the speakers in this transcript were identified by me to
  11 the best of my ability and according to the introductions
  12 made; that the foregoing is a true transcript of the
  13 proceedings had; that I am not attorney, nor counsel, nor
  14 in any way connected with any attorney or counsel for any
  15 of the parties to said action or otherwise interested in
  16 its event.
  17          IN WITNESS WHEREOF, I have hereunto affixed
  18 my hand and notarial seal this 5th day of August, 2013.
  19
  20
  21
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                       Case: 14-1290 Document: 01019371764                           Date Filed: 01/16/2015           Page: 186
                    Registered Professional Reporter
  23                           and
                          Notary Public
  24
  25




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          Appellate Case: 14-1290 Document: 01019371764 Date Filed: 01/16/2015                                          Page: 187
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Held on March 15, 2013
   5 HOUSE BILL 13-1229
   6 _____________________________________________________
   7             REPORTER'S TRANSCRIPT
   8 _____________________________________________________
   9
  10           This transcript was taken from an audio
  11 recording by Jana Mackelprang, Certified Realtime
  12 Reporter, Registered Professional Reporter, and
  13 Notary Public.
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  0002
   1              PROCEEDINGS
   2           *     * * * *
   3          MR. SPEAKER: . . . appropriations.
   4          Representative Fields.
   5          REPRESENTATIVE FIELDS: Thank you,
   6 Mr. Speaker.
   7          I move that the House adopt the first
   8 conference report of the first conference committee on
   9 House Bill 13-1229, the majority report.
  10           MR. SPEAKER: Okay. Please proceed,
  11 Representative Fields.
  12           REPRESENTATIVE FIELDS: Thank you,
  13 Mr. Speaker.
  14           And, Committee Members, we had a very
  15 thoughtful dialogue. And basically the conference
  16 report talks about -- it refers to some grammar that we
  17 changed and we put some clarity around a couple of
  18 things. Let me explain.
  19           It clearly identifies the transferees.
  20 They are not a natural person, but they're entities like
  21 a corporation. It makes clear that when an entity buys
  22 a gun, not every person with a beneficial interest, like
  23 shareholders, have to get a background check, but
  24 requires only the people who are authorized to use that
  25 gun have to get a background check before they can use
  0003

                                                                                                     LEG HX 000936                    4851
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            Appellate Case: 14-1290 Document: 01019371764
   1 the gun.                                                                         Date Filed: 01/16/2015            Page: 188
   2            Also, it clarifies the exemption for
   3 family members. In the introduced bill, family
   4 exemptions only addressed bona fide gifts between family
   5 members. And in the conference committee, we made it
   6 clear that you can also loan between family members. So
   7 that was also an exception that we included in the
   8 conference committee.
   9            I urge an aye vote on the conference
  10 committee report.
  11             MR. SPEAKER: Further discussion.
  12             Representative Sonnenberg.
  13             REPRESENTATIVE SONNENBERG: Thank you,
  14 Mr. Speaker.
  15             Unfortunately, that still doesn't address
  16 the issues that need addressed. The gun club example we
  17 talked about, every member of that gun club that wanted
  18 to use that gun will have to go through a background
  19 check if that gun club buys a gun. The 4-H kids, the
  20 shooting sports, those kids that have guns that are
  21 donated to them for longer than the 72 hours would be
  22 illegal. We're making criminals out of 4-H kids.
  23             We're also, as part of the discussion, we
  24 excluded stepkids. So my wife could not give, or
  25 somebody's wife could not give, their stepchildren in
  0004
   1 the house that gun or loan that gun to them because they
   2 are excluded.
   3            What we have seen, ladies and gentlemen,
   4 is, in this bill, we have a whole bunch of unintended
   5 consequences that didn't get dealt with. That's why,
   6 Mr. Speaker, I move we dissolve the first conference
   7 committee and move that a new conference committee be
   8 appointed to go beyond the scope, so we can actually fix
   9 a bill and do something that actually does some good and
  10 prevents gun violence.
  11             MR. SPEAKER: Representative Sonnenberg.
  12 Well, I guess the question before the House now is to
  13 dissolve the first conference committee and go into a
  14 second conference committee, with hours to go beyond the
  15 scope. Any discussion on that motion?
  16             Representative Holbert.
  17             REPRESENTATIVE HOLBERT: Thank you,
  18 Mr. Speaker. Representative Sonnenberg, thank you so
  19 much for making this substitute motion.
  20             This bill goes beyond, I believe, the
  21 intended purpose. This bill starts to touch 4-H
  22 families. I understand there was a comment made, a
  23 questioning why a 4-H member would loan another member a
  24 firearm, say a shotgun. And these youth who participate
  25 in these clubs, they're growing boys and girls. And if
  0005
   1 you go out and buy a youth-sized shotgun, for instance,
   2 for a child and they outgrow that, the question is
                                                                                                     LEG HX 000937                    4852
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           Appellate
   3 raised:  Well, whyCase:
                          would14-1290       Document:
                                 that child loan          01019371764
                                                  his or her                          Date Filed: 01/16/2015            Page: 189
   4 shotgun to another child? Well, because they've
   5 outgrown it and they're not giving it away.
   6           The 4-H clubs share those weapons, the
   7 shotguns between kids as they grow. It's like skis or
   8 anything else that they would outgrow. These are not
   9 "one size fits all." And we don't have -- we don't have
  10 crimes associated with this.
  11            When we approach a problem, the first
  12 question we should ask ourselves with any legislation
  13 is: What's the problem you're trying to solve? Is the
  14 problem we're trying to solve with House Bill 1229
  15 violence among 4-H members? No. No.
  16            So why are we pushing through another
  17 bill? Why are we shoving this bill over to the
  18 governor's desk knowing that there's problems here that
  19 are outside the intent of this bill? Why wouldn't we
  20 take a few hours a day and fix this? Why? There's no
  21 reason.
  22            Again, as I pointed out on a different
  23 bill, the effective date, I believe, is July 1st. We
  24 have until May 8th. The governor is downstairs. We can
  25 fix this. We can remove Representative Sonnenberg's
  0006
   1 legitimate concerns that, again, are beyond the scope of
   2 this bill. I ask for an aye vote.
   3           MR. SPEAKER: Representative Sonnenberg.
   4 Representative McNulty.
   5           REPRESENTATIVE McNULTY: Thank you,
   6 Mr. Chairman.
   7           Representatives Fields and McCann, the
   8 purpose for going to the conference committee was to
   9 help -- understanding that our votes probably aren't
  10 going to change on this, but to try and address some of
  11 the real issues, the consequences of this bill that
  12 really weren't intended.
  13            And one of the issues that has been
  14 brought up that I don't believe is addressed in the work
  15 of the conference committee is the situation where you
  16 have a farm, a corporation, an agricultural corporation,
  17 farm, ranch. A ranch hand checks out one of the
  18 corporation's rifles, goes out, comes back, checks that
  19 back in. Three days later, checks the rifle back out,
  20 goes back out into the field.
  21            Every time that rifle is checked out, that
  22 does -- does the conference committee address the issue
  23 that every time that rifle is checked out, the bill
  24 would require a background check to be done? Does the
  25 conference committee report address the situation where,
  0007
   1 if he takes a background check the first time, if he has
   2 a background check the first time, how often does he
   3 have to have a background check? How often does she
   4 have to have the background check? Is it every time the
                                                                                                     LEG HX 000938                    4853
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   5 rifle isAppellate  Case:
              checked out,     14-1290
                            or -- checked outDocument:
                                                so that he 01019371764
                                                           or                         Date Filed: 01/16/2015            Page: 190
   6 she goes out in the field, or is it at the beginning?
   7 When does that happen?
   8           These are the real world situations that
   9 people in rural Colorado have to address. And I hope
  10 that you're able to tell me that the conference
  11 committee addresses that situation.
  12            MR. SPEAKER: Representative Landgraf.
  13            REPRESENTATIVE LANDGRAF: Thank you,
  14 Mr. Speaker.
  15            I rise in support of Representative
  16 Sonnenberg's motion. Today I got confirmation that a
  17 man who moved to Fountain, brought his family, spent
  18 months getting his daughter into the blind and deaf
  19 school, started a pawn shop, is shutting down his shop
  20 because we cannot get clarification on how this bill
  21 will affect him. So I strongly support the motion so
  22 that we can figure out some of these other details.
  23 Thank you.
  24            MR. SPEAKER: Representative Gardner.
  25            REPRESENTATIVE GARDNER: Thank you,
  0008
   1 Mr. Speaker.
   2           My friend Representative McNulty is
   3 absolutely correct. When I read the conference
   4 committee report, I asked myself immediately: Well, how
   5 often do you have to get a background check? And this
   6 doesn't really solve the security company that has armed
   7 security guards in which they're required to check their
   8 weapons in and out, the farm or ranch operation where
   9 they may check out one weapon, carry it back in -- it's
  10 going to require that now, with this background check
  11 regime.
  12            There was a way to do this. It was with
  13 weapons custodians, and there are models to do this. I
  14 was sort of amazed that it came back from committee and
  15 didn't address that at all because it only has more
  16 unintended consequences than we started with when it
  17 went to conference committee. So I support this motion.
  18            MR. SPEAKER: Representative McCann.
  19            REPRESENTATIVE McCANN: Thank you,
  20 Mr. Speaker.
  21            And I would urge a no vote on this motion
  22 to dissolve the report of the conference committee and
  23 convene another one. I think our colleagues raised some
  24 legitimate questions when we were debating this bill a
  25 couple days ago about the amendment that was done in the
  0009
   1 Senate regarding corporations and partnerships and so
   2 forth, and would all the shareholders have to get a
   3 background check and members of a gun club have to get a
   4 background check?
   5           So what the conference committee did was
   6 address that legitimate concern by narrowing the
                                                                                                     LEG HX 000939                    4854
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             Appellate
   7 definition   of the Case:  14-1290
                         transferee so that a Document:
                                              transferee --01019371764
                                                            if                        Date Filed: 01/16/2015            Page: 191
   8 the transferee is not a natural person, in other words,
   9 if it's a corporation or a partnership, then only the
  10 person who's actually going to take possession of the
  11 weapon would need the background check.
  12             So, for example, if you have an
  13 incorporated family farm and the farm buys a gun by the
  14 corporation, only the person who's going to actually use
  15 the gun on the property would need a background check.
  16 And that's a legitimate requirement, because we want
  17 people who have possession of guns to go through a
  18 background check.
  19             So if you have an employee who will be
  20 using the gun as part of the work on the farm, they
  21 would need one background check, and then they can use
  22 that weapon.
  23             The other shareholders who have an
  24 interest in the farm don't need to get a background
  25 check. For example, if it's a family-owned farm and
  0010
   1 some of the members of your family live in another
   2 state, or don't even live -- or live somewhere else in
   3 Colorado, they're not going to use the guns, they don't
   4 need a background check. It's only the people who are
   5 actually going to possess the firearm that need the
   6 background check, and it's only one background check.
   7            Another issue that was raised actually
   8 during the conference call -- or conference itself was
   9 the fact that the exemption for a transfer between
  10 family members is limited to a gift. And the suggestion
  11 was that should be expanded to a loan, so that not -- if
  12 you want to allow your child to use your gun, you don't
  13 have to gift them the gun. We accepted their amendment
  14 to add it as a loan. So you can loan your child the use
  15 of your gun under the conference amendment.
  16             So I want to address a couple other points
  17 that have been raised by the -- by my colleagues on the
  18 other side of the aisle. The gun club question has come
  19 up. The way the amendment reads now, based on the
  20 conference committee report, is that, if you go to a gun
  21 club and you bring your own gun, obviously you don't
  22 have to go through a background check. If the gun club
  23 purchases guns and then uses those to loan out, there is
  24 an exemption already in the bill for a 72-hour transfer
  25 of the gun. So that can occur without a background
  0011
   1 check.
   2            So gun club members do not have to get a
   3 background check because they're not -- they don't have
   4 to get a background check as a member of the corporation
   5 or a member of the club because they're not members of
   6 the club. They simply pay a fee to go and use the club
   7 premises. And the bill does allow for that transfer.
   8 So somebody can use the gun to go out and hunt on a gun
                                                                                                     LEG HX 000940                    4855
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(House).txt[11/12/2013 10:57:58 AM]
            Appellate Case: 14-1290 Document: 01019371764
   9 club location.                                                                   Date Filed: 01/16/2015            Page: 192
  10             With respect to the pawn shop question,
  11 that is addressed on page 7 of the bill with the
  12 amendment that specifically says that an owner, manager,
  13 or an employee of a business that repairs or maintains
  14 firearms can rely on the transferor's statement that he
  15 or she may legally possess a firearm, unless they have
  16 actual knowledge to the contrary. So the owner or
  17 manager of a pawn shop can possess weapons that are
  18 given to them as long as they have a statement from the
  19 transferor that they are legitimately able to possess,
  20 legally possess a weapon, unless they have knowledge
  21 otherwise, which makes sense.
  22             And with respect to the security officer,
  23 security officers get background checks anyway, just to
  24 get hired as security officers. So they've already been
  25 through background checks. So they would -- if they are
  0012
   1 issued -- most security officers, as I understand it,
   2 actually purchase their own guns. So they have their
   3 own gun, which they would have gone through a background
   4 check for. If the security company has guns available,
   5 which I don't think happens, but if they do, yes, that
   6 person would have to go through a background check if
   7 they're actually going to possess the weapon, which is
   8 the whole point of this bill, which is the people who
   9 are going to possess and use firearms need to have a
  10 background check.
  11             And with respect to the 4-H club, if the
  12 gun is going to the home of a child, yes, if the parents
  13 are going to be using the gun, the parent would need to
  14 get the background check. Again, we want people who are
  15 in possession of weapons and use them to have background
  16 checks.
  17             So this report of the conference
  18 committee, the majority report addresses those issues
  19 that were raised by our colleagues, and I think it
  20 addresses them well and takes away the ambiguity that
  21 was rightfully pointed out previously.
  22             So I would ask for a no vote on
  23 reconvening another conference committee. Thank you.
  24             MR. SPEAKER: Representative Holbert.
  25             REPRESENTATIVE HOLBERT: Thank you,
  0013
   1 Mr. Speaker.
   2            Representative McCann, I wanted to say
   3 thank you. We offer a lot of words at this podium, at
   4 this microphone, and sometimes we can become numb to the
   5 conversation. I describe it to constituents who ask,
   6 it's like learning how to drive a car and listen to the
   7 radio and do all the things we have to do at the same
   8 time. But occasionally there's something said that
   9 really matters. And I just want to reach out to my
  10 friend Representative McCann for jumping up and coming
                                                                                                     LEG HX 000941                    4856
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  11 over Appellate
            and havingCase:    14-1290 away
                         a conversation     Document:   01019371764
                                              from this spotlight                     Date Filed: 01/16/2015            Page: 193
  12 and fixing the problems that you have fixed. I think
  13 that there is more that can be done. And that kind of
  14 cooperation that we saw yesterday and this morning, I
  15 think we need more of that. So thank you for what
  16 you've done. Thank you for addressing the multiple
  17 background check question.
  18            I remain concerned about the effect on the
  19 4-H families. And there were some words -- I didn't --
  20 I wasn't there, I didn't hear them, but there are 4-H
  21 families who are quite upset about the representation
  22 that was made about them. And I think this is an
  23 opportunity to just take a moment longer and go a step
  24 further. And I'd ask your consideration of that, but it
  25 shouldn't go without -- we shouldn't go any further
  0014
   1 without just offering our thanks for addressing a
   2 legitimate concern that Representative Sonnenberg
   3 raised. Thank you again.
   4           MR. SPEAKER: Representative McNulty.
   5           REPRESENTATIVE McNULTY: Thank you,
   6 Mr. Speaker. And, Representative McCann, thank you for
   7 your answer to that question. But then we circle back
   8 around to where we were before the conference committee
   9 was authorized, and that is, whose responsibility is it
  10 to maintain the records for those background checks?
  11 How long are those background checks valid? How many
  12 times -- under what schedule do those employees need to
  13 revisit this? If they have one background check done,
  14 does that authorize them to use any of the rifles that
  15 are in the stock for the purpose of going out into the
  16 field?
  17            These questions are -- with your answer,
  18 we're back around to these other questions, which --
  19 which I know our friends who are in agriculture, who
  20 farm, who ranch, who spend a great deal of time out in
  21 the country, weeks at a time, sometimes months at a
  22 time, if you have a sheep camp, and are going to be
  23 dealing with the real world consequences of this bill --
  24 so then who -- who is to maintain that? How often do
  25 they have to have a background check done?
  0015
   1           Once they have a background check done, is
   2 it valid indefinitely, so that ranch hand won't have to
   3 have another background check? How do we answer these
   4 questions for our friends in rural Colorado that -- that
   5 will encounter these challenges?
   6           MR. SPEAKER: Representative Scott.
   7           REPRESENTATIVE SCOTT: Thank you,
   8 Mr. Speaker.
   9           You know, I kind of feel like I'm on an
  10 island here this afternoon, being basically the only one
  11 left from the Western Slope that is apparently willing
  12 to stand up and talk about the western part of Colorado.
                                                                                                     LEG HX 000942                    4857
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  13        Appellate    Case:
                 I've gotten tons14-1290
                                  of e-mails Document:
                                              about this 4-H01019371764 Date Filed: 01/16/2015                          Page: 194
  14 issue, tons of e-mails about this gun tournament issue
  15 where they have multiple days of shooting and they loan
  16 guns back and forth.
  17             A lot of my constituents are very upset at
  18 the fact that we are writing a bill for the metro areas.
  19 They understand that. They understand there are issues
  20 within the cities of Denver, Boulder, Fort Collins,
  21 Colorado Springs, for example, that don't affect us.
  22 They are completely perplexed at the idea that one brush
  23 stroke fits all. They are very, very concerned that the
  24 impact on their families, their 4-H clubs, their gun
  25 clubs, their shooting tournaments -- is going to have an
  0016
   1 economic impact and an impact on what they can do
   2 legally. And they're very concerned because this law
   3 sounds as if it's getting -- it's all over the place in
   4 the weeds.
   5            It needs more clarification, that they're
   6 going to be accused or possibly convicted of something
   7 where the intent was not wrong. They were simply just
   8 trying to do the right thing. And I don't believe
   9 that's the intent of what this law was developed to do.
  10 If it's truly developed or was designed to stop
  11 criminals, it's gone way too far, way too far. And I
  12 would highly support Representative Sonnenberg for a
  13 call or his call for a new conference committee, to try
  14 to get this right.
  15             We've got one shot at this, folks. Let's
  16 just get it right. It won't take that long. It won't
  17 be that painful. But give some consideration to other
  18 parts of the state of Colorado.
  19             MADAM SPEAKER: Representative Landgraf.
  20             REPRESENTATIVE LANDGRAF: Thank you, Madam
  21 Speaker Pro Tem. And thank you, Representative McCann,
  22 for that explanation. I still don't see that it
  23 explains or helps resolve the problem of my friendly
  24 pawn shop owner, because he doesn't take in a gun and
  25 strip it down or repair it before he gives it back. He
  0017
   1 takes it in, he holds it, and then he returns it. And
   2 my concern is -- Fountain is a small town and he's a
   3 small business. It's not a huge economic loss to our
   4 state, but how many of these small businesses are we
   5 going to see leave our state and close because of this
   6 confusion?
   7            So I again rise in strong support of
   8 Representative Sonnenberg's motion.
   9            MADAM SPEAKER: Representative Everett.
  10             REPRESENTATIVE EVERETT: Thank you, Madam
  11 Speaker Pro Tem.
  12             I think there's another business that
  13 we're not looking at that this bill doesn't cover, and
  14 that's moving companies. Let's illustrate this by an
                                                                                                     LEG HX 000943                    4858
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(House).txt[11/12/2013 10:57:58 AM]
            Appellate Case: 14-1290 Document: 01019371764
  15 example.                                                                         Date Filed: 01/16/2015            Page: 195
  16            Let's say Gabby Giffords' husband, who was
  17 here, I believe, last week, wants to move to Colorado
  18 because why wouldn't he? Because we have this great
  19 weather as we're having today. So he decides to move
  20 here and they pack up everything and it gets -- all
  21 their stuff gets put on the truck, including their
  22 brand-new AR that he just bought, and the moving truck
  23 arrives here in Colorado. However, their house isn't
  24 ready. So the moving company has taken possession of
  25 that firearm and they have it here in Colorado for more
  0018
   1 than 72 hours. In fact, they may have it for maybe a
   2 few weeks before they're ready to move into this home.
   3           So does an officer or an employee of the
   4 moving company have to go through a background check, or
   5 are they criminally liable? I think that's just a
   6 common scenario that's going to happen with families
   7 moving here to Colorado that I believe this bill doesn't
   8 address. So that's why I rise in support of going back
   9 to another conference committee. Thank you.
  10            MADAM SPEAKER: Representative Sonnenberg.
  11            REPRESENTATIVE SONNENBERG: Thank you,
  12 Madam Speaker Pro Tem.
  13            Let me just give you some examples, as
  14 you've heard the discussion. Let me start with the gun
  15 club situation.
  16            Haxtun Gun Club has 104 members. They
  17 have a shoot Mondays and Fridays. If you have a shoot
  18 Mondays and Fridays, they show up and you borrow a gun
  19 on Monday and you're allowed to keep it, go home, clean
  20 it, and you come back Friday. You've broken the law
  21 because that's beyond the 72 hours.
  22            Now, some might argue there's a statement
  23 in there that says maintenance, if you maintain a gun,
  24 that it doesn't apply. Obviously, there's confusion
  25 about that, which leads me again to say we need to clear
  0019
   1 up that confusion.
   2           And I applaud -- Representative McCann has
   3 been phenomenal. When we had the discussion yesterday,
   4 she listened, she understood that there could be some
   5 problems, there was confusion. As we have seen in this
   6 bill, there is confusion. We still don't know all the
   7 ramifications.
   8           That's just one example of how the 72
   9 hours and the gun club in northeastern Colorado would be
  10 affected.
  11            Now let me tell you how the real world
  12 works with youth groups and kids in 4-H. Oftentimes --
  13 and it's wonderful, quite frankly; Parks and Wildlife
  14 does this, many of our hunting organizations, the bow
  15 hunters, the deer folks -- they promote youth activities
  16 as well, and where they will take a young kid, teach him
                                                                                                     LEG HX 000944                    4859
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  17 how Appellate
           to take careCase:  14-1290
                        of a gun, teach himDocument:    01019371764
                                            how to handle   a                         Date Filed: 01/16/2015            Page: 196
  18 gun, and then go camping for a week and hunt for a week.
  19 I guess now they will limit it to 72 hours so they can
  20 still accomplish what they need to accomplish.
  21           But what happens in 4-H as well is, when
  22 you sign up for a 4-H project, oftentimes the kids that
  23 sign up are curious because their parents have never
  24 been with guns. They've never had that experience. And
  25 so wisely they put them with somebody to teach them how
  0020
   1 to take care of guns. And they may have a class or two,
   2 and they talk about gun safety and how to handle a gun
   3 and all those things. And then when the instructor or
   4 the class leader believes they're ready -- many of them
   5 don't have a gun, so they have members in the community
   6 that will donate guns. They will offer to loan them
   7 guns for the length of their project. Their project may
   8 take only 30 days to complete. It may take four or five
   9 months, because when this starts in the spring and the
  10 weather is good and after they've gone through their
  11 training and they send that kid home with that gun to
  12 learn about the gun, to practice with the gun, to clean
  13 the gun, to do all of those responsible things that are
  14 important with understanding how firearms work, they
  15 oftentimes then take two, three, four months until the
  16 county fair, until the competition at the county fair.
  17 And then some of them are even lucky enough to go to the
  18 state fair, so they add on another three or four weeks.
  19 Obviously, that's past the 72 hours.
  20           Ladies and gentlemen, this bill, as it's
  21 written, creates criminals out of 4-H kids. There is
  22 confusion on how we need to deal with these specific
  23 scenarios.
  24           Let me address just a couple of other
  25 things that were brought up. We have talked about the
  0021
   1 family exemptions. And I appreciate the work that was
   2 done with regard to family exemptions, but I mentioned
   3 stepkids were left out of the mix. And you know that
   4 over 50 percent of the marriages come -- are multiple
   5 marriages. Many of those have kids, which makes them
   6 stepkids. And the inability to move guns to your
   7 stepchildren or, heaven forbid, my in-laws, if they came
   8 to watch my kids for a week, the inability for a
   9 mother-in-law or a father-in-law to utilize the guns in
  10 my home to protect the kids while I'm here -- Members,
  11 it just goes to the example that there are more issues
  12 here that we haven't addressed, the problem of not
  13 knowing basically how guns work, and we've created a
  14 bill. We have created a bill that has created more
  15 confusion, basically created an unenforceable law which
  16 makes law-abiding citizens criminals.
  17           So, Members, that's why I ask: Let's do
  18 away with the first conference committee report, let's
                                                                                                     LEG HX 000945                    4860
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(House).txt[11/12/2013 10:57:58 AM]
  19 createAppellate    Case: 14-1290
             a new conference    committee,Document:     01019371764
                                             and let's come                           Date Filed: 01/16/2015            Page: 197
  20 together and see if we can find some real-time solutions
  21 that prevent gun violence.
  22            And how do we do that? Members, it's a
  23 simple question. The truth is, if you don't like what
  24 we come up with, we reject the committee report and we
  25 go back to what we had. We offer -- we lose nothing by
  0022
   1 going to another conference committee to go beyond the
   2 scope and try and figure out these issues that now have
   3 huge ramifications.
   4            The question on whether or not I have to
   5 have a background check every time someone comes to
   6 utilize a gun, a valid issue. Another part of the
   7 confusion.
   8            Members, I would ask for your support so
   9 we can do the right thing and get this right. Support
  10 the motion to dissolve the conference committee and go
  11 to a conference committee beyond the scope so we can
  12 actually work on solving a problem. Thank you.
  13            MR. SPEAKER: Representative Rankin.
  14            REPRESENTATIVE RANKIN: Thank you,
  15 Mr. Speaker.
  16            I've stood before you, Members, on this
  17 issue before, but I honestly believe that I will be in
  18 front of you next year asking you to repeal this and the
  19 other bills because we will have lost about 25 percent
  20 of a vital industry in this state. And that's what it's
  21 all about. It should be all about for us, is jobs and
  22 the economy.
  23            And I want to address one more segment of
  24 confusion. The outfitters and guides in western
  25 Colorado are booking trips now. They're trying to line
  0023
   1 up their summer. And these trips are typically more
   2 than 72 hours. Guests come in from all over the
   3 country. Sometimes they bring their hunting rifle with
   4 them, but there are a lot of -- and they're seasonal
   5 employees who work as hunting guides. These people
   6 often trade their rifles around to try different
   7 calibers, different scopes, and that sort of thing. And
   8 often the guides will actually provide a hunting rifle
   9 for the people who come out.
  10            There is no answer -- I'm being asked by
  11 these people: Now, how will this affect me? How do I
  12 make sure that I'm not violating the law by setting up
  13 these trips? And, ladies and gentlemen, this is a big
  14 industry. This is estimated around $800 million in a
  15 year. So we're talking about leaving questions open for
  16 people who have fulfilled a vital part of our economy.
  17 We have to answer these questions. It's worth going
  18 back into a committee, raising all the questions we can,
  19 taking all the time we can. If we're going to pass this
  20 bill, let's make it workable. Let's not cripple this
                                                                                                     LEG HX 000946                    4861
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  21 vital Appellate
            industry ofCase:   14-1290
                         sportsmen            Document:
                                     and hunting           01019371764
                                                   in our state                       Date Filed: 01/16/2015            Page: 198
  22 just because we don't take the time to get it right.
  23            I urge you to send us back to committee.
  24            MR. SPEAKER: Representative Wilson.
  25 Representative Everett.
  0024
   1           REPRESENTATIVE EVERETT: Thank you,
   2 Mr. Speaker.
   3           Another scenario that I'd be concerned
   4 with with this bill is -- let's say you are taking a
   5 hunting trip to Texas and you fly through DIA. What
   6 happens if, as we know -- even on this 76- or 75-degree
   7 weather day, you could still have a 4-foot snowstorm
   8 here in Colorado. And you get a three- or four-day
   9 layover that's beyond the 72-hour waiting -- or transfer
  10 period. So what happens then? Does the baggage
  11 handler, United Airlines, are they going to be required
  12 to get a background check? How do we deal with that
  13 scenario?
  14            This is just part of what I think is an
  15 unenforceable law right now. I think it's something --
  16 it's just another piece of the puzzle that we need to go
  17 back to conference committee, and another problem that
  18 we need to solve, or we can just kill the bill.
  19            So I urge us to go back to conference
  20 committee. Thank you very much.
  21            MR. SPEAKER: Representative Wilson.
  22            REPRESENTATIVE WILSON: Thank you,
  23 Mr. Speaker.
  24            Representative McCann, I wanted to go back
  25 to what Representative Landgraf brought forward in terms
  0025
   1 of the pawn shop and how they would deal with that. And
   2 I appreciate -- I appreciate your answer, but this is
   3 just another one of those things that are in the bill
   4 that we really don't know the answers to because the --
   5 what you have in the situation with the pawn shop is you
   6 actually have an FFL dealer. They don't repair and
   7 maintain them. It's a totally different process there.
   8 So this bill convolutes that. And it's just another one
   9 of those pitfalls that's in it. I mean, as I say, I
  10 appreciate your attention at explaining how that would
  11 work, but that doesn't work that way with an FFL.
  12            And in this whole process of this,
  13 Colleagues, is -- I commend all the work we've been
  14 trying to do on this. I commend the committee. I
  15 commend the Senate. I hate to do that, but I commend
  16 the Senate on trying to correct many of the shortcomings
  17 in this bill. There are many shortcomings in it. And
  18 in trying to correct some of those -- in fact, some of
  19 those, Representative McCann, that we talked about on
  20 the floor, when the bill was originally on the floor,
  21 are addressed.
  22            But this is just the tip of the iceberg,
                                                                                                     LEG HX 000947                    4862
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  23 folks.Appellate
              There areCase:     14-1290
                           so many            Document:
                                     issues hidden           01019371764
                                                    in this bill.                     Date Filed: 01/16/2015            Page: 199
  24 When we were debating it on the floor originally, no one
  25 had thought about the 4-H. And it's a major issue. No
  0026
   1 one has thought about the Olympic shooting sports. No
   2 one has thought about all these pitfalls. What we are
   3 seeing here are the pitfalls that are involved in
   4 hurry-up legislation.
   5           We are trying to create a statute to fix a
   6 problem, and we're trying to push it through in a rapid
   7 manner. We need to specifically identify what we want
   8 to fix and specifically address those issues. This bill
   9 does not do that.
  10            I'll tell you, folks, I did well in math
  11 in public schools. So I can do the math on a second
  12 conference committee. I know where the votes are going
  13 to be. I don't see a danger in that. It will take some
  14 time. It will take less time than we are spending here
  15 spinning our wheels on this thing and discovering more
  16 pitfalls.
  17            So I guess I ask my colleagues on this
  18 side of the aisle: What do we have to lose by spending
  19 a little more time looking for some of these obvious
  20 pitfalls that are there?
  21            This issue is an emotional one in all of
  22 our districts, all of our districts, not just rural.
  23 It's an emotional issue in every one of our 65
  24 districts. We owe it to all of our constituents, all of
  25 our constituents to get it as right as possible. And
  0027
   1 I'm not under the delusion that we're going to fix it
   2 all in this one, but to get as right as possible.
   3           Our state is speaking loud and clear on
   4 this issue on both sides of the aisle. We're going to
   5 be held accountable for what we do on it. So let's take
   6 the time to get it as close to right as possible. Let's
   7 use a second conference committee to find the pitfalls
   8 before we fall face first into another one, whether that
   9 be 4-H, whether that be pawn shops, whether that be --
  10 fill in the blanks. They are there and they are real
  11 pitfalls. We've seen those in the conference committee
  12 report, and we've seen them in the amendments coming
  13 over from the Senate.
  14            The majority in both houses is not going
  15 to change, folks, but I think we can change the number
  16 of problems in this bill by going to a second conference
  17 committee. And I would urge an aye vote on that. Thank
  18 you.
  19            MR. SPEAKER: Representative Fields.
  20            REPRESENTATIVE FIELDS: Thank you,
  21 Mr. Speaker.
  22            And I urge everyone to vote no on a second
  23 conference committee. What the bill does is it clearly
  24 outlines 10 different exceptions to address many of the
                                                                                                     LEG HX 000948                    4863
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  25 thingsAppellate
              that we'reCase:
                         talking14-1290
                                  about here Document:   01019371764
                                             today. There's                           Date Filed: 01/16/2015            Page: 200
  0028
   1 five permanent exceptions and there's five temporary
   2 exceptions. And if you follow along with me, you can
   3 see where they are.
   4           There is a permanent exception regarding
   5 the transfer of an antique firearm. There's another
   6 permanent exception as it relates to the transfer
   7 amongst family members. And in conference committee,
   8 and when it came back to the Senate, we expanded that.
   9 And in that expansion, we added nephews, first cousins,
  10 uncles and aunts, and those kinds of things. You can
  11 find that on page 5, line 13 through 16.
  12            We also identify as a permanent exception
  13 the transfer due to inheritance. That's on page 5, line
  14 17 through 20.
  15            Also, we identify as a permanent exception
  16 a transfer for maintenance and repairs of guns.
  17            Also another, the final permanent
  18 exception we have, is those of military and the
  19 deployment to family members. The temporary exceptions
  20 include a temporary transfer to anyone who legally can
  21 possess a gun, which means they cannot be someone who
  22 has domestic violence and those kinds of things in their
  23 background, for up to 72 hours. So that's kind of a
  24 catchall in some situations. You can transfer that gun
  25 up to 72 hours. That's on page 6, line 23 to 27.
  0029
   1           There's also a temporary transfer that
   2 occurs in the presence of owners. So you've been
   3 hearing a lot about the -- the 4-H clubs and those kinds
   4 of things. If the owner is there, they have a temporary
   5 ability to transfer that gun and they can use it. If
   6 they're out on a shooting range or they're at a 4-H club
   7 or whatever, they can do that.
   8           And there's also the temporary transfer
   9 for self-defense. And there's a temporary transfer at a
  10 shooting range or a shooting competition. That's on
  11 page 6, line 3 to 8.
  12            Also there's -- I mentioned this already,
  13 but there's a temporary transfer while fishing, hunting,
  14 or trapping.
  15            So the bill does already have in place 10
  16 exceptions where you will not be required to have a
  17 background check.
  18            As it relates to the 4-H scenario that
  19 we've heard where a child is given a gun and they go
  20 home and they're with another adult -- I'm quite sure
  21 they're not giving that gun to an -- that child is being
  22 supervised by an adult. And so that has to be
  23 addressed. And in situations like that, that adult who
  24 is supervising that child while he has that gun will
  25 require a background check.
  0030
                                                                                                     LEG HX 000949                    4864
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               MR. SPEAKER:                   Document:
                                    Representative  Saine. 01019371764                Date Filed: 01/16/2015            Page: 201
   2           REPRESENTATIVE SAINE: Thank you,
   3 Mr. Speaker.
   4           Representative Fields, I very much
   5 appreciate the exceptions that were made, however, what
   6 I don't understand is I can give -- transfer a weapon to
   7 a child that's born of me, my child. If I get
   8 remarried, I can't do this to my stepchild. I thought
   9 we had a lot of conversations that family is family. So
  10 I urge us to take another look at this, please. If
  11 family is family, let's make that so and let's make it
  12 inclusive. Thank you.
  13            MR. SPEAKER: Representative Rankin.
  14            REPRESENTATIVE RANKIN: Thank you,
  15 Mr. Speaker, and thank you, Representative Fields, for
  16 clarifying those exemptions.
  17            I'm afraid this still doesn't solve my
  18 problem for hunting trips. As I understand it, the
  19 temporary exemptions are all 72 hours. Most of these
  20 trips are a week or longer. And you might argue that --
  21 you know what I would like to see, Representative
  22 McCann, if we go back to conference committee, is -- for
  23 example, let's exempt hunters who are hunting in a unit
  24 where they have a valid license. But we haven't done
  25 that because these issues keep coming up. And that's
  0031
   1 the reason that we need to be more careful and clarify
   2 some of these issues.
   3           You might say it doesn't make any
   4 difference, you know, the guys that go out hunting
   5 aren't really going to pay much attention because the
   6 likelihood of a game warden coming out and checking on
   7 them is not great. But we're talking about perception,
   8 the perception that a hunter who comes out for two weeks
   9 really can't -- doesn't qualify to borrow somebody
  10 else's weapon or use another hunting rifle. But the
  11 very perception is causing people not to book their
  12 trip. And that's what I'm concerned about. I'm
  13 concerned about the economic impact of the perception of
  14 this requirement.
  15            So these are things that need to be
  16 clarified to support our businesses and our people. So
  17 I ask for this conference committee.
  18            MR. SPEAKER: Any further --
  19 Representative Sonnenberg.
  20            REPRESENTATIVE SONNENBERG: Thank you,
  21 Mr. Speaker, for my last two minutes.
  22            Representative Fields, you highlighted the
  23 exceptions, except they didn't address any of the
  24 questions we had. It doesn't count to any of those that
  25 we brought forward, the five days, the hunting trips --
  0032
   1 yes, hunting for a day, yes. Hunting for 72 hours, yes,
   2 that's included, where we backpack into the hills, where
                                                                                                     LEG HX 000950                    4865
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           Appellate
   3 the kids take theCase:
                        firearm14-1290
                                 home -- and,Document:     01019371764
                                               yes, it's given                        Date Filed: 01/16/2015            Page: 202
   4 to the kids. But, quite frankly, 4-H kids haven't been
   5 the subject of gun violence. So why would we
   6 criminalize them? Allow them to learn so they can
   7 handle guns safely. We're taking that away. It needs
   8 addressed.
   9          Quite frankly, many of the parents of some
  10 of those kids, I'm not sure I want supervising them
  11 because many of those kids in 4-H programs are looking
  12 for a place to go to get that leadership and that
  13 direction that they may not be getting at home. I want
  14 them to have a chance. I want them to have a chance.
  15           I want to fix the bill. I want to help.
  16 And the way we do that is go back to committee. We
  17 stand nothing to lose. If you don't like what the
  18 committee comes up with, and the committee can't agree,
  19 we are no worse off than we are now.
  20           I ask for a yes vote.
  21           MR. SPEAKER: Representative Humphrey.
  22           REPRESENTATIVE HUMPHREY: Thank you,
  23 Mr. Speak.
  24           I'd just like to bring back up the issue
  25 of movers having possession of firearms for more than
  0033
   1 the 72 hours and also the issue of a layover at DIA and
   2 the issues of liability there. I think those still
   3 aren't addressed. And we'd like to hear answers to
   4 those as well. And we'd appreciate that. Thank you.
   5          MR. SPEAKER: Representative Gardner.
   6          REPRESENTATIVE GARDNER: Thank you,
   7 Mr. Speaker.
   8          Representative McCann, Members, I was
   9 amazed and disappointed at this first conference
  10 committee report, because I truly expected when the
  11 issues were raised on the floor that I would see a
  12 comprehensive program that would deal with
  13 organizational entities, whether they be corporations or
  14 nonprofits, hunting clubs -- all sorts of things. In
  15 fact, I offered to some stakeholders some ideas about
  16 how to deal with that.
  17           And one of them -- and I hesitate to say
  18 this in the well because I am not one who favors a lot
  19 of government regulation, but, unfortunately, a
  20 regulation as draconian as this begets a comprehensive
  21 rulemaking. And there isn't an authority in the
  22 committee report or the bill, as drafted and as passed
  23 out of the House and back from the Senate, that really
  24 permits any kind of a rulemaking to deal with what are a
  25 thousand, thousand special kinds of cases, special
  0034
   1 issues. And I suspect we haven't thought of all of them
   2 yet. That's why there's a rulemaking process to deal
   3 with these kinds of issues.
   4          Make no mistake, my preference is that we
                                                                                                     LEG HX 000951                    4866
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           Appellate
   5 not have           Case:
                this bill, but if14-1290     Document:
                                  we must, then            01019371764
                                                let's not put                         Date Filed: 01/16/2015            Page: 203
   6 ranches out of business or their employees at risk.
   7 Let's not put security companies that do have armed
   8 security guards out of business or at risk. Let's not
   9 make it difficult for hunters, outfitters, and all of
  10 those organizations, entities, clubs, nonprofits, boy
  11 scouts, girl scouts, all of the myriad of entities
  12 that -- some of which we haven't even thought of,
  13 situations that we haven't even addressed.
  14            And we sent this to conference committee
  15 to get those things addressed, and we get four or five
  16 lines back, frankly. And I'm not sure why that was. I
  17 wasn't on the conference committee. But to put this
  18 into law with as many issues that have been raised,
  19 without the authority for DPS or an appropriate body of
  20 the executive branch to engage in a comprehensive
  21 rulemaking, and to take testimony from the public about
  22 how it's going to work and how it's going to affect
  23 them, is to disregard the citizens' needs.
  24            Now, I think underlying this is that
  25 somehow firearms are inherently evil, so we just have to
  0035
   1 keep them out of everybody's hands. But what comes into
   2 stark focus, very sharp focus, as we have this
   3 discussion is that these are tools. They're items of
   4 protection. They're instruments of recreation. There
   5 are many, many more legitimate uses of firearms in our
   6 communities than there are the illegitimate criminal
   7 uses, and that there are many, many, many more citizens
   8 out there who possess and use firearms for self-defense,
   9 for recreation, for safety and security than there are
  10 those who use them illegally.
  11            And the irony is, and in particular with
  12 this first conference committee report, is that those
  13 who would violate the law, those who would use firearms
  14 for criminal purposes are not the least bit concerned
  15 with anything that we're doing here today.
  16            It is only those who would obey the law,
  17 it is only those legitimate entities that need firearms
  18 for safety, security, and recreation that are going to
  19 be concerned at all. And instead of making that better
  20 at the conference committee, we've raised, as my friend
  21 Representative McNulty points out, we've raised still
  22 more questions, still more problems, still more
  23 uncertainty, as Representative Rankin points out, the
  24 kinds of uncertainty that we'll lose jobs, hurt the
  25 economy, and make it difficult for farms and ranches,
  0036
   1 corporations and nonprofits to do business and exist in
   2 Colorado.
   3           Now, I think there's a tendency, as
   4 Representative Sonnenberg makes this motion to dissolve
   5 the first conference committee and go to a second
   6 conference committee and go beyond the scope, to resist
                                                                                                     LEG HX 000952                    4867
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           Appellate
   7 and defend.   ButCase:   14-1290
                        we need  to get thisDocument:
                                             right for the01019371764                 Date Filed: 01/16/2015            Page: 204
   8 people of Colorado. Everybody says we want to get this
   9 right. I hope no one says we want to get this wrong.
  10 But we're just asking, we're just asking for an
  11 opportunity to get this right. And if that means that
  12 we need the conference committee to have language about
  13 rulemaking, that we need a conference committee to
  14 address the myriad of organizations, entities, and
  15 situations that use firearms, then let's do that, let's
  16 do it right. Let's not have to come back here next year
  17 and fix it five times over and do it time after time
  18 after time to try to tweak it.
  19           I support this motion. Let's support it.
  20 Let's not, for the sake of obstinance or principle or
  21 simple desire to move this bill on because we've said
  22 we're going to move it on -- for heaven's sake, let's do
  23 it right.
  24           We need to get this right. And I defy
  25 anyone over here to my left to tell me that it's okay to
  0037
   1 get it wrong or to create more unintended consequences
   2 than we solve, when we could simply go to a conference
   3 committee, go to a conference committee this afternoon,
   4 on Monday afternoon.
   5           This is not day 118 or 19 of the session.
   6 This is day 66. And this bill is almost done. And
   7 we're pretty close to done, whether I'm happy with that
   8 or not. But I would like to get it right. And I have a
   9 lot of ideas about what a good regulatory regime would
  10 look like.
  11           Again, my friend and colleague
  12 representative McNulty raised important issues that are
  13 present on the face of the conference committee report.
  14 And, frankly, they're easily enough fixed. There are
  15 models out there to do it, models of weapon custodians,
  16 background checks --
  17           MR. SPEAKER: Representative Gardner, your
  18 time has expired.
  19           REPRESENTATIVE GARDNER: Thank you,
  20 Mr. Speaker. Vote yes on this motion.
  21           MR. SPEAKER: Representative Saine.
  22           REPRESENTATIVE SAINE: Thank you,
  23 Mr. Speaker.
  24           Since we were talking about being
  25 inclusive earlier, I want to bring up a note that I just
  0038
   1 received from my constituent, and he says that he lives
   2 with his partner, but they're unmarried. And what if
   3 that partner has access to his weapons and she uses it
   4 to defend herself against a home invasion, a burglary.
   5 Are they both going to jail under this bill? So I do
   6 have a suggestion. Since we talked about stepchildren
   7 and family is family, maybe there could be some
   8 exception for a homestead as well. And that may clear
                                                                                                     LEG HX 000953                    4868
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   9 up this part of theCase:
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                                So just consider          01019371764
                                                 that in the                          Date Filed: 01/16/2015            Page: 205
  10 committee. Thank you.
  11            MR. SPEAKER: Any further discussion on
  12 this motion?
  13            Seeing none, the question . . .
  14            UNIDENTIFIED SPEAKERS: (Inaudible.)
  15            MR. SPEAKER: The House will stay in a
  16 brief recess while we wait for the marijuana task force,
  17 the joint marijuana committee, to -- yes, I know -- to
  18 come back and see if they have any comments, and then
  19 we'll vote on this.
  20            (A recess was taken.)
  21            MR. SPEAKER: The House will come back to
  22 order.
  23            Is there any further discussion on the
  24 amendment or the motion to dissolve the first conference
  25 committee and form a second conference committee?
  0039
   1           Representative Wilson.
   2           REPRESENTATIVE WILSON: Thank you,
   3 Mr. Speaker.
   4           And, Representative Campbell, I've
   5 switched hats now. I'm going to put on my HD-60 hat and
   6 follow up on what Representative Rankin was talking
   7 about with the outfitters.
   8           We face a tremendous challenge with the
   9 outfitters and with the sportsmen and women that visit
  10 Colorado annually. The word is rapidly getting out that
  11 Colorado is not hunter friendly.
  12            My question for you would be,
  13 Representative McCann, is it possible, as we look at
  14 those people who come to Colorado, that an exception be
  15 made because, as Representative Fields pointed out,
  16 we've got some exceptions in there -- so that we could
  17 have an exception for licensed hunters, which, through
  18 the DOW, they have their license, they receive their
  19 license -- they're a valid hunter coming for a valid
  20 season -- that we could exempt them for the length of
  21 that season so that they wouldn't be looking at the
  22 background check issue, because, Colleagues, let's not
  23 shoot ourself in the foot -- and that pun is intended --
  24 as we do this.
  25            And if we don't make some exception for
  0040
   1 those sportsmen, then economically it's really going to
   2 hurt us. The Outdoor Channel is already starting to run
   3 information that Colorado is not hunter friendly. And
   4 as we look at the DOW, the enforcement piece of this is
   5 horrendous because now an officer, if they make contact
   6 with me in Unit 82, they see that I have a weapon,
   7 they're going to have to check to see if I've got a
   8 background check to have that weapon. So we're adding
   9 that work to them.
  10            We are also in that situation -- then we
                                                                                                     LEG HX 000954                    4869
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                                  our tourists          01019371764
                                               because not only                       Date Filed: 01/16/2015            Page: 206
  12 do they get checked for the background check, but also
  13 they have to get checked for their license and all the
  14 other multiple things that we have. And what we're
  15 essentially doing is hurting our economy. As we're
  16 looking to protect our citizens, we're hurting our
  17 economy. And I think we can protect both in this
  18 situation.
  19            Visiting sportsmen and women are not the
  20 problem that we're trying to deal with. And they're
  21 important to our economy and they're important to HD-60.
  22 So I think if we can come up with an exception for those
  23 who are in the sporting field -- and that doesn't just
  24 include the shooting sports, because I've met plenty of
  25 mountain bikers in HD-60 that were carrying a weapon,
  0041
   1 and they would fall under the same situation.
   2           So I think that if we couple this
   3 legislation with some exceptions, we can cover that. If
   4 not, we are sending the word that Colorado is not hunter
   5 friendly. So I would urge that we go back to conference
   6 committee and address these issues. Thank you.
   7           MR. SPEAKER: Representative Fields.
   8           REPRESENTATIVE FIELDS: Thank you,
   9 Mr. Speaker.
  10            And, Representative Wilson, if you look on
  11 page 6, the bill celebrates hunting and fishing and
  12 those kinds of things in our state. So there is no time
  13 limit at all. So the 72 rule does not apply while
  14 you're hunting and fishing. So if you're coming to the
  15 state of Colorado, you're welcome to do so. There is
  16 not a time limit associated with hunting in the state of
  17 Colorado with this bill.
  18            MR. SPEAKER: Representative Scott.
  19            REPRESENTATIVE SCOTT: Thank you,
  20 Mr. Speaker, I appreciate it.
  21            The concern about the hunting and fishing
  22 industry, I think we really, really have to think about
  23 this. There's several representatives in this room that
  24 our districts are going to be impacted tremendously. I
  25 know Representative Vigil, Representative McLachlan,
  0042
   1 myself, Representative Wright, Representative Coram --
   2 wherever you are -- this is a huge impact to our
   3 districts, huge.
   4           I don't know -- and, again, I'm going to
   5 throw out things that you may not know -- but just
   6 recently in the Field and Stream Magazine, Grand
   7 Junction, Colorado, was rated No. 6 in the United States
   8 for hunting and fishing opportunities. That's a big
   9 deal for us. That's a huge deal for us. We cannot
  10 afford to lose any revenue stream, perceived or
  11 otherwise, from that industry.
  12            We have hunters that come in from all over
                                                                                                     LEG HX 000955                    4870
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                                                           tens                       Date Filed: 01/16/2015            Page: 207
  14 of thousands of dollars on their hunting adventures. If
  15 they, for one second, believe that there's going to
  16 be -- something is problematic about them coming to
  17 Colorado, there's a lot of places they can go. And for
  18 us to take maybe 24 more hours to take one more look
  19 with a new conference committee just seems crazy that we
  20 would not do that.
  21            So I'd ask Representative McCann and
  22 Representative Fields to really, really consider the
  23 impact that they may have, unintended, of course -- I
  24 know they don't intend to do that because they don't
  25 live over there -- but we are talking billions of
  0043
   1 dollars in revenue for the state of Colorado that goes
   2 to all kinds of programs and helps all kinds of people.
   3           So I would just ask that we just take a
   4 few more -- a few more hours, if you will, to make sure
   5 we don't damage this incredibly important industry in
   6 the state of Colorado. Thank you.
   7           MR. SPEAKER: Representative McCann.
   8           REPRESENTATIVE McCANN: Thank you,
   9 Mr. Speaker.
  10            Colleagues, hunting is excepted in this
  11 bill. If you look on page 6, lines 9 through 13, the
  12 bill specifically makes an exception for a temporary
  13 transfer of possession without transfer of ownership,
  14 which takes place while hunting, fishing, or target
  15 shooting or trapping, as long as that's legal in the
  16 places where it's taking place. So your concern about
  17 the hunting camp is totally misplaced. This bill makes
  18 a specific exception for that. And it's very clear on
  19 page 6, lines 9 through 13.
  20            So if you have -- are running a hunting
  21 camp and you have people flying in to hunt and you want
  22 to be able to have them use your guns, all you have to
  23 do is do a temporary transfer. There's no requirement
  24 for a background check. The person can use the gun as
  25 long as they want to, hunting, and there's no problem.
  0044
   1 So this is totally a red herring. This is not an issue
   2 in this bill. Hunting will continue. We have no
   3 intention of preventing outriggers or hunting camps from
   4 operating. There's no problem here.
   5           Also, with respect to the idea that
   6 Wildlife would be checking hunters for their background
   7 checks, Wildlife doesn't enforce the criminal laws.
   8 They enforce the regulatory laws. So they'll be
   9 checking the guns to make sure they only have three
  10 rounds, which is a rule of Wildlife. So they will
  11 continue to do their job just as they currently have.
  12 But as far as hunters being able to come in from out of
  13 state and hunt and use guns that they don't bring in
  14 with them, there's no problem.
                                                                                                     LEG HX 000956                    4871
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                                 guns in, there's no     01019371764                  Date Filed: 01/16/2015            Page: 208
  16 problem there either, because they purchased them
  17 outside of the state. So you guys aren't listening, but
  18 I'm explaining why this is not an issue.
  19           So if you look on page 6, lines 9 through
  20 13, you will see that hunting -- the hunting camp is not
  21 an issue under this bill. There's a clear exception for
  22 a temporary transfer while somebody is hunting, and
  23 there's no time limitation on it.
  24           And while I'm up here, because I can only
  25 speak twice, let me just address a little bit the 4-H
  0045
   1 issue as well. If there is a temporary transfer of a
   2 weapon to a young person -- I presume the adults in the
   3 family will be supervising the handling of the gun. So,
   4 yes, the adult will be required to get a background
   5 check, because we don't want guns in the homes of people
   6 who don't have background checks. That's the whole
   7 point. So the parent will get the background check
   8 because the parent will be supervising the child while
   9 the gun is being used or handled in the house. So that
  10 should cover the 4-H situation. Or the other way it
  11 could be done is the transfer of the gun could take
  12 place at the shooting range, which is, again, on page 6,
  13 lines 3 through 8. The temporary transfer from one
  14 family to another can take place at the shooting range
  15 or at a target firearm shooting competition.
  16           So if the temporary transfer takes place
  17 at that location, there would not be the necessity for a
  18 background check.
  19           MR. SPEAKER: Representative McCann, your
  20 time has expired.
  21           REPRESENTATIVE McCANN: All right. Thank
  22 you very much. Vote no.
  23           MR. SPEAKER: Representative Gerou.
  24           REPRESENTATIVE GEROU: Thank you,
  25 Mr. Speaker.
  0046
   1          And, Members, I'm sorry, we were across
   2 the street spending your money for K through 12, and
   3 we're doing a good job.
   4          When I came back over, I was asked by one
   5 of the members how much money we spend in wildlife
   6 expenditures. And let me -- I don't get to read from
   7 the appropriation committee's report or the
   8 appropriations report much, the bill, so I will do that.
   9          The wildlife subdivision manages the
  10 state's 960 game and nongame wildlife species by issuing
  11 fishing and hunting licenses, enforcing wildlife
  12 regulations, protecting habitat and native wildlife
  13 populations, and managing approximately 1.4 million
  14 acres, including 352 state wildlife areas.
  15           And the reason I'm coming down here today
  16 is I have a very strong interest in maintaining our wild
                                                                                                     LEG HX 000957                    4872
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  17 lands.Appellate
               They areCase:   14-1290
                         very, very importantDocument:
                                                to me. And 01019371764
                                                             I                        Date Filed: 01/16/2015            Page: 209
  18 think they're all important to everybody here in the
  19 room.
  20            Funding for the wildlife subdivision is a
  21 mixture of cash funds from license fees, federal funds,
  22 Great Outdoors Colorado funds, and various other
  23 sources.
  24            Hunting and fishing license sales,
  25 approximately 2.3 million in fiscal year '11/'12,
  0047
   1 provide more than half of the funding for Wildlife. So
   2 when Representative Scott was saying that he was
   3 concerned about making sure that we protect our hunting
   4 in Colorado, it is with good reason, because it's a huge
   5 amount of dollars.
   6            So approximately 65.4 percent of total
   7 hunting and fishing license sales are from big game
   8 species. And I don't know if the sponsors are
   9 listening, but this is mainly from elk and deer. And
  10 about half of all revenues from hunting and fishing
  11 license sales come from the sale of nonresident big game
  12 hunting licenses. The total amount of money that we
  13 take in from big game hunting for '12/'13 is estimated
  14 to be at $52 million. $52 million. And those dollars,
  15 the whole Wildlife revenue budget is 121 million.
  16            So, basically, Representative Scott's
  17 concern about going back and examining this to make sure
  18 that we aren't going to be putting those dollars at risk
  19 makes sense, because if you're talking about just under
  20 half of $121 billion budget item, it does give you cause
  21 for concern.
  22            I think we need to go back and reexamine
  23 this. I support a new committee -- conference
  24 committee. Thank you.
  25            MR. SPEAKER: Representative Scott.
  0048
   1            REPRESENTATIVE SCOTT: No.
   2            MR. SPEAKER: Representative Murray.
   3            REPRESENTATIVE MURRAY: Thank you,
   4 Mr. Speaker.
   5            As I've been listening, it just seems like
   6 there's a long list that we're ticking off of issues
   7 that still are unanswered regarding farm family
   8 operations, youth organizations, 4-H kids, stepkids,
   9 stepchildren, pawn shops. And I can't believe that
  10 we're not going to be given the opportunity to talk
  11 about these important issues before we send this to the
  12 governor's desk. I mean, are we going to send something
  13 to the governor with this many holes in it? I guess I
  14 would -- you know, if somebody in the governor's office
  15 is listening, we need your leadership here. We need you
  16 to call down and say, Hold on, we need to talk about
  17 these very real issues.
  18            You know, we're talking about a pawn shop
                                                                                                     LEG HX 000958                    4873
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  19 in south  ColoradoCase:
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                                doesn't knowDocument:
                                              whether he's01019371764
                                                            going                     Date Filed: 01/16/2015            Page: 210
  20 to go out of business or not because we really can't get
  21 a good answer about whether what he is doing now
  22 currently is going to be acceptable under this law. The
  23 farm family operations and someone within -- if it's a
  24 corporation and the use of the gun in that situation.
  25 Our youth organizations, our 4-H kids. And that was
  0049
   1 offered in a minority report that we have not even
   2 gotten to today to handle that, and yet that was
   3 rejected in the conference committee.
   4          So I would say -- I understand there's
   5 been some polling done, and maybe citizens support the
   6 concept of this bill, but I don't think the citizens of
   7 our state intend for us to be putting people out of
   8 business and telling our 4-H kids that they can't
   9 participate in shooting sports. So let's take a deep
  10 breath here and make sure that we're plugging as many
  11 holes as we possibly can before we send this to the
  12 governor's desk.
  13           I really encourage you to consider going
  14 to another conference committee. Thank you.
  15           MR. SPEAKER: Representative Nordberg.
  16           Representative DelGrosso.
  17           REPRESENTATIVE DelGROSSO: Thank you,
  18 Mr. Speaker.
  19           And, Members, I apologize, I kind of -- we
  20 missed the first part of this debate. So I won't try to
  21 go through a whole long list of stuff because I'm pretty
  22 sure that my colleagues already did a pretty good job of
  23 arguing a lot of the points. In talking with them, it
  24 does sound that the first conference committee -- I was
  25 able to go to that first conference committee, and there
  0050
   1 was some headway and some things that were able to get
   2 talked about and hashed out, and there are some things
   3 that have gotten better with this bill. But I don't see
   4 what the hurry is.
   5          What is it going to be if we take one more
   6 day to send this back just one more time and say, Okay,
   7 here's the other list of questions. Here are some other
   8 issues that are there. We take this into a new
   9 conference committee. So that way, when the bill
  10 actually comes out, it's passed. And if the governor
  11 decides to sign it and it goes out to the people, I
  12 mean, I think everybody in this chamber, whether you
  13 support it or not, can legitimately say we had -- we at
  14 least sent it back to that conference committee several
  15 times. We talked about the issues. We tried to fill
  16 all the different holes that were there, instead of
  17 trying to rush this thing through.
  18           I don't see what one more day with sending
  19 this back to a conference committee, how that's going to
  20 harm anybody and why just that extra day, why we won't
                                                                                                     LEG HX 000959                    4874
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  21 just take         Case:
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                                                  -- you know,                        Date Filed: 01/16/2015            Page: 211
  22 the hunting thing definitely is a huge issue. Now, we
  23 hear there is language in there that, well, we think
  24 this covers it, but it's not 100 percent for sure.
  25           We heard from Representative Gerou talk
  0051
   1 about the millions of dollars that the industry brings
   2 into the state of Colorado. I mean, you've got Montana.
   3 You've got Wyoming, Arizona, New Mexico -- there are
   4 several other states right around here that, when
   5 somebody is booking from Germany or some other country
   6 around the world where they're thinking about coming
   7 here, and now we've got several different hoops that
   8 they have to jump through to come here -- I mean, when
   9 they're spending the kind of money that they're spending
  10 to come here and they can go to another state around
  11 here where they don't have to do any hoops, why would
  12 they not go to some other state? What incentive are we
  13 giving them to come here by putting these extra burdens
  14 into place?
  15           So I think it is a hundred percent
  16 appropriate that we go back to that conference committee
  17 one last time, try to address these few issues that are
  18 still lingering out there. And then I would think that
  19 you guys could go back with a straight face to your
  20 constituents and say, Hey, we sent this thing back to a
  21 conference committee a couple of times. We hashed out
  22 all the issues that those crazy republicans kept
  23 bringing up, and we talked about all of that stuff. So
  24 I urge that we support sending this back to a conference
  25 committee again.
  0052
   1           MR. SPEAKER: Representative Nordberg.
   2           REPRESENTATIVE NORDBERG: Thank you,
   3 Mr. Speaker.
   4           Members, we've heard about 4-H, hunting
   5 and fishing -- there's just a lot of holes that still
   6 need to be patched up. And one that I will continue to
   7 bring up because I'm not sure if it's been addressed or
   8 discussed properly, but moving companies. When people
   9 come into our state, you know, it's very well
  10 reasonable, it's not within the realm of impossibility
  11 that a moving company might have a gun for 72 hours or
  12 more. Are we going to criminalize them?
  13           Representative DelGrosso brought up the
  14 fact of hunting. We're in the four states here; some of
  15 the best hunting in the world. We have stiff
  16 competition from our neighboring states.
  17           So I just ask that we go back to
  18 conference committee, address some of these issues.
  19 Thank you.
  20           MR. SPEAKER: Representative Humphrey.
  21           REPRESENTATIVE HUMPHREY: Thank you,
  22 Mr. Speaker. Thank you to the majority party for
                                                                                                     LEG HX 000960                    4875
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  23 indulging          Case:
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                                 after 3 o'clock now.      01019371764                Date Filed: 01/16/2015            Page: 212
  24            I just want to bring back this issue with
  25 the airports, DIA, airlines. What's going on there?
  0053
   1 Seventy-two hours, layover, snowstorm, how does that get
   2 dealt with? I think that's an important issue. I'm
   3 sure they'd like to have that answered.
   4           And as a gun owner, as a hunter, I just
   5 think about people coming here for tourism, for hunting.
   6 And if they have to come here and deal with these
   7 transfer issues, I'm afraid that we could lose business,
   8 that that could hurt our state. Why not exempt them
   9 during hunting season? We need to address that.
  10            And I'd really appreciate some answers to
  11 that and would like to call for that conference
  12 committee to deal with those issues. Thank you.
  13            MR. SPEAKER: And, Representative
  14 Humphrey, both Representative McCann and Representative
  15 Fields have talked twice on this motion, so they cannot
  16 speak again.
  17            Is there any further discussion?
  18            Representative Priola. Please be in the
  19 well if you want to discuss something.
  20            REPRESENTATIVE PRIOLA: Thank you,
  21 Mr. Speaker.
  22            I rise in support of the motion to send
  23 this to another conference committee. Members, this
  24 bill, in my opinion, was poorly conceived in the
  25 beginning and continues to be poorly written. The fact
  0054
   1 that the lion's share of folks that have worked on this
   2 and voted on this have little or no experience with
   3 firearms, with hunting, have never been to the wilds of
   4 this state during hunting season. And understand --
   5           MR. SPEAKER: Representative Priola,
   6 please talk about the bill, not about the members.
   7           REPRESENTATIVE PRIOLA: Thank you,
   8 Mr. Speaker. This is to the functionality of the --
   9           MR. SPEAKER: And please talk about the
  10 bill, Representative Priola.
  11            REPRESENTATIVE PRIOLA: This bill, as it
  12 is currently written and currently conceived, will have
  13 very bad ramifications for the hunting industry as well
  14 as the Second Amendment rights of Coloradans. I have
  15 been hunting -- we don't hunt there any longer because
  16 of the change with the Division of Wildlife on the
  17 herds, but for about 10 years, I hunted in northwest
  18 Colorado. And the Division changed the rules on price
  19 of out-of-state tags. That drastically cut back the
  20 number of out-of-state hunters.
  21            I submit to you that this bill, especially
  22 with the current language of it, will be yet another
  23 item that will affect folks' decisions from out of
  24 state, out of country, on coming to the state of
                                                                                                     LEG HX 000961                    4876
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  25 Colorado.    And Case:
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                                                          side of                     Date Filed: 01/16/2015            Page: 213
  0055
   1 the aisle. But this is bad policy from the get-go, and
   2 I support sending it to another conference committee.
   3           MR. SPEAKER: Seeing no further
   4 discussion, the question before the House is to dissolve
   5 the first conference committee and form a second
   6 conference committee to go beyond the scope of
   7 differences.
   8           Mr. Kolar, please open the machine and
   9 members proceed to vote.
  10            Representative Scott, you're fined $2 for
  11 not having your jacket.
  12            Representatives Buckner, Duran, Fields,
  13 Gardner, Gerou, Lebsock, Stephens.
  14            Representatives Gerou, Lebsock, you're
  15 excused.
  16            Close the machine. With 27 aye votes, 34
  17 no votes, four excused, and zero absent, the motion to
  18 dissolve the first conference committee report and to
  19 proceed to a second conference committee report is lost.
  20            Representative McNulty.
  21            REPRESENTATIVE McNULTY: Thank you,
  22 Mr. Speaker. And that's unfortunate. There was a time,
  23 oh, yesterday or the day before, whenever it was, that
  24 the majority allowed this bill to go to conference to
  25 address the issues that were present. The conference
  0056
   1 committee report that we received didn't address those
   2 issues, so I don't know why we went through the
   3 conference committee. I mean, it's all well and good and
   4 fine for the majority to tell us that we'll address --
   5 we recognize your concerns, we'll address your concerns,
   6 let's go to a conference committee. Isn't this great?
   7 Those of the conference committee railroads the minority
   8 party, comes back with a committee report that doesn't
   9 address the issues that were present.
  10            So now we have in front of us a bill with
  11 the same problems that it had before it went to
  12 conference committee. We have tried to send this to
  13 another conference committee to address those issues.
  14 My fear is that when this bill is passed, when it is put
  15 into the books and when law enforcement goes out to --
  16            MR. SPEAKER: Representative McNulty --
  17            REPRESENTATIVE McNULTY: -- make sure --
  18            MR. SPEAKER: Representative McNulty, we
  19 are talking about the conference committee report.
  20 Please keep your remarks to the conference committee
  21 report and what is contained within it.
  22            REPRESENTATIVE McNULTY: And make sure --
  23            MR. SPEAKER: Representative McNulty.
  24            REPRESENTATIVE McNULTY: Thank you,
  25 Mr. Speaker.
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                                                                                                     LEG HX 000962                    4877
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               And make Case:
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                                 that the provisions are 01019371764                  Date Filed: 01/16/2015            Page: 214
   2 enforced, that they will find it confusing, that they
   3 will find it difficult to implement. And so when I say
   4 that we missed an opportunity, we really did. And when
   5 I say that our votes weren't likely to change, but we
   6 have an obligation to provide clear direction and to
   7 provide clear legislation, we do.
   8           MR. SPEAKER: Representative McNulty, we
   9 can debate the issues of the conference committee report
  10 on the bill, but the question before the House is the
  11 adoption of the conference committee report and what is
  12 contained within the conference committee report.
  13 Please keep your remarks to that topic.
  14            REPRESENTATIVE McNULTY: But this
  15 conference committee report doesn't do it. This
  16 conference committee report does not provide the clarity
  17 that was intended when we all voted to send this to
  18 conference. So what have we accomplished? What have we
  19 accomplished in the pursuit to provide clarity, in the
  20 pursuit to draft a bill that is understandable by not
  21 only law enforcement, but understandable by the people
  22 that will now be asked to live under it?
  23            We had hoped, I had hoped, that when we
  24 sent this bill to conference that you would at least
  25 address the issues that were present. Even though we
  0058
   1 disagree on the fundamental -- underlying fundamentals
   2 of the issue, that you would at least fix the bill
   3 through this conference committee report so that normal
   4 people wouldn't be hurt. And particularly and
   5 unfortunately, the problems are focused in rural
   6 Colorado. The challenges are focused in rural Colorado.
   7 And this committee report does nothing to address those
   8 issues. And I believe that to be unfortunate.
   9           I'm not going to vote for this committee
  10 report. Vote your conscience.
  11            MR. SPEAKER: Any further discussion on
  12 the committee report?
  13            Representative Waller, senate minority
  14 leader.
  15            REPRESENTATIVE WALLER: Thank you,
  16 Mr. Speaker.
  17            And while I would like to adopt most of
  18 the comments made by Representative McNulty, I do have
  19 one slight disagreement. I think we should adopt this
  20 conference committee report because, while it didn't do
  21 everything we wanted to do -- and we appreciate the
  22 majority party recognizing that there were some problems
  23 associated with the bill, and appreciate the ability to
  24 go back to the conference committee to fix those
  25 problems -- we didn't quite get there. We didn't quite
  0059
   1 get to do the things that we had hoped would happen in
   2 that conference committee. Some more things were
                                                                                                     LEG HX 000963                    4878
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                                                          a                           Date Filed: 01/16/2015            Page: 215
   4 pretty significant debate about.
   5           However, this conference committee did
   6 do -- the things that it did, while they were not
   7 enough, did do good things. The things that they did
   8 were right and just and proper. It addressed the issue
   9 of the family farm corporation purchasing a gun and not
  10 having to go through all of the checks for every single
  11 family member. It addressed those issues. It addressed
  12 some of those other corporate issues, the gun club being
  13 able to purchase the guns and not having to have every
  14 single member of the gun club then go through a
  15 background check in order for the gun club to purchase
  16 its own weapons.
  17            And so it did do some good stuff. I mean,
  18 I wish it had done more, I wish it had gone further, but
  19 it did do some good stuff. So I would ask that we vote
  20 yes on this conference committee report and still no on
  21 the bill.
  22            MR. SPEAKER: Representative Murray.
  23            REPRESENTATIVE MURRAY: Thank you,
  24 Mr. Speaker, and I appreciate the minority leader's
  25 comments about the good things that were included in the
  0060
   1 report, but in the minority report, there are a couple
   2 of additional things that I just can't understand why
   3 they're not in there. One is members of youth
   4 organizations, that we clarify the use of the firearms
   5 in those shooting kinds. Are we trying to stop shooting
   6 sports with our children's organizations, with 4-H? Is
   7 that what we're trying to do with this bill?
   8           Also, clarifying what family members are.
   9 Why would we not further clarify family members to
  10 include spouses, parents, children, siblings,
  11 grandparents, grandchildren, nieces, nephews, first
  12 cousins, aunts and uncles, step relations, partners of
  13 civil unions or domestic partnerships and in-laws? Why
  14 would we not include that definition in this conference
  15 report?
  16            Vote yes, but realize that we've left out
  17 some important points that need to be included in this
  18 bill.
  19            MR. SPEAKER: Representative Holbert.
  20            REPRESENTATIVE HOLBERT: Thank you,
  21 Mr. Speaker.
  22            Members, I join in the Colorado for an aye
  23 vote on the conference committee report. I am
  24 frustrated that there wasn't more done, but I do
  25 appreciate, again, the concerns that Representative
  0061
   1 Sonnenberg brought up about the gun club. And as I said
   2 earlier, I think Representatives McCann and Fields
   3 deserve our thanks for addressing that issue.
   4           It does continue to seem to be
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   6 see the questions start to arise. One of the problems
   7 that we have here with the conference committee report
   8 is that the loaning now of a firearm to an immediate
   9 family member, say a father to a son, that would be
  10 permitted. However, it isn't permitted from a father to
  11 a stepson. And with the number of blended families we
  12 have in our culture, it just seems shortsighted and
  13 unnecessary that we would put families in that kind of
  14 position and effectively create sort of second-class
  15 children. And I just think that's unnecessary.
  16            In my neighborhood, we have several
  17 blended families, and we consider those kids just to be
  18 part of the family, part of the neighborhood. And I
  19 have to believe that it's an unintended consequence, but
  20 that is one of the things that keeps popping up, the
  21 questions that I start getting in e-mail and phone calls
  22 and Twitter and Facebook and people asking, Well, what
  23 about this?
  24            And I'm sure that the bill will never be
  25 in a perfect form, but, you know, it's a frustrating,
  0062
   1 awkward situation to say, Thank you, can't we do better?
   2 And I suppose that is a subtle question. We, I guess at
   3 this point, can't go to a conference committee. It
   4 would have been so -- so nice to be able to fix some of
   5 those problems.
   6           I remain a yes on the conference committee
   7 report. I'll be a no on the bill. But also to the
   8 question, the subject that I spoke of earlier, the 4-H
   9 families, something over 100,000 kids in Colorado
  10 participate in 4-H. And those who are in the shooting
  11 program -- you know, I certainly appreciate that
  12 Representative Salazar, thank you, sir, had some
  13 questions about that. It is encouraging when folks from
  14 the other side of the aisle start taking up those
  15 conversations and, you know, what is this problem,
  16 really? But it does seem that we had the opportunity to
  17 do a better job, but something is better than nothing.
  18            So I ask for an aye vote on the committee
  19 report because at least it did address partially the
  20 concerns raised by my friend Representative Sonnenberg.
  21            MR. SPEAKER: Representative Sonnenberg.
  22            REPRESENTATIVE SONNENBERG: Thank you,
  23 Mr. Speaker and Members.
  24            I'm going to ask for a yes vote as well.
  25 I appreciate -- I appreciate the opportunity to go to a
  0063
   1 conference committee. Although I was a little
   2 disappointed in the conference committee and
   3 disappointed that some of the discussion was shut off
   4 and not allowed to happen, this does make it a little
   5 better. It allows for the ability for my wife to grab a
   6 gun 72 hours after I leave the house, and if I've got a
                                                                                                     LEG HX 000965                    4880
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   7 skunkAppellate    Case: to
            or a rattlesnake,  14-1290       Document:
                                  deal with that.         01019371764
                                                   I appreciate                       Date Filed: 01/16/2015            Page: 217
   8 that.
   9          I also appreciate the attempt to try and
  10 address the corporate. Even though we didn't get where
  11 I think we needed to go for other situations, I
  12 appreciate the effort. The others, however, I think we
  13 fall short. That's why I'll still be a no on the bill.
  14 And I'll talk about that in a moment, but I would urge
  15 you to vote yes on the conference committee report.
  16           MR. SPEAKER: Seeing no further
  17 discussion, the question before the House is the
  18 adoption of the first report of the first conference
  19 committee on House Bill 1229.
  20           Mr. Kolar, please open the machine and
  21 members proceed to vote.
  22           Representatives DelGrosso, Dore, Duran,
  23 Pabon, Rankin.
  24           DelGrosso excused.
  25           Close the machine.
  0064
   1          With 55 aye votes, six no votes, four
   2 excused, and zero absent, the first report of the first
   3 conference committee to House Bill 1229 is adopted.
   4          To the bill.
   5          UNIDENTIFIED SPEAKER: (Inaudible.)
   6          MR. SPEAKER: Actually, yes -- Madam --
   7          UNIDENTIFIED SPEAKER: (Inaudible.)
   8          MR. SPEAKER: Representative Fields.
   9          REPRESENTATIVE FIELDS: Thank you,
  10 Mr. Speaker. And I move for the repassage of House Bill
  11 1222.
  12           MR. SPEAKER: Seeing no -- okay, yeah.
  13           (Laughter.)
  14           REPRESENTATIVE FIELDS: 1229.
  15           MR. SPEAKER: 1229. She changed the bill
  16 number. Is there still a discussion? Okay, I guess so.
  17           Representative Sonnenberg.
  18           REPRESENTATIVE SONNENBERG: Thank you,
  19 Mr. Speaker.
  20           Members, we still have confusion. We
  21 still have misunderstandings on what this bill does or
  22 does not do. I have stepchildren. Actually, I don't
  23 have stepchildren; my wife has stepchildren. My wife
  24 could not allow -- the way this is now, my wife could
  25 not give my son or my daughters a gun, unless they get a
  0065
   1 background check. But their brothers, she can.
   2          My in-laws cannot come over to the house
   3 and watch the kids or the grandkids and have access to
   4 my guns without a background check.
   5          Is that really, really what you're after?
   6 Are you after my in-laws? I mean, Lord knows the
   7 definition -- and I tell this story -- the definition of
   8 mixed emotions is watching my mother-in-law drive off a
                                                                                                     LEG HX 000966                    4881
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              my new pickup.    That being Document:      01019371764
                                            said, I love my                           Date Filed: 01/16/2015            Page: 218
  10 mother-in-law and I love her to watch my kids, but she
  11 doesn't have access with this bill. Now she has to have
  12 a background check to protect my children and
  13 grandchildren when she is at my house.
  14            The holes that we have created here of
  15 law-abiding citizens, of those that we're not worried
  16 about, quite frankly, because we know for a fact that
  17 whatever law we pass, criminals don't care. That's what
  18 makes them criminals. Criminals don't care that we pass
  19 a background check when they're doing the back-alley
  20 deals. Those that cause the damage, do you really think
  21 that they will get a federal licensed dealer to do the
  22 background check? You know the answer to that. I know
  23 the answer to that. This bill does nothing to help
  24 prevent gun violence.
  25            All you have done is made 4-H kids,
  0066
   1 stepchildren, and in-laws criminals. For that, I urge a
   2 no vote.
   3           MR. SPEAKER: Representative Dore.
   4           REPRESENTATIVE DORE: Thank you,
   5 Mr. Speaker.
   6           Members, we are called and tasked down
   7 here to make legislation. I know to get to perfect is
   8 tough, but we need to work to get there as close as we
   9 can. And I appreciate the conference committee and the
  10 process, the attempt, but we're farther from perfect
  11 than we are towards perfect. And when we do that, we
  12 have those gray areas. And those gray areas will be
  13 family members in this case. The gray areas will be
  14 pawn shops, small business owners, and tourists who are
  15 coming to Colorado to enjoy what we have to offer. And
  16 because those haven't been addressed, I'll be a no vote.
  17 And when we don't address those areas, what it means is
  18 we lose tourism money to Colorado, we lose jobs in
  19 Colorado, and that is bad for Colorado.
  20            So I thank you for the efforts. We aren't
  21 there. I wish we had taken more time to come to the
  22 place where we could to make this better. And because
  23 we haven't, I will be a no vote. Thank you.
  24            MR. SPEAKER: Representative Rankin.
  25            REPRESENTATIVE RANKIN: Thank you,
  0067
   1 Mr. Speaker.
   2           Representative McCann, thank you for
   3 clarifying the hunting issue. I'm sorry that I was
   4 confused over the 72-hour limit on loaning a gun in a
   5 hunting situation, but unintended consequences point out
   6 that if I was confused, what about my hunting guides and
   7 the hunters in Colorado? The uncertainty, the
   8 uncertainty in this bill creates -- uncertainty is a
   9 killer of business and the economy. It always is. And,
  10 you know, that is what I am concerned about.
                                                                                                     LEG HX 000967                    4882
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  12 pass -- but I want to make you a promise. I want to
  13 make you a promise. Next year I'm going to be back up
  14 here, hopefully here, if I can get it out of committee,
  15 I'm going to be here talking about a bill, to either
  16 repeal or to dramatically clarify this background check
  17 bill. Background checks are not that unpopular, if we
  18 do them right. A lot of NRA members, a lot of hunters,
  19 a lot of people would go for a really good background
  20 check bill. But this bill has so much uncertainty -- I
  21 want to make you a promise that when I come down here
  22 with a bill to either repeal or clarify this, I'm going
  23 to bring with me a report on how many jobs were lost,
  24 how many jobs were lost in the hunting community, how
  25 many in tourism. It's going to be detailed. And I'm
  0068
   1 going to do it by county. I'm going to point out your
   2 counties and how many jobs were lost because of this
   3 bill.
   4           MR. SPEAKER: Representative Rankin, if
   5 you'll hold on --
   6           REPRESENTATIVE RANKIN: You can count on
   7 it.
   8           MR. SPEAKER: Representative Rankin, hold
   9 on one second.
  10            Members, we are sitting as a house. Can
  11 you please not have outside conversations and return to
  12 your desks. Thank you.
  13            Representative Rankin, please continue.
  14            REPRESENTATIVE RANKIN: Mr. Speaker, I'll
  15 just repeat, since everybody was talking, I will be here
  16 with a report on the jobs lost because of the
  17 uncertainty created by this bill. Thank you,
  18 Mr. Speaker.
  19            MR. SPEAKER: Representative Saine.
  20            REPRESENTATIVE SAINE: Thank you,
  21 Mr. Speaker.
  22            Well, Colleagues, we've had some
  23 discussion on some of the unintended consequences of
  24 this bill, including folks that live together that may
  25 have access to firearms. And especially women are the
  0069
   1 most vulnerable in the case of a burglary or a break-in.
   2 And if she uses those firearms, is she now liable for
   3 protecting herself because she didn't go through a
   4 background check?
   5           In general, background checks, there's a
   6 lot of myth. There's a lot of myth about background
   7 checks, that they stop criminals. Well, in 2010,
   8 Senator Chuck Schumer said that we stopped 1.7 million
   9 people from obtaining firearms. However, what he didn't
  10 mention was almost 95 percent of those were dropped in
  11 initial denial.
  12            Consider Senator Ted Kennedy was stopped
                                                                                                     LEG HX 000968                    4883
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  13 fromAppellate
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                               five times because        01019371764
                                                   his name  keeps                    Date Filed: 01/16/2015            Page: 220
  14 popping up on a list. Well, that didn't stop five
  15 criminals or five terrorists from flying on the plane.
  16 There are a lot of folks out there named Ted Kennedy
  17 that apparently had some kind of issue with the law.
  18           Background checks, especially a transfer
  19 between family members, stepchildren, members of a
  20 household, shouldn't be considered a crime. Again, most
  21 background checks are dropped, and only .1 percent
  22 involve strong enough evidence for a consideration for
  23 prosecution. .01 percent, I mean, that's a very small
  24 number. Because, again, Representative Sonnenberg had
  25 mentioned, criminals don't follow the law because
  0070
   1 they're criminals. That's why they're criminals. They
   2 can transfer to each other as much as they want, and
   3 they're probably doing it laughing, thinking about the
   4 folks that have to go through background checks to be
   5 legal.
   6           So I urge careful consideration of this
   7 bill, urge a no vote. This will not increase public
   8 safety, and it certainly sounds like it's going to hurt
   9 our 4-H kids and some of these other hunters that come
  10 in, and we're certainly losing some of these industries
  11 that have vowed not to come to Colorado because we're
  12 not friendly to them. We are not friendly to their
  13 values. We're not friendly to their family values or to
  14 their western heritage. I urge a no vote. Thank you.
  15           MR. SPEAKER: Representative Holbert.
  16           REPRESENTATIVE HOLBERT: Thank you,
  17 Mr. Speaker. And I appreciate your patience in this
  18 long day. These are important topics for me and a lot
  19 of us, all of us in the chamber, and I do appreciate
  20 your patience.
  21           Members, I do ask for a no vote once again
  22 on House Bill 1229. Have we created law? Will this law
  23 make a positive effect, have a positive effect,
  24 influence in our society? If this law was on the books
  25 in Connecticut, would it have prevented, in any way
  0071
   1 helped prevent the tragedy at Sandy Hook? No. A young
   2 man murdered his mother and stole guns and committed a
   3 just unspeakable tragedy. This bill, these requirements
   4 would not have affected that tragedy.
   5           How about Aurora, the theater shooting?
   6 Have we done anything to prevent that from happening
   7 again? No. As I understand, the shooter there passed a
   8 background check.
   9           Columbine -- what tragedy, what shooting
  10 event would have been prevented, deterred by this law?
  11 I can't find one.
  12           What we have created are requirements for
  13 law-abiding citizens, people who follow the rules,
  14 follow the law, will now get more background checks.
                                                                                                     LEG HX 000969                    4884
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  15 We'veAppellate     Case: 14-1290
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                                               building and                           Date Filed: 01/16/2015            Page: 221
  16 outside from people who have said they just won't
  17 comply. But it does put those people under greater
  18 burden.
  19            Why do we do that as a legislature? Why
  20 do we pass laws that put greater burden on the people
  21 who follow the law, follow the rules, pay the money? We
  22 do that because that's all that we can do. Simply, we
  23 can't legislate morality. We can't put words on a piece
  24 of paper and next year have them in a set of statute
  25 books back here in the bookcase. We can't put words in
  0072
   1 those books next year that will make bad people not do
   2 bad things. We don't have that ability.
   3           So what we do have the ability to do is
   4 put words in those books that require business people to
   5 follow new rules and pay fines, law-abiding citizens to
   6 go through -- jump through more hoops to stay within the
   7 law and not do anything wrong. We do it because that's
   8 all we can do.
   9           It's frustrating that we have this bill in
  10 a package of legislation that was brought, I believe,
  11 for all the right intentions. What can we do as 65
  12 elected leaders in this state, what can we do to
  13 encourage, to motivate, to be examples to the 5 million
  14 plus people who live in this state? What can we do that
  15 might encourage fewer tragedies to occur in our state?
  16 Because we've had more than our share, I agree.
  17            What we do is we fail to provide
  18 leadership and we pile on words in the books that will
  19 be printed and put on those shelves. We make laws and
  20 rules more confusing and burdensome and more expensive,
  21 because sadly that's all we can do.
  22            Oh, but we could pull back from this slate
  23 of bills and start over again. But I fear that's not to
  24 happen. We're about to take the final, final, final
  25 vote on House Bill 1229 and probably send it downstairs.
  0073
   1 Social media will light up once again, as it has with
   2 another bill that's gone downstairs, with people asking:
   3 Why didn't they think of this? And a whole new series
   4 of e-mails will start dropping into our e-mail boxes.
   5 Why didn't you fix this? Didn't you talk to each other?
   6 Didn't you listen to each other? Why didn't you take
   7 the opportunity to get this right?
   8           Once again, I'll be -- my aide will be
   9 answering: Well, we did have that conversation. And I
  10 promise you, we will take the opportunity to say thank
  11 you, that at least there was one example of where the
  12 majority stopped and listened and made an effective
  13 change, but that was it.
  14            And people will ask: Well, don't you
  15 understand that this will only make my life more
  16 difficult, that you're giving me more rules and more
                                                                                                     LEG HX 000970                    4885
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           Appellate
  17 cost and   more ofCase:    14-1290
                          a burden?          Document:citizen.
                                      I'm a law-abiding  01019371764                  Date Filed: 01/16/2015            Page: 222
  18 Why are you picking on me? Why do I have to take the
  19 blame for doing nothing wrong?
  20           And we'll say, Yes, we understand. We
  21 tried, but the answer was no. We're going to do this
  22 because this is all we can do. And I think we're better
  23 than that. The people of Colorado deserve better from
  24 us. And I ask for a no vote on House Bill 1229.
  25           MR. SPEAKER: Representative McCann.
  0074
   1          REPRESENTATIVE McCANN: Thank you,
   2 Mr. Speaker.
   3          And, Colleagues, this is an important
   4 bill. And I think -- it's still hard for me to
   5 understand the opposition to universal background
   6 checks. This is something that I think the majority of
   7 Americans support and the majority of Coloradans
   8 support.
   9          It isn't right that those of us who are
  10 law-abiding, responsible citizens have to get background
  11 checks before we can purchase weapons, but someone who
  12 couldn't pass a background check can easily go on the
  13 Internet and purchase one. You can look at these sites.
  14 I think it's armslist.com. You can purchase a gun on
  15 those Internet sites without any information about who
  16 you are or your background.
  17           And some folks have said, Well,
  18 criminals -- criminals won't go through the process.
  19 Well, actually they do. Just in January alone, our CBI
  20 statistics showed that they denied 956 background check
  21 applications for firearms purchases. That was just in
  22 one month. So I think it was -- I know it was Governor
  23 Hickenlooper, at the debate that they were doing on gun
  24 issues, said some of the criminals are stupid. And I
  25 guess he's right, because they do go and try to get guns
  0075
   1 through the background check.
   2          And if you go on the Internet and you try
   3 to purchase a weapon, and the person that's selling you
   4 the weapon knows that there has to be a background
   5 check, they're not going to sell you that weapon without
   6 one, because this is enforceable. The police can go on
   7 the Internet and attempt to purchase weapons and see if
   8 in fact background checks are required. So this is an
   9 enforceable public safety issue for us.
  10           And I know other people say, Well, it's
  11 not going to stop anyone. The criminals are still going
  12 to get guns. Well, you can say that about any of the
  13 criminal laws we pass down here. I mean, we have murder
  14 laws. Do people still commit murder? Yes. Are they
  15 going to get punished and caught if we have a law
  16 against it? Yes, or at least it's more likely they'll
  17 be punished and held responsible if there's a law
  18 against it.
                                                                                                     LEG HX 000971                    4886
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               So I worked      14-1290      Document:
                                   a psychologist   a while01019371764                Date Filed: 01/16/2015            Page: 223
  20 ago who used to do the police evaluations for the Denver
  21 Police Department. I don't know if he still does them.
  22 It's Dr. John Nicoletti. Let me be very clear that I've
  23 not talked to him about these gun bills, so I have no
  24 idea what his position is there. But he used to talk
  25 about workplace violence. And what he would say is the
  0076
   1 more barriers that you can put in people's way as they
   2 begin to escalate, the less likely they are to actually
   3 commit the violence. And that's kind of the way that I
   4 look at this bill.
   5           Are we going to stop all criminals from
   6 getting guns? No, but are we going to put a barrier
   7 there, make it more difficult for them? Yes. And
   8 that's going to stop some of them from getting guns.
   9 And that's going to save lives. And that's going to
  10 stop crimes. And that's really all this bill is about.
  11 It's about requiring everyone who purchases a weapon,
  12 not just those who buy at gunshows or those who buy from
  13 dealers, to pass a background check. It's a
  14 common-sense, well-supported solution to this problem of
  15 so many guns in the hands of people who shouldn't have
  16 them.
  17           And I've given you the statistics before,
  18 so I'm not going to go through them again, but we do
  19 show that criminals do try to background -- buy guns
  20 even when they have to get background checks. So they
  21 will continue to do that. We will stop more of them
  22 from getting guns. We will save more lives.
  23           I think we've addressed the hunting issue.
  24 And I think we probably do need to have a public
  25 education effort because, obviously, there's confusion.
  0077
   1 But this bill does not have any effect on our hunting
   2 clubs and their ability to have people come from out of
   3 state, hunt on their property, use guns that are
   4 possessed by the hunting club or bring their own guns.
   5 It's going to have no impact on that.
   6           So this bill is a good bill. It will help
   7 our public safety in this state, and I would ask for a
   8 yes vote. Thank you.
   9           MR. SPEAKER: Representative Fields.
  10           REPRESENTATIVE FIELDS: Thank you,
  11 Mr. Speaker. And I want to thank everyone for their
  12 attention and the thoughtful dialogue that we've had on
  13 House Bill 1229.
  14           Members, I truly believe that background
  15 checks save lives. It has already done so. When you
  16 think about, we already have it in place for new gun
  17 sales, we have it in place for gunshows -- this
  18 background check program is already in existence. It's
  19 proven to work. And so what this bill does is it just
  20 extends a program that has already proven to be
                                                                                                     LEG HX 000972                    4887
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  21 effective.        Case:closing
                 And we're     14-1290       Document:
                                      that loophole as it 01019371764                 Date Filed: 01/16/2015            Page: 224
  22 relates to private gun sales. 40 percent of all guns
  23 that are transferred are done in the private market.
  24 And this is going to close that loophole.
  25           And you might say, Well, how is it going
  0078
   1 to save lives? I can tell you one example, and that's
   2 with children and women. If you were involved --
   3 involved in a relationship where there is some abuse
   4 going on, and that intimate partner wants to buy a gun
   5 and he knows that he can't, all he has to do is to
   6 advertise to buy one or he can go online and purchase
   7 that gun.
   8           So this bill will save lives. So I say
   9 vote yes on House Bill 1229.
  10           MR. SPEAKER: Seeing no further
  11 discussion, the question for the House is the repassage
  12 of House Bill 1229.
  13           Mr. Kolar, please open the machine and
  14 members proceed to vote.
  15           Close the machine.
  16           With 36 aye votes, 27 no votes, two
  17 excused, and zero absent, House Bill 1229 is repassed.
  18           Co-sponsors. Close the machine.
  19           Madam Majority Leader.
  20           MADAM MAJORITY LEADER: Thank you,
  21 Mr. Speaker.
  22           I move to lay over the balance of the
  23 calendar until Monday, March 18th.
  24           MR. SPEAKER: Seeing no objection, the
  25 balance of the calendar will be laid over as requested
  0079
   1 by the majority leader.
   2           Announcement and introductions.
   3           Representative Schafer.
   4           REPRESENTATIVE SCHAFER: Thank you,
   5 Mr. Speaker.
   6           We have a very important birthday today,
   7 so I'm going to ask the capitol choir to please come
   8 down very quickly. Three birthdays. I know one is for
   9 Representative Hamner, our choir director.
  10           REPRESENTATIVE HAMNER: Thank you,
  11 Mr. Speaker. And also, Colleagues, there are three of
  12 us who share the same birthday tomorrow, Representative
  13 Landgraf and also Representative Fischer and me. So
  14 thank you.
  15           (People sing happy birthday. Applause.)
  16           MR. SPEAKER: Representative Hamner.
  17           REPRESENTATIVE HAMNER: Thank you,
  18 Mr. Speaker.
  19           And, Colleagues, I forgot about my
  20 birthday tomorrow, but, anyway, thanks for reminding me
  21 that I'm getting older. But I did want to remind -- the
  22 house education committee meeting, that we have one
                                                                                                     LEG HX 000973                    4888
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            bill added Case:
                       to our 14-1290     Document:
                              calendar on Monday,       01019371764
                                                    at 1:30.                          Date Filed: 01/16/2015            Page: 225
  24 We'll be hearing Senate Bill 138, sponsored by Senator
  25 King and Representative Garcia. It's on school resource
  0080
   1 officers.
   2           MR. SPEAKER: Representative Sonnenberg
   3 and Fischer together?
   4           UNIDENTIFIED SPEAKER: Yes, in harmony.
   5           MR. SPEAKER: Sing that. Which one is
   6 ebony, which one is ivory?
   7           UNIDENTIFIED SPEAKER: Thank you,
   8 Mr. Speaker.
   9           Members, we just wanted to come down and
  10 remind you that next week is a very special week for one
  11 of the major industries in our state, and that would be
  12 agriculture. It's National Agriculture Week. And to
  13 commemorate that, there's a number of events going on
  14 here at the capitol and around the area. So,
  15 Representative Sonnenberg, would you like to describe
  16 some of those?
  17            MR. SPEAKER: Representative Sonnenberg.
  18            REPRESENTATIVE SONNENBERG: Thank you,
  19 Mr. Speaker.
  20            Members, make sure that, the 19th, you do
  21 not plan anything for lunch. We have wonderful chefs
  22 coming up, teaming up, with legislators and farmers and
  23 ranchers and preparing Colorado-grown food for you for
  24 lunch. And if any of you were here last year, you will
  25 know that it is a phenomenal event, with some of the
  0081
   1 best food you'll ever want to taste. So feel free to
   2 join us next Tuesday. We'll remind you again Monday.
   3 But make sure that you put agriculture on your schedule
   4 to be thankful for next week.
   5           Members, have a great weekend.
   6           MR. SPEAKER: Representative Fischer.
   7           REPRESENTATIVE FISCHER: Thank you,
   8 Mr. Speaker.
   9           And just one thing I wanted to announce.
  10 Representative Ginal brought to my attention that
  11 there's a 40-acre, probably -- maybe larger by now --
  12 wildfire burning in Lory State Park, just west of Fort
  13 Collins. And for those -- I could see -- I can see Lory
  14 State Park from my backyard. And last year during the
  15 Hyde Park fire, there were flames burning there, there
  16 were homes threatened and some lost in that same area.
  17 So, unfortunately, we have another situation with high
  18 winds fanning the flames of the wildfire in Lory State
  19 Park. So please keep those folks in your thoughts over
  20 the weekend, and hopefully it will be contained soon.
  21 And, again, it's perhaps timely that Representative Levy
  22 has brought her bill forward for us to consider today.
  23            MR. SPEAKER: Further announcements or
  24 introductions?
                                                                                                     LEG HX 000974                    4889
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                        none, Madam        Document:
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  0082
   1           MADAM MAJORITY LEADER: Thank you,
   2 Mr. Speaker.
   3           I'll move that the House stand in recess
   4 until 4:15 p.m, that approximate time. We will adjourn
   5 until March 18th, next Monday, at 10 o'clock.
   6           MR. SPEAKER: Seeing no objection, the
   7 House will stand in recess until 4:15.
   8           (WHEREUPON, the audio recording was
   9 concluded.)
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  0083
   1                 CERTIFICATE
   2 STATE OF COLORADO                 )
                       )ss.
   3 CITY AND COUNTY OF DENVER )
   4          I, Jana Mackelprang, Certified Realtime
   5 Reporter, Registered Professional Reporter, and Notary
   6 Public for the State of Colorado, do hereby certify
   7 that this transcript was taken in shorthand by me from
   8 an audio recording and was reduced to typewritten form
   9 by computer-aided transcription; that the speakers in
  10 this transcript were identified by me to the best of
  11 my ability and according to the introductions made and
  12 the information provided; that the foregoing is a true
  13 transcript of the conversations; that I am not an
  14 attorney nor counsel nor in any way connected with any
  15 attorney or counsel for any of the parties to said
  16 action or otherwise interested in its event.
  17           IN WITNESS WHEREOF, I hereunto affix my
  18 hand and notarial seal this 31st day of July, 2013. My
  19 commission expires January 24, 2016.
  20
  21                  ___________________________
                     Jana Mackelprang
  22                  CRR, RPR, Notary Public
                     Calderwood-Mackelprang, Inc.
  23
                                                                                                     LEG HX 000975                    4890
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  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 SENATE HEARING
   4 Held on March 15, 2013
   5 HOUSE BILL 13-1229
   6 __________________________________________________________
   7             REPORTER'S TRANSCRIPT
     __________________________________________________________
   8
   9       This transcript was taken from an audio
  10 recording by Elissa Steen, Registered Professional
  11 Reporter and Notary Public.
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  0002
   1             PROCEEDINGS
   2            * * *         * *
   3       THE CLERK: House Bill 1229 by
   4 Representatives Fields and McCann and Senator
   5 Carroll concerning criminal background checks
   6 performed pursuant to the transfer of a firearm, and
   7 in connection therewith, making an appropriation.
   8       SENATE PRESIDENT: Majority Leader.
   9       MAJORITY LEADER CARROLL: Thank you,
  10 Mr. President.
  11        I move that the Senate adopt the first --
  12 report of the first conference committee on House
  13 Bill 1229.
  14        SENATE PRESIDENT: And, Majority Leader
  15 Carroll, by that you mean the first majority report?
  16        MAJORITY LEADER CARROLL: Yes, thank you,
  17 Mr. President, the first majority report of the
  18 first conference committee on 1229.
  19        SENATE PRESIDENT: Would you like to
  20 describe what the conference committee did?
  21        MAJORITY LEADER CARROLL: Yeah. Thank
  22 you, Mr. President.
  23        So, Members, an issue was raised when this
  24 was getting debated in the House that I think was
  25 legitimate, and warranted going back and working on

                                                                                                      LEG HX 000977                    4892
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  0003     Appellate Case: 14-1290 Document: 01019371764                              Date Filed: 01/16/2015            Page: 229
   1 the language.
   2       You will recall that one of the amendments
   3 we put on in the Senate was addressing a loophole
   4 that some gun advocates had pointed out that a
   5 criminal could simply set up a trust, do strawman
   6 purchases, get around the whole bill on background
   7 checks.
   8       We introduced an amendment to close the
   9 strawman, sort of entity purchase loophole, in the
  10 Senate. But the language that we had originally
  11 adopted was brought to the point where, for -- it --
  12 it included language, for example, of anyone with a
  13 beneficial interest.
  14        And in -- for example, in the corporate
  15 setup, there could include all kinds of
  16 shareholders. The gist of the problem is that you
  17 could have all kinds of people who would never even
  18 come into possession of a firearm that, under an
  19 interpretation, would then be going through
  20 background checks, which doesn't make sense and
  21 wasn't the intention of what we did.
  22        So with that, we agreed to go back to
  23 conference committee to get that language correct.
  24        All of you have the committee report on
  25 what has -- what we adopted, and I will walk through
  0004
   1 very briefly what it is.
   2       In a conference committee, we -- we
   3 narrowed to specify that we're only talking about
   4 once an actual, natural person comes into possession
   5 of a firearm would that background check be needed.
   6       So all of the other people who might
   7 legally own something, who are never going to see a
   8 firearm, aren't going to have to go through a
   9 background check.
  10        So the narrowing language is that only
  11 natural people who, in fact, will take actual
  12 possession would undergo a background check. That
  13 is what we meant the first time; that is not what we
  14 said the first time. So we needed that.
  15        The other thing that we did is we inserted
  16 the word "or loan." So you'll remember in the
  17 family section of the exemption of gifting to
  18 immediate family members, there was some discussion
  19 about gift or loan, does it have to be permanent,
  20 can you temporarily give it to any number of family
  21 members. And so we adopted the insertion of the
  22 word "gift," and we added "or loan" into the
  23 immediate family members section in the bill.
  24        And that's what we did in the majority
  25 report in the conference committee. And would ask
  0005
   1 for an aye vote on that committee report.
                                                                                                      LEG HX 000978                    4893
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           SENATE PRESIDENT:                Document:
                                      Discussion?        01019371764
                                                     Senator                          Date Filed: 01/16/2015            Page: 230
   3 Brophy.
   4       SENATOR BROPHY: Thank you, Mr. President.
   5       And -- and at this point, I will offer a
   6 substitute motion of sorts -- that's how we do it on
   7 conference committee reports -- to move. So I move
   8 the minority report of the first conference
   9 committee on House Bill 1229.
  10        SENATE PRESIDENT: You want to explain
  11 what it did?
  12        SENATOR BROPHY: Thank you, Mr. President.
  13        So what the minority report does, and --
  14 and -- and please listen because the minority report
  15 actually enjoyed bipartisan support in the
  16 conference committee. The minority report does
  17 everything that the Majority Leader explained was
  18 part of the majority report.
  19        And then, in addition to it -- and this is
  20 the important part -- it also eliminates the
  21 discrimination that exists in House Bill 1229
  22 against stepchildren, for instance. Because in --
  23 in House Bill 29 (sic), there still exists -- there
  24 still exists a blatant discrimination again your
  25 stepson or your stepdaughter, for instance.
  0006
   1       You won't be able to loan or gift to your
   2 stepson or stepdaughter, under 1229, a -- a firearm
   3 without making them go through a background check,
   4 and the minority report fixes that. It allows for
   5 step-relations to count under the bona fide gift and
   6 loan provision exception in the rule, and it also
   7 includes your in-laws.
   8       So, for instance, under -- under 1229, if
   9 we don't adopt this minority report, I can't loan a
  10 hunting rifle to my brother-in-law to take on a
  11 week-long hunting trip if -- if he needs the kind of
  12 rifle that I have without getting a background check
  13 on my brother-in-law.
  14        Of course, if you knew my
  15 brother-in-law -- oh, and then -- and then -- he is
  16 a Democrat -- and then the -- the -- actually, he's
  17 unaffiliated. You should see the mail he gets
  18 because he lives in Jefferson County, but that's a
  19 side note.
  20        The other thing that we fixed with the
  21 minority part -- and listen, this is really
  22 important for you rural folks. Right now, the --
  23 the 4-H shooting sports, kids that participate, if
  24 they don't have their own shotgun or a family
  25 shotgun that they can bring to the -- to the summer
  0007
   1 that they participate in 4-H shooting sports, for
   2 instance, a lot of times other -- other 4-H members
   3 and other community leaders will -- will loan those
                                                                                                      LEG HX 000979                    4894
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   4 kids aAppellate
            shotgun for Case:
                          the --14-1290
                                 for their -- Document:
                                              for their use 01019371764               Date Filed: 01/16/2015            Page: 231
   5 over the -- for the entire course of the summer, and
   6 there's no exemption in 1229 that allows for that
   7 without forcing that 4-H kid to obtain and pay for
   8 the background check.
   9       So, you know, these kids that are just --
  10 just trying to participate in 4-H shooting sports
  11 are now hit by House Bill 1229, and the minority
  12 report fixes that. It at least allows these --
  13 these 4-H kids to borrow a shotgun for the course of
  14 the entire summer, and -- and use it at the -- at
  15 the -- at the practice and then take it home so they
  16 can learn the proper way to -- to clean and maintain
  17 their shotgun or -- or their .22 rifle -- that's
  18 part of shooting sports -- in a -- in a -- you know,
  19 in a clean environment at their -- at their own
  20 home.
  21        So that's why the minority report actually
  22 earned bipartisan support in the conference
  23 committee.
  24        And I will ask for you today to vote in
  25 favor of the minority report of the first conference
  0008
   1 committee of House Bill 1229.
   2       SENATE PRESIDENT: Majority Leader
   3 Carroll.
   4       MAJORITY LEADER CARROLL: Thank you,
   5 Mr. President.
   6       Members, this was actually -- it was a
   7 very good discussion on all the points that were
   8 raised here.
   9       The -- there's four other exceptions that
  10 exist now that I believe cover the fact pattern,
  11 basically, that's been identified here. But more
  12 significantly, there were two places in this
  13 minority report that brought in new amendments that
  14 were in neither the House version nor the Senate
  15 version.
  16        And so I'm going to ask for a ruling that
  17 is beyond the scope, because two -- at least two of
  18 the pieces that are in here within neither the House
  19 or the Senate version, and the -- and the Chair had
  20 also believed were outside the scope.
  21        SENATE PRESIDENT: We'll take a Senatorial
  22 five.
  23       (A recess was taken.)
  24        SENATE PRESIDENT: Senate will come back
  25 to order.
  0009
   1       I -- I rule that the minority report
   2 exceeds the scope of the differences and, therefore,
   3 is out of order. So we are back to the majority
   4 conference, first conference committee report.
   5       Further discussion, Majority Leader
                                                                                                      LEG HX 000980                    4895
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           Appellate Case: 14-1290 Document: 01019371764
   6 Carroll.                                                                         Date Filed: 01/16/2015            Page: 232
   7        MAJORITY LEADER CARROLL: Thank you,
   8 Mr. President.
   9        And I do know there is other discussion.
  10         But let me just say that even if there
  11 are -- even with the heartfelt desire for this to
  12 include more issues than it did, each of the issues
  13 that we, in fact, do take up here are ones that have
  14 been -- points that have been raised by republicans
  15 in both chambers to address. So it may not be the
  16 complete package, but it does move the bill closer
  17 in the direction. And so I know we'll have a motion
  18 to re-adopt the bill, where we can redebate the
  19 bill.
  20         But the debate on this particular
  21 conference committee is, one, do we narrow the
  22 strawman entity loophole exception to avoid an
  23 unintended consequence of having people who never
  24 possess a firearm arguably having to go through a
  25 background check? So we are tightening it to
  0010
   1 natural people who come into possession, which was
   2 always the intent.
   3        So do we or don't we tighten that? And do
   4 we or don't we add the words "or loan" to the family
   5 member? And people may wish and want a lot beyond
   6 that, but your vote on this majority report is
   7 whether you want to, in fact, adopt those changes at
   8 this point.
   9        I think both of those made sense. I think
  10 good cases were made for both. Those were passed in
  11 the conference committee report. I think it makes
  12 it a better bill and would ask for an aye vote on
  13 the majority report on the first conference
  14 committee.
  15         SENATE PRESIDENT: Senator Harvey.
  16         And keep in mind we are debating the
  17 conference committee report, so please keep your
  18 remarks there, and then we'll get to the re-adoption
  19 later.
  20         SENATOR HARVEY: Thank you, Mr. President,
  21 for that reminder.
  22         I move that we reject the conference
  23 committee report and that a second conference
  24 committee be re-appointed to go beyond the scope to
  25 deal with the issues that the President just ruled
  0011
   1 were outside the scope of the conference committee.
   2        SENATE PRESIDENT: Okay. So that is a
   3 proper motion that is now the motion on the table.
   4        Majority Leader Carroll.
   5        MAJORITY LEADER CARROLL: Thank you,
   6 Mr. President.
   7        I would respectfully ask for a no vote.
                                                                                                      LEG HX 000981                    4896
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   8       Appellate    Case: 14-1290
           SENATE PRESIDENT:                Document:
                                       So this is on the 01019371764                  Date Filed: 01/16/2015            Page: 233
   9 motion to reject and set up a new conference
  10 committee.
  11        Senator Brophy.
  12        SENATOR BROPHY: Thank you -- thank you,
  13 Mr. President.
  14        And, Members, I would ask for an aye vote
  15 on this motion to reject this conference committee
  16 report, ask that we form a new conference committee,
  17 and ask that it be allowed to go beyond the scope of
  18 differences and, actually, for more important
  19 reasons than just the -- the discrimination that is
  20 pointed out related to stepchildren.
  21        Members, we have an opportunity with this
  22 bill to -- to do something together, to stop acting
  23 like the dysfunctional Congress in Washington, D.C.,
  24 where things are --are so hyper-partisan, as these
  25 gun control -- extreme gun control -- bills have
  0012
   1 become here in Colorado.
   2       We have the opportunity, if we want to
   3 form a conference committee and allow it to go
   4 beyond the scope of differences, to craft a
   5 bipartisan solution to a problem that's identified,
   6 the -- the -- the very real possibility that -- that
   7 a gang -- that a gang member can now, under 1229,
   8 hand a firearm to another gang member for up to 72
   9 hours to use in crime sprees without a background
  10 check, without being penalized additionally for
  11 failing to -- to get a background check, for
  12 flaunting the law for purposefully handing a firearm
  13 to someone who ought not be in possession of the
  14 firearm. That 72-hour rule exists now in 1229, and
  15 it ought to go away.
  16        But more importantly, we could do
  17 something that -- that I've been thinking about
  18 quite a bit with a conference committee that goes
  19 beyond the scope, and that is this: Institute the
  20 stranger-danger rule. Stop with the silly
  21 exceptions that result in unintended consequences,
  22 criminalizing you giving a -- a hunting rifle to
  23 your brother-in-law, for instance, but instead, let
  24 the people of Colorado know that. If you're going
  25 to sell a firearm to somebody with which you have no
  0013
   1 prior relationship, you should get a background
   2 check on it. Otherwise you should have known that
   3 it was -- that it's too dangerous to do that. The
   4 stranger-danger rule. We could do that.
   5       We could modify it by including the -- the
   6 right to do the private transfer if the person that
   7 you're selling to already has a CCW permit. For
   8 crying out loud, they've had a very extensive
   9 background check. You can see that if you go
                                                                                                      LEG HX 000982                    4897
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  10 through           Case:
               that process   14-1290 Document: 01019371764
                            yourself.                                                 Date Filed: 01/16/2015            Page: 234
  11        We have an opportunity. We have an
  12 opportunity to bring the desks together, to reach
  13 across the aisle, to form a bipartisan coalition to
  14 address that problem here in Colorado. But -- but
  15 only, only if you vote to allow a conference
  16 committee to go beyond the scope of differences and
  17 actually start working together, like the Colorado
  18 legislatures of old, where we -- where we solved
  19 problems in a bipartisan manner with Colorado values
  20 instead of these Washington, D.C. values and
  21 hyper-partisanship, and just used the power of the
  22 majority to ram your agenda all the way home.
  23        Vote yes to dissolve this conference
  24 committee and go beyond the scope of differences
  25 with a new conference committee that represents
  0014
   1 Colorado values.
   2       SENATE PRESIDENT: Majority Leader
   3 Carroll.
   4       MAJORITY LEADER CARROLL: Thank you,
   5 Mr. President.
   6       Members, a couple of things since it was
   7 brought up. One of my frustrations has been that we
   8 have -- if we excepted no amendments on this bill,
   9 you know, we have been criticized for refusing to
  10 work with the other side and just ramming an agenda
  11 through, but the facts are that despite over a dozen
  12 changes that came at the urging of Republicans, not
  13 one of them brought any of your support with it, yet
  14 we took it anyway.
  15        So the facts on the process of this bill
  16 is: We've listened, we took many of your ideas and
  17 input, which I think were valuable, and haven't had
  18 any indication that there's any amendment in any
  19 form or any stripe of anything we can do on this
  20 bill that in Colorado, sadly, would bring bipartisan
  21 support.
  22        And I think that is very unfortunate, but
  23 they are actually having a bipartisan conversation
  24 in D.C. And when D.C. becomes more functional than
  25 we are, that's sad. You know, this is -- this is
  0015
   1 part of a national conversation to have.
   2       That said, even though none of the changes
   3 to date can or have earned the support, I'm still
   4 grateful for you bringing them up as a matter of
   5 making better public policy despite the fact that it
   6 hasn't and probably can't earn any bipartisan
   7 support of what's there.
   8       So let me just say that I would love this
   9 to be a bipartisan bill.
  10        The most immediate point to bring up is
  11 that on the motion to go form a new conference
                                                                                                      LEG HX 000983                    4898
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  12 committee,        Case: you
                   Members,    14-1290      Document:
                                   need to know  that we01019371764                   Date Filed: 01/16/2015            Page: 235
  13 actually already took this up in the first
  14 conference committee. This isn't new. These were
  15 all points that were raised the first time when we
  16 went through, considered, and rejected it. So it
  17 would simply be Ground Hog Day to repeat and extend,
  18 you know, what has already been a five-month debate
  19 on this issue.
  20        So I would just mention in the most
  21 immediate sense that we have already considered
  22 taking this up and would just simply ask for a no
  23 vote on creating a new conference committee.
  24        SENATE PRESIDENT: Senator Lundberg.
  25        SENATOR LUNDBERG: Thank you,
  0016
   1 Mr. President.
   2       Members, the arguments that we've just
   3 heard about how we just can't come to terms, I must
   4 break down a party line always, made by the Majority
   5 Leader, I think were very good argument for passing
   6 this motion to reject the conference committee
   7 report and form a new conference that can go beyond
   8 the scope, because that's the only way we were going
   9 to get to any concurrence.
  10        And -- and I would note that the minority
  11 report that was ruled to be beyond the scope, if you
  12 still have that on your desk, I would invite you to
  13 look at that and ask yourself: Are these issues
  14 that are inappropriate for this bill or not?
  15        I believe it brings up some very valid
  16 concerns on what the first conference committee did
  17 come to deal with, you know, for example, what of a,
  18 you know, a 4-H club simply trying to -- to provide
  19 a -- a setting to teach good, responsible handling
  20 of firearms and marksmanship and the, you know,
  21 other skills for a sportsman that are necessary to
  22 have the -- have the rifles there to work with.
  23 It -- the -- the law creates such a cumbersome
  24 problem that that just won't happen.
  25        And when it comes to -- to defining
  0017
   1 immediate family members, let me read to you what --
   2 what apparently goes beyond the scope but is still
   3 good policy to put in this bill: spouses, parents,
   4 children, siblings, grandparents, grandchildren,
   5 nieces, nephews, first cousins, aunts and uncles.
   6 Who in there shouldn't be included as immediate
   7 family members goes on: B, step relations; C,
   8 partners of civil unions or domestic partnerships;
   9 and D, inlaws.
  10        Now, if -- if policy is defining families,
  11 okay, let's not divide it up. I'm not going any
  12 further, anybody, who I can't mention anybody's name
  13 here. It's unfortunate.
                                                                                                      LEG HX 000984                    4899
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  14       Appellate     Case:
             But it -- it's,     14-1290
                             you know,  I lookDocument:
                                              at my own 01019371764                   Date Filed: 01/16/2015            Page: 236
  15 situation. I live a couple of hundred yards away
  16 from my inlaws, and to distinguish between who can
  17 transfer to myself or transfer to my wife, is -- is
  18 an artificial distinction that the law shouldn't --
  19 shouldn't have a part in.
  20         You know, it's -- it's not me loaning to
  21 my brother-in-law, it's me borrowing from my
  22 brother-in-law. He -- he has the -- the better set,
  23 and he can do that to his sister, my wife, but not
  24 to me. He can do that to his sister, my wife, but
  25 not to our children. That doesn't make sense. It
  0018
   1 just doesn't make sense at all.
   2        I believe, finally, if we want to talk
   3 about a bipartisan spirit, well, here's your chance.
   4 This conference committee was signed by four
   5 Democrats. The minority report was signed by the
   6 two Republicans. You know how the vote was
   7 initially on the bill. It rings hallow to me for
   8 the claim that we just can't get there if the same
   9 person who's claiming it is insisting that we
  10 continue to vote in a -- in a party-line fashion.
  11         Let's reject this party-line vote for the
  12 first conference committee and see if we can't at
  13 least get a conference committee to put this
  14 together as a team. Can we find some concurrence or
  15 not? Is there any degree of compromise that can be
  16 found at least in the process? Because right now
  17 it's strict party line. That's it.
  18         And it -- and your vote doesn't -- you
  19 know, the fate of the bill doesn't hinge on your
  20 vote on the conference committee, but the fate of
  21 the process does. So if you want to make it party
  22 line, then you'll follow the lead and simply reject
  23 the motion, but if you want to find some common
  24 ground somewhere, somehow, let's start right here,
  25 right now.
  0019
   1        I appeal to each one of you Senators on
   2 this side of the aisle, on this side of the aisle,
   3 Mr. President, and I'm -- and I apologize, I should
   4 be speaking to you directly, so I will directly --
   5 Mr. President, I appeal to you to -- to support this
   6 measure and show some bipartisan spirit to tackle
   7 this one, one more time.
   8        We've already spent, over the course of
   9 committee time and floor time, over 30 hours on this
  10 issue in general, and much of it on this bill in
  11 particular. Is it not worth one more conference
  12 committee that can -- that has the authority to deal
  13 with all of the details, go beyond the scope?
  14         Sure, it may have been discussed in
  15 committee, but if the answer was it goes beyond the
                                                                                                      LEG HX 000985                    4900
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  16 scopeAppellate    Case:
             and we don't   have14-1290        Document:
                                  the authority,           01019371764
                                                  well, there's                       Date Filed: 01/16/2015            Page: 237
  17 your fatal flaw to the first conference in the first
  18 place. What's it going to hurt to give it one more
  19 shot?
  20        I believe this is an opportunity for
  21 bipartisan action, at least within the process. And
  22 if we can't find it within the process, where in the
  23 world are we going to find it within the policy
  24 itself?
  25        I urge each and every one of you, all 34
  0020
   1 Senators -- because I'm going to support this, I
   2 know that -- please consider the same for yourself.
   3 Don't lock down. Don't show the dysfunction of 21st
   4 Century legislative systems. Break the mold. Take
   5 the courage. Do it right. Vote yes.
   6       SENATE PRESIDENT: Senator Cadman.
   7       SENATOR CADMAN: Thank you, Mr. President.
   8       You know, when I ran for office, I -- I
   9 kind of had the -- I kind of had the belief that all
  10 the predecessors that had come through this process
  11 and become members of the legislature are just up
  12 here throwing these laws together and tossing them
  13 out and that it was pretty easy. I thought creating
  14 laws was easy. And I actually ran against creating
  15 laws. I ran on the eraser platform of we ought to
  16 issue legislators these erasers -- which I still
  17 have 14 years now -- we ought to spend more time
  18 getting rid of what's in here than adding to it,
  19 because I thought they were just being added.
  20        But I have come to find out, as you all
  21 know, and even those of you who have been here 65
  22 days or whatever it is -- it feels like 165 -- that
  23 it takes a lot to get something in these books. I
  24 mean, it is a heck of a process. I have a lot of
  25 respect for what it takes to actually create a law.
  0021
   1       It's hard. It takes a lot of work,
   2 obviously, on the controversial stuff, a lot of
   3 debate. I'm sure none of us wants to spend another
   4 six hours here on this bill. Anybody interested in
   5 that on a Friday? Any day? Especially a Friday.
   6       To that point, though, they're even harder
   7 to fix. We need to get this stuff right the first
   8 time, especially on something that's significant
   9 like this. Let's get it right the first time.
  10        And the Majority Leader mentioned the
  11 concessions made over the last few days and the last
  12 week or so to the Republicans, to the Republicans,
  13 to the Republicans. These aren't laws just for
  14 Republicans. These are the laws that the people of
  15 the state, the 5-plus million people are going to
  16 live by.
  17        These aren't concessions to Republicans.
                                                                                                      LEG HX 000986                    4901
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  18 These  Appellate
              amendmentsCase:  14-1290
                            were  made to a Document:
                                              bill that had 01019371764
                                                            flaws                     Date Filed: 01/16/2015            Page: 238
  19 from the very first day. A bill that was so
  20 sweeping that we had to create exemptions to our new
  21 prohibitions. That's good government speak, isn't
  22 it? Exemptions to prohibitions. It's like trying
  23 to understand -- understand tax credits. Nobody
  24 gets it, but everybody wants them.
  25         It's important that we get this right.
  0022
   1 It's important.
   2        So in the conference committee, we did
   3 find agreement on some of these points, and then
   4 when it got to the contention of is it beyond the
   5 scope, that's where the differences were set aside.
   6 And the -- actually, that's where the differences
   7 came into play -- and the agreement was set aside.
   8 Does that really make sense when we actually found a
   9 place in conference committee where people
  10 understood that some of these problems in this bill
  11 weren't being fixed and that others were being
  12 identified and also weren't going to be fixed? And
  13 now, it's being rejected.
  14         That makes as much sense as hanging
  15 somebody even though you found out that they're no
  16 longer guilty because of DNA, but it's too late
  17 because you already bought the rope. Can't stop
  18 now, we bought the rope. They're not guilty, but
  19 shoot, we can't let this rope and 13 knots go to
  20 waste. Does that make any sense to you?
  21         Absolutely not. Get it right. It's
  22 important that we get it right.
  23         And, frankly, what I heard in the
  24 committee were ideas that I believe does shrink the
  25 space in the aisle, that does bring us together.
  0023
   1 And I think the concept of stranger danger is
   2 something we could all support. I know I could. If
   3 this were really about keeping guns out of the hands
   4 of criminals, specifically and exclusively, how
   5 would we not support that? Because as someone who
   6 is legally allowed to carry a gun and legally owns
   7 guns, I hope I never have to use those legal guns to
   8 defend myself against somebody else that has a gun
   9 in any manner, especially, obviously, a criminal.
  10         We do have a chance to get it right. It
  11 doesn't make sense to reject that opportunity. It
  12 certainly doesn't make sense to me. I'm fairly sure
  13 it doesn't make sense to the 5.3 million people who
  14 are paying attention to this.
  15         I would ask for you to vote yes on this
  16 motion.
  17         We were this close to having something
  18 that would shrink the aisle. And I would make this
  19 commitment to the Majority Leader specifically, as
                                                                                                      LEG HX 000987                    4902
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  20 the sponsor        Case:
                    of the bill, 14-1290      Document:
                                 that if we could get to 01019371764                  Date Filed: 01/16/2015            Page: 239
  21 that concept that was alluded to earlier, this isn't
  22 about amendments, it's not about concessions to the
  23 Republicans, it's about completing the task of
  24 governing and doing it right for the people that
  25 expect us to get it right the first time.
  0024
   1        We don't need to go oops after this is
   2 signed. Nobody wants to hear that, and nobody wants
   3 to answer those questions that will be raised when
   4 the problems start coming in. We don't need a
   5 flypaper bill that's designed to entrap law-abiding
   6 citizens and turn our neighbors, our friends, our
   7 families, our 4-H members, our Boy Scouts, the pack
   8 leaders, the troop leaders, do we really want to
   9 turn them into criminals? I sure hope we don't. I
  10 sure hope we don't.
  11         I would ask for an aye vote.
  12         SENATE PRESIDENT: Senator Harvey.
  13         SENATOR HARVEY: Thank you, Mr. President.
  14         I -- Senator Cadman hit most of my points,
  15 but I -- I wanted to put a Ted Harvey spin on them.
  16         The reason the argument given against the
  17 minority report, when Senator Brophy offered the
  18 minority report, was these are outside of the scope,
  19 and the chairman of the committee ruled that they
  20 were outside of the scope, and therefore we don't
  21 need to hear the minority report because we had a
  22 ruling from this Chair, President, saying that
  23 they're outside of the scope.
  24         So then, when I make the motion to say,
  25 okay, if the Chair in the committee ruled that they
  0025
   1 were outside of the scope, and the President rules
   2 that it's outside of the scope, then let's have a
   3 new committee hearing and go outside of the scope.
   4 And then the argument that you hear is: We already
   5 heard this in committee, and it's going to be
   6 rejected in committee, so there's no reason to go
   7 back and repeat it again. Well, which is it? Did
   8 you hear it the first committee, or was it ruled
   9 outside of the scope?
  10         And if it was ruled outside of the scope,
  11 then let's have the discussion.
  12         Do we want to try to fix the ludicrous
  13 issues in this bill that say you can't give your gun
  14 to your stepson or you can't go and -- and -- and
  15 have 4-H kids being able to use guns that are
  16 borrowed from other members, and on and on and on
  17 and on? Why are we afraid to fix this bill? Are we
  18 so wed to this bill that we cannot go and fix this
  19 problem?
  20         And then, concessions. The argument was
  21 we've already given so many concessions to the
                                                                                                      LEG HX 000988                    4903
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  22 Republicans,    yetCase: 14-1290
                         they don't       Document:
                                    come on.            01019371764
                                              I don't know                            Date Filed: 01/16/2015            Page: 240
  23 if a Republican is offered a single amendment that
  24 has been accepted. I know that there were a number
  25 of issues that were brought up in the State Affairs
  0026
   1 Committee, and the Chair of the State Affairs
   2 Committee offered her amendment, but those were
   3 issues that were brought up by the citizens of the
   4 State of Colorado that came in and talked. There
   5 was not one Republican amendment that was accepted.
   6       We spoke for 12 hours on Friday. We
   7 didn't have hardly any Democrat come out and discuss
   8 the bill, much less accept a Republican amendment.
   9 And the amendments that were offered, were offered
  10 to fix issues like can I give my wife my gun when I
  11 leave town? Can my wife protect herself and my
  12 family when I leave town?
  13         And the issue that was accepted was, for
  14 72 hours. For 72 hours. For 72 hours. Any
  15 temporary transfer that occurs while in contiguous
  16 presence of the owner of the firearm, the temporary
  17 transfer, for not more than 72 hours, a person who
  18 transfers a firearm pursuant to this paragraph, may
  19 be jointly and severally liable for damages
  20 proximately caused by the transferee's subsequent
  21 use of the firearms.
  22         Nothing in Subsection 6 of this section
  23 shall be interpreted to limit or otherwise alter the
  24 applicability of Section 8, concurring the unlawful
  25 purchase of transferee's of a firearms.
  0027
   1        There is no Republican amendments to this
   2 bill. These are Democrat-Republican amendments. So
   3 if the break -- I mean, these are Democrat-offered
   4 amendments -- so if the breakdown is here that
   5 you're not getting bipartisan support in support of
   6 your bill, and we don't want to look bad to -- to
   7 Washington, D.C., well, it was a bipartisan no on
   8 the bill. It was a bipartisan no.
   9        I wish we had more of those in Washington,
  10 D.C. I wish Washington, D.C., would start following
  11 us. But, actually, I hope that they would start
  12 killing some bills in Washington, D.C., and I wish
  13 we would here in Colorado as well, particularly this
  14 unfortunate piece of legislation.
  15         Again, I renew my motion to resolve the
  16 conference committee and go to a new conference
  17 committee and go beyond the scope so we can solve
  18 some of those unfortunate issues.
  19         SENATE PRESIDENT: Motion before the body
  20 is the rejection of the majority committee report
  21 and the formulation of a second conference
  22 committee. Are there any -- okay, roll call has
  23 been requested.
                                                                                                      LEG HX 000989                    4904
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  24     Appellate  Case:
          Mr. Majors,     14-1290
                       would you pleaseDocument:
                                       poll the  01019371764                          Date Filed: 01/16/2015            Page: 241
  25 Senators.
  0028
   1     THE CLERK: Aguilar.
   2     SENATOR AGUILAR: No.
   3     THE CLERK: Aguilar, no.
   4     Balmer.
   5     SENATOR BALMER: Yes.
   6     THE CLERK: Balmer, aye.
   7     Baumgardner.
   8     SENATOR BAUMGARDNER: Yes.
   9     THE CLERK: Baumgardner, aye.
  10      Brophy.
  11      SENATOR BROPHY: Aye.
  12      THE CLERK: Brophy, aye.
  13      Cadman.
  14      SENATOR CADMAN: Aye.
  15      THE CLERK: Cadman, aye.
  16      Carroll.
  17      SENATOR CARROLL: No.
  18      THE CLERK: Carroll, no.
  19      Crowder.
  20      SENATOR CROWDER: Yes.
  21      THE CLERK: Crowder, aye.
  22      Giron.
  23      SENATOR GIRON: No.
  24      THE CLERK: Giron, no.
  25      Grantham.
  0029
   1     SENATOR GRANTHAM: Aye.
   2     THE CLERK: Grantham, aye.
   3     Guzman.
   4     SENATOR GUZMAN: No.
   5     THE CLERK: Guzman, no.
   6     Harvey.
   7     SENATOR HARVEY: Yes.
   8     THE CLERK: Harvey, aye.
   9     Heath.
  10      SENATOR HEATH: No.
  11      THE CLERK: Heath, no.
  12      Hill, excused.
  13      Hodge.
  14      SENATOR HODGE: No.
  15      THE CLERK: Hodge, no.
  16      Hudak.
  17      SENATOR HUDAK: No.
  18      THE CLERK: Hudak, no.
  19      Jahn.
  20      SENATOR JAHN: No.
  21      THE CLERK: John, no.
  22      Johnston.
  23      SENATOR JOHNSTON: No.
  24      THE CLERK: Johnston, no.
  25      Jones.
                                                                                                      LEG HX 000990                    4905
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  0030       Appellate Case: 14-1290 Document: 01019371764                            Date Filed: 01/16/2015            Page: 242
   1         SENATOR JONES: No.
   2         THE CLERK: Jones, no.
   3         Kefalas.
   4         SENATOR KEFALAS: No.
   5         THE CLERK: Kefalas, no.
   6         Kerr.
   7         SENATOR KERR: No.
   8         THE CLERK: Kerr, no.
   9         King, excused.
  10          Lambert.
  11          SENATOR LAMBERT: Aye.
  12          THE CLERK: Lambert, aye.
  13          Lundberg.
  14          SENATOR LUNDBERG: Aye.
  15          THE CLERK: Lundberg, aye.
  16          Marble.
  17          SENATOR MARBLE: Aye.
  18          THE CLERK: Marble, aye.
  19          Newell.
  20          SENATOR NEWELL: No.
  21          THE CLERK: Newell, no.
  22          Nicholson.
  23          SENATOR NICHOLSON: No.
  24          THE CLERK: Nicholson, no.
  25          Renfroe.
  0031
   1         SENATOR RENFROE: Aye.
   2         THE CLERK: Renfroe, aye.
   3         Roberts.
   4         SENATOR ROBERTS: Aye.
   5         THE CLERK: Roberts, aye.
   6         Scheffel.
   7         SENATOR SCHEFFEL: Aye.
   8         THE CLERK: Scheffel, aye.
   9         Schwartz.
  10         SENATOR SCHWARTZ: No.
  11         THE CLERK: Schwartz, no.
  12         Steadman.
  13         SENATOR STEADMAN: (No audible answer.)
  14         THE CLERK: Tochtrop.
  15         SENATOR TOCHTROP: No.
  16         THE CLERK: Tochtrop, no.
  17         Todd.
  18         SENATOR TODD: No.
  19         THE CLERK: Todd, no.
  20         Ulibarri.
  21         SENATOR ULIBARRI: No.
  22         THE CLERK: Ulibarri, no.
  23         Steadman.
  24         SENATOR STEADMAN: No.
  25         THE CLERK: Steadman, no.
  0032
   1         Mr. President.
                                                                                                      LEG HX 000991                    4906
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   2       Appellate   Case: 14-1290
           SENATE PRESIDENT:            No. Document: 01019371764                     Date Filed: 01/16/2015            Page: 243
   3       THE CLERK: Mr. President, no.
   4       SENATE PRESIDENT: With 13 ayes, 20 noes,
   5 zero absent, and two excused, that motion fails.
   6       Back to the motion of adopting the
   7 majority committee report to the conference
   8 committee report on 1229.
   9       Are there any no votes?
  10        Senator Balmer, Senator Lundberg, Senator
  11 Marble.
  12        So this is the committee -- the conference
  13 committee report. A rejecting -- so a no vote is
  14 rejecting it, where adopting -- the motion is to
  15 adopt the majority conference committee report.
  16        So are there any no votes?
  17        So Senator Balmer -- okay Senator Balmer
  18 wants to be an aye -- no, Senator Balmer is a no.
  19 Senator Crowder is a no. Senator Lundberg is a no.
  20 Senator Marble. Senator Renfroe.
  21        So with a vote of 28 ayes, 5 noes, zero
  22 absent, and two excused, the conference committee
  23 report is adopted.
  24        Majority Leader Carroll.
  25        MAJORITY LEADER CARROLL: Thank you,
  0033
   1 Mr. President.
   2       I move for the re-adoption of House Bill
   3 1229.
   4       SENATE PRESIDENT: The motion is for the
   5 re-adoption of the bill.
   6       Discussion?
   7       Senator Brophy.
   8       SENATOR BROPHY: Thank you, Mr. President.
   9       And, Members, I'll ask for a no vote.
  10        The bill contains now something like nine
  11 exemptions. One of them, again, that allows gang
  12 members to swap guns around for up to 72 hours
  13 without a penalty for breaking the -- the background
  14 check rule, still denies people the ability to loan
  15 a hunting rifle to their brother-in-law or their
  16 next-door neighbor to take on a week-long hunting
  17 trip, still makes it illegal for someone to loan a
  18 handgun to a friend or neighbor who's going on a
  19 week-long backpacking trip.
  20        And the Obama justice department tells us
  21 that it does absolutely nothing to improve safety.
  22 Nothing. It won't help anything, and it makes
  23 common, everyday actions amongst friends and
  24 neighbors something that's now illegal in the State
  25 of Colorado.
  0034
   1       When asking for your support to form a new
   2 conference committee to go beyond the scope of -- of
   3 differences, I -- I mentioned the unintended
                                                                                                      LEG HX 000992                    4907
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate Case: 14-1290 Document: 01019371764
   4 consequences.                                                                    Date Filed: 01/16/2015            Page: 244
   5       Now, I'm going to tell you that they
   6 are -- that they are absurdities. It is absurd that
   7 I can't loan a handgun to a neighbor who's going on
   8 a week-long backpacking trip. That's absurd. It's
   9 ridiculous that I can't loan the appropriate hunting
  10 rifle to my neighbor to take on a week-long elk
  11 hunting trip.
  12        The -- the list of absurdities goes on and
  13 on and on, and all for what? For what? We get no
  14 improvement at all in safety. We take a step
  15 towards registration of all firearms and ownership
  16 of all firearms. Again, treating law-abiding
  17 citizens like they're doing something wrong instead
  18 of taking it to the criminals.
  19        Why would you support something like that?
  20 Those aren't Colorado values. We don't assume that
  21 law-abiding citizens are up to something they
  22 shouldn't be up to in a -- in a great libertarian
  23 western state like this. We don't do that.
  24        Vote against this bill.
  25        SENATE PRESIDENT: Further discussion?
  0035
   1       Seeing none, the motion before the -- oh,
   2 sorry.
   3       Do you want -- so Majority Leader Carroll.
   4       MAJORITY LEADER CARROLL: Thank you,
   5 Members.
   6       So we're obviously back to the passage of
   7 the bill. And I do think that there's room for
   8 obviously legitimate differences of opinion about
   9 whether or not someone should go through a
  10 background check so that law-abiding people go on
  11 with their purchases and possession, and people who
  12 are convicted felons are dangerously mentally ill
  13 don't. I get that there's a difference of opinion
  14 on that.
  15        What does concern me some are really two
  16 points that I want to be clear for the record:
  17        There were many, many, many, many changes
  18 made to this bill in good faith, listening. None of
  19 them brought any difference to a partisan divide,
  20 and frankly, they didn't have to be accepted. So
  21 we're listening. I'm grateful for the suggestions
  22 that were made. They aren't just concessions. That
  23 is the sponsor working in good faith, listening to
  24 members in both chambers on ideas on the bill.
  25        And so you get criticized kind of both
  0036
   1 ways, like, hey, you won't work with us. Oh, wait a
   2 minute, you took all our ideas, but because you took
   3 all our ideas, it must be a flawed bill because, you
   4 know, now you've accepted these amendments.
   5       And so it's -- it's kind of a catch-22 in
                                                                                                      LEG HX 000993                    4908
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
   6 the sense  that byCase:
                        working14-1290       Document:
                                  in good faith            01019371764
                                                 to actually                          Date Filed: 01/16/2015            Page: 245
   7 respond and address many of the issues that
   8 colleagues brought up, we're being told that that's
   9 proof it's a flawed bill. And every bill goes
  10 through its -- its own process, and many bills get
  11 amended.
  12        But I want to say, just as a matter of
  13 process, that the changes that have been offered, I
  14 think reflect the fact that, from my perspective, I
  15 would have hoped that some of these might have
  16 brought on some bipartisan support, and I'm sorry it
  17 didn't, but I understand that.
  18        What does bother me, though, is while
  19 people can differ between whether or not you think
  20 there should be a background check to keep guns out
  21 of the hands of convicted felons, I get that; but I
  22 do want to be clear for the record, because there's
  23 enough confusion about that the bill does that we at
  24 least shouldn't contribute to it. So I want to be
  25 very clear here for the record.
  0037
   1       There is no 72-hour limitation on the
   2 hunting trip example. Among these exceptions, and I
   3 put out a fact sheet so that we can all put out,
   4 whether you like the bill or not, accurate
   5 information to the people we represent.
   6       There is no 72-hour on the immediate
   7 family exemption. Those are not time-limited. Out
   8 of the exceptions we put in place, only two of them
   9 have time limits.
  10        So to be clear, there isn't a time limit
  11 on the hunting exception. And there is one, so your
  12 brother-in-law may not be defined as a
  13 brother-in-law in the family section, but if your
  14 brother-in-law is, you know, borrowing a gun for
  15 hunting, it doesn't matter who you're loaning it to
  16 for hunting, as long as they're not a convicted
  17 felon. We know in the bill there's a hunting
  18 exception for this.
  19        The 72-hour provision does not qualify
  20 just as a grammatical issue to be very clear about
  21 what the bill does. It does extend to all of the
  22 other exceptions. It is a stand-alone alternative.
  23 All of these exceptions are written in alternative.
  24 You may satisfy one, you may satisfy more than one.
  25        So I just want to be factually clear that,
  0038
   1 you know, your family member exception, that's not
   2 72-hour limited. Your hunting, that's exempted, nor
   3 is that limited to a 72-hour exemption. There is no
   4 registration in the bill. There's no confiscation
   5 in the bill.
   6       So I think the -- the policy discussion is
   7 what you think about whether or not there should be
                                                                                                      LEG HX 000994                    4909
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
   8 a criminal        Case: check
                  background  14-1290 beforeDocument:
                                             you purchase01019371764
                                                          or                          Date Filed: 01/16/2015            Page: 246
   9 possess a firearm. And I go right back to the
  10 original point of the bill, which is: We do have
  11 data that says this makes a difference.
  12        And while no law has a hundred percent
  13 compliance, we, in fact, do detect dangerous
  14 convicted felons in the process of this, even under
  15 our current system, even given the glaring loophole
  16 of up to 40 percent of transactions that are
  17 completely escaping background checks as a result of
  18 this loophole.
  19        And we can use Colorado data to see that
  20 our current system, in fact, detects people who are
  21 criminally ineligible to purchase or possess. But
  22 we also have the benefit of data from other states
  23 that tells us that we, in fact, do keep guns out of
  24 the hands of many, not all, of many, though, of
  25 people who are convicted felons or dangerously
  0039
   1 mentally ill, who, in fact, are trying to purchase
   2 or possess.
   3       So we know it works, and I think, you
   4 know, the honest difference of opinion is whether
   5 that background check is unfairly burdensome to
   6 those who are law-abiding people who pass through
   7 that gate, who have every reason and right to buy
   8 the firearm of their choosing. Is it an unfair,
   9 undue burden on them to go through the background
  10 check system?
  11        And what's interesting to me is, given the
  12 background check system we currently do, I
  13 personally haven't heard anyone who's buying from an
  14 FFL or from a gun show say that it was unduly
  15 burdensome. I do think the state has a
  16 responsibility to try and keep the wait to a
  17 minimum, because there are scenarios where delay, I
  18 think, is a legitimate point that would be an unfair
  19 burden. And so I do think as we go into
  20 implementation, we need to make sure that we're not
  21 unfairly holding anyone up.
  22        But at the end of the day, we have already
  23 said, as a matter of public policy, that people who
  24 are convicted of murder, rape, kidnapping, larceny,
  25 you name it, that they're already prohibited from
  0040
   1 purchasing or possessing. And if we fail to pass
   2 this bill, each and every convicted felon in the
   3 state of Colorado, who our current law says isn't
   4 supposed to have or purchase this, in reality can.
   5 And we don't even have a mechanism.
   6       So we might as well just delete those laws
   7 and say, you know what, we don't care if convicted
   8 felons, or murderers, or rapists, or burglars, or
   9 whoever else has access to these, because we refuse
                                                                                                      LEG HX 000995                    4910
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  10 to putAppellate    Case: 14-1290
             in an enforcement    mechanism. Document:   01019371764
                                                 The background                       Date Filed: 01/16/2015            Page: 247
  11 check is the enforcement mechanism. And it is
  12 imperfect.
  13        You know, we have -- you can point to any
  14 law we've got on the books, and you'll find someone
  15 who hasn't complied with it and people who may try
  16 harder not to.
  17        But the fact is, is that the data tell us
  18 in Colorado and elsewhere, that it actually
  19 substantially works, even if imperfectly.
  20        So I'm proud of actually having made some
  21 of these changes in good faith, listening to
  22 Republican colleagues through both chambers. I
  23 think we did the right thing with that.
  24        But at the end of the day, if we actually
  25 believe that certain people that are criminally
  0041
   1 prohibited from owning or possessing now, in fact,
   2 shouldn't possess, if we mean it, we need to pass
   3 this and close this ridiculous loophole. And if we
   4 don't mean it, let's repeal it and decide that we
   5 really don't care anymore on any limits, on anyone
   6 owning a firearm, regardless of their criminal
   7 history or regardless of even a severely dangerously
   8 mentally ill, dangerous person under court order.
   9       And if we decide that those folks, we
  10 don't want to get in their way, and we really don't
  11 have any means or interests or ability to be able to
  12 enforce that section, then we might as well reappeal
  13 all background checks and get rid of the prohibition
  14 on them holding them because without this, we have
  15 zero mechanism to differentiate between those who
  16 are law-abiding and those who aren't.
  17        And with that, I would just respectfully
  18 request an aye vote on re-adoption of 1229.
  19        SENATE PRESIDENT: Senator Harvey.
  20        SENATOR HARVEY: Thank you, Mr. President.
  21        Ridiculous loopholes, that's the argument
  22 for this bill. Ridiculous loopholes.
  23        Are we saying that somebody giving their
  24 stepson a gun and not doing a background check on
  25 them is a ridiculous loophole?
  0042
   1       Are we saying that 4-H members who are
   2 young and want to shoot a .410 and their parents
   3 haven't bought one for them yet because they're just
   4 seeing if they want to participate in 4-H shooting
   5 and that we're doing that now without doing a
   6 background check on them is a -- is a ridiculous
   7 loophole in state law?
   8       Is it ridiculous that if my wife wants to
   9 use my gun to protect our home, or when they go --
  10 she goes on a trip outside of the house with a gun,
  11 that she can't use my gun for fear of being in
                                                                                                      LEG HX 000996                    4911
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  12 violation   of thisCase:
                         law and14-1290
                                   putting meDocument:    01019371764
                                              and her at risk                         Date Filed: 01/16/2015            Page: 248
  13 of being prohibited from owning a gun ever again?
  14       Do you think that's a ridiculous loophole
  15 that needs to be closed? Well, if you do, vote for
  16 this bill. Vote for this bill, because that's
  17 exactly what this bill does.
  18        If this bill was talking about closing the
  19 loophole for people buying guns outside of the
  20 stores and outside of the gun shows, but through
  21 private sales, that might be a loophole that the
  22 majority of the public would agree with, but that's
  23 not what this bill is.
  24        The sponsor says we're talking about
  25 what -- doing background checks the same way we've
  0043
   1 done in gun shows and stores, and there's no undue
   2 burden. Ask the 4-H clubs if they think it's an
   3 undue burden to have to do a background check on
   4 every one of their kids that want borrow a gun. I
   5 would argue they would say that's an undue burden.
   6 Ask the family members who are having to do
   7 background checks on their stepkids. Is that an
   8 undue burden?
   9       Remember, it is already against federal
  10 law to give a gun to somebody that you know or
  11 should know is a felon. I would hope that we would
  12 know whether our kids, our stepkids, are felons or
  13 not. This is an undue burden.
  14        The reason why this was amended because
  15 the drafting of this bill was so poorly done -- not
  16 by our staff here in Colorado, I don't believe
  17 that's where it was done -- that there was so many
  18 ridiculous things in this bill that the -- it was
  19 embarrassing. We had to make changes to this bill
  20 because it was so poorly drafted in New York City,
  21 or Washington, D.C., or wherever it was drafted.
  22 That's why there was so many amendments brought to
  23 this bill to fix it in the first place.
  24        And why is that? Was it written by
  25 somebody who understands gun policy, who understands
  0044
   1 gun law here in Colorado? I don't think so. I
   2 think it was written by somebody with irrational
   3 fear of firearms, because they have no experience
   4 with firearms, and they wrote a bill thinking
   5 firearms are terrible, the sky is falling, and
   6 therefore we must come forward and outlaw firearms
   7 as much as we possibly can and as far as we can get
   8 today.
   9       Irrational fear. Irrational fear of 4-H
  10 kids shooting guns. We've got to do background
  11 checks and fix that loophole. Is that what we're
  12 afraid of?
  13        Bipartisan support. I have bipartisan
                                                                                                      LEG HX 000997                    4912
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  14 support             Case: 14-1290
                for my position.              Document:
                                    My position   is vote no.01019371764
                                                              I                       Date Filed: 01/16/2015            Page: 249
  15 have bipartisan support of that. Can I get one
  16 more? I ask for a no vote.
  17         SENATE PRESIDENT: Senator Lundberg.
  18         SENATOR LUNDBERG: Thank you,
  19 Mr. President.
  20         Members, I come up here again because it's
  21 that important that we look at this one more time.
  22 This is the final vote on this bill, and I urge a no
  23 vote. No surprise there.
  24         I should hope, though, that you dig a
  25 little deeper than just yes or no to the why, to the
  0045
   1 what are we doing. Just the discussion we've heard
   2 this morning establishes several things in my mind
   3 as to what this bill will do if it becomes law.
   4        I find it -- if you just look at all the
   5 discussion on who's exempted and who's not exempted,
   6 can anyone in this room, after all of this time,
   7 stand up and just recite exactly who is and who
   8 isn't? Is it possible, even now as it's fresh in
   9 our minds, without looking back and trying to figure
  10 it out and, you know, kind of do the math?
  11         Well, imagine what it's going to be like
  12 for the people of Colorado to figure out where the
  13 exemptions are and where the exemptions aren't.
  14 We've made a dysfunctional mess of -- of these
  15 exceptions, to try to put some rational function to
  16 this concept of universal background checks, for not
  17 only the sale but the transfer, that means the
  18 loaning, that means just handing it off.
  19         You know, if I were to transfer this pen
  20 and just give it to somebody and they -- then they
  21 hold it, that's a transfer. Now, the basic point of
  22 this bill is to say that's illegal without a
  23 background check. And then there are some
  24 exceptions that are put in.
  25         But no one, practically speaking, will be
  0046
   1 able to get their arms around it. So, to the
   2 average citizen in Colorado, here's the takeaway:
   3 Transfers aren't allowed without background checks,
   4 and you better check pretty carefully if you want to
   5 cross that line. Oh, just go ahead and get the
   6 background check.
   7        Oh, by the way, don't forget, there's
   8 another bill coming that will put a fee on it. And
   9 if you look in this bill that we're voting on right
  10 now, there's another fee on it. This is where the
  11 dealers are allowed to put up to a $10 fee. And I
  12 can kind of see how this will all work its way out.
  13        You know, maybe a $10 fee here, a $10 fee
  14 for the CBI. I hope it's no more than that, but
  15 it's unlimited. Now it's 20 bucks to take and
                                                                                                      LEG HX 000998                    4913
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  16 transfer            Case:one
                 it over from    14-1290       Document:
                                    person to the         01019371764
                                                  next. And                           Date Filed: 01/16/2015            Page: 250
  17 then, if it's truly a loan, and they went through
  18 the background check for the first half of that
  19 loan, the returning of the firearm will require the
  20 same.
  21         So that's the takeaway that the citizens
  22 of Colorado have as far as this little complicated,
  23 let's call it unintended consequence, that, as our
  24 debate and discussion earlier today proved, there is
  25 no willingness on a partisan line to go back and try
  0047
   1 to fix some of those problems. No, this has been
   2 locked in. And -- and as much as the sponsor wants
   3 you to -- to think that this is a -- a product of a
   4 bipartisan effort, that is the furthest from the
   5 truth of just about any legislation I've ever seen.
   6 This is the plan from the majority party, and they
   7 own it, unless, of course, a few of you decide, and
   8 it doesn't take many, but a few of you decide that
   9 this is not good policy.
  10         Shoot, just decide it's not good politics,
  11 that will give you good policy, by the way, if you
  12 just vote no. And that's what I'm urging you to do,
  13 partially because it's dysfunctional.
  14         It's not just for sales, it's for
  15 transfers, and that happens all the time. And yet
  16 no one will know what that means; hence, you'll find
  17 this -- you know, this -- this chilling effect on
  18 what should be a very legitimate process of the
  19 private property owned by a -- a legal, law-abiding
  20 citizen for the State of Colorado will have a fear
  21 of breaking some law and being held accountable, you
  22 know.
  23         And I think the very best example is -- is
  24 when it comes to these 4-H groups or -- or some sort
  25 of a Scout program or -- or maybe it's a -- it's a
  0048
   1 program within some church where they're trying to
   2 show the proper handling and management of a firearm
   3 and pass it on to not only their kids, but, you
   4 know, the group of kids in their charge there. They
   5 dare not go down there because it would be absurd.
   6       It would be absurd to, you know, assemble
   7 ten shotguns, and then go through the background
   8 check on all of those, and then have to go through
   9 the background check just to get it back to the
  10 rightful owners. But that's what this bill will
  11 require. It's a bad idea, a very bad idea.
  12         But let me go on to where I think the
  13 worst ideas are for this law. The sponsor said this
  14 is not registration, this is not confiscation. I
  15 agree. The language in this bill is not
  16 registration, and the language in this bill is not
  17 confiscation. But my own sheriff has told me, we
                                                                                                      LEG HX 000999                    4914
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  18 cannotAppellate
              enforce thisCase: 14-1290
                             without          Document:
                                      registration; we don't01019371764               Date Filed: 01/16/2015            Page: 251
  19 know how to figure this out.
  20        And it makes perfect sense, especially
  21 when, you know, when it's -- when it's bisecting
  22 which family members are appropriate to loan to and
  23 which are not without a background check. Well, you
  24 come into some circumstances where somebody was in
  25 possession of a firearm, and somebody else says, But
  0049
   1 that wasn't my firearm, that was my
   2 brother-in-law's. And the brother-in-law says, no,
   3 that wasn't mine, that was his. And the law
   4 enforcement are looking at this and saying, you
   5 know, he said, he said. We don't know.
   6       It boils down to they're not going to be
   7 able to enforce much of this law without
   8 registration. And I'm going to fight that one more
   9 than I'm fighting this one, and I'm fighting this
  10 one with about all I've got because the one leads to
  11 the other.
  12        And now, let's -- let's take on that
  13 registration issue with just a little more focus and
  14 -- and look at other countries throughout history
  15 who have decided that registration of firearms is
  16 necessary.
  17        In far, far too many examples, after they
  18 register, they start figuring out who they want to
  19 hold firearms or who they don't want to hold
  20 firearms. And sure, we can give the worst examples
  21 out there of -- of Hitler's Germany, who in 19, I
  22 think it was 35, in that -- I believe it was 1935,
  23 when announced the registration requirement, and
  24 then the confiscation followed shortly thereafter,
  25 but you don't have to go down those worst-case
  0050
   1 scenarios to see the absurdity of it.
   2       I had a constituent of mine just a few
   3 weeks ago describe to me the problem he was having
   4 with a shotgun that his father owned, who lived in
   5 Spain.
   6       Now, it's curious how this worked out, and
   7 I think it's -- it's important to -- to consider
   8 this in the context of this legislation that we're
   9 about to vote on. His dad has this shotgun, and
  10 apparently it was very important to both of them,
  11 and a fairly expensive firearm. He owns it. He
  12 lives in Spain.
  13        Spanish law requires that shotguns not
  14 only be registered, but be held at the local police
  15 station, and that with your registration or your
  16 license, essentially, that you have to be in good
  17 health.
  18        Well, this guy's dad had a heart problem,
  19 so the Spanish government told him you can't own
                                                                                                      LEG HX 001000                    4915
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
            Appellate
  20 this anymore       Case:
                      and       14-1290
                           you can't give it toDocument:
                                                your son 01019371764                  Date Filed: 01/16/2015            Page: 252
  21 because of the mechanisms between Spain and the U.S.
  22 on all of that.
  23         And he was just expressing his extreme
  24 frustration on how just the bureaucracy of not
  25 necessarily the most tyrannical government in the
  0051
   1 world, but just the bureaucracy that literally was
   2 going to force the -- the destruction of this
   3 firearm that was highly valued by this family
   4 because the guy flipped over just an odd nuance of
   5 it, and that is his doctor said you've got a heart
   6 problem, so now you can't own it and we can't -- you
   7 can't give it away; we're going to have to destroy
   8 it.
   9        Now, I'll go back to what the sponsor said
  10 that I agree this is not confiscation, this is not
  11 registration, but what it is is the first step and a
  12 very clear step. And the sponsor may not be
  13 thinking that's -- that's where she's headed with
  14 this, but I can find multiple advocates for
  15 registration and confiscation, and law enforcement
  16 today that insists that you pass this bill and you
  17 set that course in action -- in -- in place.
  18         This is a bill that's dysfunctional for
  19 the average citizen who does own a firearm, if they
  20 ever want to loan it to somebody, they have no idea
  21 except they're probably breaking the law and
  22 jeopardizing both they and themselves in the
  23 process, you know, themselves and the person to whom
  24 they want to loan the firearm. That's one.
  25         Secondly, this puts a fee in place of $10
  0052
   1 per transfer, to be charged by the dealer who
   2 administers that. Also it does put an undue burden
   3 on far too many people. And I've had too many
   4 people talk to me about the undue burden the current
   5 system has in place over the last few months with
   6 its, you know, they say three to seven days. Well,
   7 it's two weeks plus is what I've been shown.
   8        It leads to a system of regulation that
   9 violates the Second Amendment of the U.S.
  10 Constitution. It violates the Colorado Constitution
  11 very clearly because of all of the bureaucratic and
  12 expensive processes put in place for simply
  13 possessing and bearing arms here in Colorado.
  14         This is one of the worst bills we've seen
  15 this year, and that's why we've spent so many hours
  16 on it, and that's why I trust we're going to spend a
  17 few more hours on it, so that the people of Colorado
  18 will be at least assured that some people are
  19 looking after their constitutional rights, and just
  20 the practical realities of ownership within the
  21 State of Colorado.
                                                                                                      LEG HX 001001                    4916
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  22       Appellate
            Vote no. Case: 14-1290 Document: 01019371764                              Date Filed: 01/16/2015            Page: 253
  23        SENATE PRESIDENT: Senator Marble.
  24        SENATOR MARBLE: Thank you, Mr. President.
  25        If this bill was so crystal clear and so
  0053
   1 well-written, we wouldn't be having this debate.
   2 And what I really fear, and what we all fear,
   3 especially the citizens of this great state, is that
   4 here we're asking law enforcement to enforce a law
   5 that, one, they don't support, and two, they don't
   6 even believe it to be enforceable, and that's the
   7 problem.
   8        When we have the Constitution, it gives
   9 us the reason why we are a country. Our Bill of
  10 Rights gives us the outline of how to keep us a
  11 country, and then the Federalist Papers are there so
  12 we know the intent behind all -- all of these great
  13 documents.
  14        When we see the package of gun bills that
  15 have gone through, you know, it would have been in
  16 hopes, I think, from the people that I represent,
  17 and also all the people in the State of Colorado,
  18 those law-abiding citizens, that there would have
  19 been bills come through focusing on the real
  20 problem, and that is the criminal.
  21        This bill doesn't increase penalties for a
  22 felon or a criminal, who's going out to purchase a
  23 gun or who has possession of a gun. There's nothing
  24 that will actually make them think twice about going
  25 through with the transaction, and that bothers a lot
  0054
   1 of people because all this is doing is focusing on
   2 regular -- regular citizens.
   3        What about the criminals that we're trying
   4 to trap and really get, you know, ahold of and get
   5 that gun away from? There's no mention. This is
   6 just focusing on an inanimate object. And people,
   7 millions of people, who own these guns, who are
   8 law-abiding, are the ones that are going to get
   9 caught in the crossfire. That's where the real
  10 battle is. It's the innocent people caught in the
  11 crossfire of this debate.
  12        I can't support this bill. I can support
  13 criminalizing criminals more. You know, taking time
  14 to really look at how are we going to get them to
  15 pay for the actions that they do, and all this bill
  16 does is exactly the opposite. It makes law-abiding
  17 citizens pay for the actions that they have done all
  18 their lives with no consequence because it was
  19 never -- it was never unlawful.
  20        I know none of us want to over-criminalize
  21 America, and I know that you're saying we have to do
  22 something, but why this? There are other ways and
  23 other avenues that haven't been looked at, and it
                                                                                                      LEG HX 001002                    4917
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  24 has toAppellate
             be fair. WeCase:    14-1290
                            always           Document:
                                     talk about being fair, 01019371764               Date Filed: 01/16/2015            Page: 254
  25 being fair in our schools, be fair in our education,
  0055
   1 be fair in our taxation, be fair and do this and do
   2 that, and fair, fair, fair, and then we come up with
   3 this.
   4        The implications that this have are
   5 devastating, and it is not a shining star of what
   6 we've done to curtail crime. This has indeed
   7 increased crime and criminalized the wrong people.
   8        Let's get a bill that really focuses on
   9 crime and the true people who are intent on creating
  10 crime and death and destruction, who are intent on
  11 getting their names in the media to outdo the other
  12 and to kill more than the last person.
  13        We all know about the underground black
  14 markets. We all know that this is where people are
  15 going to go and they can go and they will go. This
  16 bill doesn't address that. None of the bills do.
  17        I would just like to see something focus
  18 on criminals, penalties for those criminals, just to
  19 make sure they do not do this, and if they do, they
  20 will pay.
  21        But I'm not into asking anybody who is a
  22 law-abiding citizen to pay for something that they
  23 haven't done wrong. And this is exactly what this
  24 bill does. The intent of the bill you say doesn't,
  25 but the outcome of the bill, actually it does. It
  0056
   1 is overcriminalizing, and it's asking our law
   2 enforcement to actually interpret and enforce a law
   3 they don't support or believe in and were not
   4 consulted about when they wrote it -- when it -- not
   5 when they wrote it, when it was written and drafted
   6 by the Democratic side of the aisle, and we have to
   7 stop this.
   8        When you look at all these bills, all --
   9 the main theme that I hear, it's the deamionization
  10 of law-abiding citizens and of guns. It's not guns;
  11 it is the people -- it is criminals. It is the
  12 people who decide to do evil that are -- that are
  13 the demons, the horrible portion of our society that
  14 we're trying to get control of. And we're not doing
  15 that. We aren't controlling criminals through these
  16 bills.
  17        And so that gives people -- it makes them
  18 give pause to thinking, do they even care about the
  19 criminals, or is it just control? Because that's
  20 all these bills do, is control. Control who?
  21 Law-abiding citizens. For what? Nothing. It
  22 doesn't make sense. There's no reason to focus the
  23 way that these bills do on law-abiding citizens. It
  24 would have been nice to focus on the crime and the
  25 criminals who really perpetrate these horrible acts.
                                                                                                      LEG HX 001003                    4918
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  0057     Appellate Case: 14-1290 Document: 01019371764                              Date Filed: 01/16/2015            Page: 255
   1        And I urge a no vote.
   2        And let's really get together and see what
   3 we can do to focus on that small portion of our
   4 society that we need to focus on and get a handle on
   5 and really make penalties for what they do so stiff
   6 and so -- you know, so written in their minds that
   7 they will lose everything, perhaps even their life,
   8 if they go through with it and mean it. The
   9 catch-and-release system that we have encourages
  10 crime, and this is going to overcriminalize the
  11 wrong people. Vote no.
  12        SENATE PRESIDENT: Senator Baumgardner.
  13        SENATOR BAUMGARDNER: Thank you,
  14 Mr. President.
  15        One of the things that has not been talked
  16 about a lot, and at times has been talked about, is
  17 the cost to the state of this one piece of
  18 legislation, about $1.7 million, and the increase of
  19 about 28 full-time employees.
  20        Now, the reason for this increase is they
  21 say that we need to do this to relieve the federal
  22 background check system. So CBI's going to do part
  23 of this. Well, again, the feds are already doing
  24 this.
  25        And I understand that it's been said that
  0058
   1 this is not a way to make a database on who has a
   2 firearm and who doesn't have a firearm.
   3        And I also heard this bill was not about
   4 registration or -- or anybody is going to keep track
   5 or a database of who has a firearm, but it says
   6 right here that reporting and updating of records on
   7 which background checks are based. So updating of
   8 reports. Are we not at that point making a database
   9 on who has a firearm?
  10        It was also said that, you know, we talked
  11 about 4-H projects, we talked about, you know, the
  12 Scout's projects on shootings and things like that,
  13 and it was mentioned that well, you can borrow your
  14 shotgun or whatever from your parents -- your
  15 parents, probably. And in most rural areas, the
  16 parents do have guns.
  17        But you know what? Those shotguns doesn't
  18 fit those kids; those kids are smaller, so they have
  19 to borrow a shotgun or get a shotgun from somewhere
  20 else, from another child. Is that a transfer?
  21 Absolutely. And if they keep that for the entire
  22 time of that program, is that over 72 hours that
  23 that person has the possession of that firearm?
  24 Absolutely.
  25        And we talked about the responsible
  0059
   1 person, the parent, that will be now in charge of
                                                                                                      LEG HX 001004                    4919
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
   2 that child        Case:
                with that      14-1290
                          shotgun           Document:
                                   or firearm  that was 01019371764                   Date Filed: 01/16/2015            Page: 256
   3 loaned to them.
   4       So, now, do we not only have to do a
   5 background checked on the child but now the parents
   6 of that child because they are in possession of that
   7 firearm for over 72 hours? And if they are the
   8 parent or guardian of that child, are they not
   9 responsible for that child?
  10        Again, this is another piece of
  11 legislation that turns law-abiding citizens into
  12 criminals. Criminals will never, ever, whether they
  13 buy a firearm -- they can't buy a firearm at a gun
  14 show. Why would they? Why would they go to an FFL
  15 dealer and buy a firearm? They're not going to
  16 because they know they have to go through a
  17 background check.
  18        A law-abiding citizen that goes to buy a
  19 firearm, they don't mind going through that
  20 background check, but to transfer a weapon to use on
  21 a hunting trip or to take a vacation and leave that
  22 gun with someone makes absolutely no sense.
  23        And, I, see that it does generate money
  24 for the state. I do see that. It's right here.
  25 And I do see that, you know, that, you know what, it
  0060
   1 does have to do with jobs, because you know what?
   2 We are going to supply 25 more government jobs.
   3       We've talked, we've asked. And we have,
   4 we've worked, we've worked, and we've asked for
   5 help, and there's been some relief given, and there
   6 has been amendments on this, but still, it's not
   7 where we need to be. It's not where we should be.
   8       This is just another piece of legislation
   9 in a packet of legislation that's going through the
  10 process to make sure that we can, through law,
  11 through statute, make sure that, one, criminals
  12 can't have -- and again, this bill does absolutely
  13 nothing to address that issue -- but just another
  14 avenue that a law-abiding citizen cannot possess a
  15 firearm.
  16        This is our last chance to address several
  17 of the issues that have been brought up on this
  18 piece of legislation that is flawed. And I'm sure
  19 I'm not going to be the last one to speak on this.
  20 And you may hear many of the same things over and
  21 over and over again, because we have to make the
  22 point that this is just another attempt to restrict
  23 your constitutional right to take -- to hang on to
  24 your firearms.
  25        Vote no on House Bill 1229. Show the
  0061
   1 people of the State of Colorado that we are
   2 listening, that we really do care, because I think,
   3 from what I said the other day and what you might
                                                                                                      LEG HX 001005                    4920
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
   4 hear later  today, Case:
                        and -- 14-1290        Document:
                                is that the people of the 01019371764                 Date Filed: 01/16/2015            Page: 257
   5 State of Colorado are listening. Through e-mails,
   6 through phone calls, they're pleading with their
   7 representatives to please listen to us. And I
   8 guarantee you, I'm listening to mine. And I hope
   9 everybody here today is listening to theirs.
  10        Please vote no on House Bill 1229.
  11        Thank you, Mr. President, Members.
  12        SENATE PRESIDENT: Senator Brophy.
  13        SENATOR BROPHY: Thank you, Mr. President.
  14        I -- I want to come up and give you guys a
  15 handful of other just bizarre consequences of
  16 passing this bill. And -- and in starting with this
  17 one, I want to call to your attention today's Denver
  18 Post, a little story by Ryan Parker, where he
  19 mentions that a lot of firearms dealers will be
  20 refusing to perform these background checks for
  21 walk-ins off of the street.
  22        And again, the problem here is, is that
  23 the bill was not crafted by people who have an in
  24 depth knowledge of how firearms transactions
  25 actually occur, because the bill limits an FFL,
  0062
   1 dealer, to only charge $10 to perform these
   2 background checks for people who walk in off of the
   3 street into their -- into their gun shop, if they
   4 have one, or -- or call them up to arrange for the
   5 meeting, as you'll have to do in Wrey, Colorado.
   6       What you don't realize -- and that's why
   7 this story is important in the Denver Post -- is
   8 that the typical dealer, when performing a
   9 background check for an individual who isn't one of
  10 his customers, charges $25, not 10.
  11        So your bill cuts their -- their cost,
  12 their charges by well over 50 percent. You --
  13 you -- you're making them donate their time to do
  14 this as opposed to paying them for what they -- what
  15 they actually have to do on behalf of the people of
  16 the State of Colorado.
  17        I have purchased firearms that have been
  18 delivered through the mail, and you -- you pay
  19 your -- your dealer who handles that transaction for
  20 you and the background check for you $25, not $10.
  21 It's just bizarre that no one thought to ask someone
  22 that question.
  23        Let me give you another one that is --
  24 it's just ludicrous. If there's a -- a friend or
  25 neighbor of -- of ours in Wrey who is going through
  0063
   1 a really contentious divorce, and she feels
   2 threatened and feels like she ought to have a
   3 shotgun or a handgun in her home to protect herself
   4 and her family.
   5        She can't -- under this bill -- she can't
                                                                                                      LEG HX 001006                    4921
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   6 comeAppellate
             over to ourCase:
                           house14-1290
                                 to borrow aDocument:      01019371764
                                                gun unless we do                      Date Filed: 01/16/2015            Page: 258
   7 a background check on her. She can't. The bill
   8 only allows that type of transfer if it occurs while
   9 in the home of the person who feels threatened. So
  10 she can't come to my house to borrow one. I have to
  11 take it over to her house to give it to her.
  12         Oh, and it's also limited by Roman numeral
  13 II. She has to reasonably believe that possession
  14 of the firearm is necessary to prevent imminent
  15 death. So I guess we have to wait until the person
  16 she's afraid on is banging on the door, and then we
  17 can make the transfer.
  18         Absurd, grotesque, preposterous.
  19         I'll give you the other example, the
  20 hunting example. And two members, who are
  21 proponents of this bill, have said my hunting
  22 example is not accurate. Well, yes, it is. I said
  23 a friend or neighbor, who's going elk hunting on a
  24 week-long trip, cannot come to my house and borrow
  25 the appropriate rifle to take elk hunting on his
  0064
   1 trip under this bill unless we get a background
   2 check. That is absurd, and it's accurate. If you
   3 don't understand that that is accurate, then I would
   4 ask you to read the bill.
   5        Why don't we just do it together. Pull it
   6 out. It's the re-revised bill. It's on page 6.
   7 Starting at the top of page 6, exemption E, small E.
   8 You got to read and understand these bills because
   9 it's important policy.
  10         A temporary transfer of possession without
  11 transfer of ownership or title to ownership, which
  12 transfer takes place, semicolon, while hunting.
  13 While hunting.
  14         My friend or neighbor is not hunting for
  15 elk in my living room where we make the transfer.
  16 We don't have any elk in my living room. We don't
  17 have any elk in Wrey. He's taking the firearm
  18 somewhere to the Western Slope. We are not engaged
  19 in hunting. That transfer does not occur while
  20 hunting.
  21         So he cannot come and borrow a .300
  22 Winchester Magnum from me because he doesn't think
  23 his .243 is big enough to take elk hunting for his
  24 traditional week-long elk-hunting trip. Please,
  25 page 6. Read the bill, then vote no.
  0065
   1        SENATE PRESIDENT: Further discussion?
   2       Senator Cadman.
   3        SENATOR CADMAN: Thank you, Mr. President.
   4        We keep hearing that background check for
   5 purchasing guns outside of the current requirement
   6 is all that this bill is about, but it's not. It's
   7 not all that this bill is about. It's virtually
                                                                                                      LEG HX 001007                    4922
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   8 about,Appellate    Case:
              as you have       14-1290
                            heard, handling, Document:     01019371764
                                              touching, using,                        Date Filed: 01/16/2015            Page: 259
   9 transporting guns, which we are now calling
  10 transfers. Virtually every possessive part of a gun
  11 is going to be called a transfer.
  12         But when it keeps getting back to keeping
  13 guns out of criminals' hands, of course none of us
  14 want guns in criminals' hand -- in their hands.
  15 There is no opposition to that. Nobody wants
  16 criminals to obtain guns, period.
  17         But this bill is so broad, it's been
  18 called flypaper law. We've used that before, but
  19 it's worth reiterating. It's been called -- it's
  20 been a flypaper law by an attorney for the Outdoor
  21 Channel, because it is encompassing, it is so broad,
  22 they're afraid to even record for the Outdoor
  23 Channel here now. They're afraid to encourage
  24 hunters, sports people, skiers even, from coming to
  25 Colorado, people who might want to protect
  0066
   1 themselves with the legal use of a firearm.
   2        And it doesn't make us safer.
   3        We talked about amendments being the
   4 corrections for oops. And the Majority Leader is
   5 right, that's part of the process. Good ideas
   6 aren't great ideas until we all have a shot to put
   7 an amendment on them.
   8        But what was never answered here, and what
   9 is yet to be answered, was how many other oops are
  10 missing. How many other amendments should we have
  11 gotten added to the bill that we did not get on.
  12         I mentioned to the Majority Leader after
  13 the discussion, either on Friday or Monday, how do
  14 we do our normal Scout trip? How do we do our
  15 normal trip, where one person collects 10, 15, 20
  16 shotguns or .22's, loads them in a car, takes the
  17 day or two-day drive to camp, and then helps do the
  18 Scout training?
  19         And her response was, Can they get there
  20 in 72 hours? Okay. Hopefully they do. But now
  21 they're a criminal if it takes 73 hours, or 72 hours
  22 and two minutes, or 72 hours and seven minutes, or
  23 74 hours, or four days, or nine days, or it takes
  24 two days to get there and they don't do the training
  25 for two days. So now I'm illegally possessing guns
  0067
   1 that I've been loaned by others to take to a
   2 training.
   3        I have a friend that goes on a mission
   4 trip every year, and they don't want to leave their
   5 weapons in their house. I offer them storage.
   6 Under this bill, when I'm trying to protect them and
   7 their interests, and frankly others from accessing
   8 their weapons in their home, under this bill I guess
   9 I won't comply either because I will store their
                                                                                                      LEG HX 001008                    4923
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  10 firearms,         Case:envision
                 and I don't   14-1290myselfDocument:
                                              getting a 01019371764                   Date Filed: 01/16/2015            Page: 260
  11 background check to protect them and the public from
  12 the six weapons that they own when we store them in
  13 our safe, because under this bill I would have to
  14 get a background check to store their weapons, and
  15 then when they return, they would have to get a
  16 background check to get them back.
  17         Oops, oops. Is that when we intended? Is
  18 that really what we intended?
  19         We are creating a new title slash transfer
  20 component to items that virtually have no titles.
  21 Remember get the gunfax? We don't have them. We're
  22 creating a lot of grey area in the law.
  23         And I think, when our laws turn common
  24 citizens into criminals, that is not government of
  25 the people and by the people and for the people,
  0068
   1 that's tyranny. That's tyranny.
   2        Thomas Jefferson wrote -- you remember
   3 him. He's our party patriarch, at least on this
   4 side he is.
   5        "Rightful liberty is unobstructed action
   6 according to our will within limits, drawn around us
   7 by the equal rights of others."
   8        Our rights stop where your rights begin.
   9        He goes on to say, "I do not add 'within
  10 the limits of the law,' because law is often but the
  11 tyrant's will, and also so when it violates the
  12 rights of the individual."
  13         And that's what we're talking about here.
  14 Oops. How many amendments. Oops. How many things
  15 have we forgot? How many exceptions to the
  16 prohibitions were left out? How many rights of the
  17 individual -- of the individuals are we violating
  18 with this bill? More than we can count so far.
  19 And, you know, the really sad part, we're reading
  20 this stuff, we're getting exposed to this.
  21         Most of us aren't the ones that are going
  22 to be saying oops. It's the Colorado citizen or the
  23 visitor to Colorado who's going to be trapped and
  24 entrapped, the flypaper, and they're going to be
  25 making that phone call after going through the
  0069
   1 attorney pages and saying, I don't know what I did.
   2 I'm not sure what I did wrong, but I'm pretty sure I
   3 need your help. I'm going to court. I'm being
   4 charged for a crime. I'm being charged for a crime.
   5       I've done this every year for 40 years.
   6 I'm being charged for a crime for something I've
   7 never -- that -- that I've always done, and I
   8 answered truthfully when the police man pulled me
   9 over and said, where did you get these, who do they
  10 belong to, where are you going? And I told him, and
  11 now I'm a criminal. So what, should he have lied?
                                                                                                      LEG HX 001009                    4924
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  12 ShouldAppellate
               he have Case:
                       lied to 14-1290     Document:
                               protect himself from the 01019371764                   Date Filed: 01/16/2015            Page: 261
  13 tyranny of this legislation?
  14        Here's my son in a Boy Scout uniform
  15 shooting a shotgun. How many Boy Scouts do we have
  16 to arrest before we feel safer? How many Boy Scouts
  17 do we have to lock up before we feel safer? How
  18 many 4-H members do we have to put in jail before we
  19 feel safer? All of them? Do we want them all in
  20 jail? I hear we have excess capacity in the
  21 prisons. How many kids are we going to lock up?
  22        It was suggested yesterday by one of your
  23 colleagues in committee that the 4-H'ers should turn
  24 in their guns, or actually he said have a supervisor
  25 stop by their home or return to their supervisor
  0070
   1 every 72 hours under that program so that we would
   2 feel safer.
   3       It was also suggested -- it was also
   4 suggested by one of our colleagues in that committee
   5 yesterday that everyone in the household of that 4-H
   6 member should get a background check. Sheriff, you
   7 got one gun, four people? Background check,
   8 background check, background check. Is that what's
   9 going to make us any safer? No.
  10        This is the full-employment act for
  11 defense lawyers. And we're doing this to our
  12 citizens. We're doing this to our neighbors. We're
  13 doing this to our families. Defense lawyers against
  14 the tyranny of the Colorado government.
  15        I hope I don't need bail money for my son
  16 this year. Vote no.
  17        SENATE PRESIDENT: Further discussion?
  18       Senator Renfroe.
  19        SENATOR RENFROE: Thank you,
  20 Mr. President.
  21        Members, I'd also rise, and, Mr.
  22 President, I'd rise and ask for a no vote on this
  23 bill.
  24        Nine different sections of exemptions are
  25 put in this bill for things that we've found wrong
  0071
   1 that we can't fix or that we have to exempt because
   2 it wouldn't be reasonable or -- or common sense to
   3 have the law apply to them.
   4       Today we've even brought up more. But
   5 yet, on the 66th day of this session, we don't care
   6 that we've found more problems with this bill.
   7 We've listened is what the sponsor of this bill has
   8 said. We obviously didn't debate the bill, we just
   9 listened.
  10        We've heard several additional things that
  11 should be exempted in this bill today, but yet the
  12 majority is going to pass this bill, send it to the
  13 Governor, and put the people in Colorado in a
                                                                                                      LEG HX 001010                    4925
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
           Appellate
  14 position   of do I Case:
                        -- how14-1290
                                do I complyDocument:
                                              with the law,01019371764
                                                            is                        Date Filed: 01/16/2015            Page: 262
  15 going to be the question that they have to ask.
  16        In my seven years here, I've seen a lot of
  17 bills that have been pushed through this process on
  18 a fast pace without debate. Every single time there
  19 has been unintended consequences of things that
  20 we've found that have come back to haunt and to have
  21 to be tried to be fixed in the -- in the future
  22 years.
  23        We've already got them here on this bill,
  24 and we haven't even got it out of this chamber. Is
  25 that really representing the people of Colorado, to
  0072
   1 pass a bill that you know has problems that are
   2 going to put legal, law-abiding citizens in the
   3 position of breaking the law? And that's what this
   4 bill does.
   5        So vote no on this bill. I'm ashamed at
   6 this chamber for what we're doing today.
   7        SENATE PRESIDENT: Senator Grantham.
   8        SENATOR GRANTHAM: Thank you,
   9 Mr. President.
  10        We have a choice before us. Do the right
  11 thing and send this bill into the dustbin of
  12 history.
  13        This is -- you know, we -- we've talked
  14 about the process. We've talked about one side
  15 apparently listening and making changes, as if
  16 acquiescing to -- to us.
  17        You know, we often refer to this process
  18 down here as the sausage factory and making sausage.
  19 If you actually saw it, you would probably never eat
  20 it again, and those that are watching this may have
  21 the same taste in their mouth over this process over
  22 the last couple of weeks.
  23        Folks, I don't think we're coming out with
  24 sausage on the tail end of this, I think we're
  25 coming out with a moldy block of Swiss cheese. It's
  0073
   1 full of holes. It's full of oops. It's full of,
   2 oh, yeah, what about this? Oops, we have one more
   3 thing we need to change. Oh, yeah, there's also
   4 that -- the 4-H thing. Oh, yeah, there's also that
   5 hunting thing. Oops. Holes. More Swiss cheese.
   6        Someone once wrote, "If the laws be so
   7 voluminous that they cannot be read, or so
   8 incoherent that they cannot be understood; if they
   9 were to be repealed or revised before they are
  10 promulgated, or undergo such incessant changes that
  11 no man, who knows what the law is today, can guess
  12 what it will be tomorrow. Law is defined to be the
  13 rule of action, but how can that be a rule, which is
  14 little known, and less fixed?"
  15        It's kind of where we're at. And we look
                                                                                                      LEG HX 001011                    4926
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  16 at thisAppellate
              bill whenCase:  14-1290
                        we have             Document:
                                  so much that   we're 01019371764                    Date Filed: 01/16/2015            Page: 263
  17 apparently trying to fix, but we still don't know
  18 the -- if we actually did fix anything, and which I
  19 don't think we did. And then we have all these
  20 holes in here that, yeah, but what about this? What
  21 about this?
  22         We're putting our -- our law-abiding
  23 citizens in jeopardy, who are today doing something
  24 completely fine, completely legal, and now,
  25 tomorrow, when, if this is passed, and -- and if
  0074
   1 this goes all the way through to the Governor's
   2 desk, we will make them criminals. We turn our
   3 citizens into criminals.
   4        That quote said: Law is defined to be a
   5 rule of action. How can that be a rule which is
   6 little known or less fixed?
   7        We look at the details of this bill, and
   8 we're still questioning whether or not some of these
   9 things are doing what they're supposed to be doing.
  10 We talk about collaboration and talking and
  11 listening on this. When did that start?
  12         You know, I -- I look at this quote again,
  13 and I -- I wonder if this person has been watching
  14 us from the -- from the lobby or -- or from the
  15 gallery, or maybe online. It's almost as if they --
  16 they knew that this would be happening this week.
  17         That quote comes from Federalist 62, from
  18 James Madison: So many laws, so voluminous that
  19 they cannot be read, they cannot be understood. And
  20 that's just within this one bill, folks. Just
  21 within this one bill.
  22         We had an opportunity to go back and at
  23 least fix a couple of the absurdities that an
  24 earlier Senator mentioned. These are absurdities:
  25 the hunting, the 4-H, the simple transfers. We
  0075
   1 could fix these absurdities if we had gone back to a
   2 second conference. We don't have that opportunity
   3 now. Maybe we still do.
   4        Will the majority acquiesce? Will they
   5 thunder on and take the rights away from our
   6 citizens, turn our citizens, the citizens of the
   7 districts that we represent, normal, law-abiding,
   8 everyday Joes, everyday Janes, and turn them into
   9 criminals? Turn us -- turn us into criminals?
  10 That's what we're doing here.
  11         We are not -- we are not taking on the law
  12 breakers. We are not taking on the criminal element
  13 with this bill, folks. We are attacking our own
  14 law-abiding citizens, and putting them through the
  15 -- a bureaucratic nightmare of trying to decipher
  16 what they can and cannot do because of this bill.
  17         Please vote no. Vote no.
                                                                                                      LEG HX 001012                    4927
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  18       Appellate
            MADAMECase:        14-1290 Senator
                         PRESIDENT:           Document: 01019371764
                                                   Crowder.                           Date Filed: 01/16/2015            Page: 264
  19        SENATOR CROWDER: I guess what I need to
  20 say on this bill is what I thought it was -- what I
  21 thought it meant to represent people, what I thought
  22 it meant to go with the majority of your district.
  23 I still believe that very strongly. But I do not
  24 realize, and I do not understand, since you had such
  25 an overwhelming dissension upon the -- the people of
  0076
   1 the State of Colorado, why people would continue to
   2 do this.
   3        This is, in my opinion, this whole gun
   4 deal is not about legislation at all, it's about
   5 agenda. That's why I ran. I got tired of agendas.
   6 And I -- you know, I'm going to tell you something.
   7 This is an important item to the state of -- the
   8 people of the State of Colorado. And look at us
   9 right now, we're not even paying attention to what
  10 the -- the business of the people is about. And I
  11 think it's high time that we realize that the people
  12 of the State of Colorado deserve better. They
  13 deserve more.
  14        I think the agendas are a thing of the
  15 past, and I think they ought to stay in the past.
  16 You know, I -- I think we ought to pay attention to
  17 this and get this right.
  18        I'm going to oppose this bill. There's no
  19 doubt in my mind that this will pass.
  20        But I will tell you this: The people of
  21 the State of Colorado deserve better than this.
  22 It's not about safety, it's about agenda. And I
  23 think it's time we got to the point where we can
  24 start dealing as people on a bipartisan level. I
  25 have no problem representing my district, but I do
  0077
   1 have a problem that people represent agendas over
   2 their districts.
   3        Vote no on this. Thank you.
   4        MADAME PRESIDENT: Mr. Scheffel.
   5        SENATOR SCHEFFEL: Thank you, Madame
   6 President.
   7        Colleagues, as we discuss really what will
   8 probably be the final time this bill and vote for
   9 the final time on this, I wanted to again discuss it
  10 briefly and reflect on my own position with this. I
  11 will not be supporting this bill.
  12        There's been a lot of discussion about the
  13 genesis and origin of this bill, some of which is
  14 unfortunate.
  15        For sake of discussion, I would assume,
  16 going back to the basics, and I know when I first
  17 saw this legislation and when I began to read it and
  18 go over it and go over the testimony in -- in
  19 committee and whatnot and -- and reflect on it, I
                                                                                                      LEG HX 001013                    4928
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  20 assumeAppellate
                that the Case: 14-1290
                         goal was to increaseDocument:   01019371764
                                              public safety,                          Date Filed: 01/16/2015            Page: 265
  21 to somehow inhibit the -- the activities of bad
  22 people that intend to do harm on our citizenry, on
  23 the people we represent. That is not what this bill
  24 does.
  25         Somebody mentioned we've debated this for
  0078
   1 well over 30 hours. That could be conservative. I
   2 know we've all been in here a long time and that
   3 there's been much discussion about this, and most of
   4 the discussion, or at least a good part of it, has
   5 been on trying to figure out what this bill says.
   6       It's had many labels put on it:
   7 grotesque, ludicrous, absurd, preposterous. None of
   8 those seem to be hyperbole. The one that resonates
   9 with me the most, however, assuming the best of
  10 motives for people that come into this room, is
  11 unintended consequences.
  12         What a strong and inappropriate indictment
  13 on this body if something we do here in the
  14 purported name of good ends up with unintended,
  15 negative consequences. The fact that we've spent so
  16 much time here talking about some of our best and
  17 our brightest, the 4-H, the different kids' groups,
  18 the Boy Scouts, and how harm may come to them as a
  19 result of this. Those are chilling effects,
  20 chilling consequences of a law that's intended to do
  21 good, of a law that's intended to inhibit crime.
  22         As I reflect on the testimony and all the
  23 discussion that's taken place, I must reiterate for
  24 myself in my own mind, and that's that there's been
  25 no what I see as -- as legitimate proof that this
  0079
   1 will increase public safety. It seems the very
   2 opposite; it will have a chilling effect on
   3 law-abiding citizens.
   4       And as we've heard scenario after scenario
   5 and the specifics of the bill laid out before us, as
   6 we've read and considered this, that resonates with
   7 me, and it seems to me that's going to be the
   8 result.
   9       We've heard letter after letter of -- of
  10 people that are concerned now about coming to
  11 Colorado.
  12         I was someplace and -- and a citizen, a
  13 constituent, actually, said, what are we doing to
  14 the reputation of our state? We've always been
  15 known as this healthy living, outdoors, attractive
  16 state that -- that prides itself on our tourism, on
  17 our industries that bring people in, that we have so
  18 much to offer here that we want to share it with
  19 outsiders, and so many people take us up on that
  20 bargain. And yet now we're hearing that people are
  21 chilled, afraid, disquieted, discomforted by coming
                                                                                                      LEG HX 001014                    4929
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  22 to ourAppellate    Case:they
              state, because   14-1290     Document:
                                  don't know  the        01019371764                  Date Filed: 01/16/2015            Page: 266
  23 consequences that will be waiting for them here.
  24       The possibility, as one of my colleagues
  25 raised, that a perfect, law-abiding citizen could
  0080
   1 come here, do something that they've done for many,
   2 many years, and yet be held criminally accountable
   3 for that. I fear that what will happen will be a
   4 chilling effect, a closing in, a drawing inside, so
   5 that activities that have been perfectly legal and
   6 normal will seize to operate; that our Scouts will
   7 not have the same opportunity as Scouts in other
   8 states; that our 4-H people, which is a foundation
   9 of our society here in Colorado -- so many of -- of
  10 people in this room have come out of that system --
  11 that they will not be able to pursue the interests
  12 that they have done in the past because of this.
  13        Because of that, because of the lack of --
  14 of evidence that public safety will be increased --
  15 there's no disagreement, criminals do bad things.
  16 They've used weapons to do bad things. And we've
  17 talked about this, but unspeakable harm and hurt has
  18 been -- has been put on our society because of
  19 criminals, but this is not going to help it.
  20 Criminals are going to be the least interested.
  21        As we sit around this place, and as we
  22 opine and reason and debate and -- and try to
  23 wrangle over this and figure out, we will do that,
  24 law-abiding citizens will do that, the criminals
  25 will not. They won't give this law a second
  0081
   1 thought. They won't waste a bit of time. They'll
   2 simply maneuver in, around, and about it. They
   3 won't skip a beat in their day because of this, but
   4 law-abiding citizens will. And the chilling effect
   5 we've talked about, those are the folks that are
   6 going to get caught up in this.
   7       They're going to find themselves on the
   8 wrong side of the law.
   9       It's been talked about, and I just want to
  10 reiterate, the criminalization of law-abiding
  11 citizens is awful for our society. We should be
  12 truly sobered by the fact that that can happen with
  13 this law: public safety not being increased, the
  14 unintended consequences of criminalizing law-abiding
  15 citizens, that they will be caught in the net of
  16 unintended consequences of this law.
  17        It will be our volunteers that will be hit
  18 hardest by this. Some of the very people we value
  19 most. We talk about the -- the underpinnings of our
  20 society, and -- and -- and our, what makes us, us,
  21 the specialness and the uniqueness of our state and
  22 our nation is in many ways based on our volunteer
  23 core. They're going to be the most confused, the
                                                                                                      LEG HX 001015                    4930
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  24 mostAppellate      Case:
            hurt, the most      14-1290
                             affected by this,Document:
                                               I fear.   01019371764                  Date Filed: 01/16/2015            Page: 267
  25        All that sums up for me, and the
  0082
   1 conclusion I've come to and continue to come to,
   2 that this represents an inappropriate infringement
   3 on the Second Amendment; therefore, should not move
   4 forward from this body.
   5       Therefore, I will be voting no, again, and
   6 encourage you to do so as well.
   7       SENATE PRESIDENT: Is there any further
   8 discussion?
   9       Seeing none, Majority Leader Carroll --
  10 well, I'm sorry --
  11        MAJORITY LEADER CARROLL: Thank you,
  12 Mr. President.
  13        SENATE PRESIDENT: -- so -- so come on
  14 down, Senator Lundberg.
  15        SENATOR LUNDBERG: Thank you,
  16 Mr. President.
  17        The good Senator from Wrey admonished us
  18 to read the bill. A novel idea. You might as well
  19 get it out and read it. You've got time.
  20        I dug a little bit deeper into it and
  21 discovered one corner of it that -- that I found --
  22 didn't realize was there. And -- and that's, so
  23 what if some law-abiding citizen, or at least they
  24 think they're law-abiding citizens, endeavors to --
  25 and we've heard so many examples of people who want
  0083
   1 to store their, you know, somebody else's weapons
   2 when they're out of town, or -- or somebody's in
   3 charge of looking after the shotguns for the local
   4 Boy Scout troop that's -- that's going to have
   5 some -- some in-the-field training on the proper use
   6 and handling of -- of a -- of a rifle or a shotgun;
   7 or you didn't realize that your brother, you could
   8 loan that gun to, but your brother-in-law, you
   9 couldn't; or a step situation; or my father-in-law.
  10 You didn't realize that you broke the law, and then
  11 somebody turned you in, and so you're guilty.
  12        Now, it's a Class I misdemeanor, and --
  13 and judges have prerogative on how they a can apply
  14 that. It's -- it can -- it can mean a lot of
  15 serious jail time. I trust it won't for most people
  16 in a situation like that, where it was obvious that
  17 there was just an honest mistake because we made it
  18 so complicated.
  19        But let us read on. Sometimes it's good
  20 to read the bill. Page 7. Let's see, this is the
  21 re-revised version. Under line 27 -- well, let's
  22 start at line 25. We've got time.
  23        A person who violates a provision of this
  24 section commits a Class I misdemeanor and shall be
  25 punished in accordance with Section 18-1.3-501,
                                                                                                      LEG HX 001016                    4931
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  0084     Appellate Case: 14-1290 Document: 01019371764                              Date Filed: 01/16/2015            Page: 268
   1 period. Ah, but it goes on. The person shall, not
   2 maybe, shall. So there's no prerogative here. The
   3 judge can't say, well, it could be this, could be
   4 that. No, the judge shall -- the person shall also
   5 be prohibited from possessing a firearm for two
   6 years, beginning on the date of his or conviction.
   7       Furthermore, when a person is convicted of
   8 violating a provision of this section, the state
   9 court administrator shall report the conviction to
  10 the bureau and to the National Instant Criminal
  11 Background Check System, created by the Federal
  12 Brady Handgun Violence Prevention Act, publication
  13 L. 103-159, the relevant portion of which is
  14 codified at 18 USC Section 922(t).
  15        The report shall include information
  16 indicating that the person is prohibited from
  17 possessing a firearm for two years beginning on the
  18 date of his or her conviction.
  19        So let's see what happens here. A simple
  20 mistake. Somebody turns them in. They're
  21 convicted. Maybe the judge realizes this is not
  22 that big a deal. I mean, surely, the legislature
  23 didn't intend on making every honest scout master
  24 who didn't quite figure out the -- the precise
  25 detail of the law, that they'd return them in 75
  0085
   1 hours or whatever. But then the judge shall have to
   2 enforce not only a prohibition for two years, but
   3 secondly, they turn you over to the -- to the -- to
   4 all of the background check lists. And I don't see
   5 anything in here that says, and that goes away in
   6 two years. What I strongly suspect is that becomes
   7 a permanent part of your record.
   8        Now, if we were talking about the core
   9 essence of this legislation, which everybody out
  10 there thinks is the point, you know, you hear the
  11 news reports: universal background check will be
  12 required for all gun purchases. Then, if you
  13 violate that, you sort of knew you did that, and
  14 maybe you're, you know, one of the -- one of the bad
  15 guys at that point.
  16        But we have spent much of the time
  17 wrestling over all of the exceptions that are so
  18 necessary for that other side to this bill that says
  19 not just a background check for a sale, but for a
  20 simple transfer. Remember the pen?
  21        A simple transfer. Oh, this one's loaded.
  22 Just a simple transfer, which means a loan, which
  23 happens all the time under a variety of very
  24 legitimate, proper, and necessary circumstances.
  25 Well, we've made some of them necessarily too
  0086
   1 complicated by saying you need to get this
                                                                                                      LEG HX 001017                    4932
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
            Appellate
   2 background         Case:
                    check  both 14-1290
                                 coming and Document:     01019371764
                                              going, and we're                        Date Filed: 01/16/2015            Page: 269
   3 putting on a $10 fee here, and we're putting on
   4 hopefully no more than a $10 fee for the CBI, so
   5 it's 20 bucks per transfer.
   6        So let's see, if I loan my firearm to
   7 somebody, and it's one of those areas that isn't
   8 covered under the -- the exceptions, then just
   9 the -- not to mention the trouble -- just the cost
  10 is probably 40 bucks.
  11         I'm not sure that anybody who might be
  12 supporting this bill cares, but let me talk to you
  13 folks back out in -- in the State of Colorado,
  14 hopefully, the State of reality. I'm not sure we
  15 have that hear all the time. But -- but,
  16 nonetheless, that's a $40 fee for a simple loaning
  17 of your shotgun to your neighbor because they want
  18 to go hunting, unless, of course, you're in the
  19 field. But, no, that's not the way the law works.
  20        And when we tried to -- and have tried
  21 innumerably, many, many times, to amend and correct
  22 some of these problems, what did we find? Just a
  23 brick wall. Just a brick wall.
  24         So we're left with our final debate and
  25 discussion here on House Bill 1229, up or down vote,
  0087
   1 no changes, no amendments, no nothing, just up or
   2 down. And the honest, law-abiding citizen will find
   3 themselves in a spot of either, if you own firearms,
   4 you better keep them because you can't loan them to
   5 anybody or they may get you.
   6        It may be one of those gotcha moments,
   7 where this is illegal, and then you go to court, and
   8 then you do the time or you pay the fine, or, maybe
   9 the judge just says, you know, I understand. But
  10 then the judge says, oh, by the way, do you have any
  11 other weapons? We want them now for two years, and
  12 then we'll put you on the list nationally for having
  13 broken the law.
  14         Is that really what we're trying to
  15 accomplish for the citizens in the State of
  16 Colorado? Is that really what we're trying to do
  17 here today?
  18         Well, let me leave you with you this final
  19 point. No, we don't have to. You can't vote no.
  20 And I'll bet, I'll just bet, that this idea won't go
  21 away, because the proponents seem rather determined.
  22 But maybe they'll fix those problems. If all you're
  23 concerned with is -- is the unintended consequence
  24 that we've pointed out again and again and again, we
  25 could fix it. Vote no today.
  0088
   1        What are we, day 64, 65, something like
   2 that? Plenty of time left. 55 days left in this
   3 session.
                                                                                                      LEG HX 001018                    4933
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   4       Appellate    Case:
           A vote -- vote   no 14-1290      Document:
                               today can make   better 01019371764                    Date Filed: 01/16/2015            Page: 270
   5 law, even if you think this -- the essence of this
   6 is a good idea. Don't lock down. Don't display
   7 more of the my-way-or-the-highway, party-line vote
   8 that we've seen again and again and again and again
   9 and again and again and again this session. We can
  10 break that mold. You can vote no. You can send
  11 this back to get it cleaned up at the minimum.
  12        You know the people of Colorado have
  13 spoken very clearly. They have done all they can.
  14         I -- I got an e-mail from somebody
  15 yesterday over -- there was another bill, and I
  16 won't discuss what the bill was, it was just, in my
  17 opinion, a very bad bill, and a lot of other
  18 people -- but there was no one testifying against
  19 the bill. And when I noted that, I got a response
  20 of, we're tired; we have been fighting these
  21 gun-control bills to the best of our ability. And
  22 you know that's the case. You've received, I'm
  23 sure, the thousands of e-mails that I've received.
  24        Must we end with the same strident,
  25 partisan, rigid, doctrinaire vote? Doesn't take
  0089
   1 everybody, but it takes enough to add up to a no
   2 vote on 1229. I implore you, I plead with you, make
   3 better law than what we have before us today. Vote
   4 no on House Bill 1229.
   5       SENATE PRESIDENT: Senator Renfroe.
   6       SENATOR RENFROE: Thank you,
   7 Mr. President.
   8       I'd like to thank my good friend and
   9 colleague from Larimer County for his words, but I
  10 want to correct him and the body a little bit there
  11 on his lockdown of the bill and -- and the
  12 partisanship of this. It is bipartisan opposition
  13 of this bill. So we are working together to end
  14 this taking of our freedoms.
  15        You know, we talked earlier -- I talked
  16 earlier -- about loopholes. We've talked about that
  17 a lot, and how what we just keep trying and trying
  18 to do is just fix all the loopholes and how we seem
  19 to be listening so that we can fix the loopholes.
  20 We're never going to get them all, let's be honest,
  21 because this bill is so poorly written that you
  22 can't get there.
  23        You're going to entrap legal citizens,
  24 law-abiding citizens, and cause them to break the
  25 law just because of the way this is. There's no
  0090
   1 other way around it.
   2       And, of course, then we will have to have
   3 a second step. How far will that go?
   4       But on this bill, just sitting here while
   5 we're debating today, let me bring another example.
                                                                                                      LEG HX 001019                    4934
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   6 We haveAppellate   Case: 14-1290
                 nine provisions              Document:
                                  that this section       01019371764
                                                    does not                          Date Filed: 01/16/2015            Page: 271
   7 apply to. And -- and the esteemed sponsor of the
   8 bill gave us a -- a printout sheet that kind of
   9 summarizes that for us also and goes through
  10 transfer of an antique firearm, transfer amongst
  11 family members, due to inheritance a transfer, the
  12 maintenance or repair.
  13         And these are permanent ones: a transfer
  14 by a member in the military with a 30-day
  15 employment; temporary ones for a 72-hour transfer; a
  16 transfer that occurs in the continual presence; a
  17 transfer for self-defense; a transfer at a shooting
  18 range or competition or while hunting or trapping.
  19 So those are the ones that the sponsor even admits
  20 that what we had to find ways to let this still
  21 happen legally.
  22         Well, let me -- let me give you another
  23 example, even though we've already had a couple up
  24 here today. And here's another one that this I
  25 don't think covers and will make illegal in
  0091
   1 Colorado.
   2        Say -- say you live in another state,
   3 and -- and you want to move to this state. So
   4 you -- you hire, you know, Ten Broke Students or
   5 whatever moving company, ABC Moving, and they pack
   6 up all your possessions, and they move them to
   7 Colorado here. And then, with your job, you're not
   8 ready to come yet, and so they store your stuff for
   9 you. Uh-oh is right. Say you're someone that --
  10 that loves the direction, the progressive movement
  11 of our state and what we're doing with these bills,
  12 and say you even come and you testify on bills here,
  13 and you're from Arizona or someplace, and your
  14 name's Mark Kelly. And say he wants to move here.
  15        You know, he recently just purchased an
  16 AR-15. And so if he wanted to move here, even
  17 though he testified against the magazine bill, and
  18 he wanted to move here, and he wanted to -- have a
  19 moving company move his stuff and that moving
  20 company stores that, his equipment, his -- his --
  21 all of his furniture -- until he is able to move
  22 here, and say they store it more than 72 hours, that
  23 moving company is in violation of the law.
  24         How do you fix that one? We're apparently
  25 not going to go beyond the scope and -- and try to
  0092
   1 look into more areas and more things that come up.
   2 How is someone from another state going to know the
   3 specifics of our law, or how is every moving company
   4 from across the nation going to know the specifics?
   5 You know, you have those companies now that you can
   6 fill a -- a cargo trailer that they dump at your
   7 door, and then they come back and pick it up and
                                                                                                      LEG HX 001020                    4935
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
   8 moveAppellate    Case:
           it where ever  you14-1290
                                want. Is thatDocument:
                                               really still 01019371764               Date Filed: 01/16/2015            Page: 272
   9 in your possession, or is that in their possession?
  10 I don't know.
  11       This is a -- a bill that is filled with
  12 problems that we are unwilling to fix. And that is
  13 a shame. Shame on you. Shame on us. Vote no on
  14 this bill.
  15       SENATE PRESIDENT: Further discussion?
  16 Seeing none, the motion before the body is the
  17 adoption of -- the re-adoption, I'm sorry -- of
  18 House Bill 1229. A roll-call vote has been
  19 requested.
  20       Mr. Majors, would you please poll the
  21 Senators?
  22       THE CLERK: Aguilar.
  23       SENATOR AGUILAR: (No audible response.)
  24       THE CLERK: Balmer -- Aguilar, aye.
  25       Balmer.
  0093
   1       SENATOR BALMER: No.
   2       THE CLERK: Balmer, no.
   3       Baumgardner.
   4       SENATOR BAUMGARDNER: No.
   5       THE CLERK: Baumgardner, no.
   6       Brophy.
   7       SENATOR BROPHY: No.
   8       THE CLERK: Brophy, no.
   9       Cadman.
  10       SENATOR CADMAN: No.
  11       THE CLERK: Cadman, no.
  12       Carroll.
  13       SENATOR CARROLL: Aye.
  14       THE CLERK: Carroll, aye.
  15       Crowder.
  16       SENATOR CROWDER: No.
  17       THE CLERK: Crowder, no.
  18       Giron.
  19       SENATOR GIRON: Aye.
  20       THE CLERK: Giron, aye.
  21       Grantham.
  22       SENATOR GRANTHAM: No.
  23       THE CLERK: Grantham, no.
  24       Guzman.
  25       SENATOR GUZMAN: Aye.
  0094
   1       THE CLERK: Guzman, aye.
   2       Harvey.
   3       SENATOR HARVEY: No.
   4       THE CLERK: Harvey, no.
   5       Heath.
   6       SENATOR HEATH: Aye.
   7       THE CLERK: Heath, aye.
   8       Hill, excused.
   9       Hodge.
                                                                                                      LEG HX 001021                    4936
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  10         Appellate
              SENATOR   Case: 14-1290
                         HODGE:   Aye. Document: 01019371764                          Date Filed: 01/16/2015            Page: 273
  11          THE CLERK: Hodge, aye.
  12          Hudak.
  13          SENATOR HUDAK: Aye.
  14          THE CLERK: Hudak, aye.
  15          Jahn.
  16          SENATOR JAHN: Aye.
  17          THE CLERK: Jahn, aye.
  18          Johnston.
  19          SENATOR JOHNSTON: Aye.
  20          THE CLERK: Johnston, aye.
  21          Jones.
  22          SENATOR JONES: Aye.
  23          THE CLERK: Jones, aye.
  24          Kefalas.
  25          SENATOR KEFALAS: Aye.
  0095
   1         THE CLERK: Kefalas, aye.
   2         Kerr.
   3         SENATOR KERR: Aye.
   4         THE CLERK: Kerr, aye.
   5         King, excused.
   6         Lambert.
   7         SENATOR LAMBERT: No.
   8         THE CLERK: Lambert, no.
   9         Lundberg.
  10         SENATOR LUNDBERG: No.
  11         THE CLERK: Lundberg, no.
  12         Marble.
  13         SENATOR MARBLE: No.
  14         THE CLERK: Marble, no.
  15         Newell.
  16         SENATOR NEWELL: Aye.
  17         THE CLERK: Newell, aye.
  18         Nicholson.
  19         SENATOR NICHOLSON: Aye.
  20         THE CLERK: Nicholson, aye.
  21         Renfroe.
  22         SENATOR RENFROE: No.
  23         THE CLERK: Renfroe, no.
  24         Roberts.
  25         SENATOR ROBERTS: No.
  0096
   1         THE CLERK: Roberts, no.
   2         Scheffel.
   3         SENATOR SCHEFFEL: No.
   4         THE CLERK: Scheffel, no.
   5         Schwartz.
   6         SENATOR SCHWARTZ: (No audible answer.)
   7         THE CLERK: Schwartz, aye.
   8         Steadman.
   9         SENATOR STEADMAN: Aye.
  10         THE CLERK: Steadman, aye.
  11         Tochtrop.
                                                                                                      LEG HX 001022                    4937
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  12       Appellate
            SENATOR     Case:  14-1290 No.Document: 01019371764
                          TOCHTROP:                                                   Date Filed: 01/16/2015            Page: 274
  13        THE CLERK: Tochtrop, no.
  14        Todd.
  15        SENATOR TODD: Aye.
  16        THE CLERK: Todd, aye.
  17        Ulibarri.
  18        SENATOR ULIBARRI: Aye.
  19        THE CLERK: Ulibarri, aye.
  20        Mr. President.
  21        SENATE PRESIDENT: Aye.
  22        THE CLERK: Mr. President, aye.
  23        SENATE PRESIDENT: With a vote of 19 ayes,
  24 14 noes, zero absent, and two excused, House Bill
  25 1229 is re-adopted.
  0097
   1        Cosponsors, we've got you if you did it
   2 the first time.
   3       (Whereupon, the recording was concluded.)
   4
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  0098
   1                 CERTIFICATE
   2 STATE OF COLORADO                      )
   3 CITY AND COUNTY OF DENVER                    ) ss.
   4
   5          I, Elissa Steen, Professional Shorthand
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
  10 the speakers in this transcript were identified by me to
  11 the best of my ability and according to the introductions
  12 made; that the foregoing is a true transcript of the
  13 proceedings had; that I am not attorney, nor counsel, nor
                                                                                                      LEG HX 001023                    4938
file:///X|/...224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-031513(Senate).txt[11/12/2013 10:57:59 AM]
  14        Appellate
       in any           Case: with
              way connected     14-1290      Document:
                                     any attorney         01019371764
                                                  or counsel for any                  Date Filed: 01/16/2015            Page: 275
  15   of the parties to said action or otherwise interested in
  16   its event.
  17           IN WITNESS WHEREOF, I have hereunto affixed
  18   my hand and notarial seal this 5th day of August, 2013.
  19
  20
  21
  22                   ________________________________
                      Registered Professional Reporter
  23                             and
                            Notary Public
  24
  25




                                                                                                      LEG HX 001024                    4939
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